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              IN THE UNITED STATES COURT OF APPEALS
                   FOR THE DISTRICT OF COLUMBIA

   INDIAN PEAK PROPERTIES LLC          )
                                       )
             Petitioner,               )
                                       )
   v.                                  )             Case No. 23- 1223
                                       )
   THE FEDERAL COMMUNICATIONS          )
   COMMISSION                          )
                                       )
                    and                )
                                       )
   THE UNITED STATES OF AMERICA,       )
                                       )
             Respondents               )
   ____________________________________)


                          PETITION FOR REVIEW

         Indian Peak Properties LLC (“Indian”) hereby petitions for review of

   agency action by the Federal Communications Commission (“FCC” or

   “Commission”).

         1.    Final Agency Action

         In the proceeding below, FCC staff dismissed Indian’s Petitions for

   Declaratory Ruling, that had been submitted pursuant to the Commission’s

   Over-the-Air Reception Device Rule, 47 CFR 1.4000. Indian sought

   reconsideration of the dismissal, which FCC staff denied. Indian then

   submitted its Application for Review by the full Commission (attached
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   hereto). The Commission evidently is ignoring the Application for Review.

   As discussed below, the FCC’s failure to take action constitutes final agency

   action that is reviewable by this Court.

          Indian submitted the Application for Review on January 12, 2023.

   After receiving no response for four months, on May 8, 2023, Indian

   emailed an inquiry to the office of the Chairwoman of the FCC seeking

   information on the status of the Application for Review. Email from Julian

   Gehman, counsel to Indian, to Narda Jones and Deena Shetler, FCC, dated

   May 8, 2023. The addressees, Narda Jones and Deena Shetler, are Chief of

   Staff and Deputy Chief of Staff, respectively, in the FCC Chairwoman’s

   office. Indian received no response to this email. On June 1, 2023, Indian

   emailed a second inquiry of the status of the Application for Review. Email

   from Julian Gehman to Narda Jones, Deena Shetler and Marlene Dortch,

   FCC, dated June 1, 2023. The second inquiry was addressed to the

   Chairwoman’s Chief of Staff and Deputy Chief of Staff, as before, and also

   to the Secretary of the FCC. Other than an out-of-office message from Ms.

   Jones, Indian received no response to this email, either. Indian has waited

   sufficient time for Ms. Jones to return to the office and respond if she were

   so inclined. The Commission presumably would have responded to Indian’s

   status inquiries had the agency intended to take action on the Application for



   	                                     2
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   Review. In view of the agency’s failure to respond to the Application for

   Review and the two status inquiries, Indian concludes that the FCC refuses

   to take action.

          Agency inaction constitutes final agency action that is reviewable,

   where the inaction “has precisely the same impact on the rights of the parties

   as denial of relief.” Sierra Club v. Thomas, 828 F.2d 783, 793

   (D.C.Cir.1987) quoting Environmental Defense Fund, Inc. v. Hardin, 428

   F2d 1093, 1099 (D.C.Cir.1970). See also Telecommunications Research &

   Action Center v. FCC, 750 F.2d 70 (D.C. Cir.1984); Friedman v. FAA, 841

   F.3d 537, 543 (D.C. Cir. 2016).

          That is the posture here. The Application for Review seeks reversal,

   by the full Commission, of the letter ruling of the FCC’s Wireless

   Telecommunications Bureau and Media Bureau, dated December 13, 2022

   (“Final Letter Ruling”). With no action by the full Commission on the

   Application for Review, the Final Letter Ruling remains in full force and

   effect. Therefore, the Commission’s refusal to adjudicate the Application

   for Review has precisely the same effect on Indian as if the Commission had

   denied the Application for Review. As such, the Commission’s refusal to

   act constitutes final agency action that is reviewable by this Court.




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          2.    Jurisdiction and Venue

          As discussed above, the Commission’s failure to take action is

   administratively final. It is subject to review pursuant to 5 U.S.C. 702, 47

   U.S.C. 402(a), and 28 U.S.C. 2342(1) and 2344. Venue is proper in this

   court pursuant to 28 U.S.C. 2343.

          3.    Address

          The mailing address of Indian Peak Properties LLC is:

          Indian Peak Properties LLC
          1350 E. Flamingo Road #13B34
          Las Vegas, Nevada 89119-5263

   Indian owns the property (hereinafter, the “Property”) located at:

          26708 Indian Peak Road
          Rancho Palos Verdes, California

   The Property is the subject of the Application for Review.

          4.    Standing

          Indian has direct standing because it was the petitioner in the

   proceedings below and was harmed by the Commission’s unlawful denial of

   Indian’s petitions under 47 CFR 1.4000.

          5.    Related Proceedings

          On June 3, 2022, Indian filed its Petition for Writ of Mandamus in this

   Court, Case Number 22-1098. On September 2, 2022, this Court dismissed,

   as moot, Indian’s Petition for Mandamus.

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          6.    Basis of Appeal and Redress

          FCC staff rulings promulgate at least two new substantive rules that

   are inconsistent with relevant FCC orders and, under the Administrative

   Procedure Act, 5 USC 701 et seq., require notice-and-comment rulemakings

   to be effective. The FCC staff rulings, which set new policy without the

   benefit of requisite rulemakings, violated the Administrative Procedure Act.

   With this appeal, Indian seeks reversal of these arbitrary and capricious

   agency actions that are contrary to law, and remand to the FCC for treatment

   not inconsistent with this Court’s opinion. Upon remand and the

   Commission’s grant of Indian’s petitions under 47 CFR 1.4000, the local

   zoning ordinance would be preempted and Indian would be able to re-place

   the disputed antennas on the rooftop of the Property.

          7.    Relief Requested.

          Indian seeks review and reversal of FCC staff rulings under federal

   law, including but not limited to the Communications Act of 1934, as

   amended, 47 USC 151 et seq., the Administrative Procedure Act, 5 USC 701

   et seq., and the FCC’s regulations promulgated thereunder. Indian seeks a

   determination by this Court that these FCC staff rulings (i) violate the

   above-referenced statutes and regulations, (ii) are arbitrary and capricious,

   an abuse of discretion and otherwise are not in accordance with the law, (iii)



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   are in excess of statutory jurisdiction, authority, or limitations, or short of

   statutory right, (iv) were adopted without observance of procedure required

   by law, and (v) are otherwise contrary to law.

          Accordingly, Indian respectfully requests that this Court hold

   unlawful, vacate, enjoin, and set aside the FCC staff rulings, remand the case

   to the FCC for treatment not inconsistent with this Court’s opinion and

   order, and grant such other relief as the Court may deem appropriate. Indian

   requests that, upon remand, this Court retain jurisdiction of the case.

                                     Respectfully submitted,

                                     /s/ Julian Gehman
                                     ____________________
                                     Julian Gehman
                                     Gehman Law PLLC
                                     (202) 341-0198
                                     julian@gehmanlaw.com
                                     Mail to:     P.O. Box 13514,
                                                  Arlington, VA 22219
                                     Office:      1050 Connecticut Ave NW
                                                  Suite 500
                                                  Washington, DC 20036
                                     Attorney for Indian Peak Properties LLC


   Dated: August 18, 2023

   Attachment: Application for Review of Indian Peak Properties LLC




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                 CORPORATE DISCLOSURE STATEMENT

          Pursuant to Circuit Rule 26.1, Indian Peak Properties LLC hereby

   submits this Corporate Disclosure Statement. Indian Peak Properties LLC is

   a limited liability company formed under the laws of the State of Nevada.

   Other than its membership interest, which is indirectly wholly owned by

   James A. Kay, Jr., an individual, Indian Peak Properties LLC issues no stock

   and is not owned in whole or in part by any publicly held corporation.

                                   Respectfully submitted,

                                   /s/ Julian Gehman
                                   _____________________
                                   Julian Gehman
                                   Gehman Law PLLC
                                   (202) 341-0198
                                   julian@gehmanlaw.com
                                   Mail to:     P.O. Box 13514,
                                                Arlington, VA 22219
                                   Office:      1050 Connecticut Ave NW
                                                Suite 500
                                                Washington, DC 20036
                                   Attorney for Indian Peak Properties LLC


   Dated August 18, 2023




   	                                    7
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                        CERTIFICATE OF SERVICE

   I, Julian Gehman, hereby certify that on this 18th day of August, 2023, I
   caused copies of the foregoing Petition for Review, without the Attachment,
   to be served by USPS registered first class mail, postage prepaid, return
   receipt requested, on the following:

   Ms. June S. Ailin
   Aleshire & Wynder LLP
   2361 Rosecrans Ave., Suite 475
   El Segundo, CA 90245

   Teri Takaoka, City Clerk
   City of Ranchos Palos Verdes
   3940 Hawthorne Blvd.
   Rancho Palos Verdes, CA 90275



                                        /s/ Julian Gehman
                                        Julian Gehman




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                                                            Filing Details

                  ID:   10112222302023                                             PROCEEDING:              INBOX-1.2
 NAME OF FILERS:        Indian Peak Properties LLC                                FILING STATUS:            DISSEMINATED
 TYPE OF FILING:        APPLICATION FOR REVIEW                                  DATE SUBMITTED:            Jan 12, 2023
VIEWING STATUS:         Unrestricted                                               DATE POSTED:            Jan 12, 2023
  DATE RECEIVED:        Jan 12, 2023

BRIEF COMMENT:
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                                        Before the
                             Federal Communications Commission
                                   Washington, D.C. 20554


 In the Matter of                               )
                                                )
 Indian Peak Properties, LLC                    )
 Petitions for Declaratory Ruling               )
 Under 47 C.F.R. § 1.4000                       )
                                                )
 To:                                            )
 The Commission                                 )



                               APPLICATION FOR REVIEW
                           OF INDIAN PEAK PROPERTIES, LLC




                                              Indian Peak Properties, LLC

  Julian Gehman
  Gehman Law PLLC
  PO Box 13514
  Arlington, VA 22219-3514

  Counsel to Indian Peak Properties



  Dated: January12, 2023
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      Attachments:

      Exhibit A – Final Letter Ruling of Wireless Bureau and Media Bureau
                 (Dec. 13, 2022)


      Exhibit B – Petition for Reconsideration of Indian Peak Properties LLC
                  (Aug. 3, 2022)


      Exhibit C – Initial Letter Ruling of Wireless Bureau and Media Bureau
                  (Jul. 18, 2022)


      Exhibit D – Petition for Declaratory Ruling of Indian Peak Properties (Antenna 2)
                 (May 1, 2022)


      Exhibit E – Petition for Declaratory Ruling of Indian Peak Properties (Antenna 3)
                  (May 1, 2022)


      Exhibit F – Petition for Declaratory Ruling of Indian Peak Properties (Antenna 4)
                  (May 1, 2022)




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                                                 SUMMARY

         Indian Peak Properties, LLC (“Indian”) hereby seeks review of the letter ruling attached

 as Exhibit A.1 The Wireless Telecommunications Bureau and the Media Bureau (the “Bureaus”)

 dismissed Indian’s over-the-air reception device (OTARD) petitions twice, after delaying action

 on the first petition for two years. The letter ruling misconstrues the term “service provider” in

 the Commission’s OTARD Fixed Wireless R&O,2 mistakenly claiming that Indian’s tenants

 (mobile service licensees) are not cognizable OTARD users. However, this is contradicted by

 the very paragraph in the OTARD Fixed Wireless R&O that is relied on by the letter ruling.

         Indian is the only OTARD petitioner facing litigation that did not get shielded from the

 litigation as required by the OTARD Rule. The letter rulings disregarded procedure prescribed

 in the OTARD First Report and Order,3 and the OTARD Rule, 47 C.F.R. § 1.4000. The Letter

 Rulings cite the Garziglia letter4 as authority for mishandling Indian’s OTARD petitions. This

 division-level ruling misconstrued the Commission’s 2011 amendment of rules of practice, and

 self-appropriated discretion not found in the FCC record. The Garziglia letter should be

 reversed. The Bureaus deprived Indian of due process, including: delay of two years, failure to

 provide notice of the procedure, failure to provide unbiased adjudication, and refusal to

 acknowledge that an OTARD proceeding had commenced to shield Indian from zoning

 enforcement litigation. These violations of FCC rules and due process cost Indian hundreds of

 thousands of dollars in attorney fees and loss of use of the antennas.


 1
   Letter from Garnet Hanley, Chief, Competition and Infrastructure Policy Division, Wireless Telecommunications
 Bureau, and Maria Mullarky, Chief, Policy Division, Media Bureau to Julian Gehman, counsel to Indian Peak
 Properties LLC (Dec. 13, 2022).
 2
   Updating the Commission’s Rule for Over-the-Air Reception Devices, WT Docket No. 19-71, Report and Order 36
 FCC Rcd. 537, 544 ¶ 20 (2021) (OTARD Fixed Wireless R&O).
 3
   Restrictions on Over-the-Air Reception Devices, Report and Order, Memorandum Opinion and Order and Further
 Notice of Rulemaking, IB Dkt No. 95-59, CS Dkt No. 96-93, 11 FCC Rcd 19276 ¶¶ 53-58 (1996) (OTARD First
 Report and Order).
 4
   John F. Garziglia, Letter, 28 FCC Rcd 4145, 4146 (MB 2013)


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                                            Before the
                                 Federal Communications Commission
                                       Washington, D.C. 20554


 In the Matter of                                            )
                                                             )
 Indian Peak Properties, LLC                                 )
 Petitions for Declaratory Ruling                            )
 Under 47 C.F.R. § 1.4000                                    )
                                                             )
 To:                                                         )
 The Commission                                              )


                                     APPLICATION FOR REVIEW

         Indian Peak Properties, LLC (“Indian”) through counsel respectfully applies for review of

 the letter ruling dated December 13, 2022 (the “Final Letter Ruling”, attached as Exhibit A).5

 The Final Letter Ruling denies Indian’s Petition for Reconsideration, dated August 3, 2022

 (attached as Exhibit B). Indian’s Petition sought reconsideration – with respect to Antennas 2, 3

 and 4 – of the Bureaus’ dismissal, dated July 18, 2022 (the “Initial Letter Ruling,” attached as

 Exhibit C). The Initial Letter Ruling dismissed without prejudice Indian’s Petitions for

 Declaratory Ruling under the OTARD Rule, 47 C.F.R. § 1.4000. Antennas 2, 3 and 4 had been

 installed by wireless Internet service providers (WISPs) on the roof of the house located at 26708

 Indian Peak Road, Rancho Palos Verdes, California (the “Property”). The Final Letter Ruling

 (Exhibit A) and the Initial Letter Ruling (Exhibit C) are referred to collectively as the “Letter

 Rulings.”




 5
   Letter from Garnet Hanley, Chief, Competition and Infrastructure Policy Division, Wireless Telecommunications
 Bureau, and Maria Mullarky, Chief, Policy Division, Media Bureau to Julian Gehman, counsel to Indian Peak
 Properties LLC (Dec. 13, 2022). The Wireless Telecommunications Bureau and the Media Bureau are collectively
 referred to herein as the “Bureaus.”
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                                       RULE 1.115 STATEMENT

 Rule 1.115(a) Statement: Indian Peak Properties LLC participated in the proceeding below.

 Rule 1.115(b)(1) Questions presented for review:

 1.      Whether mobile wireless licensees are “service providers” within the meaning of

 paragraph 20 of the OTARD Fixed Wireless R&O,6 as tenants in the Property, using the Wi-Fi

 and hard-wired Internet access for their own internal operational purposes and, if so, whether this

 disqualifies Indian’s Antennas 2, 3 and 4 from OTARD protection.

 2.      Whether the Commission’s 2011 amendment of rules of practice7 applied 47 C.F.R. §

 1.401(e) (authorizing denial or dismissal of petitions for specified reasons) to petitions for

 declaratory ruling under 47 C.F.R. § 1.2.

 3.      Whether the word “should,” in 47 C.F.R. § 1.2(b), gives a Bureau discretion to refrain

 from docketing a petition or placing it on public notice, as required by that rule section.

 4.      If either of the above question 2 or 3 is answered in the affirmative, whether that gives

 Bureau staff discretion to disregard 47 C.F.R. § 1.4000(e), which requires that an OTARD

 petition “will be placed on public notice.”

 Rule 1.115(b)(2)(i)-(iii), (v) Commission consideration is warranted because: (i) Bureau

 handling of Indian’s OTARD petitions conflicts with Commission orders; (ii) the Commission

 has not considered the legality of the Garziglia letter;8 (iii) the Garziglia letter should be

 overturned; and (v) disregarding OTARD Rule procedure was prejudicial error.

 Rule 1.115(b)(2) Form of relief sought: Indian’s Petitions for Antennas 2-4, should be granted.




 6
   Updating the Commission’s Rule for Over-the-Air Reception Devices, WT Docket No. 19-71, Report and Order 36
 FCC Rcd. 537, 544 ¶ 20 (2021) (“OTARD Fixed Wireless R&O”).
 7
   Amendment of Certain of the Commission’s Part 1 Rules of Practice and Procedure and Part 0 Rules of
 Commission Organization, Report and Order, 26 FCC Rcd 1594, 1597, ¶¶ 11-12 (2011).
 8
   John F. Garziglia, Letter, 28 FCC Rcd 4145, 4146 (MB 2013).


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                                           STATEMENT OF FACTS

 A.       THE BUREAUS DELAYED RULING ON INDIAN’S OTARD PETITION FOR
          TWO YEARS AND ACTED PROMPTLY ONLY AFTER INDIAN SOUGHT A
          WRIT OF MANDAMUS FROM THE D.C. CIRCUIT

          On April 18, 2020, Indian filed a Petition for Declaratory Ruling seeking preemption,

 under the OTARD Rule, 47 C.F.R. § 1.4000 (“OTARD Rule”), of a decision by the City of

 Rancho Palos Verdes, California (the “City”), to revoke a conditional use permit for antennas on

 the Property pursuant to the City’s zoning ordinance.9 Over a year and a half went by with no

 response or even acknowledgement from the FCC. On December 10, 2021, Indian requested

 expedited action.10 Then, on January 21, 2022, Indian submitted a further request for expedited

 action.11 Indian submitted yet another letter on April 19, 2022, in which it again requested

 expedited action on the Petition.12 These letters, which were increasingly urgent, explained that

 the City was enforcing its zoning ordinance via litigation, and requested that the FCC shield

 Indian from the litigation pursuant to the OTARD Rule. Finally, two years after the Petition had

 been filed, the Bureaus dismissed Indian’s Petition without prejudice on April 22, 2022, stating

 that the Petition had provided insufficient information.13 In an effort to provide further

 information, and urgently needing a ruling in the face of aggressive zoning enforcement, Indian

 promptly filed five OTARD Petitions, covering Antennas 1, 2, 3, 4 and 5, respectively. Indian

 filed these Petitions on or about May 1, 2022, or just over one week after the Bureaus’ denial

 without prejudice of April 22, 2022.14


 9
   Indian Peak Properties LLC Petition for Declaratory Ruling (Apr.18, 2020).
 10
    Indian Peak Properties LLC, Supplement & Request for Expedited Action on Petition for Declaratory Ruling
 (Dec. 10, 2021).
 11
    Letter from Robert J. Keller, Counsel to Indian, to Marlene H. Dortch, Secretary, FCC (Jan. 21, 2022).
 12
    Letter from Toneata Martocchio, Counsel to Petitioner, to Marlene H. Dortch, Secretary, FCC (Jan. 21, 2022).
 13
    Letter from Garnet Hanly, Chief, Competition & Infrastructure Policy Division, Wireless Telecommunications
 Bureau, to Toneata Martocchio, counsel to Indian (Apr. 22, 2022).
 14
    Indian’s Petitions for Antennas 2, 3, and 4 are attached hereto as Exhibit D, Exhibit E and Exhibit F, respectively.
 Of the five antennas covered by Indian’s May 1, 2022, Petitions, Antenna 1 remains on the rooftop after the parties


                                                            3
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         Concerned that the Bureaus might take another two years to consider the newly filed

 Petitions, on June 3, 2022, Indian petitioned the United States Court of Appeals for the District

 of Columbia Circuit. Indian explained that the City was enforcing its zoning ordinance through

 litigation and asked the D.C. Circuit to issue a Writ of Mandamus to the FCC to (a) take action

 on Indian’s Petitions, or (b) acknowledge receipt of Indian’s Petitions and declare that a

 “proceeding” was initiated under the OTARD Rule.15 The Court required the FCC to respond to

 Indian’s Petition for Mandamus by July 22, 2022.16 On July 18, 2022, the Bureaus issued the

 Initial Letter Ruling (Exhibit C) again dismissing the Petitions without prejudice, and stating that

 there was insufficient information to determine whether Antennas 2-4 are serving end users at

 the premises. The Initial Letter Ruling said, for the first time, that there was no OTARD

 “proceeding.” On July 22, 2022, the Commission filed its Response at the D.C. Circuit, urging

 dismissal because the Commission had “disposed” of the Petitions.17 On August 3, 2022, Indian

 submitted its Petition for Reconsideration that is attached hereto at Exhibit B. On September 2,

 2022, the D.C. Circuit dismissed as moot Indian’s Petition for Mandamus.18

 B.      INDIAN VOLUNTARILY REMOVED THE DISPUTED ANTENNAS AFTER
         THE INITIAL LETTER RULING SAID THERE WAS NO “PROCEEDING”

         Indian’s defense against the City’s litigation was that Indian’s Petition started an OTARD

 “proceeding,” which suspended the City’s ability to enforce its zoning ordinance. 47 C.F.R. §

 1.4000(a)(4). Indian relied on FCC guidance that if the antenna user has requested a

 determination, the restriction may not be enforced until the Commission issues a ruling that the



 agreed that it is covered by the OTARD Rule; Antennas 2, 3 and 4 were taken down and are subject of this
 Application for Review; and Antenna 5 is not in dispute because Indian took it down and is not pursuing it.
 15
    In re Indian Peak Properties LLC, Petition for Writ of Mandamus, No. 22-1098, D.C. Cir. (Jun. 3, 2022).
 16
    Order, In re Indian Peak Properties LLC, No. 22-1098, D.C. Cir. (Jul. 1, 2022).
 17
    Response of Federal Communications Commission, In re Indian Peak Properties LLC, No. 22-1098, D.C. Cir.
 (Jul. 22, 2022).
 18
    Order, In re Indian Peak Properties LLC, No. 22-1098, D.C. Cir. (Sep. 2, 2022).


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 restriction is not preempted.19 However, the Initial Letter Ruling said that Indian’s Petitions did

 not initiate a proceeding.20 Upon review of the Initial Letter Ruling, Indian determined that it

 could no longer in good faith raise the “proceeding” defense in state court litigation and

 voluntarily removed the disputed antennas from the Property rooftop. With a favorable ruling

 from the Commission, Antennas 2, 3, and 4 can be reinstalled and WISP broadband service

 restored.

         Indian incurred several hundred thousand dollars in legal fees, in opposing the City’s

 zoning enforcement in reliance on the FCC’s published guidance, and liability for a judgment to

 pay the City’s attorneys fees. And, Indian lost the use of Antennas 2-4.

                                                ARGUMENT

 A.      THE LETTER RULINGS TAKE THE FCC’S ORDER OUT OF CONTEXT TO
         SET NEW SUBSTANTIVE POLICY

         1.       Continental Airlines is precedent for this case. Indian provided Wi-Fi
                  to its business invitees, as did Continental.

         Indian owns the Property and had been the customer to WISP service providers LT-WR,

 LLC (Antenna 2), GeoLinks (Antenna 3) and One Internet America (Antenna 4). The customer

 agreements and payment records with these WISPS are included in Indian’s Petitions.21

         Antennas 2, 3 and 4 provided Wi-Fi and hard-wired Internet access to the Property.

 Three antennas were needed for redundancy because of WISP service outages. The Property is

 located close to the beach and subject to a nearly constant marine layer, as well as temperature

 inversion on hot days and strong winds from storms. Consequently, radio reception in this area

 is difficult, and there are outages in WISP and other radio services. Antennas 2, 3 and 4 were



 19
    Infra 12-13.
 20
    Initial Letter Ruling 8-9.
 21
    Exh. D at 36-58 (LT-WR), Exh. E at 37-69 (GeoLinks), Exh. F at 36-76 (One Internet).


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 tied together by a Cisco ethernet switch that failed over to the next service provider when the

 first service went down. This comprised a single broadband service to the Property with

 redundant sources. The three antennas were installed by three different WISPs operating on

 different frequencies and transmitting over different paths. This configuration provided

 redundancy and helped to assure uninterrupted broadband service during difficult weather. Even

 with three different WISPs, the cost was less expensive than wireline broadband available at this

 address. The replacement wireline broadband recently had a 48-hour outage which would not

 have happened with the WISPs. Upon a favorable ruling from the FCC, the WISP configuration

 could be replicated. Antenna 2 is not a hub or relay antenna, while Antennas 3 and 4 are hub

 antennas.22

            Indian, its employees, and its owner James Kay, use the Property and use the Wi-Fi and

 hard-wired Internet access service. Indian also rents discrete portions of the Property to two

 tenants, Fisher Wireless Services, Inc. and Comm Enterprises, LLC, both of which are mobile

 wireless licensees (James Kay, the owner of Indian, is also the owner of Comm Enterprises and

 LT-WR). The tenants have used the Wi-Fi and hard-wired Internet access service. Fisher

 Wireless and Comm Enterprises each have employees who access the Property and, of course,

 used the Wi-Fi and hard-wired Internet access service. This is similar to Continental Airlines,

 where Continental provided Wi-Fi (Internet access) service to its business invitees.23 Here,

 Indian provided Wi-Fi and hard-wired Internet access to its business invitees.

            Indian’s Petition for Reconsideration noted that:

            Indian and its tenants, Fisher Wireless and Comm Enterprises, have been customers, as
            well as end users. They have been customers because Indian pays the broadband service
            providers, and the tenants pay for the service with their rent payments. They have been
            end users because they do not re-sell or re-transmit the broadband access, nor do they

 22
      Exh. D at 7 (Antenna 2), Exh. E at 8 (Antenna 3), Exh. F at 8 (Antenna 4).
 23
      Continental Airlines, 21 FCC Rcd 13201 (2006).


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            combine it with another service to provide a value-added service to end users. Instead
            they have used it in their own internal operations such as to check the status of sensors
            and alarms that are connected to the Internet.24

            Indian’s configuration was very different from that of a hub or relay antenna that

 forwards signals onward from the rooftop antenna. As noted, cables from Antennas 2, 3 and 4

 entered the house and met at a Cisco ethernet router that selected signals from one of the three

 antennas to provide Wi-Fi and hard-wired Internet access within and around the Property. This

 served as a single broadband service to the Property with redundant sources. From there, the

 tenants used the Internet access for their own internal purposes. This is different from a hub or

 router antenna that forwards broadband signals onward from one rooftop antenna to the next.

            2.       The OTARD Fixed Wireless R&O contradicts the Letter Rulings.

            Notwithstanding the similarity to Continental Airlines, the Letter Rulings dismissed the

 Petitions for Antennas 2, 3 and 4. The Letter Rulings object to Indian’s tenants, Fisher Wireless

 Services, Inc. and Comm Enterprises, LLC. The Initial Letter Ruling said:

            When the Commission expanded the scope of the OTARD Rule in 2021, it determined
            that “the rule will not treat service providers as antenna users.” In this case, the record
            indicates that users of Antennas 2-4 each appear to be communications service
            providers.25

 The Final Letter Ruling, at 3, further claims that “the record does not identify any non-

 communications-service-provider who regularly resides at or uses the premises.” Taking the

 Bureaus’ claim at face value, Indian’s tenants are “service providers” within the meaning of this

 order, and the very sentence that the Initial Letter Ruling relies on contradicts the Bureaus’

 claim. Following is the full sentence that the Letter Rulings reference:




 24
      Exh. B at 11.
 25
      Initial Letter Ruling at 5, quoting OTARD Fixed Wireless R&O ¶ 20 (internal citation omitted).


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         The revised rule will not treat service providers as antenna users, and their
         agreements with building owners therefore would be subject to OTARD protection
         only if the building owner is itself a customer.26

 Indian is the building owner and is itself the customer.27 Following the Bureaus’ logic that the

 tenants are “service providers,” this sentence says that the tenants’ agreements with Indian are

 subject to OTARD protection. Thus, OTARD protection applies to Antennas 2, 3 and 4. An

 earlier sentence in this same paragraph 20 says the same thing: “the new rule would not apply to

 the placement of hub and relay antennas on a building rooftop unless the building owner is a

 customer of the provider.”28 Indian is the building owner and is itself a customer of the

 providers; therefore, the new rule applies. The very sentence and paragraph on which the Letter

 Rulings rely contradict their reason to dismiss Indian’s petitions.

         3.       The Letter Rulings took the OTARD Fixed Wireless R&O out of context.

         In fact, Indian’s tenants are not “service providers” within the meaning of this order. The

 Letter Rulings took the term “service provider” out of context and turned it into

 “communications service provider.” According to the Bureaus, mobile wireless licensees Fisher

 Wireless and Comm Enterprises are “communications service providers” that must be “service

 providers,” and excluded from OTARD protections.

         It is well established that, “[w]ords that can have more than one meaning are given

 content [] by their surroundings.”29 A vague or ambiguous provision acquires a plain meaning

 when read in light of the entire order.30 “Service provider” is such an ambiguous provision; it




 26
    OTARD Fixed Wireless R&O ¶ 20.
 27
    The WISP/Indian customer agreements and Indian’s payment records appear in the Petitions. Exhibit D at 36-58
 (LT-WR), Exhibit E at 37-69 (GeoLinks), Exhibit F at 36-76 (One Internet).
 28
    OTARD Fixed Wireless R&O ¶ 20 (emphasis added).
 29
    Whitman v. American Trucking Ass’ns, Inc., 531 U.S. 457, 466 (2001) (construing statutory term “public health”).
 30
    Bruce v. Samuels, 577 U.S. 82 (2016); Arizona v. Inter Tribal Coun. of Arizona, 570 U.S. 1 (2013).


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 has many meanings.31 Therefore, the context of the FCC’s “service provider” statement must be

 examined. The Commission’s 2019 NPRM sought comment on:

          Should the Commission clarify that it will interpret “antenna user” to include fixed
          wireless service providers? For example, if a fixed wireless service provider leases space
          for a hub antenna on private property, should the Commission clarify that the service
          provider becomes the antenna user with respect to that property?32

          The OTARD Fixed Wireless R&O ¶ 20 resolves this question in the negative:

          The revised rule will not treat service providers as antenna users, and their agreements
          with building owners therefore would be subject to OTARD protection only if the
          building owner is itself a customer.

          The Commission used “service provider” to mean the company that leases rooftop space

 for the antenna, installs the antenna and provides the broadband service via the antenna. This is

 shown by the very sentence that the Initial Letter Order quotes (“The revised rule will not treat

 service providers as “antenna users,” and their agreements with building owners therefore

 would be subject to OTARD protection only if the building owner is itself a customer”).33 The

 phrase “their agreements” refers back to “service providers,” demonstrating that service

 providers negotiate agreements with building owners. The entire paragraph 20 deals with the

 relationship between “fixed wireless service providers” and landlords and the need for the

 service providers to “negotiate agreements with appropriate parties for the placement of their

 antennas in areas where the property owner or lessee has exclusive use of control.” Id.

          Finally, the purpose of this Order is to “place fixed wireless broadband-only service

 providers on similar competitive footing with other service providers.”34 This contradicts the



 31
    See, e.g., Wikepedia: “A service provider (SP) is an organization that provides services such as consulting, legal,
 real estate, communications, storage, and processing services, to other organizations.”
 https://en.wikipedia.org/wiki/Service_provider (emphasis in original) (viewed Jan. 4, 2023).
 32
    Updating the Commission’s Rule for Over-the-Air Reception Devices, WT Docket No. 19-71, Notice of Proposed
 Rulemaking, 34 FCC Rcd 2695 ¶ 10 (2019) (2019 NPRM).
 33
    OTARD Fixed Wireless R&O ¶ 20 (emphasis added).
 34
    OTARD Fixed Wireless R&O ¶ 1.


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 Final Letter Ruling’s claim that “the Commission intended to differentiate between service

 providers and customers receiving service.”35 In fact, the Commission differentiated between

 “fixed wireless broadband-only service providers” and “other service providers.”36 The Initial

 Letter Ruling took “service provider” out of context, and the Final Letter Ruling attempted to

 justify it with a rationale that misstates the OTARD Fixed Wireless R&O.

        Applying the Order’s usage of “service provider” to the present situation, LT-WR LLC is

 the service provider for Antenna 2, GeoLinks is the service provider for Antenna 3, and

 OneInternet America is the service provider for Antennas 4. Indian’s tenants, Fisher Wireless

 and Comm Enterprises, are users, not service providers for Antennas 2-4.

        4.      The Letter Rulings misconstrue the purpose of the OTARD Fixed Wireless
                R&O.

        The Final Letter Ruling at 4 opines that “we see no reason the Commission would

 disqualify antenna “use” by the antenna owner to serve offsite customers but apply OTARD

 protection to the antenna based on another service provider’s use of the antenna to support the

 provision of service to its own offsite customers.” The purpose of the disqualification of antenna

 owners’ “use” was so that “fixed wireless service providers will still need to negotiate

 agreements with” property owners or lessees. 37 The Commission responded to property owners’

 concerns about loss of control over property by continuing to require the antenna owner to

 negotiate with the owner or lessee. The Commission’s purpose was to respect property rights,

 not regulate how communications companies get their Internet access. Denial of Indian’s

 Petitions does not further the Commission’s purpose. Indian is the property owner and Indian’s

 property rights are not harmed by having its tenants use the broadband service from the antennas


 35
    Final Letter Ruling 4.
 36
    Supra n34.
 37
    OTARD Fixed Wireless R&O ¶ 20.


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 to help serve offsite customers. In fact, it’s the opposite: the Letter Rulings’ refusal to follow the

 OTARD Rule infringes Indian’s property rights (more on this below). The Letter Rulings’

 interpretation cuts against the Commission’s purpose of respecting property rights, and the

 FCC’s mission to make available nationwide radio communication service.38

            5.      The Letter Rulings would disenfranchise the entire communications industry
                    from filing an OTARD petition.

            The far-fetched Letter Rulings have unintended consequences. They disenfranchise an

 entire class of potential OTARD users. T-Mobile, AT&T, Verizon, Comcast, and other

 communications service providers are “intermediate service providers” (see Final Letter Ruling

 4) that are precluded from filing an OTARD petition for themselves. For example, if a T-Mobile

 office takes commercial broadband service from a rooftop hub antenna, the company could not

 file an OTARD petition to protect that antenna. Broadband service from that antenna would help

 to provide service to offsite customers, which purportedly is removed from OTARD protection

 under the far-fetched Letter Rulings.

             Moreover, Antenna 2 is not a hub or relay antenna,39 and the OTARD Fixed Wireless

 R&O has no impact on Antenna 2. Nevertheless, the Letter Rulings denied that Petition,

 apparently, on the “service provider” rationale. This precedent disqualifies any communications

 provider, even where a hub antenna is not involved. The Letter Rulings are setting new policy

 reaching far beyond the plain wording of the Commission’s OTARD Fixed Wireless R&O. A

 notice-and-comment rulemaking is required to disqualify the entire communications industry.




 38
      47 U.S.C. § 151.
 39
      Exhibit D at 7.


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           6.      The Letter Rulings’ artificial distinction should be rejected

           Finally, the Commission ruled that “the revised rule applies equally to all fixed wireless

 antennas . . . There is no longer any reason to maintain the definitional distinction in our rule

 between these types of antennas and, accordingly, we eliminate it.”40 The Letter Rulings’

 attempt to layer on a new definitional distinction of “communication service provider” or

 “intermediate service provider” should similarly be rejected. Antennas 2, 3 and 4 satisfy the

 requirements of the OTARD Rule, and the petitions should be granted.

           In summary, the Letter Rulings should be reversed because:

 1.        Paragraph 20 of the OTARD Fixed Wireless R&O protects service providers where the

 building owner is itself a customer, which Indian is;

 2.        “Service provider” in this R&O refers to fixed wireless broadband providers that install

 and operate rooftop antennas, not to Indian’s tenants, which are using the broadband service for

 internal purposes;

 3.        The Letter Rulings’ actions do not further the R&O’s purpose of respecting property

 rights but instead cut against that goal by infringing Indian’s property rights, and also cut against

 the Commission’s core mission of promoting nationwide radio communication; and

 4.        The Letter Rulings have unintended consequences negatively impacting the

 communications industry.

 B.        THE LETTER RULINGS VIOLATED FCC RULES OF PROCEDURE

           The Bureaus delayed acting on Indian’s OTARD Petition for two years. They did not

 follow the OTARD Rule, 47 C.F.R. § 1.4000, or the Declaratory Ruling Rule, 47 C.F.R. § 1.2.




 40
      OTARD Fixed Wireless R&O at ¶ 11.


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 These rules mandate stay of zoning enforcement, and placement of the OTARD petition on

 public notice, with the burden of proof on opponents.

         1.       The Commission gave clear guidance as to OTARD procedure

         Three sources of FCC guidance require this procedure. First, in implementing Congress’

 mandate, the Commission said that once a petition is filed, that does not involve a safety or

 historical preservation issue, “the restriction may not be enforced until the Commission or a

 court of competent jurisdiction issues a ruling that the restriction is not preempted.”41 The

 Property presents no safety or historical preservation issues.

         Second, the Commission website provides the following guidance:

 Q: Can I continue to use my antenna while the petition of waiver request is pending?

 A: Yes, unless a restriction being challenged or for which a waiver is sought is necessary for
 reasons of safety or historic preservation. Otherwise, the restriction cannot be enforced while the
 petition is pending. 42

         Third, upon submission of a petition, the OTARD Rule provides that: (a) there is a stay

 on zoning enforcement until a determination on the merits is made,43 (b) the petition “will be put

 on public notice,”44 (c) the burden of proof falls on the municipality or homeowner association

 to persuasively oppose,45 and (d) implicitly, the Commission is neutral arbiter in adjudicating.

 The OTARD Rule’s shield from litigation is not conditioned on the Bureaus deciding that a

 petition will “identify a dispute that implicates the OTARD rule.” Rather, the OTARD Rule is




 41
    Preemption of Local Zoning Regulation of Satellite Earth Stations, Report and Order, IB Docket No. 95-59, and
 Further Notice of Proposed Rulemaking in CS Docket No. 96-83, 11 FCC Rcd 19276 ¶ 53 (1996) (OTARD First
 Report and Order).
 42
    https://www.fcc.gov/media/over-air-reception-devices-rule (last viewed Dec. 19, 2022).
 43
    47 C.F.R. § 1.4000(a)(4).
 44
    47 C.F.R. § 1.4000(e) (emphasis added).
 45
    47 C.F.R. § 1.4000(g).


                                                        13
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 explicit: “[p]etitions to the Commission must comply with the procedures of paragraphs (f) and

 (h) of this section and will be put on public notice.”46

         2.       The Letter Rulings distort OTARD procedure to give unwarranted latitude

         Nevertheless, the Letter Rulings erect an edifice purporting give the Bureaus discretion to

 avoid following the Commission’s clear guidance. The Initial Letter Ruling (at 8-10) offers a

 byzantine rationale for not declaring that a “proceeding” was initiated: First, “the Commission

 intended to make the process for petitions for declaratory ruling ‘similar’ to that for rulemaking,”

 and rulemaking petitions may be denied or dismissed under certain circumstances, 47 C.F.R. §

 1.401(e); Second, Rule 1.2(b) utilizes the word “should” thereby giving staff discretion to ignore

 the docketing requirement; and Third, the relevant FCC Order recognized circumstances where

 the docketing procedure “should not be used.”47 However, none of this is supported by FCC

 orders. This is bureau-made policy that exceeds delegated authority.

         First, the purpose for processing petitions for declaratory ruling similar to rulemaking

 petitions was to eliminate the impractical ten-day window for filing oppositions to a petition for

 declaratory ruling, not to give bureau staff wide ranging discretion. In the 2011 update of

 Commission rules of practice (the “Rules of Practice R&O”), Verizon proposed that the

 Commission revise its rules so that the time to file oppositions to petitions for declaratory ruling

 is not governed by the default ten-day rule found in Rule 1.45(b) but instead treated like

 rulemakings which are docketed with a comment deadline appearing in the public notice.48 This

 previous practice often gave interested parties insufficient time to understand and respond to



 46
    47 C.F.R. § 1.4000(e) (emphasis added). Paragraphs (f) and (h) require that interested parties be served and
 factual assertions be backed by an affidavit of a person with knowledge. Indian’s Petitions satisfied these
 requirements.
 47
    Initial Letter Ruling 8.
 48
    Amendment of Certain of the Commission’s Part 1 Rules of Practice and Procedure and Part 0 Rules of
 Commission Organization, Report and Order, 26 FCC Rcd 1594, 1597, ¶¶ 11-12 (2011) (Rules of Practice R&O).


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 complex issues presented by petitions for declaratory ruling. The Commission agreed and added

 47 C.F.R. § 1.2(b) to require that petitions for declaratory ruling be docketed with a default

 deadline for oppositions of 30 days from the public notice. Id.

        The Initial Letter Ruling refers to the following from the Rules of Practice R&O:

        We therefore determine that petitions for declaratory ruling should be
        handled in a similar manner to petitions for rulemaking under Section 1.106, rather than
        in accordance with Section 1.45(b). That is, each petition should be docketed. . .. We
        will amend the existing rule involving declaratory rulings, Section 1.2, to reflect these
        requirements. Id. at ¶ 11 (emphasis added).

 The purpose was to give interested parties time to understand the complex issues that are

 sometimes presented by a petition for declaratory ruling. Id. The phrase “[t]hat is” tells the

 reader what the similarity to rulemaking will be, namely, that there will be a docketing and

 public notice requirement. Moreover, in stating that Section 1.2 would be amended “to reflect

 these requirements,” the Commission indicated that the full scope of the change to FCC policy is

 embodied in Rule 1.2(b), which was added in that action. Rhetorical devices (“That is” and “We

 will amend . . . Section 1.2, to reflect these requirements”) circumscribe the limits of similarity to

 rulemaking. The Rules of Practice R&O incorporated only a select part of rulemaking procedure

 (docketing and public notice). The Rules of Practice R&O did -
                                                              not
                                                                - incorporate rulemaking

 procedure wholesale, as suggested by the Bureaus. In particular, there was no discussion of

 applying 47 C.F.R. § 1.401(e) (authorizing denial or dismissal of rulemaking petition) to

 petitions for declaratory ruling. Id. The Rules of Practice R&O makes no reference whatsoever

 to Rule 1.401. As noted, the Commission’s purpose was to give interested parties time to

 understand the issues, which would not be furthered by Rule 1.401(e). In short, the Rules of

 Practice R&O did not authorize application of Rule 1.401(e) to petitions for declaratory ruling.




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          Second, turning to the text of Rule 1.2(b), 47 C.F.R. § 1.2(b), the Initial Letter Ruling

 sees significance in the word “should,” claiming that it gives staff discretion to refrain from the

 docketing requirement of that rule.49 This is misplaced for several reasons. Dictionary

 definitions of “should” reference obligation or duty, not discretion.50 Where the rule says staff

 “should” do something, it means that staff are obligated to do it. In delegations of authority,

 discretion traditionally is granted by the word “may,” not the word “should.” Moreover, when

 the FCC grants discretion to bureaus, it does so explicitly, not with a subtle hint like “should.”

 For example, in paragraph 10 of the Rules of Practice R&O, the FCC used explicit language:

 “[d]uring this transition to a comprehensive docketing regime, we will permit bureaus and

 offices not to assign a formal docket number to certain proceedings if, in the considered

 judgment of staff, docketing would raise special technical difficulties . . ..”51 The Commission

 made this and other grants of discretion explicitly, not indirectly. If “should” were intended to

 have the discretionary meaning claimed by the Bureaus, the Commission would have said so in

 paragraphs 11-12 of the Rules of Practice R&O.52

           Third, the Initial Letter Ruling cites to the above quoted paragraph 10 to claim that the

 Rules of Practice R&O recognized that sometimes docketing and public notice procedures

 “should not be used.”53 However, that’s not what paragraph 10 says. Moreover, by its terms, the




 49
    Initial Letter Ruling 8 (citing John F. Garziglia, Letter, 28 FCC Rcd 4145, 4146 (MB 2013)). Rule 1.2(b)
 provides in part, “[t]he bureau or office to which a petition for declaratory ruling has been submitted or assigned by
 the Commission should docket such a petition . . ..” 47 C.F.R. § 1.2(b) (emphasis added).
 50
    Dictionary.com (“must; ought (used to indicate duty, propriety or expediency)”).
 https://www.dictionary.com/browse/should. See also The Free Dictionary
 https://www.thefreedictionary.com/should; Cambridge English Dictionary
 https://dictionary.cambridge.org/dictionary/english/should; Merriam-Webster https://www.merriam-
 webster.com/dictionary/should; Collins English Dictionary
 https://www.collinsdictionary.com/dictionary/english/should (viewed Jan. 4, 2023).
 51
    Rules of Practice R&O at ¶ 10.
 52
    Supra n48.
 53
    Letter Ruling 8 (emphasis in original).


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 grant of discretion appearing in paragraph 10 lapsed when the new docketing system came

 online. The bureaus have been using the docketing system for some time, including for the

 OTARD petition filed against the City of Chicago.54

         3.      The Garziglia letter should be reversed

         Indian’s Petition for Reconsideration set out the foregoing.55 Instead of responding to

 Indian’s showings, the Final Letter Ruling summarily ruled that Indian’s arguments had been

 “fully considered and rejected,” and that Rule 1.2 “has been interpreted as according discretion

 to the Commission to avoid seeking comments on” selected petitions.56 As support for this, the

 Final Letter Ruling cited the Garziglia letter again. Id. That the Final Letter Ruling utilized an

 authoritarian response (“fully considered and rejected”), rather than providing a reasoned reply

 to Indian’s arguments, suggests that there is no good reasoned response. If the Bureaus are

 unwilling or unable to give a reasoned explanation of how Indian’s showings are incorrect, then

 the Garziglia letter should be dropped as precedent.

         The Garziglia letter self-appropriates discretion that the Rules of Practice R&O does not

 grant. The Garziglia letter says, “[i]n adopting Rule 1.2(b), the Commission intended to make

 petitions for declaratory ruling ‘similar’ to rulemaking” by incorporating Rule 1.401(e). 26 FCC

 Rcd at 4146. As shown above, supra 13-16, the Rules of Practice R&O says absolutely nothing

 about Rule 1.401 and employs rhetorical devices to delimit the part of rulemaking procedure that

 is being incorporated (public notice and comment). Because it is not included, Rule 1.401(e) is

 excluded from the items incorporated into declaratory ruling procedure.




 54
    In the Matter of Satellite Broadcasting & Communications Association, DIRECTV, LLC, and DISH Network
 L.L.C., Petition for Declaratory Ruling Under 47 CFR §1.4000, Declaratory Ruling, MB Docket No. 20-284 (MB
 2021).
 55
    Recon. Petition, Exh. B, at 5-9.
 56
    Final Letter Ruling at 4-5.


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            The Garziglia letter also says the word “should” in Rule 1.2(b) gives discretion to

 disregard docketing and public notice requirements. 26 FCC Rcd at 4146. Again, the Rules of

 Practice R&O says nothing about this. As shown above, supra 13-16, dictionary definitions of

 “should” indicate that staff are obligated to do so. Moreover, the Commission does not casually

 grant discretion and would have said so explicitly if it were granting discretion.

            The Garziglia letter exceeds delegated authority. Notice-and-comment rulemaking by

 the Commission would be required to incorporate Rule 1.401(e) into declaratory ruling

 procedure, and to turn “should” into “may” in Rule 1.2(b). The Bureaus lack authority to do this.

 Mechanically citing to the Garziglia letter does not rescue it from having improperly

 appropriated discretion in the first place, nor does it serve as precedent for the present action.

 The Letter Rulings cite to no Commission endorsement of the Garziglia letter. The Garziglia

 letter survived because it apparently has not been challenged. It is bad precedent and should be

 reversed.

            4.      The Bureaus breached the OTARD reliance interest.

            The OTARD Rule says that “[p]arties may petition the Commission for a declaratory

 ruling” under Rule 1.2.57 OTARD petitions are a special breed of petition for declaratory ruling

 because they have a strong reliance interest. The Commission invites this type of petition. In

 1996, the FCC said that if an antenna user has requested a determination from the Commission,

 the zoning restriction may not be enforced where there is no safety or historical preservation

 issue.58 The Commission essentially said, “Go ahead, put up your OTARD-compliant antennas,

 and you will be protected from zoning enforcement until the petitions are adjudicated.” An




 57
      47 C.F.R. § 1.4000(e).
 58
      OTARD First Report and Order at ¶ 53.


                                                    18
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 antenna user is invited to disobey inconsistent zoning ordinances, and then rely on the FCC when

 local authorities seek to enforce the ordinance. The FCC says to the disobedient antenna user:

 Q: Can I continue to use my antenna while the petition of waiver request is pending?

 A: Yes, unless a restriction being challenged or for which a waiver is sought is necessary for
 reasons of safety or historic preservation. Otherwise, the restriction cannot be enforced while the
 petition is pending. 59

 This creates a reliance interest among antenna users: if an antenna user puts herself at risk of

 litigation by erecting an OTARD-compliant antenna, she will be shielded from zoning

 enforcement. The quid pro quo of reliance is that the Commission has to actually follow through

 and shield the petitioner. There is a huge disconnect between the reliance interest established by

 the Commission and the Bureaus’ mishandling of Indian’s Petitions. The Bureaus’ two-year

 delay; refusal to invoke a “proceeding” to shield from litigation; assertion of unbounded

 discretion to delay consideration indefinitely; and declaration that a petition does not “implicate

 the OTARD Rule” – none of this comports with the OTARD reliance interest. Reliance interests

 are enforceable against the FCC.60 The Commission is held to its guidance. This Application for

 Review asks the Commission to make good on its OTARD guidance.

         5.       The Letter Rulings adjudicated the merits of Indian’s petitions,
                  abrogating OTARD procedure for impartial adjudication

         The Commission’s procedure (set out in the above recited OTARD First Report and

 Order, website Q&A guidance and OTARD Rule) would help to assure an impartial

 adjudication. As noted, the Bureaus are supposed to initiate an adversarial process of public

 notice and comment on the OTARD petition, with the burden of proof on opponents. However,

 the Letter Rulings did not follow the OTARD Rule, claiming that Indian’s Petitions “failed to


 59
    https://www.fcc.gov/media/over-air-reception-devices-rule (last viewed Dec. 19, 2022).
 60
    See, e.g., RKO General Inc. v. FCC, 670 F.2d 215, 223 (D.C. Cir. 1981), cert. denied, 452 U.S. 927 (1982)
 (remanding where licensee detrimentally relied on previous FCC guidance).


                                                         19
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 include allegations with sufficient detail, clarity and accuracy to identify a dispute that implicates

 the OTARD rule.”61 With this statement, the Letter Rulings admit that the Bureaus adjudicated

 the merits of Indian’s Petitions. By definition, if the petition implicates the OTARD Rule, the

 zoning restriction is preempted. Determination of whether the OTARD Rule is implicated

 constitutes adjudication.

         This is borne out by the OTARD “adjudications.”62 The petitioner won every single

 formal adjudication of an OTARD petition.63 Of these, three petitions were granted in part and

 denied in part,64 while the rest were granted in full. Every petitioner was able to place his or her

 antennas, including the ones that were denied in part. These were not real adjudications. The

 outcome was pre-determined. There was no actual controversy as to whether preemption

 applied. That had been ascertained in the screening phase. The real adjudication occurred in the

 screening before the petition was put on public notice. That’s where it was decided whether the

 petition implicates the OTARD Rule. The screening phase is the only place where petitions have




 61
    Final Letter Ruling 5.
 62
    See https://www.fcc.gov/media/over-air-reception-devices-rule (listing adjudicated OTARD petitions) (viewed
 Jan. 4, 2023).
 63
    Satellite B’casting and Comm. Ass’n., Decl.Rul., MB Docket No. 20-284 (Jan. 11, 2021); Satellite B’casting and
 Comm. Ass’n., Decl.Rul., DA 18-393 (Apr. 18, 2018); Brent Beumel, Jr., Decl.Rul., DA 16-190 (Feb. 23, 2016);
 Corey & Juanita Walker, Decl.Rul., DA 11-1271 (Jul. 27, 2011); Policarpo & Lourdes Medios, MO&O, DA 10-
 2153 (Nov. 8, 2010); Craig Wirth, Decl.Rul., DA 10-2150 (Nov. 5, 2010); Constance M. Lane and Daniel F. Lane,
 Decl.Rul., DA 09-2272 (Oct. 30, 2009); Richard Rhoad, Decl.Rul., DA 09-1675 (Jul. 29, 2009); William Culver,
 Decl.Rul., DA 09-1674 (Jul. 29, 2009); James S. Bannister, Decl.Rul., DA 09-1673 (Jul. 29, 2009); Philip
 Wojcikewicz MO&O, FCC 07-98 (May 25, 2007), MO&O, DA 03-2971 (Sep. 29, 2003); Continental Airlines,
 MO&O, FCC 06-157 (Nov. 1, 2006); Michael and Alexandra Pinter, Decl.Rul., DA 04-2839 (Sep. 1, 2004); Victor
 Frankfurt, MO&O, FCC 03-210 (Aug. 27, 2003), Decl.Rul., DA 01-0153 (Feb. 7, 2001), Decl.Rul., DA 97-2305
 (Dec 31, 1997); Corey Roberts, Decl.Rul., DA 01-0153 (May 24, 2001); Bell Atlantic Video, Decl.Rul., DA 00-927
 (Apr. 26, 2000); Stanley and Vera Holliday, Decl.Rul., DA 99-2132 (Oct. 8, 1999); Jay Lubliner, MO&O, FCC 98-
 201 (Aug. 21, 1998), Decl.Rul., DA 97-2188 (Oct. 14, 1997); James Sadler, Decl.Rul., DA 98-1284 (Jul. 1, 1998);
 Jordan Lourie, Decl.Rul., DA 98-1170 (Jun. 17, 1998); Jason Peterson, Decl.Rul., DA 98-0199 (Feb. 4, 1998);
 Wireless Broadcasting Systems, Decl.Rul., DA 97-2506 (Nov. 28, 1997); Omnivision, Decl.Rul., DA 97-2187 (Oct.
 14, 1997); Star Lambert, Decl.Rul., DA 97-1554 (Jul. 27, 1997).
 64
    Richard Rhoad, Decl.Rul., DA 09-1675 (Jul. 29, 2009); Michael and Alexandra Pinter, Decl.Rul., DA 04-2839
 (Sep. 1, 2004); Victor Frankfurt, MO&O, FCC 03-210 (Aug. 27, 2003).


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 been denied outright (Multifamily Broadband Council65 and, now, Indian Peak Properties, LLC).

 The Bureaus call it a dismissal but these petitions effectively were denied because the Bureaus

 found they did not implicate the OTARD Rule. In screening/adjudicating Indian’s OTARD

 petitions, the Bureaus acted as prosecutor, judge and jury. This contravened the procedure set

 out in the OTARD First Report and Order and the OTARD Rule, which help assure an impartial

 adjudication. It short-circuited the adversarial public notice and burden of proof on opponents.

         The Final Letter Ruling attempts to justify its refusal to follow the OTARD Rule because

 initiating a proceeding “immediately alters the parties’ legal rights by staying the local

 government action.” Final Letter Ruling 5. However, this is exactly what the OTARD rule

 contemplates – the same could be said about every OTARD petition. The Commission’s

 discretion to “conduct its proceedings as will best conduce to the proper dispatch of business and

 the ends of justice,” quoted in the Final Letter Ruling 5, does not authorize the Bureaus to ignore

 the procedure set out by the Commission’s OTARD First Report and Order and OTARD Rule.

         In further attempt to justify their refusal to follow procedure, the Letter Rulings assert

 that the OTARD Rule “includes procedural and substantive requirements.”66 However, in fact,

 the OTARD Rule includes minimal procedural requirements: petitions and pleadings must be

 served on interested parties and supported by an affidavit of a person with actual knowledge.67

 The Letter Rulings do not claim that Indian failed these requirements. The OTARD Rule

 imposes no substantive requirements for a petition. The OTARD Rule is explicit: “[p]etitions to




 65
    Petition for Declaratory Ruling - Multifamily Broadband Council, Letter Order, 32 FCC Rcd 3794, 3795-96 (MB
 2017) (dismissing OTARD petition).
 66
    Final Letter Ruling 2.
 67
    47 C.F.R. §§ 1.4000(f), (h).


                                                       21
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 the Commission must comply with the procedures of paragraphs (f) and (h) of this section and

 will be put on public notice.”68

          Indian’s Petitions clearly addressed the subject matter of the OTARD Rule – rooftop

 antennas of the right size and height, with clear evidence of Indian’s customer relationships with

 WISPs, and statement of the City’s zoning ordinance and abatement orders. However, the Letter

 Rulings “screened” Indian’s Petitions based on the bureau-made “service provider” rationale.

 This was an adjudication. Under the OTARD Rule and the OTARD First Report and Order,

 Indian’s petitions should have gone on public notice. At a minimum, the petitions should have

 been docketed and the zoning litigation stayed while the Bureaus issued their Letter Rulings and

 Indian pursued reconsideration and review until “the Commission . . . issues a ruling that the

 restriction is not preempted.”69 Indian was the only petitioner to face zoning enforcement

 litigation that did not receive the OTARD shield from litigation. The Bureaus acted in an

 arbitrary and discriminatory manner.

 C.       THE LETTER RULINGS VIOLATED INDIAN’S DUE PROCESS RIGHTS

          1.       The Commission created a property interest, giving rise to due process rights

          The Supreme Court has ruled that a legitimate claim of entitlement to a benefit forms a

 property interest for due process purposes.70 The OTARD Rule establishes such a legitimate

 claim: “[p]etitions to the Commission must comply with the procedures of paragraphs (f) and (h)

 of this section and will be put on public notice.”71 Indian was entitled to have its Petitions

 placed on public notice and, concomitantly, shielded from litigation. The Letter Rulings

 deprived Indian of this property by refusing to open a “proceeding.” This cost Indian hundreds


 68
    47 C.F.R. § 1.4000(e) (emphasis added).
 69
    OTARD First Report and Order ¶ 53.
 70
    Board of Regents of State Colleges Et. al. v. Roth, 408 U.S. 564, 577 (1972).
 71
    47 C.F.R. § 1.4000(e) (emphasis added).


                                                          22
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 of thousands of dollars and loss of use of the antennas. Indian explained the hardship of

 defending against zoning litigation and requested relief. In response, the Bureaus deliberately

 refused to invoke a “proceeding” to shield from litigation.

          Indian owns the Property and has a property interest in the use of Antennas 2, 3 and 4.

 The OTARD Fixed Wireless R&O, at ¶ 33, recognizes that property interests are at stake in the

 placement of OTARD antennas on rooftops. The Bureaus’ mishandling of Indian’s OTARD

 petitions deprived Indian of this property. The Letter Rulings applied the improper “service

 provider” standard, putting the thumb on the scale in an adjudication lacking impartiality.

          “No clause in our nation’s Constitution has as ancient a pedigree as the guarantee that

 “[n]o person shall . . . be deprived of life, liberty or property without due process of law.”72 Due

 process depends on unbiased tribunal and notice of the proceeding.73 The Bureaus violated both.

 As shown above, in “screening” Indian’s Petitions, the Bureaus adjudicated the merits, violating

 Indian’s due process right to an impartial adjudication.

          2.       The Bureaus failed to give notice

          The Initial Letter Ruling cites to two bureau publications to notice the procedure. First,

 the two-page Garziglia letter (supra n49, 16-18), about a broadcast matter, somehow noticed

 how they would treat OTARD Petitions.74 One would have to be clairvoyant to divine this.

 There was also a previous dismissal of an OTARD petition.75 However, it does not cite the

 Garziglia letter, does not discuss procedure used to handle OTARD petitions and is in a different

 posture because there was no litigation. This fleeting bureau-level “notice” is inadequate.




 72
    Ass'n of Am. R.R. v. Dep't of Transp., 821 F.3d 19, 27 (D.C. Cir. 2016) (quoting U.S. CONST. AMEND. V.).
 73
    Friendly, H. J. (1975). Some Kind of Hearing. University of Pennsylvania Law Review, 123(6), 1267–1317 at 1279-81.
 74
    Initial Letter Ruling 8, citing John F. Garziglia, Letter, 28 FCC Rcd 4145, 4146 (MB 2013).
 75
    Initial Letter Ruling 8, citing Petition for Declaratory Ruling - Multifamily Broadband Council, Letter Order, 32
 FCC Rcd 3794, 3795-96 (MB 2017).


                                                           23
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            The Bureaus did not inform Indian that there was no proceeding until the Initial Letter

 Ruling, or two and a quarter years after Indian filed its initial OTARD Petition, and in response

 to Indian’s Petition for Writ of Mandamus before the D.C. Circuit. The Bureaus didn’t follow

 the Commission’s procedure and didn’t tell Indian that they weren’t following the Commission’s

 procedure – like “double secret probation” in the movie Animal House. That is unconstitutional.

                                                  CONCLUSION

            The Supreme Court requires that “precision and guidance are necessary so that those

 enforcing the law do not act in an arbitrary or discriminatory way.”76 The Bureaus substituted

 their own procedure for the Commission’s guidance and acted in an arbitrary and discriminatory

 way. This Application for Review asks the Commission to correct the situation and make good

 on its OTARD guidance. The City has taken full advantage of this proceeding to inform the

 Commission of its views. Placing Indian’s OTARD petitions on public notice at this late date

 would add nothing new. Indian’s Petitions for Antennas 2, 3, and 4 are ripe for grant.

            WHEREFORE, it is respectfully requested that the Bureaus’ dismissals be reversed with

 respect to Antennas 2, 3 and 4, and the Petitions for these antennas be granted.

                                                        Respectfully submitted,

                                                        /s/ Julian Gehman
                                                        ___________________
                                                        Julian Gehman
                                                        Gehman Law PLLC
                                                        (202) 341-0198
                                                        julian@gehmanlaw.com
                                                        P.O. Box 13514
                                                        Arlington, VA 22219

                                                        Counsel for INDIAN PEAK
                                                        PROPERTIES LLC



 76
      FCC v. Fox Television Stations, 567 U.S. 239, 253 (2012).


                                                           24
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                                           AFFIDAVIT

 I, James A. Kay, Jr., hereby declare under penalty of perjury that, except for those facts of which
 administrative notice may be taken and those facts already attested to by a separate affidavit, the
 facts set forth in the following documents are true and correct to the best of my information,
 knowledge and belief:

     ►   Application for Review oflndian Peak Properties, LLC, dated January 12, 2023.




 Date




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                                  CERTIFICATE OF SERVICE

 I, Julian Gehman, hereby certify that on this 12th day of January, 2023, I caused copies of the
 foregoing Application for Review to be served by USPS first class mail, postage prepaid, on the
 following:

 Ms. June S. Ailin
 Aleshire & Wynder LLP
 2361 Rosecrans Ave., Suite 475
 El Segundo, CA 90245

 Teri Takaoka, City Clerk
 City of Rancho Palos Verdes
 3940 Hawthorne Blvd.
 Rancho Palos Verdes, CA 90275


                                             __/s/ Julian Gehman_
                                             Julian Gehman
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                         Exhibit A
                     To Indian Peak Properties LLC
                         Application for Review
                            January 12, 2023




                     Final Letter Ruling
               Of Wireless Bureau and Media Bureau
                        December 13, 2022
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                                    Federal Communications Commission
                                       Washington, D.C. 20554

                                              December 13, 2022



 Via Electronic Mail

 Julian Gehman
 Counsel to Indian Peak Properties
 80 M Street, SE, Ste 100
 Washington, DC 20003

         Re: Petition for Reconsideration

 Dear Mr. Gehman:

 This letter responds to a petition for reconsideration filed by Indian Peak Properties, LLC (Indian Peak
 Properties or Petitioner) 1 of our decision to dismiss five petitions for declaratory ruling submitted by
 Indian Peak Properties seeking preemption under the rule governing over-the-air reception devices
 (OTARD). 2 The underlying petitions for declaratory ruling concern the order by the City of Rancho
 Palos Verdes, California (City) to remove several unauthorized antennas from a single-family home
 owned by Indian Peak Properties. For the reasons discussed below, we deny the Second Reconsideration
 Petition.

 Background. On April 17, 2020, Indian Peak Properties filed an initial OTARD Petition for Declaratory
 Ruling, supplemented on December 10, 2021, seeking preemption of the decision by the City to revoke
 the conditional use permit for antennas on the roof of a single-family home located at 26708 Indian Peak
 Road in Rancho Palos Verdes, California.3 The Competition and Infrastructure Policy Division of the
 Wireless Telecommunications Bureau (CIPD) dismissed that 2020 OTARD Petition without prejudice
 because it failed “to provide sufficient information to support a showing that each antenna meets all of the
 criteria required for protection under the OTARD rule.” 4 CIPD determined that the 2020 OTARD
 Petition failed to provide sufficient information to identify whether the antennas are located “on property
 within the exclusive use or control of the antenna user where the antenna user has a direct or indirect
 ownership or leasehold interest in the property,” 5 whether the antennas provide service to a customer
 located on the premises, 6 and whether the antennas are used to provide a service covered by the OTARD
 rule. 7

 1
   Indian Peak Properties, LLC, Petitions for Declaratory Ruling Under 47 C.F.R. § 1.4000, Petition for
 Reconsideration, filed by Indian Peak Properties (filed Aug. 3, 2022) (Second Reconsideration Petition).
 2
   See Letter from Garnet Hanly, Chief, Competition and Infrastructure Policy Division, FCC Wireless
 Telecommunications Bureau and Maria Mullarkey, Chief, Policy Division, FCC Media Bureau, to Toneata
 Martocchio, Counsel to Indian Peak Properties (July 18, 2022) (Letter Ruling).
 3
   Indian Peak Properties LLC, Petition for Declaratory Ruling (filed Apr. 18, 2020) (2020 OTARD Petition); Indian
 Peak Properties LLC, Supplement & Request for Expedited Action on Petition for Declaratory Ruling (filed Dec.
 10, 2021).
 4
   Letter from Garnet Hanly, Chief, Competition and Infrastructure Policy Division, FCC Wireless
 Telecommunications Bureau, to Toneata Martocchio, Counsel to Indian Peak Properties, at 2, 4 (Apr. 22, 2022).
 5
   Id. at 1.
 6
   Id. at 3.
 7
   Id. at 2-3.
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 On May 1, 2022, Indian Peak Properties submitted five petitions for declaratory ruling (Petitions), 8 again
 seeking preemption under the OTARD rule for six antennas at 26708 Indian Peak Road in Rancho Palos
 Verdes, California. Indian Peak Properties sought to supplement the Petitions by submitting five letters
 between May 8 and July 5, 2022. 9

 On July 18, 2022, the Bureaus issued a Letter Ruling dismissing the OTARD Petitions. The Letter
 Ruling dismissed Petition 1 because it “fail[ed] to identify any actual controversy under the [rule]” for the
 Commission to resolve. 10 The Letter Ruling dismissed Petitions 2-4 because they failed to make any
 showing that the antennas served a user on the premises as required for a hub or relay antenna, 11 or that
 there was a “user [who] has a direct or indirect ownership or leasehold interest in the property.” 12 Finally,
 the Letter Ruling dismissed Petition 5 for failure “to make any showing that each antenna support[ed] the
 offering of a fixed wireless service . . . as required for a dispute to implicate the OTARD rule.” 13

 The Letter Ruling also stated that “[t]he OTARD rule does not provide that the mere filing of a petition
 for declaratory ruling seeking preemption of an antenna restriction is sufficient to warrant the
 extraordinary relief of suspending local enforcement efforts.” 14 Rather, “the rule includes procedural and
 substantive requirements,” and “the Commission may reasonably wait to open a proceeding . . . until after
 it has determined that the petition is not procedurally defective and that the information provided is
 sufficient to identify a dispute that implicates the OTARD rule.” 15

 On July 19, 2022, Indian Peak Properties filed a Petition for Reconsideration of the Letter Ruling (First
 Reconsideration Petition). On August 3, 2022, Indian Peak Properties withdrew the First Reconsideration
 Petition and substituted the Second Reconsideration Petition. The Second Reconsideration Petition
 contends that the decision to dismiss Petitions 2-4 was in error because the Letter Ruling misconstrued
 the phrase “service provider” when it found that Petitioner had not demonstrated that there are users of
 Antennas 2-4 on the premises eligible for OTARD protection. 16 The Second Reconsideration Petition

 8
   See Indian Peak Properties, Petition for Declaratory Ruling Under 47 CFR §1.4000 (filed May 1, 2022) (Petition
 1); Indian Peak Properties and LT-WR LLC, Petition for Declaratory Ruling Under 47 CFR §1.4000 (filed May 1,
 2022) (Petition 2); Indian Peak Properties and California Internet dba Geo-Links, Petition for Declaratory Ruling
 Under 47 CFR §1.4000 (filed May 1, 2022) (Petition 3); Indian Peak Properties and One Internet America, Petition
 for Declaratory Ruling Under 47 CFR §1.4000 (filed May 1, 2022) (Petition 4); Indian Peak Properties and Fisher
 Wireless, Petition for Declaratory Ruling Under 47 CFR §1.4000 (filed May 1, 2022) (Petition 5). We refer to these
 filings collectively as the “Petitions.”
 9
   See Letter from Carl E. Kandutsch, Counsel to Indian Peak Properties, LLC, to Garnet Hanly, Chief of
 Competition and Infrastructure Policy Division, FCC Wireless Telecommunications Bureau (May 5, 2022); Letter
 from Carl E. Kandutsch, Counsel to Indian Peak Properties, LLC, to Garnet Hanly, Chief of Competition and
 Infrastructure Policy Division, FCC Wireless Telecommunications Bureau (May 8, 2022); Letter from Carl E.
 Kandutsch, Counsel to Indian Peak Properties, LLC, to Garnet Hanly, Chief of Competition and Infrastructure
 Policy Division, FCC Wireless Telecommunications Bureau (May 16, 2022); Letter from Julian Gehman, Counsel
 to Indian Peak Properties LLC and James A. Kay, Jr., to Marlene H. Dortch, Secretary, Federal Communications
 Commission (May 26, 2022); Letter from Julian Gehman, Counsel to Indian Peak Properties, LLC and James A.
 Kay, Jr., to Marlene H. Dortch, Secretary, Federal Communications Commission (July 5, 2022). In all, three
 different counsel filed separately on behalf of Indian Peak Properties between May and July 2022.
 10
    Letter Ruling at 3.
 11
    Id. at 5-6.
 12
    Id. at 5-6, n.33.
 13
    Id. at 6-8.
 14
    Id. at 8.
 15
    Id. at 9.
 16
    Second Reconsideration Petition at 9-11.
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 also argues that the Letter Ruling should have created a proceeding to consider Petitions 2-4 by putting
 them on Public Notice. 17 Lastly, the Second Reconsideration Petition argues that staff acted improperly
 in making a determination in the Letter Ruling. The Second Reconsideration Petition does not challenge
 the dismissal of Petitions 1 and 5.

 Later on August 3, 2022, Indian Peak Properties submitted by e-mail a copy of a “Notice” it filed in a
 federal court proceeding notifying the court that it had removed the antennas that are the subject of
 Petitions 2-5. 18 The Notice does not disclose when the antennas were removed, but filings in a separate
 state-court proceeding indicate that the antennas were removed on or before July 27, 2022. 19 The Notice
 states that Indian Peak Properties removed the antennas to comply with an “abatement action” in state
 court and that it wishes to reinstall and reactivate the antennas if the Commission grants its requested
 relief from state enforcement action. 20

 Discussion. We deny the Second Reconsideration Petition pursuant to section 1.106 of the Commission’s
 rules. 21 Here, the Second Reconsideration Petition contends that, contrary to the Letter Ruling’s
 determination, Indian Peak Properties identified customers that fall within the OTARD rule’s scope 22 and
 that the Commission should initiate a proceeding by putting the petitions on public notice. 23 For the
 reasons explained below, we conclude that Indian Peak Properties has not shown that the Bureau erred as
 a matter of fact or law.

 First, the Letter Ruling fully considered and rejected Indian Peak Properties’ argument that it identified
 customers that fall within the OTARD rule’s scope. The Letter Ruling determined that each of the
 Petitions failed “to include allegations with sufficient detail, clarity, and accuracy . . . to identify . . . a
 dispute [that] implicates” the OTARD rule.24 The Letter Ruling further explained that the “record does
 not identify any non-communications-service-provider user who regularly resides at or uses the
 premises.” 25 The Second Reconsideration Petition does not point to any such user. Instead, it reiterates

 17
    Id. at 5-9.
 18
    E-mail from Julian Gehman, Counsel to Indian Peak Properties, to OTARD@fcc.gov (Aug. 3, 2022, 5:15 pm),
 attaching Notice filed in In re Indian Peak Props. LLC, No. 22-1098 (D.C. Cir. filed Aug. 3, 2022) (Notice). The
 cover e-mail states only to “[p]lease see the attached Notice regarding Indian Peak Properties, LLC.” Id.
 19
    See Decl. of Toneata Martocchio ¶¶ 2-3 (July 27, 2022), filed in City of Rancho Palos Verdes v. Indian Peak
 Properties, LLC, No. 18STCV03781 (Cal. Super. Ct. filed July 28, 2022) (Martocchio Decl.).
 20
    Notice at 1-2. We note that Indian Peak Properties apparently failed to timely notify the Commission of the
 removal of these antennas. According to court records, Indian Peak Properties removed the antennas on or before
 July 27, 2022, while the First Reconsideration Petition was pending. See E-mail from Julian Gehman, Counsel to
 Indian Peak Properties, to OTARD@fcc.gov (Aug. 3, 2022, 5:15 pm), attaching Notice filed in In re Indian Peak
 Props. LLC, No. 22-1098 (D.C. Cir. filed Aug. 3, 2022) (Notice) (stating “[p]lease see the attached Notice
 regarding Indian Peak Properties, LLC.”). Indian Peak Properties failed, however, to notify the Commission of this
 potentially relevant development at that time, and omitted this change in underlying facts from its Second
 Reconsideration Petition, which was filed on the morning of August 3, 2022—at least a week after the antennas had
 been removed. Not until the afternoon of August 3, 2022, did Indian Peak Properties submit a copy of a separate
 court filing (without any accompanying explanation as to its reasons for transmitting that filing to the agency or its
 potential significance), which disclosed that the antennas had been removed at some unspecified time. See
 Martocchio Decl. ¶¶ 2-3. We caution Indian Peak Properties that the Commission depends on licensees to fully,
 timely, and conspicuously provide relevant information in pending matters.
 21
    47 CFR § 1.106.
 22
    Second Reconsideration Petition at 9-12.
 23
    Id. at 5-9.
 24
    Letter Ruling at 9.
 25
    Id. at 6.
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 that the two tenants of Indian Peak Properties—Fisher Wireless and Comm Enterprises—are “customers,
 as well as end users.” 26 As we previously explained, however, the OTARD rule does not protect antennas
 where the user is a service provider that merely provides communications service to others not located at
 the premises. 27 Further, in all cases, the rule requires that there be an antenna user on the premises. 28 As
 the Letter Ruling concluded, Indian Peak Properties has not identified a qualifying user within the
 meaning of the rule who receives and uses fixed wireless services at the property.

 We disagree with the Second Reconsideration Petition’s allegation that the Letter Ruling sets “new
 policy.” 29 The Letter Ruling stated that the “record does not identify any non-communications-service-
 provider user who regularly resides at or uses the premises . . . .” 30 The Second Reconsideration Petition
 specifically disputes the dichotomy between service providers and customers. 31 But that dichotomy is
 supported by the 2021 Order that expanded the scope of the OTARD rule, in which the Commission
 stated that the “rule will not treat service providers as ‘antenna users.’” 32 For example, the Order’s
 references to service providers illustrate that the Commission intended to differentiate between service
 providers and customers receiving service. 33 We are not persuaded by the Second Reconsideration
 Petition’s argument that the OTARD rule’s requirement that the antenna must serve a user or customer at
 the premises should apply only to “the company that leases space for the antenna, installs the antenna and
 provides the broadband service.” 34 Nowhere in the Order does the Commission suggest that intermediate
 service providers qualify as antenna users for purposes of the OTARD rule, and we see no reason the
 Commission would disqualify antenna “use” by the antenna owner to serve offsite customers but apply
 OTARD protection to the same antenna based on another service provider’s use of the antenna to support
 the provision of service to its own offsite customers. Interpreting the rule to protect such antenna
 placements would expand the scope of the rule well beyond the “modest” change the Commission
 intended. 35 The Letter Ruling therefore reiterated the Commission’s determinations in the 2021 Order,
 and did not set new policy.

 Second, the Letter Ruling fully considered and rejected Indian Peak Properties’ argument that, upon

 26
    Second Reconsideration Petition at 11.
 27
    Letter Ruling at 6. While the Letter Ruling stated that “it is not clear whether Antennas 2-4 are serving end users
 at the premises, as required for a dispute to implicate the OTARD rule,” id. at 5, we clarify that our concern is the
 apparent lack of any “users” on the premises other than communications services providers that rely on the antennas
 only to support their own provision of service to off-premises customers. For the reasons stated, we believe the
 Commission excluded this type of use from the scope of the rule.
 28
    47 CFR § 1.4000(a)(1)(i)-(ii) (rule applies to antennas “on property within the exclusive use or control of the
 antenna user where the user has a direct or indirect ownership or leasehold interest in the property,” including “hub
 or relay” antennas).
 29
    Second Reconsideration Petition at 12.
 30
    Letter Ruling at 6.
 31
    Second Reconsideration Petition at 9-11.
 32
    Updating the Commission’s Rule for Over-the-Air Reception Devices, WT Docket No. 19-71, Report and Order,
 36 FCC Rcd 537, 544 para. 20 (2021) (OTARD R&O).
 33
    See, e.g., id. at 541, para. 11 (finding that the Order will “benefit consumers by offering faster access to advanced
 communications services and greater competition among service providers.”); id. at 544-45, para. 17 (“[o]ur revised
 rule also enhances the ability of fixed wireless service providers to deliver reliable high speed Internet access to a
 greater number of unserved or underserved customers.”).
 34
    Second Reconsideration Petition at 10; see also 47 CFR § 1.4000(a)(1) (requiring a “user [who] has a direct or
 indirect ownership or leasehold interest in the property”); id. § 1.4000(a)(5) (requiring that hub or relay antennas
 “serve[] a customer on [the] premises”).
 35
    OTARD R&O, 36 FCC Rcd at 537, para, 1; id. at 546-47, para. 19 (noting that the revisions are “narrow in scope”
 and “will minimize any potential visual impact on properties”).
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 receipt of a petition for declaratory ruling under the OTARD rule, Commission staff are required to
 automatically initiate a proceeding and put the petition on a public notice without first reviewing the
 petition for compliance with applicable procedural and substantive requirements. 36 The Letter Ruling
 explained that, “[c]onsistent with section 1.2” of the Commission’s rules, “the practice of the
 Commission’s Bureaus has been to deny or dismiss . . . OTARD petitions, without first putting them on
 public notice, in appropriate circumstances.” 37 The Letter Ruling determined that the Petitions here were
 defective because they failed “to include allegations with sufficient detail, clarity, and accuracy . . . to
 identify . . . a dispute [that] implicates the OTARD rule.” 38 We reject Indian Peak Properties’ position
 that the Commission must automatically initiate a proceeding and seek comment without first ascertaining
 that the petition is not procedurally defective and that the information provided is sufficient to identify a
 dispute that implicates the OTARD rule. As we previously noted, section 1.2(b) of our rules has been
 interpreted as according discretion to the Commission to avoid seeking comment on petitions that are
 “moot, premature, repetitive, frivolous, or which do not warrant consideration by the Commission,”
 including OTARD petitions that fail to implicate the rule. 39 Particularly where, as here, the initiation of a
 proceeding immediately alters the parties’ legal rights by staying local government action concerning land
 use, the decision not to initiate a proceeding to solicit responsive pleadings on a defective petition is well
 within the Commission’s discretion to “conduct its proceedings as will best conduce to the proper
 dispatch of business and the ends of justice.” 40

 We are also unpersuaded by Indian Peak Properties’ argument that staff improperly shifted the burden of
 proof. 41 When a dispute implicating the OTARD rule arises, the burden of “demonstrating that a
 particular . . . restriction complies with [the rule] and does not impair the installation, maintenance, or use
 of” covered devices is on the entity seeking to enforce the restriction. 42 Here, however, the Bureaus
 determined that the Petitions did not provide sufficient information to identify a dispute covered by the
 rule. Further, it was appropriate for the Bureaus to look to Indian Peak Properties to provide information
 uniquely in its possession, including information on the characteristics of the antennas and their uses, to
 inform the threshold determination of whether there was a controversy subject to the rule.

 Lastly, we disagree with Indian Peak Properties’ allegation that staff acted with improper motive in ruling
 on its Petitions. 43 Bureau staff have considered the multiple petitions filed by Indian Peak Properties,
 which include piecemeal submission of the facts, multiple supplements, potentially inconsistent
 information, and failure to include all relevant facts.44 Bureau staff have acted consistent with the rules in
 disposing the underlying petitions.




 36
    Second Reconsideration Petition at 12-14.
 37
    Letter Ruling at 8.
 38
    Id. at 9; see id. at 3-8.
 39
    John F. Garziglia, Letter, 28 FCC Rcd 4145, 4146 (MB 2013); Petition for Declaratory Ruling - Multifamily
 Broadband Council, Letter Order, 32 FCC Rcd 3794, 3795-96 (MB 2017).
 40
    47 U.S.C. § 154(j); see FCC v. Schreiber, 381 U.S. 279, 289-90 (1965).
 41
    Second Reconsideration Petition at 12-15.
 42
    47 CFR § 1.4000(g).
 43
    Second Reconsideration Petition at 12-15.
 44
    See Letter Ruling at 2.
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 Mr. Julian Gehman
 December 13, 2022
 Page 6



 Conclusion. Accordingly, we deny the Petition for Reconsideration filed by Indian Peak Properties on
 August 3, 2022. This action is taken pursuant to sections 4(i)-(j) and 405 of the Communications Act of
 1934, as amended, 47 U.S.C. §§ 154(i)-(j), 405, and sections 0.131, 0.331, 0.61(f), 0.283, 1.2, 1.106,
 1.4000 of the Commission’s Rules, 47 CFR §§ 0.131, 0.331, 0.61(f), 0.283, 1.2, 1.106, 1.4000.

                                         Sincerely,


                                          /s/ Garnet Hanly
                                         Garnet Hanly, Chief
                                         Competition and Infrastructure Policy Division
                                         Wireless Telecommunications Bureau


                                          /s/ Maria Mullarkey
                                         Maria Mullarkey, Chief
                                         Policy Division
                                         Media Bureau

 cc:     Angela M. Rossi, Bradley, Gmelick & Wellestein, LLP
         William W. Wynder, Aleshire & Wynder, LLP
         Alison S. Flowers, Aleshire & Wynder, LLP
         Christy M. Lopez, Aleshire & Wynder, LLP
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                          Exhibit B
                      To Indian Peak Properties LLC
                          Application for Review
                             January 12, 2023




              Petition for Reconsideration
                     Of Indian Peak Properties LLC
                             August 3, 2022
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                                        Before the
                             Federal Communications Commission
                                   Washington, D.C. 20554


 In the Matter of                               )
                                                )
 Indian Peak Properties, LLC                    )
 Petitions for Declaratory Ruling               )
 Under 47 C.F.R. § 1.4000                       )
                                                )
 To:                                            )
 Chief, Wireless Telecommunications Bureau      )
 Chief, Media Bureau                            )



                           PETITION FOR RECONSIDERATION
                           OF INDIAN PEAK PROPERTIES, LLC




                                              Indian Peak Properties, LLC

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  Dated: August 3, 2022
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                                            SUMMARY

        Indian Peak Properties, LLC (“Indian”) petitions for reconsideration of the letter order in

 this proceeding dated July 18, 2022 (hereinafter the “Letter Ruling”).

        The Letter Ruling dismisses without prejudice Indian’s Petitions for Declaratory Ruling

 under 47 C.F.R. § 1.4000 (“OTARD Rule”). This is the second dismissal without prejudice in

 this case before the FCC that has been going on for more than two years. Once again, the Letter

 Ruling declines to give Indian the procedural protection from litigation required by the OTARD

 Rule. The Letter Ruling asserts bureau discretion as to whether to open a docket and place the

 Petitions on public notice. However, this is in flagrant violation of the OTARD Rule and the

 declaratory ruling rule, 47 C.F.R. § 1.2. Both of these rules require that Indian’s Petitions be

 docketed and placed on public notice. The Letter Ruling claims that three authorities give

 bureaus discretion as to whether to open a docket. Upon examination, the claimed authorities

 prove to be non-existent. FCC staff violated the OTARD and declaratory ruling rules.

        The Letter Ruling misconstrues the term “service provider” so as to disqualify Indian’s

 tenants as antenna users under the OTARD Rule. The Letter Ruling also requires demonstration

 of an “end user” rather than a “customer” as provided by the OTARD Rule. Both of these go

 beyond the FCC rule or order and unnecessarily erect barriers to recognizing that Indian has

 complied with the OTARD Rule.

        Finally, FCC staff give the impression of settling a score with James Kay, Indian’s

 owner. In view of the inordinate amount of time taken, repeated dismissals, staff’s rule

 violations and unnecessarily unfavorable interpretations of the OTARD Rule, combined with

 apparent motivation to conduct a vendetta, FCC staff have lost the presumption of regularity of

 agency action.


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                                        Before the
                             Federal Communications Commission
                                   Washington, D.C. 20554


 In the Matter of                                    )
                                                     )
 Indian Peak Properties, LLC                         )
 Petitions for Declaratory Ruling                    )
 Under 47 C.F.R. § 1.4000                            )
                                                     )
 To:                                                 )
 Chief, Wireless Telecommunications Bureau           )
 Chief, Media Bureau                                 )


                            PETITION FOR RECONSIDERATION

        Indian Peak Properties, LLC (“Indian”) through counsel respectfully petitions for

 reconsideration of the letter of Garnet Hanley, Chief, Competition and Infrastructure Policy

 Division, Wireless Telecommunications Bureau, and Maria Mullarky, Chief Policy Division,

 Media Bureau, to Toneata Martocchio, Attorney for Indian, dated July 18, 2022 (hereinafter the

 “Letter Ruling”). This Petition is submitted pursuant to 47 C.F.R. §§ 1.106 and 1.49. The Letter

 Ruling dismisses without prejudice Indian’s five Petitions for Declaratory Ruling under 47

 C.F.R. § 1.4000 (“OTARD Rule”).

                               47 C.F.R. § 1.106(d) STATEMENT

        With respect to Rule 1.106(d)(1), the action taken by delegated authority dismissing

 without prejudice Indian’s Petitions for Declaratory Ruling should be changed to either (a) grant

 the Petitions for Antennas 2-4, or (b) docket the Petitions for Antennas 2-4 and place them on

 public notice as provided by 47 C.F.R. §§ 1.2 and 1.4000(e), with the burden of proof on

 opponents as provided by 47 C.F.R. 1.4000(g).
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        With respect to Rule 1.106(d)(2), the following findings of fact and conclusions of law

 are erroneous.

 1.     That “end users” must be served, instead of “customers” as provided by the OTARD

 Rule. Letter Ruling 5. Included in this is the apparent claim that an “intermediate service

 provider” cannot qualify as a “customer” under the OTARD Rule.

 2.     That any communication service provider is considered to be a “service provider” for

 purpose of paragraph 20 of the Commission’s OTARD Fixed Wireless R&O, 1 even where the

 communication service provider does not install or own the rooftop antenna, or provide

 broadband service to the rooftop antenna. Letter Ruling 5-6.

 3.     That “the Commission may [] wait to open a proceeding and seek public comment until

 after it has determined that the petition is not procedurally defective and that the information

 provided is sufficient to identify a dispute that implicates the OTARD rule.” Letter Ruling 9.

 4.     That the Commission included 47 C.F.R. § 1.401(e) as part of the procedure required by

 47 C.F.R. § 1.2(b). Letter Ruling 8.

 5.     That the word “should” gives FCC bureaus discretion to disregard the docketing and

 public notice requirement of Rule 1.2(b). Letter Ruling 8.

 6.     That “the Commission expressly recognized that there sometimes would be

 circumstances where [the procedures set out in Rule 1.2(b)] should not be followed.” Letter

 Ruling 8.




 1
  Updating the Commission’s Rule for Over-the-Air Reception Devices, WT Docket No. 19-71,
 Report and Order 36 FCC Rcd. 537, 544 para. 20 (2021).

                                                  2
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                                          BACKGROUND

        A.      OTARD Rule and declaratory ruling rule

                1.      OTARD Rule substantive requirements

        The OTARD Rule, 47 C.F.R. § 1.4000, protects antennas “on property within the

 exclusive use or control of the antenna user where the user has a direct or indirect ownership

 interest or leasehold interest in the property.” 47 C.F.R. 1.4000(a)(1). Protected antennas must

 be one meter or less in diameter and may be used for a variety of uses, including to receive direct

 broadcast satellite service, to receive or transmit fixed wireless services, and to receive video

 programming or television broadcast signals. 47 C.F.R. § 1.4000(a)(1). Hub or relay antennas

 may transmit to other locations “as long as the antenna serves a customer on whose premises it is

 located.” 47 C.F.R. § 1.4000(a)(5).

                2.      OTARD Rule procedure

        Parties may petition the Commission under § 1.2 of the Commission’s rules to determine

 whether a particular zoning restriction is permissible; such petitions must comply with the

 procedures in paragraphs (f) and (h) of the OTARD Rule; the petition will be put on public

 notice; any responsive pleadings must be submitted within 30 days of public notice, and reply

 pleadings within 15 thereafter. 47 C.F.R. § 1.4000(e). “In any [such proceeding], the burden of

 demonstrating that a particular governmental . . . restriction complies with this section . . . shall

 be on the party that seeks to impose or maintain the restriction.” 47 C.F.R. § 1.4000(g). Where

 a proceeding is initiated pursuant to Rule 1.4000(e), “the entity seeking to enforce the antenna

 restrictions in question must suspend all enforcement pending the completion of review.” 47

 C.F.R. § 1.4000(a)(4). Paragraphs (f) and (h) require that petitions and pleadings be served on




                                                   3
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 interested parties and be supported by an affidavit of a person with actual knowledge. 47 C.F.R.

 §§ 1.4000(f), (h).

                3.     Declaratory ruling rule

        The OTARD Rule says that parties may petition the Commission under § 1.2 of the

 Commission’s rules. Rule 1.2(b) requires that the bureau docket a petition for declaratory ruling

 and seek public comment on the petition, with the default comment period being 30 days, and

 reply pleadings 15 days thereafter. 47 C.F.R. § 1.2(b).

        B.      Indian is a commercial landlord

        Indian owns the property in question and has rented out space in the building to two FCC

 licensees, Fisher Wireless and Comm Enterprises. Indian has had an ownership interest in the

 property and Fisher Wireless and Comm Enterprises have had leasehold interests. Like many

 commercial landlords, Indian has purchased broadband Internet access and has offered the

 broadband service, as a building amenity, to its tenants. The broadband service is provided to

 tenants along with use of space in the building in exchange for the lease payments. Indian also

 has used the broadband service for its own purposes. Indian has gotten the broadband service

 from three wireless Internet service providers, LT-WR LLC, GeoLinks and OneInternet

 America. Each of these service providers had installed its own antenna on the rooftop of the

 building.

        Indian’s Petitions for Declaratory Ruling explain all this and provide the three service

 agreements and evidence of payment. The service agreements show that Indian has been the

 customer, and payment records show that Indian has paid the bills. Indian and Indian’s tenants

 have been end users of the broadband service. Neither Indian nor the tenants have resold or re-

 transmitted the broadband service or combined the broadband service to produce a value-added




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 service. Instead, they have used the broadband service for their own operational purposes. One

 example of such operational use, mentioned previously, has been to monitor alarms and other

 sensors that are connected to the Internet. These alarms and other sensors indicate the

 operational status of licensed radio stations and facilitate repair where radio stations go down in

 severe weather or for other reasons.

                                            ARGUMENT

        A.      The Letter Ruling misstates the OTARD docketing requirement

        In order to justify not docketing Indian’s Petitions, the Letter Ruling misconstrues the

 applicable requirements appearing in FCC rules and orders. According to the Letter Ruling,

 “[t]he Rule sets forth various procedural and substantive requirements that any petition must

 comply with, and the agency may reasonably decline to open a proceeding and seek public

 comment until after it has ascertained that the petition is not procedurally defective” Letter

 Ruling at 9-10. However, the OTARD Rule imposes minimal requirements for a petition:

 service on interested persons and affidavit attesting to facts alleged in the petition. 47 C.F.R. §§

 1.4(f) and (h). The Letter Ruling does not claim that Indian’s Petitions failed these duties. FCC

 staff’s primary issue with respect to Antennas 2-4 appears to be with misconstruing “service

 provider.” This is discussed in the next section.

        Even if this were a valid concern, it does not justify refusing to docket and put the

 Petitions on public notice. The OTARD Rule is very clear: “[p]etitions to the Commission . . .

 will be put on public notice.” 47 C.F.R. § 1.4000(e). Similarly, the declaratory ruling rule says

 “[e]ach petition should be docketed” and placed on public notice. 47 C.F.R. § 1.2(b). These

 rules leave no room for staff to conduct a quasi-adjudication prior to public notice. The

 procedure set out in the OTARD Rule is simple: staff must place a petition for declaratory ruling




                                                     5
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 on public notice, opposing parties have the burden of proof to demonstrate why the OTARD

 Rule should not apply, and then staff will adjudicate based on the petition and opposing and

 reply pleadings. The Letter Ruling’s claim of bureau discretion to screen petitions has no basis

 in the rules.

         The Letter Ruling (at 8-10) articulates byzantine rationale for not following the rules: (1)

 “the Commission intended to make the process for petitions for declaratory ruling ‘similar’ to

 that for rulemaking,” and rulemaking petitions may be denied or dismissed under certain

 circumstances, 47 C.F.R. § 1.401(e); (2) Rule 1.2(b) utilizes the word “should” thereby giving

 staff discretion to ignore the docketing requirement; and (3) the relevant FCC Order recognized

 circumstances where the docketing procedure “should not be used.” Letter Ruling 8. These are

 reviewed in turn.

         First, the purpose for processing petitions for declaratory ruling similar to rulemaking

 petitions was to eliminate the impractical ten-day window for filing oppositions to a petition for

 declaratory ruling, not to give bureau staff wide ranging discretion. In the 2011 update of

 Commission rules of practice, Verizon proposed that the Commission revise its rules so that the

 time to file oppositions to petitions for declaratory ruling is not governed by the default ten-day

 rule found in Rule 1.45(b) but instead treated like rulemakings which are docketed with a

 comment deadline appearing in the public notice.2 The Commission agreed and amended 47

 C.F.R. § 1.2(b) to require that petitions for declaratory ruling be docketed with a default deadline

 for oppositions of 30 days from the public notice. Id.

         The Letter Ruling refers to the following from the FCC Order:



 2
  Amendment of Certain of the Commission’s Part 1 Rules of Practice and Procedure and Part 0
 Rules of Commission Organization, Report and Order, 26 FCC Rcd 1594, 1597, ¶¶ 11-12 (2011),
 Exh. 14.

                                                   6
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        We therefore determine that petitions for declaratory ruling should be
        handled in a similar manner to petitions for rulemaking under Section 1.106, rather than
        in accordance with Section 1.45(b). That is, each petition should be docketed. . .. We
        will amend the existing rule involving declaratory rulings, Section 1.2, to reflect these
        requirements. Id. at ¶ 11 (emphasis added).

 The phrase “[t]hat is” tells the reader what the similarity to rulemaking will be, namely, that

 there will be a docketing and public notice requirement for petitions for declaratory ruling.

 Moreover, in stating that Section 1.2 would be amended “to reflect these requirements,” the

 Commission indicated that the full scope of the change to FCC policy is embodied in Rule

 1.2(b), which was added in that action. There was no discussion whatsoever of applying 47

 C.F.R. § 1.401(e) (authorizing denial or dismissal of rulemaking petition) to petitions for

 declaratory ruling, as claimed by the Letter Ruling.

        Second, turning to the text of Rule 1.2(b), 47 C.F.R. § 1.2(b), the Letter Ruling sees

 significance in the word “should,” claiming that it gives staff discretion to refrain from the

 docketing requirement of that rule.3 This is misplaced for several reasons. Dictionary

 definitions of “should” reference obligation or duty, not discretion.4 Where the rule says staff

 “should” do something, it means that staff is obligated to do it. In delegations of authority,

 discretion traditionally is granted by using the word “may,” not by using the word “should.”

 Moreover, when the FCC grants discretion to bureaus, it does so explicitly, not with a subtle hint




 3
   Letter Ruling 8 (citing John F. Garziglia, Letter, 28 FCC Rcd 4145, 4146 (MB 2013)). Rule
 1.2(b) provides in part, “The bureau or office to which a petition for declaratory ruling has been
 submitted or assigned by the Commission should docket such a petition . . ..” 47 C.F.R. § 1.2(b)
 (emphasis added).
 4
   Dictionary.com (“must; ought (used to indicate duty, propriety or expediency)”).
 https://www.dictionary.com/browse/should. See also The Free Dictionary
 https://www.thefreedictionary.com/should; Cambridge English Dictionary
 https://dictionary.cambridge.org/dictionary/english/should; Merriam-Webster
 https://www.merriam-webster.com/dictionary/should; Collins English Dictionary
 https://www.collinsdictionary.com/dictionary/english/should.

                                                  7
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 like the word “should.” For example, in paragraph 10 of this same Report and Order, the FCC

 used explicit language: “[d]uring this transition to a comprehensive docketing regime, we will

 permit bureaus and offices not to assign a formal docket number to certain proceedings if, in the

 considered judgment of staff, docketing would raise special technical difficulties . . ..”

 Amendment of the Commission’s Rules of Practice, supra n1, at ¶ 10. This and other grants of

 discretion are explicit.

          Third, the Letter Ruling cites to the above quoted paragraph 10 to claim that the Report

 and Order recognized that sometimes docketing and public notice procedures “should not be

 used.” Letter Ruling 8 (emphasis in original). However, that’s not what paragraph 10 says.

 Moreover, by its terms, the grant of discretion appearing in paragraph 10 lapsed when the new

 docketing system came online. The bureaus have been using the docketing system for some

 time. For example, the Media Bureau docketed the OTARD petition for declaratory ruling filed

 against the City of Chicago.5 Otherwise, there is no discussion in the Report and Order of

 circumstances where docketing and public notice would not be used. The three authorities

 claimed by the Letter Ruling simply do not exist.

         Finally, the Letter Ruling’s assertions are contradicted by the FCC’s 1996 OTARD order,

 as well as guidance to the public appearing on the FCC’s website. The FCC Order provides that,

 upon the filing of a petition for declaratory ruling that does not involve safety or historic

 preservation issues (as is the case here), “the restriction may not be enforced until the

 Commission or a court of competent jurisdiction issues a ruling that the restriction is not




 5
  In the Matter of Satellite Broadcasting & Communications Association, DIRECTV, LLC, and
 DISH Network L.L.C., Petition for Declaratory Ruling Under 47 CFR §1.4000, Declaratory
 Ruling, MB Docket No. 20-284, 26 FCC Rcd. 144(1) (MB 2021).

                                                   8
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 preempted.”6 Similarly, the FCC website has a frequently-asked-questions section that includes

 the following:


 Q: Can I continue to use my antenna while the petition or waiver request is pending?

 A: Yes, unless the restriction being challenged or for which a waiver is sought is necessary for
 reasons of safety or historic preservation. Otherwise, the restriction cannot be enforced while the
 petition is pending.7

        In both of these, there is no indication that these protections apply only to qualifying

 petitions. Rather, the protection of the OTARD Rule kicks in when the petition is filed. In

 summary, the Letter Ruling’s assertion of bureau discretion is not supported by FCC rules or

 orders. In refusing to docket Indian’s Petitions, FCC staff violated the OTARD Rule, 47 C.F.R.

 § 1.4000, and the declaratory ruling rule, 47 C.F.R. § 1.2.

        B.        The Letter Ruling sets up a false dichotomy between communication
                  service providers and customers.

                  1.     The Letter Ruling takes “service provider” out of context.

        The Letter Ruling says:

        When the Commission expanded the scope of the OTARD Rule in 2021, it determined
        that “the rule will not treat service providers as antenna users.” In this case, the record
        indicates that users of Antennas 2-4 each appear to be communications service
        providers. Letter Ruling at 5, internal citation omitted.

        It is well established that, “[w]ords that can have more than one meaning are given

 content [] by their surroundings.”8 A vague or ambiguous provision acquires a plain meaning




 6
   Over-the-Air Reception Devices, Report and Order, Memorandum Opinion and Order, and
 Further Notice of Proposed Rulemaking, CS Dkt No. 96-83, 11 FCC Rcd 19276 ¶ 53 (1996).
 7
   https://www.fcc.gov/media/over-air-reception-devices-rule (last viewed July 28, 2022).
 8
   Whitman v. American Trucking Ass’ns, Inc., 531 U.S. 457, 466 (2001).

                                                  9
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 when read in light of the entire order.9 It is important, therefore, the examine the context of the

 “service provider” statement. The Commission’s 2019 Notice of Proposed Rulemaking sought

 comment on the following:

        Should the Commission clarify that it will interpret “antenna user” to include fixed
        wireless service providers? For example, if a fixed wireless service provider leases space
        for a hub antenna on private property, should the Commission clarify that the service
        provider becomes the antenna user with respect to that property?10

        The OTARD Fixed Wireless R&O resolves this question in the negative:

        The revised rule will not treat service providers as antenna users, and their agreements
        with building owners therefore would be subject to OTARD protection only if the
        building owner is itself a customer.”11

        The Commission used “service provider” to mean the company that leases space for the

 antenna, installs the antenna and provides the broadband service. This is reinforced by the very

 sentence that the Letter Order quotes (“The revised rule will not treat service providers as

 “antenna users,” and their agreements with building owners therefore would be subject to

 OTARD protection only if the building owner is itself a customer” OTARD Fixed Wireless

 R&O, para. 20 (emphasis added)). The phrase “their agreements” refers back to “service

 providers,” thereby demonstrating that service providers negotiate agreements with building

 owners.

        The Letter Ruling quoted this to disqualify Indian’s Petitions because Indian’s tenants are

 FCC licensees. However, LT-WR LLC, GeoLinks and OneInternet America are the service




 9
   Bruce v. Samuels, 577 U.S. 82 (2016); Arizona v. Inter Tribal Coun. of Arizona, 570 U.S. 1
 (2013).
 10
    Updating the Commission’s Rule for Over-the-Air Reception Devices, WT Docket No. 19-71,
 Notice of Proposed Rulemaking, 34 FCC Rcd 2695 ¶ 10 (2019) (NPRM).
 11
    Updating the Commission’s Rule for Over-the-Air Reception Devices, WT Docket No. 19-71,
 Report and Order 36 FCC Rcd 537 (2021) ¶ 20 (OTARD Fixed Wireless R&O).

                                                  10
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 providers for Antennas 2-4. Indian’s tenants, Fisher Wireless and Comm Enterprises, are

 customers, not service providers for Antennas 2-4.

                2.      The Letter Ruling moves the goal posts by requiring the stricter “end
                        user” instead of the more general “customer,” as stated in the
                        OTARD Rule

        The Letter Ruling requires end users. Letter Ruling 5. However, the term “end user”

 does not appear in the OTARD Rule. The OTARD Rule requires that hub or relay antennas

 “serve[] a customer on whose premises it is located.” 47 C.F.R. § 1.4000(a)(5). The rule

 requires a “customer.” There is a difference between a customer and an end user, although the

 two can overlap in practice. “Customer” is “one that purchases a commodity or service.”12 “End

 user” is “the ultimate consumer of a finished product.”13 As discussed above, Indian and its

 tenants, Fisher Wireless and Comm Enterprises have been customers, as well as end users. They

 have been customers because Indian pays the broadband service providers, and the tenants pay

 for the service with their rent payments. They have been end users because they do not re-sell or

 re-transmit the broadband access, nor do they combine it with another service to provide a value-

 added service to end users. Instead they have used it in their own internal operations such as to

 check the status of sensors and alarms that are connected to the Internet. Note that even if one of

 these parties were to produce a value-added service for end users, this party still would fall

 within the plain meaning of the OTARD Rule as a customer.

        Once it is documented that the hub or relay antenna serves a customer on whose premises

 it is located, that is the end of the inquiry according to the plain language of the OTARD Rule.



 12
    Merriam-Webster, https://www.merriam-webster.com/dictionary/customer. See also,
 Investopedia, https://www.investopedia.com/terms/c/customer.asp (same); Cambridge
 Dictionary, https://dictionary.cambridge.org/dictionary/english/customer (same).
 13
    Merriam-Webster, https://www.merriam-webster.com/dictionary/end%20user. See also
 Investopedia, https://www.investopedia.com/terms/e/end-user.asp (same).

                                                  11
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 The Letter Ruling’s detailed inquiry into end users, and whether the end users are

 communication service providers, goes beyond what is necessary to show compliance with the

 OTARD Rule.

                 3.      The Letter Ruling exceeds delegated authority by setting new policy.

          In summary, the Letter Ruling transmogrifies “service provider” to mean anyone in the

 communications business. This FCC staff ruling would eliminate an entire class of customers –

 any communications company that receives broadband service from a wireless Internet service

 provider or satellite company would not be deemed an antenna user. The Letter Ruling reaches

 well beyond what the Commission said in the OTARD Fixed Wireless R&O and falls outside

 authority delegated to the bureaus. This is more than an interpretive ruling. Rather, it represents

 new policy that should be promulgated in a notice-and-comment rulemaking.

          C.     Staff’s review procedure impermissibly shifts the burden of proof.

          The OTARD Rule provides that in any proceeding involving a petition for declaratory

 ruling, the burden is on the party opposing the petition to demonstrate that a particular

 governmental restriction complies with the OTARD Rule. 47 C.F.R. § 1.4000(g). As noted

 above, the OTARD Rule, 47 C.F.R. § 1.4000, combined with the declaratory ruling rule, 47

 C.F.R. § 1.2, anticipates that a petition would be placed on public notice, opponents would have

 30 days to submit their opposition and the petitioner would have 15 days to reply. Inherent in

 this process is that if a less-than-perfect perfect petition were submitted, it would be up to the

 opponents to prove that the petition is defective, and the petitioner would have opportunity to

 reply.

          Here, however, the Letter Ruling requires Indian to prove to staff’s satisfaction that the

 Petitions fulfill – not only the OTARD Rule – but staff’s overly aggressive interpretation of the




                                                   12
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 OTARD Rule. This includes the distortion of “service provider” to cover any and all

 communication service providers and the requirement that an “end user” be demonstrated instead

 of the “customer” mentioned in the OTARD Rule. A couple of examples will suffice –

 statements like the following impermissibly shift the burden of proof against Indian:

        It is not evident from the Petitions whether James A. Kay qualifies as a user, since he
        does not claim to reside at the property or regularly use the service there, and the other
        identified “primary” users are communications service providers. Letter Ruling 6.

        The Petitions do not state whether Antennas 2-4 serve the Fisher Wireless antennas at
        issue in Petition 5. The reference to Comm Enterprises and Fisher Wireless’ operation of
        “transmitters” and “other stations” raises additional questions, including whether they are
        operating stations at the residence, and if so whether those stations are being operated
        with any of the antennas subject to any of the Petitions. Letter Ruling 6 n35.

 As discussed above, staff’s claimed authority to conduct this examination, instead of placing the

 petitions on public notice, turns out to be non-existent, and staff is violating the rules.

        D.      FCC staff give the appearance of settling a score.

        FCC staff spent more time and energy on the Letter Ruling and associated matters than if

 they had simply followed the OTARD Rule by placing Indian’s Petitions on public notice and

 letting Indian’s opponents make their arguments. The question arises, Why are FCC staff doing

 this? There may be an obvious, possible explanation.

        James Kay, owner of Indian, has a history of asserting his rights at the FCC and in

 court.14 This history stretches back 30 plus years, to when Kay’s actions as an FCC licensee



 14
    For example, PACER records for the D.C. Circuit reveal the following: James A. Kay v. FCC,
 97-5296 (D.C.D.C.) (last docket entry Jun. 25, 2013); James A. Kay v. FCC, 02-1175 (D.C. Cir.)
 (last docket entry Jul. 24, 2012); James A. Kay v. FCC, 03-1072 (D.C. Cir.) (last docket entry
 Oct. 18, 2017); James A. Kay v. FCC, 04-1014 (D.C. Cir.) (last docket entry Jul. 10, 2012);
 James A. Kay v. FCC, 04-1313 (D.C. Cir.) (last docket entry Jul. 28, 2011); James A. Kay v.
 FCC, 05-1290 (D.C. Cir.) (last docket entry Oct. 18, 2017); James A. Kay v. FCC, 06-1076
 (D.C. Cir.) (last docket entry Feb. 6, 2020); James A. Kay v. FCC, 06-1284 (D.C. Cir.) (last
 docket entry Oct. 23, 2017); James A. Kay v. FCC, 10-1155 (D.C. Cir.) (last docket entry Oct.
 17, 2017).

                                                   13
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 were regulated by the Private Radio Bureau, a predecessor to the Wireless Telecommunications

 Bureau. This history, which staff could perceive as adversarial, provides a possible motivation

 for staff’s apparent efforts to deny Indian the procedural protections of the OTARD Rule.

        E.      Staff’s treatment of the Indian Petitions lost the presumption of
                regularity.

        The presumption of regularity provides that, in the absence of clear evidence to the

 contrary, the court will presume that public officers have properly discharged their official

 duties. See United States v. Chem. Found., Inc., 272 U.S. 1, 14-15 (1926).

        Here, there is clear evidence to the contrary. Indian’s initial Petition for Declaratory

 Ruling sat at the FCC for two years before staff took any action.15 Most recently, the Letter

 Ruling went beyond FCC rules and orders in two areas to deprive Indian of procedural

 protections. First, the Letter Ruling mischaracterized FCC orders and rules as authorizing staff

 to refrain from docketing the Indian Petitions. FCC staff violated 47 C.F.R. §§ 1.2 and 1.4000,

 which require that petitions for declaratory ruling be docketed and placed on public notice.

 Second, the Letter Ruling distorted the term “service provider” in purporting to disqualify

 Indian’s tenants as antenna users for the OTARD Rule. Staff impermissibly shifted the burden

 of proof by requiring Indian to prove that it satisfies the OTARD Rule. Staff refuses to dispose

 of the Petitions, locking Indian into an endless loop of submitting yet more petitions, all while

 defending expensive litigation with the City. All this occurred against the backdrop of a possible




 15
   On April 18, 2020, Indian submitted its Petition for Declaratory Ruling, which staff dismissed
 without prejudice on April 20, 2022. On May 1, 2022, Indian re-submitted its petition in the
 form of five Petitions for Declaratory Ruling, which staff dismissed without prejudice on July
 18, 2022. Scorecard: left to its own devices, FCC took two years; with DC Circuit watching,
 FCC took two and one half months.

                                                 14
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 motivation to engage in a vendetta against Indian’s owner. Taken together, these items rebut the

 presumption of regularity.

        WHEREFORE, it is respectfully requested that the dismissal be reconsidered with respect

 to Antennas 2 through 4 and the Petitions granted or placed on public notice.

                                              Respectfully submitted,

                                              /s/ Julian Gehman
                                              ___________________
                                              Julian Gehman
                                              Gehman Law PLLC
                                              (202) 341-0198
                                              julian@gehmanlaw.com
                                              P.O. Box 13514
                                              Arlington, VA 22219

                                              Counsel for INDIAN PEAK
                                              PROPERTIES LLC

 Dated: August 3, 2022




                                                15
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                                            AFFIDAVIT

  I, James A. Kay, Jr., hereby declare under penalty of perjury that, except for those facts of which
  administrative notice may be taken and those facts already attested to by a separate affidavit, the
  facts set forth in the following documents are true and correct to the best of my information,
  knowledge and belief:

      ►   Petition for Reconsideration of Indian Peak Properties, LLC, dated August 3, 2022.




                                                  16
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                                  CERTIFICATE OF SERVICE

 I, Julian Gehman, hereby certify that on this 3rd day of August, 2022, I caused copies of the
 foregoing letter and affidavit to be served by USPS first class mail, postage prepaid, on the
 following:

 Ms. June S. Ailin
 Aleshire & Wynder LLP
 2361 Rosecrans Ave., Suite 475
 El Segundo, CA 90245

 Teri Takaoka, City Clerk
 City of Rancho Palos Verdes
 3940 Hawthorne Blvd.
 Rancho Palos Verdes, CA 90275


                                              /s/ Julian Gehman
                                              Julian Gehman




                                                 17
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                         Exhibit C
                     To Indian Peak Properties LLC
                         Application for Review
                            January 12, 2023




                     Initial Letter Ruling
               Of Wireless Bureau and Media Bureau
                           July 18, 2022
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                                     Federal Communications Commission
                                        Washington, D.C. 20554


                                                    July 18, 2022

 Toneata Martocchio
 Attorney at Law
 15525 Cabrito Road
 Van Nuys, CA 91406

          Re: Petitions for Declaratory Ruling

 Dear Ms. Martocchio:

 This letter responds to five petitions for declaratory ruling (Petitions) submitted by Indian Peak
 Properties, LLC (Petitioner or Indian Peak Properties) on May 1, 2022, 1 seeking preemption under the
 rule governing over-the-air reception devices (OTARD) of a decision by the city of Rancho Palos Verdes,
 California (City) to revoke a conditional use permit for antennas on a building pursuant to the City’s
 zoning ordinance. 2 Upon review of the Petitions, and for the reasons discussed below, we dismiss the
 Petitions without prejudice.

 Background. The Petitions concern six antennas 3 on the roof of a single-family home located at 26708
 Indian Peak Road, Rancho Palos Verdes, California. Petitioner filed these Petitions following a decision
 by the Competition and Infrastructure Policy Division of the Wireless Telecommunications Bureau
 (CIPD) on April 22, 2022, to dismiss a similar petition submitted by Petitioner concerning ten antennas at



 1
   See Indian Peak Properties, Petition for Declaratory Ruling Under 47 CFR §1.4000 (filed May 1, 2022) (Petition
 1); Indian Peak Properties and LT-WR LLC, Petition for Declaratory Ruling Under 47 CFR §1.4000 (filed May 1,
 2022) (Petition 2); Indian Peak Properties and California Internet dba Geo-Links, Petition for Declaratory Ruling
 Under 47 CFR §1.4000 (filed May 1, 2022) (Petition 3); Indian Peak Properties and One Internet America, Petition
 for Declaratory Ruling Under 47 CFR §1.4000 (filed May 1, 2022) (Petition 4); Indian Peak Properties and Fisher
 Wireless, Petition for Declaratory Ruling Under 47 CFR §1.4000 (filed May 1, 2022) (Petition 5). We refer to all of
 these filings collectively as “Petitions.” If a citation refers to “Petitions” with a page number, the page number for
 the citation is the same in all Petitions.
 2
   See Petitions at 3. According to Petitioner, the Rancho Palos Verdes City Council adopted a resolution in
 December 2004 approving a conditional use permit for the placement of five UHF antennas on the roof of the house.
 Petitioner asserts that “[i]n subsequent years, some antennas were removed and other antennas were installed on the
 rooftop of the Property on the good faith assumption that the additional antennas did not require prior zoning
 approvals because they did not involve the erection of additional support structure and were mounted on the same
 Building as the UHF antennas that had been approved under . . . [the conditional use permit] and were smaller and
 lower in profile than the UHF antennas.” Id. at 2. After the City was alerted to the unpermitted antennas in August
 2014, and extended negotiations to revise the conditional use permit were unsuccessful, the City revoked the permit
 in August 2018. Rancho Palos Verdes, Cal., Res. No. 2018, attached to Letter from William W. Wynder, counsel to
 City of Rancho Palos Verdes, to Garnet Hanly, Chief of Competition and Infrastructure Policy Division, FCC
 Wireless Telecommunications Bureau (May 6, 2022), Ex. A (May 6 City Letter).
 3
   Petitions 1-4 cover one antenna each (Antennas 1-4); Petition 5 covers two antennas that Petitioner refers to as a
 “pair” constituting “Antenna 5.” See, e.g., Petition 5 at 2, 4, 6-7. Each antenna must satisfy the OTARD rule’s
 requirements, so we refer to this pair of antennas as Antennas 5 and 6 and examine them individually.
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 the same location. 4 CIPD dismissed that petition because it failed “to provide sufficient information to
 support a showing that each antenna meets all of the criteria required for protection under the OTARD
 rule.” 5
 As is evident from the summary below, our review has been complicated by Petitioner’s piecemeal
 submission of the facts, including two filings characterized as “supplements.” In several respects, the
 information provided in the various filings is inconsistent, and even with two supplements, the purposes
 and uses of the majority of the antennas, which are critical to the applicability of the rule, remains
 unclear. Further, Petitioner’s failure to include all relevant facts in its initial petitions and its subsequent,
 serial supplementation have delayed and complicated our review. 6 We expect any petition and
 accompanying affidavit to set forth all facts necessary to identify whether a dispute implicates the
 OTARD rule. The Petitioner submitted multiple supplements presenting new facts and arguments,
 without any justification for failing to provide this information from the outset, despite our having
 previously dismissed a similarly deficient filing. It is within our discretion to decline to consider such
 material; we need not decide this issue for the instant Petitions because, as we explain below, even though
 we consider the material in the additional filings in this instance, Petitioner has failed to provide the
 information required by the Commission’s rule.

 Summary of OTARD rule. The OTARD rule prohibits state and local regulators and private entities from
 imposing any restriction on the placement of certain types of antennas “on property within the exclusive
 use or control of the antenna user where the user has a direct or indirect ownership or leasehold interest in
 the property that impairs the installation, maintenance, or use of” antennas. 7 The rule applies to antennas
 that are used to: (1) “receive direct broadcast satellite service, including direct-to-home satellite service,
 or to receive or transmit fixed wireless signals via satellite, including a hub or relay antenna used to
 receive or transmit fixed wireless services that are not classified as telecommunications services[;]” (2)
 “receive video programming via multipoint distribution services, including multichannel multipoint
 distribution services, instructional television fixed services, and local multipoint distribution services, or
 to receive or transmit fixed wireless signals other than via satellite, including a hub or relay antenna used
 to receive or transmit fixed wireless services that are not classified as telecommunications services[;]” or
 (3) “receive TV broadcast signals.” 8 The rule also applies to a “mast supporting an antenna” in one of the
 foregoing categories. 9 A restriction “impairs” if it “[u]nreasonably delays or prevents installation,
 maintenance, or use;” “[u]nreasonably increases the cost of installation, maintenance, or use;” or
 “[p]recludes reception or transmission of an acceptable quality signal.” 10 “Fixed wireless signals” are

 4
  Letter from Garnet Hanly, Chief, Competition and Infrastructure Policy Division, FCC Wireless
 Telecommunications Bureau, to Toneata Martocchio, Counsel to Indian Peak Properties (Apr. 22, 2022) (April 22
 Letter).
 5
     Id. at 2, 4.
 6
   Cf. Colorado Radio Corp. v. FCC, 118 F.2d 24, 26 (D.C. Cir. 1941) (“We cannot allow the appellant to set [sic]
 back and hope that a decision will be in its favor and then, when it isn’t, to parry with an offer of more evidence. No
 judging process in any branch of government could operate efficiently or accurately if such a procedure were
 allowed.”).
 7
     47 CFR § 1.4000(a).
 8
  47 CFR § 1.4000(a). Antennas in categories (1) and (2) must also meet size restrictions (with an exception for
 certain equipment located in Alaska, which is not relevant here). See id. § 1.4000(a)(1)(i)(B), (a)(1)(ii)(B).
 9
     47 CFR § 1.4000(a)(1)(iv).
 10
      47 CFR § 1.4000(a)(3).
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 defined to mean any “commercial, non-broadcast communications signals transmitted via wireless
 technology to and/or from a fixed customer location.” 11 The term “hub or relay antenna” means “any
 antenna that is used to receive or transmit fixed wireless signals for the distribution of fixed wireless
 services to multiple customer locations as long as the antenna serves a customer on whose premises it is
 located, but excludes any hub or relay antenna that is used to provide any telecommunications services or
 services that are provided on a commingled basis with telecommunications services.” 12 The rule permits
 those seeking protection under the rule to file petitions for declaratory ruling with the Commission under
 section 1.2 of its rules, and requires that “[a]ll allegations of fact . . . must be supported by affidavit of a
 person or persons with actual knowledge” of the facts alleged. 13

 Dismissal of Petition 1. We dismiss Petition 1 without prejudice because Indian Peak Properties has not
 made any showing that the City is seeking to enforce a restriction as to Antenna 1. The Petition includes
 a letter from the City stating that it is not seeking to remove Petitioner’s “television satellite dish”
 antenna, 14 and Petitioner has not provided any information to the contrary. The petition thus fails to
 identify any actual controversy under the OTARD rule.

 Dismissal of Petitions 2-4. For the reasons set forth below, we dismiss Petitions 2 through 4 without
 prejudice because they fail to provide sufficient information regarding whether each antenna implicates
 the OTARD rule.

 Specifically, Petitions 2-4 state that each subject antenna provides broadband Internet service, including
 “back-up redundancy for performance of an array of vital functions . . . including, but not limited to
 providing television and telephone service, security alarm and camera operations, temperature control,
 and other monitoring functions.” 15 The Petitions further state that the antennas are being “used to receive
 or transmit broadband-only fixed wireless signals providing high-speed Internet access to compatible
 devices throughout the Property” 16 and that James A. Kay and his companies, including Indian Peak
 Properties, “are the customers and primary users of the broadband service provided by” Antennas 2-4. 17
 According to Petitioner, Antennas 3 and 4 are designed as hub or relay antennas and are used by Kay and
 Indian Peak Properties “for the distribution of broadband-only fixed wireless services.” 18 Petitioner


 11
   47 CFR § 1.4000(a)(2). “Fixed wireless signals do not include, among other things, AM radio, FM radio, amateur
 (‘HAM’) radio, CB radio, and Digital Audio Radio Service (DARS) signals.” Id.
 12
      47 CFR § 1.4000(a)(5).
 13
      47 CFR § 1.4000(h); see also id. §§ 1.2, 1.4000(e).
 14
   Petition 1 at Exh. 5 (letter dated Nov. 19, 2021) (demanding removal of all antennas “except for the television
 satellite dish”). The record reflects that Antenna 1 is the only television satellite dish antenna that Petitioner has on
 the property. See id. at 3 (chart). Indian Peak Properties may file a new petition if the City seeks to impose or
 enforce a restriction on the placement of this antenna.
 15
      Petition 2 at 9, Petition 3 at 10, Petition 4 at 9-10.
 16
      Petitions 2-4 at 7.
 17
   See Petitions 2-4 at 6. The Petitions refer variously to Indian Peak Properties alone, James A. Kay and Indian
 Peak Properties, and to James A. Kay’s “businesses” as customers of the antenna services without specifying which
 businesses are using the services or for what purpose. See, e.g., Petitions at 3 (chart), 6, 8, Exh. 1, Expert Witness
 Statement/Affidavit of Daniel W. Redmond, at 1 (Redmond Statement).
 18
      Petition 3 at 8; Petition 4 at 8.
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 asserts that Antenna 2 is “used exclusively to bring Internet service to the property” and does not provide
 a hub or relay service. 19

 By letter dated May 26, 2022, Petitioner filed a “supplement” to the Petitions containing additional
 facts. 20 The May 26 Supplement states that “currently, no one lives there [at the property],” but
 that the “house has been rented to a succession of residential tenants” (although no details on the length,
 frequency, or recency of any such occupancy are provided). 21 The Supplement states that the property
 “serves as a communications site and offices.” 22 The letter explains that “James Kay operates FCC
 licensee Comm Enterprises LLC from this location as well as others” and that “[s]pace is also leased
 inside the house to Fisher Wireless.” 23 In a letter submitted on July 5, 2022, characterized as its “second
 supplement” to the petition, Petitioner states that Comm Enterprises LLC (Comm Enterprises) and Fisher
 Wireless are the users of Antennas 2-4. 24 The Petitions also state that Antennas 2-4 provide “connectivity
 for a number of vendors and contractors” when they are visiting the property, and to “any residential
 tenants who lease rooms in the house from time to time.” 25

 The Petitions further state that Indian Peak Properties is in the “rental” business and that Indian Peak
 Properties leases space on its roof “to others.” 26 But the May 26 Supplement also states, contrary to the
 Petitions, that “[t]here are no roof leases.” 27 Although the Petitions provide agreements and supporting
 documentation that Indian Peak Properties is paying LT-WR, Geo-Links, and One Internet America for
 what appears to be provision of Internet service, 28 Petitioner’s July 5 Supplement states that Comm

 19
      Petition 2 at 7.
 20
    Letter from Julian Gehman, Counsel to Indian Peak Properties LLC and James A. Kay, Jr., to Marlene H. Dortch,
 Secretary, Federal Communications Commission (May 26, 2022) (May 26 Supplement).
 21
   Id. at 3. The letter states that, “[a]fter the City revoked the use permit” in 2018, “Petitioner[] moved four UHF
 antennas indoors to the second floor of the house.” Id. It is unclear how the property could both serve as a
 residence and simultaneously host four rooftop antennas inside the dwelling.
 22
   Id. It is similarly unclear how the single-family property could service simultaneously as a rental dwelling and as
 the offices for several companies.
 23
   Id. Petitioner notes that “the house is highly desirable as a communications site” because it has a “direct line of
 sight to downtown Los Angeles and Mount Wilson,” “[t]here is a paucity of commercial communications tower
 facilities in the Rancho Palos Verdes area,” and “WISP and other radio services are difficult in this area due to
 fading caused by marine layer and inversion layer.” Id.
 24
   Letter from Julian Gehman, counsel to Indian Peak Properties, LLC and James A. Kay, Jr., to Marlene H. Dortch,
 Secretary, Federal Communications Commission at 3 (July 5, 2022) (July 5 Supplement).
 25
      Petitions 2-4 at 6.
 26
   Petitions 2-4, Exh.7 at 1 (Apr. 18, 2022 Rancho Palos Verdes Business License Application for Home Occupancy
 Businesses); Petitions 3-4 at 7 (“Mr. Kay and Indian Peak Properties have the exclusive right to access and use the
 entirety of the building’s rooftop, except where rooftop space is leased to others.”) (emphasis added).
 27
      May 26 Supplement at 3 (stating that “Petitioners have unfettered access to and control of the entire roof”).
 28
   Petition 2 includes exhibits with copies of an Agreement for Internet services between James A. Kay, owner and
 manager of LT-WR and James A. Kay, owner of Indian Peak Properties, as well as invoices from LT-WR to Indian
 Peak Properties for the provision of “internet connection from private VLAN of 10MB.” See Petition 2 at Exh. 6.
 Petition 3 includes exhibits with invoices from Geo-Links to Indian Peak Properties, and checks from Indian Peak
 Properties to Geo-Links for the provision of “ClearFiber DIA 5/5Mbps.” See Petition 3 at Exh. 6. And Petition 4
 includes exhibits with an agreement for Internet services between One Internet America and Indian Peak Properties,
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 Enterprises and Fisher Wireless are the users of the antennas owned by LT-WR, GeoLinks, and One
 Internet America. 29

 The July 5 supplement explains that, “[w]hen Fisher Wireless or Comm Enterprises staff are working
 from the house, uninterrupted Internet access allows them to monitor and check the status of their other
 stations that are similarly equipped with Internet access, and remotely control those stations.” 30 The
 supplement further asserts that Comm Enterprises and Fisher Wireless need “uninterrupted Internet
 access” because it allows for “remote monitoring of power supply, HVAC and operational status of the
 transmitters and other communications equipment” so that they can “remotely troubleshoot and mitigate
 network service problems.” 31 Finally, the supplement states that uninterrupted Internet access “allows
 remote monitoring and control of the equipment in the house,” and “[r]edundancy of broadband access
 facilitates continued monitoring of the house in the event of vandalism to one or more of Antennas 2, 3 or
 4” by hostile neighbors. 32

 Based on all of the information provided by Petitioner, it is not clear whether Antennas 2-4 are serving
 end users at the premises, as required for a dispute to implicate the OTARD rule. 33 When the
 Commission expanded the scope of the OTARD rule in 2021, it determined that the “rule will not treat
 service providers as ‘antenna users.’” 34 In this case, the record indicates that users of Antennas 2-4 each
 appear to be communications service providers. Specifically, Petitioner indicates in its July 5 Supplement
 that Antennas 2-4 are used by two communications providers who hold FCC licenses, Comm Enterprises




 invoices from One Internet America to Indian Peak Properties, and checks from Indian Peak Properties to One
 Internet America for the provision of “internet connection services of 50 Mb download / 50 Mb Upload
 capabilities.” See Petition 4 at Exh. 6.
 29
      See July 5 Supplement at 3.
 30
      July 5 Supplement at 4.
 31
   Id. The supplement includes a list of equipment used inside the residence to support communications operations.
 Id. at 2.
 32
    Id. at 4. We note that Petitioner claims that Antennas 2-4 provide “backup/redundancy” and that Antennas 5 and
 6 each provide the same service. Petition 2 at 9, Petition 3 at 10, Petition 4 at 10; July 5 Supplement at 3; Petition 5
 at 7-8. For the reasons stated below, we need not address whether such use is protected by the OTARD rule.
 However, the rule applies by its terms only where the restriction “impairs . . . use,” including as relevant here
 “[p]recluding reception of transmission of an acceptable quality signal.” 47 CFR 1.4000(a)(3). See also Stanley and
 Vera Holliday, Petition for Declaratory Ruling Under 47 CFR § 1.4000, Memorandum Opinion and Order, 14 FCC
 Rcd 17167, 17171, para. 12 (CSB 1999) (stating that “the record in this proceeding does not contain sufficient
 information to enable us to determine whether it is necessary for Petitioners to maintain five television antennas and
 three satellite dish antennas in order to receive the video programming available in their viewing area”) (internal
 citations omitted); cf. Philip Wojckewiz, Petition for Declaratory Ruling Under 47 CFR § 1.4000, Memorandum
 Opinion and Order, 18 FCC Rcd 19523, 19529, para. 17 (MB 2003) (“[A] restricting entity may not impose an
 arbitrary limit on the number of antennas a viewer may install, provided that they are necessary to receive the video
 programming available for reception in the viewer’s viewing area.”).
 33
   47 CFR § 1.4000(a)(5) (hub or relay antennas must “serve[] a customer on [the] premises”); id. § 1.4000(a)(1)
 (other antennas must serve “user[s] ha[ving] a direct or indirect ownership or leasehold interest in the property”).
 34
    Updating the Commission’s Rule for Over-the-Air Reception Devices, WT Docket No. 19-71, Report and Order,
 36 FCC Rcd. 537, 544 para. 20 (2021) (OTARD Fixed Wireless R&O).
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 and Fisher Wireless. Fisher Wireless leases space in the building and owns Antennas 5 and 6. 35 Further,
 Commission records indicate that James A. Kay has a 100% ownership interest in Comm Enterprises. 36
 James A. Kay also owns Indian Peak Properties (the owner of the building) and LT-WR (the owner of
 Antenna 2). In addition, the Petitions state that James A. Kay and his “businesses,” which include
 communications providers LT-WR and Comm Enterprises, use Antennas 2-4, and the Petition further
 characterizes Kay and his businesses as the “primary” users without indicating whether there are other,
 unidentified users, such as off-site customers of any of the “primary” users. 37

 It is not evident from the Petitions whether James A. Kay qualifies as a user, since he does not claim to
 reside at the property or regularly use the service there, and the other identified “primary” users are
 communications service providers. And insofar as Petitioner claims that Antennas 3-4 are “hub or relay”
 antennas, the only “customer” is Indian Peak Properties, which apparently makes the antenna services
 available exclusively to communications service providers (at least one of which appears to be under
 common ownership with Indian Peak Properties) and to devices that support the needs of communications
 service providers. The record does not identify any non-communications-service-provider user who
 regularly resides at or uses the premises, other than unspecified vendors or contractors whose activities
 presumably are associated with the communications businesses operating there.

 Because the OTARD rule does not protect antennas where the user is a service provider, and the
 identified users of Antennas 2-4 are FCC licensees who appear to be service providers, we dismiss
 Petitions 2-4 without prejudice.

 Dismissal of Petition 5. For the reasons set forth below, we dismiss Petition 5 without prejudice because
 it fails to make any showing that each antenna supports the offering of a fixed wireless service (as
 opposed to a mobile service, such as a commercial mobile service38 or a personal wireless service 39), as
 required for a dispute to implicate the OTARD rule.

 35
   The Petitions do not state whether Antennas 2-4 serve the Fisher Wireless antennas at issue in Petition 5. The
 reference to Comm Enterprises and Fisher Wireless’ operation of “transmitters” and “other stations” raises
 additional questions, including whether they are operating stations at the residence, and if so whether those stations
 are being operated with any of the antennas subject to any of the Petitions.
 36
   See, e.g., FCC, Universal Licensing System, File No. 0003484147, Ownership Disclosure Filing,
 https://wireless2.fcc.gov/ownerQryDetail/ownership-search-results-
 detail.htm?applId=4514200&viewAll=FRBDIH&reqPage=1&DIHROW=1&backpage=ownership-search-results-
 detail.htm&CFID=14982922&CFTOKEN=26884547&jsessionid=Qc2JvHXNfBDvzr34qhNkhGl2vnDvsXSNYD
 WnVnTLqLXRs2Bfn6hD!1289473429!1657231181337.
 37
      See, e.g., Petitions at 3 (chart), 6, 8, Exh. 1.
 38
   47 CFR § 20.3 (defining “commercial mobile radio service” in part as a “mobile service that is: (a) (1) provided
 for profit, i.e., with the intent of receiving compensation or monetary gain; (2) [a]n interconnected service; and (3)
 [a]vailable to the public, or to such classes of eligible users as to be effectively available to a substantial portion of
 the public; or (b) [t]he functional equivalent of such a mobile service described in paragraph (a) of this definition.”).
 39
   47 U.S.C. § 332(c)(7)(C)(i) (defining “personal wireless services” as “commercial mobile services, unlicensed
 wireless services, and common carrier wireless exchange access services.”). Section 332(c)(7) preserves “the
 authority of a State or local government or instrumentality thereof over decisions regarding the placement,
 construction, and modification of personal wireless service facilities.” See Promotion of Competitive Networks in
 Local Telecommunications Markets, WT Docket No. 99-217, Order on Reconsideration, 19 FCC Rcd 5637, 5643,
 para. 14 (2004). We note that Petitioner claimed in federal District Court in 2020 that at least one of the antennas
 subject to the City’s removal action provided “personal wireless service” subject to preemption protection pursuant
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 The Petition alleges that Antennas 5 and 6 are “used to receive or transmit broadband-only fixed wireless
 signals,” are “used exclusively to distribute the Cellular service to customers located at the Property,” and
 that neither is “an Internet hub or relay antenna.” 40 Petitioner also claims that these antennas “provide[]
 voice over Internet protocol and other Internet based service to the house to supplement the weak cellular
 service.” 41 But the Petition does not allow us to determine whether Antennas 5 and 6 are “fixed wireless
 antennas” that are being used “to receive or transmit fixed wireless signals.” 42

 Petitioner’s references to “cellular service” raise questions regarding whether the antennas are being used
 to extend mobile service rather than for fixed service. The affidavit accompanying the Petition states only
 that the antennas are “Cellular Rooftop Antennas for cellular phone connectivity” and that they “will be
 used to transmit and/or receive voice and data services.” 43 An affidavit attached to the First Supplement
 includes an attestation that “all facts” in the underlying Petitions are “true and correct,” except, in
 pertinent part, “those facts already attested to by a separate affidavit,” 44 and does not cover this level of
 detail about the service provided, leaving it ambiguous which affidavit the Commission should rely on in
 determining whether Antennas 5 and 6 are within the scope of the OTARD rule. The Petition’s
 allegations that the antennas receive or transmit broadband-only fixed wireless signals and are not hub or
 relay antennas “used to receive or transmit fixed wireless signals for the distribution of fixed wireless
 services to multiple customer locations” 45 are likewise unsupported in the expert affidavit.46 If Antennas
 5 or 6 are hub and relay antennas and they are providing telecommunications services or a service that is
 provided on a commingled basis with telecommunications services, then they would fall outside the




 to 47 U.S.C. § 332(c)(7) because the city “unreasonably discriminated amongst providers, and effectively prohibited
 the provision of personal wireless services.” First Amended Complaint for a Temporary Restraining Order,
 Injunctive, Declaratory Relief and Damages (42 U.S.C. § 1983); Request for Expedited Review; Demand for Jury
 Trial, at paras. 85-94, Indian Peak Properties, LLC v. City of Rancho Palos Verdes, Case No. 2:20-cv-00457 DSF
 (RZx) (C.D. Cal. Mar. 5, 2020), appended to May 6 City Letter from William W. Wynder, counsel to City of
 Rancho Palos Verdes, to Garnet Hanly, Chief of Competition and Infrastructure Policy Division, FCC Wireless
 Telecommunications Bureau (May 6, 2022), Ex. H at 148-50. We note that to the extent any hub or relay antennas
 on the building provide service covered by section 332(c)(7) of the Act, 47 U.S.C. § 332(c), they are not covered by
 the OTARD rule. See OTARD Fixed Wireless R&O, 36 FCC Rcd at 547-48, paras. 29-31.
 40
   Petition 5 at 7-8 (while the Petition includes the article “the” in the sentence, it does not specify to which cellular
 service it is referring). The Petition also states that Antennas 5 and 6 are “not used to—and cannot—distribute fixed
 wireless Internet signals to multiple end-user locations.” Id.
 41
      July 5 Supplement at 4.
 42
   47 CFR § 1.4000(a)(1)(ii); see also id. at 1.4000(a)(2) (defining “fixed wireless signals” as “any commercial non-
 broadcast communications signals transmitted via wireless technology to and/or from a fixed customer location.”).
 43
      See Petition 5, Exh. 1.
 44
      May 26 Supplement at Affidavit of James A. Kay, Jr.
 45
    47 CFR § 1.4000(a)(5) (defining “hub and relay antenna” for purposes of OTARD protection as “any antenna that
 is used to receive or transmit fixed wireless signals for the distribution of fixed wireless services to multiple
 customer locations as long as the antenna serves a customer on whose premises it is located, but excludes any hub or
 relay antenna that is used to provide any telecommunications services or services that are provided on a commingled
 basis with telecommunications services.”).
 46
   See Petition 5, Exh. 1. All facts alleged in a petition for declaratory ruling must be supported by a person with
 actual knowledge of the facts. 47 CFR § 1.4000(h).
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 OTARD rule’s scope, and Petition 5 is deficient because it lacks information necessary to this
 determination. 47

 Initiation of a Proceeding. Petitioner requests that the Commission issue a declaration that “any action
 taken by the City to enforce” its decision to revoke a conditional use permit for antennas on the building
 while the Petitions are pending is suspended. 48 Petitioner argues that the filing of its petitions triggered
 section 1.4000(a)(4), which provides that, “if a proceeding is initiated,” the “entity seeking to enforce the
 antenna restriction must suspend all enforcement efforts pending completion of review.” 49

 Section 1.4000(e) characterizes OTARD petitions as petitions for declaratory ruling filed pursuant to
 section 1.2. 50 In adopting section 1.2, the Commission stated that it “intended to make the process for
 petitions for declaratory rulings ‘similar’ to that for petitions for rulemaking.” 51 The rules applicable to
 petitions for rulemaking allow for dismissal without prejudice of petitions that are “moot, premature,
 repetitive, frivolous, or which do not warrant consideration by the Commission . . . .” 52 Consistent with
 section 1.2, the practice of the Commission’s Bureaus has been to deny or dismiss other types of petitions
 for declaratory ruling, as well as OTARD petitions, without first putting them on public notice, in
 appropriate circumstances. 53 To be sure, section 1.2(b) of the Commission’s rules states generally that
 the Commission’s staff “should” docket and invite public comment on petitions for declaratory rulings,
 47 CFR § 1.2(b). In enacting section 1.2(b), however, the Commission expressly recognized that there
 sometimes would be circumstances where those procedures should not be followed. 54 The instant
 Petitions and supplements thereto do not provide sufficient information for the Commission to determine
 whether the OTARD rule might apply to them and in fact raise questions about whether this is the case.

 The OTARD rule does not provide that the mere filing of a petition for declaratory ruling seeking
 preemption of an antenna restriction is sufficient to warrant the extraordinary relief of suspending local
 enforcement efforts. That occurs only at such time as “as a proceeding is initiated” by the Commission. 55

 47
   47 CFR § 1.4000(a)(5); 47 U.S.C. § 153(53) (defining telecommunications service as “the offering
 of telecommunications for a fee directly to the public, or to such classes of users as to be effectively available
 directly to the public, regardless of the facilities used”).
 48
      See Petitions at 8-9.
 49
      47 CFR § 1.4000(a)(4).
 50
      47 CFR § 1.4000(e).
 51
      John F. Garziglia, Letter, 28 FCC Rcd 4145, 4146 (MB 2013) (citation omitted).
 52
      47 CFR § 1.401(e).
 53
   For example, the Media Bureau dismissed an OTARD petition for declaratory ruling filed by the Multifamily
 Broadband Council seeking preemption of Article 52 of the San Francisco Police Code prior to establishing a
 proceeding. The Media Bureau determined that the petitioner “ha[d] not established that it [was] entitled to relief
 under the OTARD rule.” Petition for Declaratory Ruling - Multifamily Broadband Council, Letter Order, 32 FCC
 Rcd 3794, 3795-96 (MB 2017); see John F. Garziglia, 28 FCC Rcd at 4146 (“In stipulating that petitions for
 declaratory rulings ‘should’ rather than ‘must’ seek comment, the Commission has afforded bureaus and offices
 discretion to act without public notice in unusual circumstances.”).
 54
  Amendment of Certain of the Commission’s Part 1 Rules of Practice and Procedure and Part 0 Rules of
 Commission Organization, Report and Order, 26 FCC Rcd 1594, 1597, para. 10 (2011).
 55
   Petitioner seems to acknowledge this in its May 26 Supplement. See May 26 Supplement at 2 (“Petitioners
 request a very prompt review of whether each of the five Petitions is acceptable for filing . . . .”).
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 Nothing in the OTARD rule supports Petitioner’s suggestion that the agency must initiate a proceeding
 immediately whenever a petition for declaratory ruling is filed.56 On the contrary, the rule includes
 procedural and substantive requirements that any petition must comply with, and the Commission may
 reasonably wait to open a proceeding and seek public comment until after it has determined that the
 petition is not procedurally defective and that the information provided is sufficient to identify a dispute
 that implicates the OTARD rule. A proceeding is initiated, and enforcement of an antenna restriction is
 suspended, when the appropriate Bureau issues notice in writing.

 Specifically as to these parties, Petitioner has now filed two sets of petitions that fail to allege facts
 sufficient to demonstrate whether the antennas meet the requirements of the OTARD rule.57 We
 dismissed the initial petition submitted by Indian Peak Properties on April 22, 2022, because it failed “to
 provide sufficient information to support a showing that each antenna meets all of the criteria required for
 protection under the OTARD rule.” 58 And with the subsequent filing of five new petitions on May 1,
 2022, Petitioner again failed to provide sufficient information that would warrant initiating a proceeding
 “to determine whether a particular restriction is permissible or prohibited” under the OTARD rule—i.e.,
 “allegations of fact” that provide sufficient detail necessary to support a claim that each antenna is entitled
 to protection from an “impairment” under the OTARD rule. 59

 We expect petitions seeking protection under the OTARD rule to include allegations with sufficient
 detail, clarity, and accuracy for the Commission to identify whether a dispute implicates the OTARD rule
 as discussed above. To the extent Petitions fail to do so, we will decline to initiate the proceeding
 contemplated by the Commission’s rules.

 Conclusion. Accordingly, we dismiss Petition 1 without prejudice due to the failure to make any showing
 that there is a present attempt to enforce a restriction, and we dismiss without prejudice Petitions 2, 3, 4,
 and 5 due to the Petitions’ failure to identify facts that provide sufficient detail to demonstrate, as to each




 56
      Petitions at 8-9.
 57
   We note that counsel for the City Rancho Palos Verdes alleges that the filing of these petitions by Indian Peak
 Properties “are merely part of an ongoing effort to forestall and delay the enforcement of two California Court of
 Appeals decisions” and that the Petitioner is attempting to use the Commission “to prevent the lawful enforcement
 of no fewer than five (5) different court rulings.” Email from William W. Wynder, Counsel to City of Rancho Palos
 Verde to Jacob Lewis, Acting Deputy General Counsel, FCC Office of General Counsel, at 1 (June 30, 2022).
 58
      See April 22 Letter at 2-3.
 59
      47 CFR §§ 1.4000(e), (h).
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 antenna associated with the Petitions, a dispute that implicates the OTARD rule. This action is taken
 pursuant to authority delegated by the Federal Communications Commission, 47 U.S.C. § 155; 47 CFR
 §§ 0.61(f)(4), 0.131(a).

                                                Sincerely,

                                                /s/ Garnet Hanly

                                                Garnet Hanly
                                                Chief
                                                Competition & Infrastructure Policy Division
                                                Wireless Telecommunications Bureau

                                                /s/ Maria Mullarkey

                                                Maria Mullarkey
                                                Chief
                                                Policy Division
                                                Media Bureau


 cc:    Julian Gehman, Gehman Law PLLC
        Angela M. Rossi, Bradley, Gmelick & Wellestein, LLP
        William W. Wynder, Aleshire & Wynder, LLP
        Alison S. Flowers, Aleshire & Wynder, LLP
        Christy M. Lopez, Aleshire & Wynder, LLP
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                          Exhibit D
                      To Indian Peak Properties LLC
                          Application for Review
                             January 12, 2023




   Petition for Declaratory Ruling Antenna 2
                     Of Indian Peak Properties LLC
                              May 1, 2022
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                                                   Before the
                         FEDERAL COMMUNICATIONS COMMISSION
                                          Washington, D.C. 20554


 In the Matter of                                                     )
 Indian Peak Properties and LT-WR, LLC,                               )        CSR ______-0
 Petition for Declaratory Ruling Under 47 C.F.R. §1.4000              )
 To:      Office of the Secretary                                     )
 Attn: Chief, Media Bureau                                            )


                             PETITION FOR DECLARATORY RULING



          Indian Peak Properties, LLC (“Petitioner”), by its attorney and pursuant to Sections 1.2

 and 1.4000 (e) if the Commission´s Rules,1 respectfully requests a declaratory ruling that: (a)

 certain antennas described more fully herein are within the scope of protection from state and

 local restrictions provided by the OTARD rule;2 (b) restrictions asserted by the City of Rancho

 Palos Verdes, California (the “City”) impair the installation, maintenance or use of such

 antennas; and (c) the City´s actions are unlawful, preempted by federal authority under the

 OTARD rule, and therefore unenforceable.

       I. BACKGROUND

       1. The subject of this petition is property (the “Property”) located at 26708 Indian Peak

 Road, Rancho Palos Verdes, CA 90275, which is owned by Petitioner.3 The Property is a single-

 family home, which is used by the owner, James Kay, and from time to time by individuals or


 1
   47 C.F.R. §§ 1.2 and 1.4000 (e).
 2
   47 C.F.R. § 1.4000.
 3
   The property was previously owned by James A. Kay, Jr., an individual who owns and controls Petitioner. The
 term “Petitioner” includes Mr. Kay, Petitioner, except where the context requires otherwise.

                                                         1
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 business entities that rent the Property from the owner for a fixed term. There are a total of five

 (5) antenna structures, each of them installed on the rooftop of the Property and described in

 Section 2 of this Petition. All factual assertions in this Petition are supported by the following

 Exhibits, which are attached to this Petition:

    Exhibit 1 – Declaration of Daniel W. Redmond, Senior Wireless Network Design Engineer;

    Exhibit 2 – Property Detail Report and Deed to 26708 Indian Peak Road, Rancho Palos
                Verdes, CA 90275;
    Exhibit33 –– Two
    Exhibit      Photographs of Antenna
                     photographs        2; 2;
                                 of Antenna
    Exhibit 4 – Specifications for Antenna 2;

    Exhibit 5 –City
               CityResolution
                    Resolution2018-61
                               2018-61;and City attorney letter demanding removal of antennas;

    Exhibit 6 – Standard Terms and Conditions for LT-WR, LLC for Internet Access Service to
               Indian Peak Properties, LLC, check register, and invoices showing monthly
               service payments to LT-WR;

    Exhibit 7 – Business Licenses of Indian Peak Properties, LLC, Business Tax Registration of
               LT-WR, LLC, and Business License Application for LT-WR, LLC; and
    Exhibit 8 – Indian Peak Properties, LLC’s Articles and Information.

    2. The antenna structures installed on the rooftop of the Property are the subject of past and

 present ongoing regulatory disputes and civil litigation between Petitioner and the City. On

 December 21, 2004, the Rancho Palos Verdes City Council adopted Resolution No. 2004-109,

 approving Conditional Use Permit No. 230 (“CUP 230”) approving the placement of five UHF

 antennas, each a Sinclair model SD314-HF2PSNM measuring 9.5 feet (3.9 meters) in height

 with four co-linear radiating elements. In subsequent years, some antennas were removed and

 other antennas were installed on the rooftop of the Property on the good faith assumption that the

 additional antennas did not require prior zoning approvals because they did not involve the

 erection of additional support structure and were mounted on the same Building as the UHF

 antennas that had been approved under CUP 230 and were smaller and lower in profile than the

                                                  2
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     UHF antennas. Petitioner also believes that most if not all of the additional antennas were within

     the scope of the OTARD rule and therefore would not have required prior zoning approval even

     in the absence of CUP 230.

            3. On August 21, 2018, the City Council adopted Resolution No. 2018-61, purporting to

     revoke in its entirety CUP 230. Without conceding the validity of that Resolution, the revocation

     affects only installations that legitimately require zoning approval. Nonetheless, the City insists

     that Petitioner remove virtually all antennas from the Building, even those that are protected

     under the OTARD rule. The Petitioner has removed the UHF antennas from the roof and made

     other related modifications.

            4. On April 17, 2020, the Petitioner filed a Petition for Declaratory Ruling under 47 C.F.R.

     § 1.4000. By letter dated April 22, 2022, the Commission dismissed the Petition without

     prejudice on the ground that it did not provide sufficient information to show that each of the

     antennas meet all of the criteria for protection under the OTARD rule. In particular, the

     Commission found that Petitioner had failed to provide sufficient information to demonstrate that

     each antenna meets all of the criteria required for preemption under the OTARD rule.

            5. There are currently five antennas placed on the rooftop of the Property, as follows:
Antenn        Owner          Type           Service     Customer            Antenna Users On-Site      Located         on
 a#                                                     Location                                       Property Within
                                                                                                       Exclusive
                                                                                                       Control of User
Antenna 1     Indian Peak    DIRECTV        DIRECTV     26708 Indian Peak   Yes, for tenants when       User James Kay
              Properties,                               Rd., Rancho Palos   Building is rented           owns rooftop
              LLC                                       Verdes, CA                                        antenna site
              (Petitioner)
Antenna 2     LT-WR,         Parabolic      Fixed       26708 Indian Peak   Owner of Building (James    User James Kay
              LLC            Dish           Wireless    Rd., Rancho Palos   Kay – Petitioner), and       owns rooftop
                             Commscope      Broadband   Verdes, CA          various businesses            antenna site
                             VHLP3-         Internet
                             11WH/A         Access
Antenna 3     GeoLinks       Ubiquiti       Fixed       26708 Indian Peak   Owner of Building (James    User James Kay
                             AirFiber 24,   Wireless    Rd., Rancho Palos   Kay – Petitioner), and       owns rooftop
                             Unlicensed     Broadband   Verdes, CA          various businesses            antenna site

                                                            3
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                            2x2 MIMO        Internet
                            24 GHz          Access
Antenna 4    One Internet   Cambium         Fixed       26708 Indian Peak   Owner of Building (James   User James Kay
             America        ePMP 2000       Wireless    Rd., Rancho Palos   Kay – Petitioner), and      owns rooftop
                            Unlicensed      Broadband   Verdes, CA          various businesses           antenna site
                            2x2 MIMO        Internet
                            5.8     GHz     Access
                            Panel
                            Antenna
Antenna 5    Fisher         Two       (2)   Cellular    26708 Indian Peak   Owner of Building (James   User James Kay
             Wireless       Wilson          Telephone   Rd., Rancho Palos   Kay – Petitioner), and      owns rooftop
                            Electronics                 Verdes, CA          various businesses           antenna site
                            Model
                            314411


     This Petition concerns only Antenna 2, the Parabolic Dish antenna owned by LT/WR, LLC and

     used to distribute fixed wireless signals at the Property. Antenna 2 meets all of the criteria

     required for protection under the OTARD rule as described in Section III below.

            II. THE OTARD RULE

            The rules promulgated by the FCC pursuant to Section 207 of the 1996 Telecommunications

     Act, known as the over-the-air-reception device or OTARD rule, are found at 47 C.F.R. §

     1.4000. The OTARD rule prohibits any state or local law or regulation or any private contract or

     other restriction of any kind that impairs the ability of an antenna user to install, operate and

     maintain certain antenna devices (one meter or less in diameter) on property over which the

     antenna user has exclusive control and a direct or indirect ownership or leasehold interest.

               The phrases “exclusive control” and “direct or indirect ownership or leasehold interest”

     are explained as follows: “For purposes of our Section 207 rules, a renter, tenant or any other

     person residing on a property owner´s property with the property owner´s permission (´tenant

     viewer´), who has the property owner´s permission to install, maintain and use a Section 207

     reception device on the property, shall be treated as a covered viewer with regard to third party

     restrictions under our Section 207 rules. In this connection, the tenant viewer shall have the same

                                                            4
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 rights under Section 207 as would the owner vis-à-vis restrictions enacted by a … government

 and/or any other third party. Thus, if an owner residing on the property were entitled to install a

 Section 207 device on the property under our rules, then a tenant occupying the property is also

 entitled to a Section 207 device on the property provided the property owner consents.”4

          As originally issued, the OTARD rule was intended to facilitate the use of dish antennas

 used to receive direct broadcast satellite television signals. The rule did not apply to antennas

 carrying telecommunications traffic. In year 2000, however, in response to concerns expressed

 by CLECs and Commercial Mobile Wireless Radio (CMRS) operators, the FCC revised the

 OTARD rule to include “all customer-end antennas and supporting structures of the physical

 type currently covered by the rule, regardless of the nature of the services provided through the

 antenna.”5 Then in 2021, the Commission in effect deleted the requirement that OTARD applies

 only to “customer-end” antennas and concluded that the OTARD rule encompasses all hub and

 relay antennas6 that are used for the distribution of fixed wireless signals7 to multiple customer

 locations, regardless of whether they are “primarily” used for this purpose, as long as (1) the

 antenna serves a customer on whose premises it is located, and (2) the service provided over the

 antenna is broadband-only.8 The OTARD rule also generally prohibits any governmental or

 private restrictions on any mast or support for an antenna covered by the rule, other than
 4
  Implementation of Section 207 of the Telecommunications Act of 1996, Order on
 Reconsideration, 13 FCC Rcd 18962, 18995 ¶ 77 (1998).
 5
   Promotion of Competitive Networks in Local Telecommunications Markets, First Report and Order and Further
 Notice of Proposed Rulemaking, 15 F.C.C. Rcd 22983 ¶ 99 (2000).
 6
   The Rule defines a “hub or relay antenna” as “any antenna that is used to receive or transmit fixed wireless signals
 for the distribution of fixed wireless services to multiple customer locations — as long as the antenna serves a
 customer on whose premises it is located. The rule excludes any hub or relay antenna that is used to provide any
 telecommunications services or services that are provided on a commingled basis with telecommunications
 services.” Questions and Answers Concerning the OTARD Rule, https://www.fcc.gov/media/over-air-reception-
 devices-rule#QA.
 7
   The OTARD Rule defines “fixed wireless signal” as “any commercial non-broadcast communications signals
 transmitted via wireless technology to and/or from a fixed customer location.” 47 C.F.R. § 1.4000 (a) (2).
 8
   In the Matter of: Updating the Commission´s Rule for Over-the-Air Reception Devices, Report and Order, WT
 Docket 19-71, rel. Jan. 1, 2021, ¶ 9.

                                                           5
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 restrictions based on legitimate safety considerations, as long as the height of the support does

 not exceed 12 feet above the roofline.9

     III. ARGUMENT

     This Petition concerns only Antenna 2, the Parabolic Dish Commscope VHLP-11W-6WH/A

 antenna owned by LT-WR. Like the other antennas at the Property, Antenna 2 is connected by

 Ethernet cable to routers and switches inside the house that comprises the Property. Antenna 2 is

 designed to and does provide fixed wireless high-speed Internet access anywhere within the

 house and the surrounding yards. The Property owner, James A. Kay, together with his several

 companies including Indian Peak Properties, LLC, are the customers and primary users of the

 broadband service provided by Antenna 2. In addition, Antenna 2 provides connectivity for a

 number of vendors and contractors who visit the Property on a regular basis, and for any

 residential tenants who lease rooms in the house from time to time.                  As affirmed in the

 Declaration of Daniel W. Redmond (Exhibit 1), Antenna 2 meets each of the requirements that

 entitle the antenna to protection from regulation by the City as follows:

     a. Antenna 2 is placed on the Property within the exclusive use or control of the
        antenna user.

     Antenna 2 is placed on the rooftop of the Property – which is a single-family home owned by

 James A. Kay’s company, Petitioner Indian Peak Properties, LLC. As the owner of the Property,

 Mr. Kay and Indian Peak Properties, LLC have the exclusive right to access and use the entirety

 of the building´s rooftop, except where rooftop space is leased to others. Further, Mr. Kay and

 his company Indian Peak Properties, LLC, are the primary users and customers of the service

 provided by means of Antenna 2. The service is not used by any remote customer not located at

 9
  Questions and Answers Concerning the OTARD Rule, https://www.fcc.gov/media/over-air-reception-devices-
 rule#QA.

                                                      6
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 the Property. See Declaration of Daniel W. Redmond (Exhibit 1). Therefore, Antenna 2 meets

 the requirements stated in 47 C.F.R. § 1.4000 (a) (1).

    b. Antenna 2 is used to receive or transmit fixed wireless signals.

    As indicated above, Antenna 2 is used to receive or transmit broadband-only fixed wireless

 signals providing high-speed Internet access to compatible devices throughout the Property. The

 service provided by means of Antenna is within the parameters of OTARD protection as required

 under 47 C.F.R. § 1.4000 (a) (1) (i) (A). See Declaration of Daniel W. Redmond (Exhibit 1).

    c. Antenna 2 is less than one meter in diameter or diagonal measurement and is
       installed on a mast less then twelve (12) feet above the roofline of the building.

    Antenna 2 is round in shape (“drum shaped”) and is less than one meter in diagonal

 measurement. Therefore, Antenna 2 meets the requirements of 47 C.F.R. 1.4000 (a) (1) (i) (B).

 In addition, the mast on which Antenna 2 is installed does not exceed twelve (12) feet in height

 above the building´s roofline. See Declaration of Daniel W. Redmond (Exhibit 1). Therefore,

 Antenna 2 meets the height criteria stated in 47 C.F.R. § 1.4000 (a) (1) (iv).

    d. No safety or historic preservation concerns have been raised with respect to Antenna 2.

        As affirmed in the Declaration of Daniel W. Redmond (Exhibit 1), no safety or historic

 preservation concerns have been raised by the City with respect to Antenna 2 and no General

 Exposure limitations are exceeded.

    e. Antenna 2 is not a hub or relay antenna.

    Although the OTARD rule has recently been amended to encompass certain hub or relay

 antennas, it is worth noting that Antenna 2 is not used to – and cannot - distribute fixed wireless

 signals to multiple end-user locations. Rather, it is used exclusively to bring Internet service to

 the property. The Internet service will then be available to customers located at the Property.

                                                  7
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 Antenna 2 is not a hub or relay antenna and does not raise any questions associated with that

 issue.

      For the reasons stated in paragraphs (a) through (d) above, Antenna 2 meets each of the

 criteria stated in the OTARD Rule and is entitled to protection from local regulation by the City.

      IV. RELIEF SOUGHT

      The Petitioner seeks a declaratory ruling from the Commission that Antenna 2 constitutes a

 protected Section 207 device under the OTARD rule such that enforcement of Resolution 2018-

 61, revoking CUP 230 and every other action taken or contemplated by the City to force

 Petitioner to remove Antenna 2 from the Property, is preempted.

      Furthermore, Petitioner seeks an immediate declaration from the Commission that any action

 taken by the City to enforce Resolution 2018-61 during the pendency of this Petition is

 suspended. Except in circumstances not relevant here, “if a proceeding is initiated” challenging a

 restriction under the OTARD rule, “the entity seeking to enforce the antenna restrictions in

 question must suspend all enforcement efforts pending completion of review,” and “[n]o

 attorney’s fees shall be collected or assessed and no fine or other penalties shall accrue against an

 antenna user while a proceeding is pending to determine the validity of any restriction.”10 Thus,

 Resolution 2018-61 “may not be enforced until the Commission … issues a ruling that

 [Resolution 2018-61] is not preempted,” and “a viewer may install, use and maintain an antenna




 10
   47 C.F.R. § 1.4000 (a) (4). The only exceptions are for restrictions “pertaining to safety and historic preservation.”
 Promotion of Competitive Networks in Local Telecommunications Markets, Order on Reconsideration, 19 FCC Rcd
 5637, 5643-44 ¶¶ 13-18 (2004), ¶ 16.

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   with 1he other four antennas, &om 1tl¢ rooftop of the building. It is likely that such forcible

   remo\·al would cL<tm;,1gc tlle equipment aod pe,hapS the rooftop as well, poleoriaJJy «istiog lhe

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   fact lbat tite antennas - apan from nllowiJJg Pctitiooer's b\~Siness. Op(.--r.ttioos to function - are

   necessary to individuaJJy and <:olleclively provide ·back-up redundancy for J>erforman<» of an

   array of viwl ftmctiMs at 1he Property, including but no1 Untiled 10 providing television and

   telephone service., security alarm and camera opern1ions. te,uperature contro.1, and nther

   monitoring functions. l.o:;s of the Mh'lJlJl.1S, it1cludiu,g Anlenn.., 2, would put at rL•:lk oot cmly the

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                                                                                   15$2.S Cabrito R<iad, Van Nuys, CA 91406
                                                                                   Td: 818-540-803 l T-0-ni@Bt1ddyCorp.com
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   ,60?., 8603 f2 (CSB 1999).
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USCA Case #23-1223            Document #2013313                    Filed: 08/18/2023           Page 89 of 336




                                     CERTU'lCATE OF SERVICE

          I, 'foncata Martocc-Jtlo, OOUJlScl fo1•Petitioners in this matter, hereby certify th:u on this
   1st day of Mily. 2'022., I have cuu.sod copies oflhe-forcgo iJ1gpl~diog to be ser.·ed, via first
   class USl'S, certified n\tlH, post3ge pee.paid, <m the following:

                  Ms. Juoe S. Ailin
                  Aleshire & Wynder. !LP
                  2361 Ros.cc.rans Ave., ~\1ile 475
                  El Set\lndo, CA 90245

                  Teri Takaoka, City Clerk
                  City of R.,ncho Palos Verdes
                  30940 f.lawthorne Boolevard
                  Rancho Palos Vtrdts1 CA 1)()275




                                                       Toneata l\·fartocchio, J.D.
                                                       Attor,ney .'If Law
                                                      15525 Cahrito 'Ro.1d
                                                      Van Nuys, CA 91406
                                                      lei: 818-540•8031
                                                      Email: Toni@Budd}'·Co1:p.com




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                               EXHIBIT 1
      USCA Case #23-1223                 Document #2013313                    Filed: 08/18/2023           Page 91 of 336
                                               Expert Witness Statement/Affidavit

                               In support of: Indian Peak Properties, LLC – Single Family Home

                                       26708 Indian Peak Road, Rancho Palos Verdes, CA

Author:

          Daniel W. Redmond, Senior Wireless Network Design Engineer

          Ph: 916.296.0282, Email: dredmo77@att.net

Qualifications:

          A.S. Aviation, CCAF; B.S. Information Systems, UoP

          FCC Licensed, PG-GB-062835

          23 Years of Licensed and Unlicensed Microwave Operations, Management, and Engineering Experience. 30
          Years’ experience in general electronics. 10+ of these years as the lead Microwave Engineer for over 900
          Licensed and 50 Unlicensed Point to Point Commercial Microwave Paths.

Statement of facts for the modified/renewed Petition for Declaratory Ruling to the FCC Commission.

              1. Mr. James A Kay Jr. owns Indian Peak Properties, LLC, which owns the Single-Family home located at
                 26708 Indian Peak Road in Rancho Palos Verdes, CA.
              2. Indian Peak Properties, LLC is both the customer and exclusive rights holder to the property.
              3. Concerning Antenna #2: VHLP3-11W-6WH/A “Primary” Fixed Wireless Broadband Internet Antenna
                 which we identify as Antenna #2.
                     a. Antenna # 2 is as follows:
                              i. Callsign: WQKR204
                             ii. Internet Service Provider: LT-WR, LLC
                            iii. Less than one meter in diameter.
                            iv. Designed as an antenna that is used for the distribution of broadband-only fixed
                                 wireless services to Indian Peak Properties, LLC.
                             v. Is in service being used by customer: Indian Peak Properties, LLC
                            vi. Is located on the property belonging to Indian Peak Properties, LLC.

Considerations:

First, Indian Peak Properties, LLC is owned by Mr. Kay. Indian Peak Properties is the customer of this single-family home.
While Indian Peak Properties, LLC may contract out for assistance during routine maintenance of his radio network as
well as home maintenance, they maintain exclusive use of the home and property.

Second, the use of this antenna deemed Antenna #2 is compliant with OTARD due to the following facts.

          Antenna #2 is the primary fixed wireless service for broadband internet service.

Third, Indian Peak Properties, LLC is the customer to which this service is being provided.

OTARD Rules apply to this Antenna #2 under the Rules that state:

          “Antennas designed to receive and/or transmit data services, including Internet access, are included in the rule.”
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Fourth, having read the history of this case with the city and the FCC Commission, I believe some simple clarifications are
necessary to resolve this matter. In Summary and as stated above.

    1. Antenna #2 is used to provide OTARD covered services: Broadband Internet Services over Fixed Wireless.
    2. Indian Peak Properties, LLC is the customer and is located on the Property at 26708 Indian Peak Road, Rancho
       Palos Verdes, CA
    3. Indian Peak Properties, LLC has exclusive usage rights to the installations located on the single-family home.
    4. No safety concerns have been brought into question and no General Exposure limitations have been exceeded.
    5. Antenna #2 does not exceed 12’ above the roofline height to tip.
    6. No historical preservation concerns have been raised.

Sources:

    -    Network Design and Topology Discussion with Mr. Kay, owner of Indian Peak Properties, LLC.
    -    2022 04 22_FCC Dismissal OTARD Petition Document
    -    Indian Peak OTARD Petition (2020-04-17) Document
    -    Indian Peak Urgent Request (OTARD 19-Apr-2022) Document
    -    Indian Peak OTARD Supplement (10-Dec-2021) Document
    -    (17) Pictures and Notes Supplied by Mr. Kay
    -    https://www.fcc.gov/media/over-air-reception-devices-rule

Notes:

I can confirm that, Indian Peak Properties, LLC’s Antenna #2 is in fact in compliance with OTARD Rules.



Daniel W. Redmond, Senior Wireless Network Design Engineer, 916.296.0282

Date: 04/24/2022 ________________________________________________
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                               EXHIBIT 2
USCA Case #23-1223             Document #2013313                 Filed: 08/18/2023       Page 94 of 336



       PROPERTY DETAIL REPORT         created 2022-04-26 Prepared exclusively for TONEATA MARTOCCHIO


      TARGET PROPERTY

 26708 INDIAN PEAK RD RANCHO PALOS VERDES, CA 90275-2333 C031
      Owner Information
 Owner Name:                 INDIAN PEAK PROPERTIES LLC
 Mailing Address:            1350 E FLAMINGO RD #13B34 LAS VEGAS NV 89119-5263 C037
 Phone Number:                                       Vesting Codes:
 Owner Occupied                                      Pending Record
                             N
 Indicator:                                          Indicator:
 Corporate Owner:
 II
      Location Information

 Legal Description:          TR=21350 LOT 80
 County:                     LOS ANGELES               APN:                     7577-013-030
 Census Tract / Block:       6704.18                   Alternate APN:
 Township-Range-Sect:                                  Subdivision:             21350
 Legal Book - Page:          599-90                    Map Reference:           72-E4 /
 Legal Lot:                  80                        Tract #:                 21350
 Legal Block:                                          School District:         PALOS VERDES PENINSU
 Market Area:                176                       Munic / Township:
 Neighbor Code:

      Owner Transfer Information

 Recording / Sale Date:      11/29/2005                Sale Price:
 Document #:                                           Deed Type:               GRANT DEED
 Instrument #:               000002980048              1st Mtg Document #:
 Book - Page:

      Last Market Sale Information

 Recording / Sale Date:      04/28/1994 /              1st Mtg Amount / Type: $292,000.00 / CONV
                                                                                 / ADJUSTABLE INT RATE
 Sale Price:                 $365,000.00               1st Mtg Int. Rate / Type:
                                                                                 LOAN
 Sale Type:                  FULL                      1st Mtg Term:
 Document #:                 821070                    1st Mtg Document #:
 Instrument #:               000000821070              1st Mtg Instrument #:
 Book - Page:                                          1st Mtg Book - Page:
 Deed Type:                  GRANT DEED                2nd Mtg Amount / Type: /
                                                       2nd Mtg Int. Rate /
 Transfer Document #:                                                            /
                                                       Type:
 New Construction:                                     2nd Mtg Term:
 Multi / Split Sale:                                   Price per SqFt:           $141.14
 Cash Down Payment:                                    Stamps Amount:            $401.50
 Title Company:              SOUTH COAST TITLE
 Lender:                     WELLS FARGO BK
 Seller Name:                UGAS ARMINDA

      Prior Sale Information
 II
 Prior Rec / Sale Date:      06/09/1987 / 06/00/1987   Prior Deed Type:         GRANT DEED
 Prior Sale Price:           $350,000.00               Prior Lender:
                                                       Prior 1stMtg             $255,000.00 / PRIVATE
 Prior Sale Type:            FULL
                                                       Amount/Type:             PARTY
                                                       Prior 1stMtg Int.        / ADJUSTABLE INT RATE
 Prior Doc #:                909071
                                                       Rate/Type:               LOAN
 Prior Instrument #:         000000909071              Prior Stamps Amount:     $385.00
 Prior Book - Page:
 II
      Site Information
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                                                                                            SINGLE
  Land Use:            SFR          Acres:               .1727        County Use:           FAMILY
                                                                                            RESID
  Flood Zone:                       Lot Area:           7521          State Use:
  Flood Zone Map:                   Lot Width / Depth: /              Site Influence:
  Flood Panel Date:                 Usable Lot:                       Sewer Type:
  Res / Comm Units:                 Lot Shape:                        Topography:
  # of Buildings:      1            Bldg Width / Depth: /             Water Type:
                                                                                            CENTRAL
  Zoning:              RPRS8000*    Building Class:                   Water District:
                                                                                            AND W BASIN

   Tax Information

  Total Value:         $573,122.00 Assessed Year:      2021               Property Tax:      $7,217.68
  Land Value:          $354,867.00 Improve %:                             Tax Area:          7097
  Improvement
                       $218,255.00 Dist:                                  Tax Year:          2021
  Value:
  Total Taxable                                        CONSOLIDATED
                       $573,122.00 Fire Dist:                       Tax Exemption:
  Value:                                               CO
  Market Value:                    Garbage Dist:                    Equal Rate:
                                   Delinquent Date:                 Equal Year:

   Property Characteristics

  Gross Area:                       Parking Type:                     Construction:
  Living Area:         2586         Garage Area:                      Heat Type:            CENTRAL
  Tot Adj Area:                     Garage 2 Area:                    Heat Fuel:
  Above Grade:                      Garage Capacity:                  Parcel Fuel:
  Ground Floor Area:                Parking Spaces:                   Exterior Wall:
  Base / Main Area:    /            Carport:                          Interior Wall:
  Upper Area:                       Basement Area:                    Foundation:
  2nd Floor Area:                   Finish Bsmnt Area:                Air Cond:
  3rd Floor Area:                   Basement Type:                    Roof Type:
  Rentable Area:                    Attic Type:                       Roof Shape:
  Additional Area:                  Porch Type:                       Roof Frame:
  Total Rooms:                      Porch 1 Area:                     Roof Material:
  Bedrooms:            4            Porch 2 Area:                     Floor Type:
  Bath (F/H):          3/           Patio Type:                       Floor Cover:
  Total Baths /
                       3/           Patio 1 Area:                     Style:
  Fixtures:
  Year Built / Eff:    1958 / 1966 Pool:                              Quality:
  Fireplace:                       Pool Area:                         Condition:
  Fireplace
                                                                      # of Stories:
  Description:
  Basement
                                                                      Other Rooms:
  Description:
  Other
  Improvements:
  Bldg Comments:
  Parcel Comments:

   Extra Features

                                             Size /                          Year
   Description:                  Unit:                Width:     Depth:               Improvement Value:
                                             Qty:                            Built:




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                                                               LOS ANGELES COUNTY
                                                                    CALIFORNIA


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       To be completed by Examiner OR Title Company In black ink.       Number of AIN's Shown



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USCA Case #23-1223                 Document #2013313                     Filed: 08/18/2023            Page 97 of 336



RECORDING REQUESTED BY                                                              05 2980048
RICHARD K. SEMETA, ESQ.


AND WHEN RECORDED MAIL TO

RICHARD K. SEMETA,
A PROFESSIONAL LAW CORPORATION
4695 MACARTHUR COURT, SUITE 310
P.O. BOX 10367
NEWPORT BEACH, CA 92658-0367


                                                       Space above line for Recorder's Use
APN: 7577-13-030                                       NO TAX DUE.


                                                   GRANT DEED

Documentary transfer tax is NONE.**

_    Unincorporated area X Rancho Palos Verdes

Mail tax statements to: Lucky's Two-Way Radios, Inc., 1350 E. Flamingo Road, Suite 13B/346, Las Vegas, Nevada
89119

         FOR NO CONSIDERATION, GRANTOR Idyll Propenies, LLC, a Nevada limited liability company,
 hereby GRANTS TO Indian Peak Propenies, LLC, a Nevada limited liability company that real propeny in the City
 of Rancho Palos Verdes, County of Los Angeles, State ofCalifomia, described in Exhibit "A" attached hereto and
 incorporated herein.

 Dated:    11/2'1/         ,2005
                                                                 Idyll Properties, LLC
                                                                 By: Lucky's Two Way Radios, Inc.,




 •• The grantors and the grantees in this conveyance are comprised of the same parties who continue to hold the
 same proponionate interest in the propeny, R & T 11923( d).

 State of Nevada            )
                            ) ss
 County of Clark            )

 On {I - a? <?-o S:: , 2005, before me,       C. 0orif90 , a notary public in and for the State of California,
 personally appeared James Allan Kay Jr., personally known to me (or proved to me on the basis of satisfactory
 evidence) to be the person whose name is subscribed to the within instrument and acknowledged to me that he
 executed the same in his authorized capacity, and that by his signature on the instrument, the. person,. or the entity
 upon behalf of which the person acted, executed the instrument.                   · ·                         •.


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USCA Case #23-1223               Document #2013313                    Filed: 08/18/2023           Page 98 of 336

                                                                                   05 2~80048

                                                   EXHIBIT A


Lot 80 of Tract No. 21350, in the City of Rancho Palos Verdes, County of Los Angeles, State of California, as per
map recorded in Book 599, Page(s) 90 to 95 of Maps, in the office of the County Recorder of said County.
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                               EXHIBIT 3
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                                          LT-WR LLC
                                          antenna
                                          Antenna #2
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                                              Antenna #2
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                               EXHIBIT 4
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                               EXHIBIT 5
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                                   RESOLUTION NO. 2018-61

                  A RESOLUTION OF THE CITY COUNCIL OF THE CITY OF
                  RANCHO PALOS VERDES REVOKING IN ITS ENTIRETY
                  AND EFFECTIVE IMMEDIATELY CONDITIONAL USE
                  PERMIT NO. 230 FOR THE INSTALLATION OF
                  COMMERCIAL ANTENNAS AND RELATED SUPPORT
                  STRUCTURES AT 26708 INDIAN PEAK ROAD.

           WHEREAS, on June 21, 2001, the Applicant/Appellant, Mr. James A. Kay, Jr.,
     submitted applications for Conditional Use Permit No. 230 and Environmental
     Assessment No. 744 for after-the-fact approval to establish the then-existing 5-masted,
     roof-mounted antennae and related support structures and equipment on the site for
     commercial use; and,

           WHEREAS, on September 19, 2001, the applications for Conditional Use Permit
     No. 230 and Environmental Assessment No. 744 were deemed complete by Staff; and,

            WHEREAS, pursuant to the provisions of the California Environmental Quality Act,
     Public Resources Code Sections 21000 et seq. ("CEQA"), the State's CEQA Guidelines,
     California Code of Regulations, Title 14, Section 15000 et. seq., the City's Local CEQA
     Guidelines, and Government Code Section 65962.5(f) (Hazardous Waste and
     Substances Statement), Staff found no evidence that Conditional Use Permit No. 230 and
     Environmental Assessment No. 744 would not have a significant effect on the
     environment and, therefore, the proposed project was determined by Staff to be
     categorically exempt (Class 1, Section 15301 ); and,

             WHEREAS, after the submittal of these applications on June 21, 2001, and while
     the Planning Commission was conducting the public hearings on this application, the
     Applicant installed at least twelve (12) additional vertical antenna masts with attached
     antennae onto the previously existing roof-mounted antenna support structure and array,
     including additional cables and conduits for the additional antennae; and on November 8,
     2001, the Applicant submitted revised plans to the City depicting a total of twenty (20)
     vertical antenna masts with attached antennae on the roof-mounted antenna support
     structure and array; and,

            WHEREAS, after notice issued pursuant to the requirements of the Rancho Palos
     Verdes Development Code, the Planning Commission held a duly noticed public hearing
     on October 23, 2001, November 13, 2001, and November 15, 2001, at which time all
     interested parties were given an opportunity to be heard and present evidence; and,

           WHEREAS, the Planning Commission, on November 15, 2001, adopted
     P.C. Resolution No. 2001-43 conditionally approving the project; and,




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          WHEREAS, Mr. Kay timely appealed conditional approval by letter dated
     November 28, 2001, based on disagreement with "all conditions regulating the location,
     number and placement of antennas on the project site .... "; and,

            WHEREAS, after notice issued pursuant to the requirements of the Rancho Palos
     Verdes Development Code, the City Council held a duly noticed public hearing on
     February 19, 2002, March 19, 2002, March 25, 2002 and April 16, 2002, at which time all
     interested parties were given an opportunity to be heard and present evidence; and,

           WHEREAS, the City Council, on April 16, 2002, adopted Resolution No. 2002-27,
     thereby denying the appeal, modifying certain conditions of approval and conditionally
     approving the project; and,

            WHEREAS, on May 15, 2002, Mr. Kay filed suit against the City in Federal District
     Court in order to overturn the City's decision on the grounds, among other things, that it
     violated the Telecommunications Act of 1996; and,

            WHEREAS, on July 14, 2004, the United States District Court for the Central
    District of California ruled in the case of Kay v. Rancho Palos Verdes and ordered the
    "City Council of the City of Rancho Palos Verdes to issue a new resolution allowing James
    A. Kay, Jr. to use his five (5) mast antenna structure for commercial purposes, subject to
    reasonable conditions"; and,

          WHEREAS, the City revised the conditions of approval for Conditional Use Permit
    No. 230 to allow the commercial use of Mr. Kay's 5-mast, roof-mounted, antenna array,
    which existed at the time and was depicted on plans provided to the City of Rancho Palos
    Verdes with the original submittal of the application for Conditional Use Permit No. 230
    on June 21, 2001; and,

           WHEREAS, this matter was agendized for the City Council's review and
    consideration on October 5, 2004, and November 16, 2004, but on both occasions the
    matter was continued to a subsequent City Council meeting at Mr. Kay's request in order
    to allow his legal counsel to discuss additional proposed revisions to the conditions of
    approval for Conditional Use Permit No. 230 with the City Attorney; and,

           WHEREAS, the City Council, on December 21, 2004, adopted Resolution
     No. 2004-109, thereby revising eight (8) conditions of approval for Conditional Use Permit
     No. 230 pursuant to the July 14, 2004, order of the United States District Court; and,

           WHEREAS, Mr. Kay subsequently petitioned the United States District Court to
     vacate the conditions of approval imposed by Resolution No. 2004-109; and,

           WHEREAS, on April 4, 2005, the United States District Court issued an order in
     response to Mr. Kay's petition, finding that the provisions of Condition No. 19 of
     Conditional Use Permit No. 230 requiring "that Mr. Kay maintain the property as his



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     primary residence [were] not reasonable," but also finding that all other conditions of
     approval imposed by Resolution No. 2004-109 were reasonable; and,

               WHEREAS, after notice issued pursuant to the requirements of the Rancho Palos
     Verdes Development Code, on July 5, 2005, the City Council adopted Resolution
     No. 2005-75 revising the language for Condition No. 19 of Conditional Use Permit No.
     230 thereby requiring that Mr. Kay complete necessary improvements to make the house
     habitable, including but not limited to, a functional kitchen and bathroom, and connections
     to utilities, along with weekly landscape and maintenance services; and,

            WHEREAS, on November 28, 2014, the City issued Mr. Kay a Notice of Violation
     for the installation of unpermitted roof-mounted antennas resulting in a total of thirteen
     (13) roof-mounted antennae and support pole masts, well in excess of the five (5) City
     Council-approved, roof-mounted antennae and support pole masts. The City ordered the
     removal of all but the five (5) City Council-approved roof-mounted antennae and support
     pole masts from the roof, and requiring that the remaining five (5) City Council-approved,
     roof-mounted antennae and support pole masts comply with the City Council-adopted
     Conditions of Approval for Conditional Use Permit No. 230; and,

            WHEREAS, on July 26, 2016, the City set a thirty (30) day period for compliance
     with the November 28, 2014, Notice of Violation. At the request of Mr. Kay, the City, in
     good faith, granted a time extension to this compliance deadline to October 28, 2016;
     and,

            WHEREAS, on October 28, 2016, a Conditional Use Permit revision application
     (Planning Case No. ZON2016-00517) was submitted to the City requesting to legalize the
     unpermitted roof-mounted antennas; and,

            WHEREAS, on November 23, 2016, the application was deemed incomplete for
     processing, and because the application originated from code enforcement action, the
     Applicant was given thirty (30) days, or until December 21, 2016, to submit the requested
     additional information in order continue processing the application; and,

           WHEREAS, on March 21, 2017, the City received a letter from Mr. Kay's legal
     counsel, Mr. Nakasu, asserting that the application to revise Conditional Use Permit
     No. 230 with an after-the-fact amendment should be granted pursuant to RPVMC
     §17.76.020(A)(12)(b); and,

            WHEREAS, on April 14, 2017, the City Attorney responded by outlining the City's
     position that, pursuant to Resolutions 2002-27, 2004-109, and 2005-75, the five (5) City
     Council-approved, roof-mounted antennae and support pole masts "refer only to the
     antennae and antenna array depicted in the plans submitted to the City on June 21, 2001,
     in photographs accompanying the application to revise CUP No. 230, and Environmental
     Assessment No. 744." Further, the City Attorney stated that any suggestion that additional
     antennae, support pole masts, and other structures were mere modifications not requiring
     City Council approval directly contravened the binding resolutions; and,



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             WHEREAS, on June 28, 2017, City Staff, the City Prosecutor, Mr. Nakasu, and
     Mr. Kay met to discuss this matter, at which time, Mr. Nakasu indicated that the antennae
     and support structures were "outdated" and "obsolete" and that they could be replaced
     with an alternative structure that would both address the telecommunications capacity
     needs, as well as the City's safety and aesthetic concerns with the current structures.
     Four months elapsed from the June 28, 2017, meeting, during this time, Mr. Kay did not
     make any further attempts to cure the application deficiencies in order to proceed with
     processing a revision to CUP No. 230, or to rectify the technological obsolescence of the
     existing structures; and,

            WHEREAS, on October 19, 2017, Staff granted, in good faith, Mr. Kay additional
     time to submit the requested information in order for Mr. Kay to acquire a new permit
     expediter company; and,
                                                          •
            WHEREAS, on October 23, 2017, the City Prosecutor sent a letter to Mr. Kay and
     Mr. Nakasu, the purpose of which was to summarize events subsequent to the June 28,
     2017, meeting, to reiterate the deficiencies in the CUP No. 230 revision application, to
     discuss potential replacement of current, "obsolete," structures, and to discuss the
     potential for reinstating the Code Enforcement case, should the City's demands not be
     met; and,

             WHEREAS, on December 13, 2017, City Staff, City Prosecutor, Mr. Nakasu, and
    Mr. Kay met, and at this meeting, Mr. Kay proposed alternative designs to replace the
    existing antennae, such as a faux monopole tree or new roof antennae on the rear yard-
    facing roof pitch, that would address the City's concerns and meet the needs of the
    commercial antennas. As a result, it was agreed that Mr. Kay would submit, by mid-
    January 2018, a concept drawing regarding a proposed alternative design for the City's
    initial review, followed by an application for the CUP on or before February 28, 2018. To
    date, the City has not received any information from Mr. Kay or his legal counsel; and,

           WHEREAS, in accordance to RPVMC §17.60.080, if any of the conditions to the
    use or development are not maintained, then the Conditional Use Permit shall be null and
    void. Furthermore, the continued operation of a use requiring a Conditional Use Permit
    which is found to be noncompliant with any condition of a Conditional Use Permit shall
    constitute a violation of the Municipal Code; and,

           WHEREAS, after notice issued pursuant to the requirements of the Rancho Palos
    Verdes Municipal Code, the City Council held a duly-noticed public hearing on August 21,
    2018 to consider revoking Conditional Use Permit No. 230, at which time all interested
    parties were given an opportunity to be heard and present evidence.

        NOW, THEREFORE, THE CITY COUNCIL OF THE CITY OF RANCHO PALOS
    VERDES DOES HEREBY FIND, DETERMINE, AND RESOLVE AS FOLLOWS:




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           Section 1: Having heard .and considered the oral, written, and documentary
     evidence presented at the duly-noticed public hearing conducted by the City Council on
     August 21, 2018, the City Council makes the following findings:

           A.     The property located at 26708 Indian Peak Road, Rancho Palos Verdes,
                  California, (the "Subject Property") is the subject of Conditional Use Permit
                  No. 230 ("CUP No. 230"), as granted by the City Council in Resolution No.
                  2004-109, and as amended by Resolution No. 2005-75. The Applicant, Mr.
                  James A. Kay, Jr., did not successfully challenge, within the time provided
                  by law, Resolution No. 2005-75, and has from and after the adoption of
                  Resolution No. 2005-75 (the "CUP Date") accepted the benefits of CUP No.
                  230.

           B.     CUP No. 230 required removal of all but five (5) of the existing eight-and-
                  on-half-foot long masts and two of the television antennae from the roof,
                  authorized a maximum of five (5) vertical masts, each with a height of eight
                  and one-half (8 ½) feet, and not more than four (4) radiating per each mast.

           C.     Condition of Approval No. 2.d states in part, "Any additional exterior
                  antennae, masts or other antenna and support structure(s) shall require
                  further approval or modification of this conditional use permit."

           D.    Further, Condition of Approval No. 2 goes on to state that the Director is
                 authorized to make only minor modifications to the approved plans and
                 conditions of approval. "Otherwise, any substantive change, such as the
                 enlargement, expansion or addition to, the exterior masts and antennae that
                 this approval allows outside of the exiting residential structure shall require
                 approval of a revision to Conditional Use Permit No. 230 by the City Council
                 and shall require a new and separate environmental review."

           E.    The Subject Property has at various times from after the CUP Date had
                 installed antennae and/or vertical masts on the roof as testified to by staff
                 and depicted in photographic evidenced submitted into the Administrative
                 Record. Such evidence discloses installation of as many as twelve (12)
                 additional vertical masts (the "Additional Masts") over and above the five (5)
                 permitted by CUP No. 230.

           F.    Mr. Kay has failed to provide any evidence that any permits of any kind
                 (zoning, building, etc.) were obtained by him, directly or by an agent acting
                 on his behalf, authorizing the construction of the Additional Masts. Written
                 correspondence from his attorney admits such construction has occurred,
                 does not contest to permits were obtained in advance, and has confirmed
                 such by submitting an incomplete application for an "after-the-fact" permit
                 for the Additional Masts.




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          G.     City records fail to show any action by the City Council subsequent to
                 Resolution No. 2005-75 modifying, amending, or otherwise affecting CUP
                 No. 230 to allow installation of more than five (5) vertical masts on the
                 Subject Property. Further, although the City Council finds it would not
                 properly be the subject of a minor modification, staff has indicated that no
                 application for a minor modification was approved by the Director to that
                 effect.

          H.     The City staff has made various efforts to resolve these issues short of a
                 revocation beginning in 2014. Despite numerous meetings, exchanges of
                 correspondence, and opportunities to come into compliance with CUP No.
                 230 or, in the alternative, apply for a modification to CUP No. 230 to
                 retroactively permit the Additional Masts, Mr. Kay has not diligently pursued
                 any remedial opportunity and has continued to operate the unpermitted
                 facilities while essentially "stringing along" the City.

          I.     Based upon all the evidence presented, and after hearing the arguments
                 and testimony on behalf of Mr. Kay, the public, and City staff, the City
                 Council finds the evidence of construction of the unpermitted Additional
                 Masts to be essentially uncontested in that Mr. Kay has admitted they exist.
                 The City Council finds that no permits of any kind (zoning or building) were
                 obtained by Mr. Kay and therefore the construction of the Additional Masts
                 was in violation of the Rancho Palos Verdes Municipal Code and the
                 specific provisions of the Conditions of Approval relating to modification or
                 expansion of the use of the antennae structure by the increase in the
                 number of masts above the five (5) permitted by CUP No. 230.

          J.     The City Council further finds that the violation directly impacts surrounding
                 properties due to the increased visual impact of commercial antennae which
                 the limitation on the number of vertical masts was narrowly tailored to
                 address, and that the Subject Property owner has repeatedly and knowingly
                 violated the Conditions of Approval by the installation of the Additional
                 Masts without any permits or other legally-required approvals, and
                 subsequently has availed himself of numerous opportunities to come into
                 compliance with the terms of CUP No. 230 such that revocation is the
                 appropriate action and is necessary to protect the legitimate interests of the
                 community.

           Section 2: Based on the information included in the Staff Report, the testimony
    and evidence presented at the public hearings in the past before the Planning
    Commission and the City Council, the administrative records related to those prior
    proceedings, the Minutes and the other records of this proceeding on file with the City,
    the City Council of the City of Rancho Palos Verdes hereby revokes Conditional Use
    Permit No. 230, as amended, in its entirety.




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           PASSED, APPROVED, AND ADOPTED this 21 st day of August 2018.




                                                                   ~~
                                                                   Mayor • ....




     State of California              )
     County of Los Angeles            ) ss
     City of Rancho Palos Verdes      )

     I, Emily Colborn, City Clerk of the City of Rancho Palos Verdes, hereby certify that the
     above Resolution No. 2018-61 was duly and regularly pass       and adopted by the said
     City Council at a regular meeting thereof held on August 21, 2 8.




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                       ALESHIRE&                                                                June S. Allln
                                                                                      Jallln@awattomeys.com
                                                                                                                2361 Rosecrans Ave., Suhe 475
                                                                                                                El Segundo, CA 90245
                       WYNDERut>                                                              (310) 527-6665    P (310) 527-6660
                                                                                                                F (310) 532-7395


                         A• El.ES I      OE I ENTRAl.. VALLEY




                                                         November 19, 2021


       VIA ELECTRONlC MAIL ONLY

       Dawn Cushman
       Angela M. Rossi
       Bradley, Gmelicb & Wellerstein, LLP
       700 N. Brand Boulevard, 10th Floor
       Glendale, CA 91203

                  Re:           26708 Indian Peak Road/Removal of Antennas

       Dear Ms. Cushman and Ms. Rossi:

              By now, I am sure you have had an opportunity to review the court of appeal's opinions
       affirming the judgment in the writ of mandate case and all but affirming the judgment in the
       nuisance abatement case. While there remains some work for a court to do on the nuisance
       abatement case, the ultimate outcome is clear. The City has prevailed on the first and second
       causes of action, making whatever happens to the third cause of action irrelevant.

               In light of this outcome, the City hereby again demands, and expects, that all of the
       antennas at 26708 lndian Peak Road (except for the television satellite dish) and all related support
       structures, equipment and equipment housing will be removed expeditiously. If the 'removal have
       not been completed by December 22, 2021, we will proceed with obtaining a court order allowing
       the City to enter the property, remove t1te antennas and all related support structures, equipment
       and equipment housing, and recover the costs from Indian Peak Properties, LLC.

                                                                  Very truly yours,

                                                                  ALESHIRE & WYNDER, LLP

                                                                    ~a:t~
                                                                  June S. AiUn
                                                                  Partner

       cc:        Honorable Mayor & Councilmembers,
                   City of Rancho Palos Verdes
                  Ara Mihranian, AICP,
                   City Manager
                  William W. Wynder, Esq.




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                               EXHIBIT 6
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                       Standard Terms and Conditions For LT-WR, LLC Internet Services

   The following terms and conditions, shall apply to the Internet Services of LT-WR, LLC. By signing this
   agreement, Indian Peak Properties, LLC (customer) acknowledges having reviewed and accepted the
   Terms and Conditions contained herein. This Agreement shall supersede any prior representations,
   understanding, or agreements, whether verbal or written.

   1.   Service Date and Term. This agreement will commence on January 01, 2021 for 12 month period.
   This agreement will automatically be extended and renewed on the same terms and conditions, unless
   Customer provides at least sixty (60) days written notice to LT-WR, LLC prior to the end of the applicable
   term, of its intent to terminate, whereupon the terms shall terminate.            LT-WR, LLC shall make
   reasonable efforts to make Services available to Customer by the requested service date. LT-WR, LLC
   shall not be responsible for any damages whatsoever resulting in delays from meeting any service dates.

   2.   Payment. Unless stated otherwise herein, billing shall commence immediately upon activation of
   Customer's Services. Customer hereby agrees to pay $50 per month for 10MB Service by the invoice
   due date. This amount is subject to an annual increase of three (3) percent. (Any amount not received
   by the due date will be subject to interest or a late charge. Late interest capped at 10% per annum or
   maximum allowable by Law, whichever is less and does not accrue until an invoice has been overdue for
   30 days. Additional bandwidth may be leased at an additional one hundred ($100) per 20MB increment
   if available upon request, under the same terms and conditions.

   3.   Billing. All Services provided to Customer are provided on a pre-paid basis. As such, payment for all
   Services shall be due no later than the first day of the service period. (For example, if service period is
   June 1st thru June 30th, payment in full for Services shall be due no later than June 1st.) All set-up or
   installation charges shall be due and payable immediately upon receipt of invoice.

   4.   Suspension. If Customer, for any reason, has not paid any outstanding invoices within fifteen (15)
   days of the invoice due date, LT-WR, LLC shall have the sole right to suspend, in whole or in part, the
   Services provided to Customer, with or without notice. All suspended Services shall incur a one-time
   charge when reactivated. Such service reactivation charge shall be due and payable immediately upon
   receipt of invoice. If Customer fails to reactivate suspended services within fifteen (15) days of the
   suspension date, LT-WR, LLC shall terminate Services, which includes removal of any LT-WR, LLC owned
   equipment to provide services, and charge Customer for any applicable Termination liability as outlined
   below.

   5.   Service and Installation. LT-WR, LLC shall provide Customer with internet connection from private
   VLAN of 10MB to be delivered via copper or fiber optic cable to customer equipment location on 26708
   Indian Peak Rd, Rancho Palos Verdes, CA.      Customer may use the Services for any lawful purpose,
   provided that such purpose does not interfere or impair the LT-WR, LLC network, equipment, or
   facilities. Customer shall use the Equipment solely for the purposes of receiving the Services. Customer
   shall not make any connections to the equipment which are not expressly authorized in writing by LT-
   WR, LLC or permit tampering, altering, or repair of the Equipment by any person other than LT-WR, LLC's
   authorized personnel.    Unless provided otherwise herein, LT-WR, LLC shall use reasonable efforts to
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   maintain the Services in accordance with applicable performance standards, however, LT-WR, LLC shall
   have no responsibility for the maintenance or repair of equipment which it does not furnish. LT-WR, LLC
   is not responsible for the networks or facilities of third parties which may be necessary to provide the
   Services.

   6.   Customer Responsibilities. Customer is responsible for arranging all necessary rights of access for
   LT-WR, LLC within Customer's premises, including space for cables, conduits, equipment, and roof rights
   as necessary for LT-WR, LLC authorized personnel to install, repair, inspect, maintain, replace, or remove
   any and all facilities and equipment provided by LT-WR, LLC.        Customer shall use the Services in
   compliance with all applicable laws and ordinances, as well as applicable leases between Customer and
   third parties. Customer is responsible for ensuring that Customer's equipment is compatible for the
   Services selected and with the LT-WR, LLC network. Customer shall be solely responsible for any third
   party charges incurred from use of the Services, including but not limited to, any telephone or long
   distance charges.

   7.   Equipment. Unless provided herein, Customer agrees that LT-WR, LLC shall retain all rights, title and
   interest to facilities and Equipment installed by LT-WR, LLC, and that Customer shall not create or permit
   to be created any liens or encumbrances on such equipment. Internal wiring shall not be considered
   Equipment, and shall become property of Customer upon initiation of Services.         Customer shall not
   modify or relocate Equipment installed by LT-WR, LLC or any other equipment, including servers in
   connection with data/internet without the prior written consent of LT-WR, LLC.        Upon expiration or
   termination of this Agreement, Customer shall return all Equipment in good condition, ordinary wear
   and tear from proper use excepted. In the even Equipment is lost, stolen or damaged, Customer shall
   be responsible for the full replacement value of such Equipment. LT-WR, LLC shall repair or replace
   Equipment at no charge to Customer provided that damage is not due to misuse, abuse, or other
   disaster, including acts of God.     If additional equipment, including but not limited to, monitors,
   computers, circuits, software or other devices, are required by Customer to use Services, Customer shall
   be responsible for such equipment.

   8.   Spam Filtering. Customer acknowledges that LT-WR, LLC is not responsible for any spam filtering.

   9.   Default. If Customer fails to comply with any material provision of this Agreement, including but not
   limited to, failure to make payment as specified, then LT-WR, LLC, in its sole discretion, may elect to
   pursue one or more of the following courses of action upon proper notice to Customer as required by
   law: (i) terminate service whereupon all sums then due and payable shall become immediately due and
   payable; (ii) suspend all or any part of Services; and/or (iii) pursue any other remedies, including
   reasonable attorney's fees, as may be provided at law or in equity, including the applicable termination
   fees. LT-WR, LLC shall give Customer a 60-day cure period prior to terminating Services for Customer
   default. In the event of a material breach of the Agreement by LT-WR, LLC, Customer may terminate this
   Agreement except for any invoices for Services utilized up to the termination date.
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   10.   IP Address. LT-WR, LLC will allocate IP addresses to Customer according to ARIN guidelines. All IP
   addresses assigned by LT-WR, LLC must be relinquished by Customer upon expiration, termination or
   cancellation of this Agreement.

   11.   Termination. Customer may terminate this agreement at any time by providing a sixty (60) day
   notice in writing. After the initial term, this Agreement shall automatically renew and shall be subject to
   the same terms of this Agreement. Termination by Customer must be received in writing and shall
   require sixty (60) days notice.

   12.   LIMITATION OF LIABILITY. NEITHER LT-WR, LLC NOR CUSTOMER SHALL BE LIABLE FOR DAMAGES
   FOR FAILURE TO FURNISH OR INTERRUPTION OF ANY SERVICES, NOR SHALL LT-WR, LLC OR CUSTOMER
   BE RESPONSIBLE FOR FAILURE OR ERRORS IN SIGNAL TRANSMISSION, LOST DATA, FILES OR SOFTWARE
   DAMAGE REGARDLESS OF THE CAUSE.           NEITHER LT-WR, LLC NOR CUSTOMER SHALL BE LIABLE FOR
   DAMAGE TO PROPERTY OR FOR INJURY TO ANY PERSON ARISING FROM THE INSTALLATION OR
   REMOVAL OF EQUIPMENT UNLESS CAUSED BY GROSS NEGLIGENCE OF THE OTHER PARTY. UNDER NO
   CIRCUMSTANCES SHALL LT-WR,           LLC OR CUSTOMER         BE    RESPONSIBLE   FOR ANY SPECIAL OR
   CONSEQUENTIAL DAMAGES INCLUDING LOST PROFITS ARISING FROM THIS AGREEMENT.

   13.    Assignment.    Neither party may assign, in whole or in part, this Agreement without the prior
   written consent of the other party, which consent shall not be unreasonably withheld.

   14.   WARRANTIES. EXCEPT AS PROVIDED HEREIN, THERE ARE NOT AGREEMENTS, WARRANTIES OR
   REPRESENTATIONS, EXPRESS OR IMPLIED, EITHER IN FACT OR BY OPERATION OF LAW, STATURORY OR
   OTHERWISE, INCLUDING WARRANTIES OF MERCHANTABILITY AND FITNESS FOR A PARTICULAR
   PURPOSE, RELATING TO THE SERVICES. SERVICES PROVIDED ARE A BEST EFFORTS SERVICE AND LT-WR,
   LLC DOES NOT WARRANT THAT SERVICES, EQUIPMENT OR SOFTWARE SHALL BE ERROR-FREE OR
   WITHOUT INTERRUPTION.

   15.   Indemnity. Customer and LT-WR, LLC shall mutually indemnify and hold one another and their
   respective affiliates, subcontractors, employees or agents harmless (including payment of reasonable
   attorney's fees) from and against any claim, actions or demands relating to or arising out of use of the
   Service including, without limitation (i) any content or software displayed, distributed or otherwise
   disseminated by the Customer, its employees, or users of the Services; (ii) any claim that use of the
   Service, infringes on the patent, copyright, trademark or other intellectual property right of any third
   party; (iii) any malicious act or act in violation of any laws committed by LT-WR, LLC or Customer and
   their respective employees or users of the Services.

   16.   Viruses, Content and Customer Information. Software or content obtained from the use of the
   Services may contain viruses or other harmful features and Customer is solely responsible for protecting
   its equipment and software from such matters. Through the use of the Services, Customer may obtain
   or discover content that is offensive or illegal and Customer assumes the risk and is solely responsible
   for its access to such content.
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   17.   Miscellaneous. This constitutes the entire agreement between LT-WR, LLC and Customer for the
   Services. The invalidity or unenforceability of any term or condition of this Agreement shall not affect
   the validity or enforceability of any other provision herein . This Agreement may be modified, waived or
   amended only by a written instrument signed by the parties. The rights and obligations of the parties
   under this Agreement shall be governed by the laws of the state of California. The failure of either party
   to exercise one or more rights provided in this Agreement shall not be deemed a waiver of the right to
   exercise such right in the future. Notices required by this Agreement shall be in writing and shall be
   delivered either by personal delivery or by mail. If delivered by mail, notices should be sent by any
   express mail service; or by certified or registered mail, return receipt requested; with all postage and
   charges prepaid.     All notices and other written communications under this Agreement shall be
   addressed to the parties at the address as identified on the Service Order Form, or as specified by
   subsequent written notice delivered by the party whose address has changed .

   18.   Regulatory Authority - Force Majeure. This Agreement and the obligations of the parties shall be
   subject to modification to comply with all applicable laws, regulations, court rulings, and administrative
   orders, as amended.     In no event shall either party have any claim against the other for failure of
   performance if such failure is caused by acts of God, natural disasters, including fire, flood, or winds, civil
   or military action, including riots, civil insurrection or acts of terrorists or the taking of property by
   condemnation.

   Legal Notices and Twenty-Four Hour Emergency Telephone Numbers.

                                                              "CUSTOMER"

   LT-WR, LLC.                                         Indian Peak Properties, LLC

   Lucky's Two-Way Radios, Manager                     26708 Indian Peak Rd

   Post Office Box 7890                               Rancho Palos Verdes, CA 92075

   Van Nuys, CA 91409 -7835

   Phone: (818) 997-7700                              Phone: 818-997-7700




   IN WITNESS WHEREOF THE PARTIES HERETO HAVE EXECUTED THIS LICENSE AGREEMENT THE DAY
   AND YEAR FIRST ABOVE WRITTEN.
USCA Case #23-1223                Document #2013313        Filed: 08/18/2023   Page 119 of 336




   LT-WR, LLC.




   LUCKY'S TWO WAY RADIOS, INC., Manager

   James A. Kay, Jr., President




   "CUSTOMER"

    Indian Peak Properties, LLC.




   Name:     James A. Kay, Jr.




   Title:   President of Manager, Lucky's Two-Way Radios
Page:    1
Date:    04/25/22USCA
                  at 10:21 Case
                           AM   #23-1223     Document #2013313                       Filed: 08/18/2023    Page 120 of 336
                                                      Indian Peak Properties, LLC
                                                  Computer & Manual Check Register
                                                Current and History Files, After 12/01/21
                                                All Accounts, Sessions 000000 to 001666
                                                            Vendor = LTW1


Vendor       Vendor Name              Check #       Ck Date   Prity   Invoices          Reference                      Amount

Checking Account:   10200-000                        Session: 001615
LTW1         LT-WR, LLC               1364          12/13/21 2        2022001           JANUARY                             50.00
                                      1371          01/17/22 2        2022002           FEBRUARY                            50.00
                                      1377          02/11/22 2        2022003           MARCH                               50.00
                                      1385          03/11/22 2        2022004           APRIL                               50.00
                                      1391          04/11/22 2        2022005           MAY                                 50.00

                                                                                        LTW1 Subtotal :                 250.00


                                                                                 Check Register Total :                 250.00
              USCA Case #23-1223                    Document #2013313                             Filed: 08/18/20233409
                                                                                                      Invoice         Page 121 of 336
                                                                                                         Invoice Date 01/01/21


  L -WR, LLC
  P.O. Box 7835
  V: n Nuys CA 91409-7835


  TE lephone 818/997-7700

 Bil To:                                                                               Ship To:
  Indian Peak Properties LLC                                                              Indian Peak Properties. LLC
  PO Box 7835                                                                             PO Box 7835
  V,in Nuys. CA 91406                                                                     Van Nuys. CA 91406
  U ,A                                                                                    USA




   Customer     I              Ship Via                I                      F.O.B.                                                Terms
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                                                                                            Our Order Number  Order Date     I
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                                                                                                         Invoice Date 02/01/21


L -WR, LLC
P      Box 7835
V n Nuys, CA 91409-7835


T lephone: 818/997-7700

Bill\To:                                                                                 Ship To:

 In j1a n Peak Properties, LLC                                                             Indian Peak Properties, LLC
 P::J Box 7835                                                                             PO Box 7835
 Vrn Nuys. CA 91406                                                                        Van Nuys, CA 91406
 U'A                                                                                        USA




    C~s tamer    I                 Ship Via                I                    F.O.G.                                               Terms
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    L -WR, LLC
    PO Box 7835
    V, n Nuys, CA 91409-7835


    TE lephone 818/997- 7700

    Bil To:                                                                                       Ship To:

     Indian Peak Properties, LLC                                                                     Indian Peak Properties. LLC
     P.O. Box 7835                                                                                   P 0. Box 7835
     V~n Nuys, CA 91406                                                                              Van Nuys, CA 91406
     U ,A                                                                                            USA




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 Lr-WR, LLC
 P.O. Box 7835
 V n Nuys, CA 91409- 7835


 TE lephone 818/997-7700

Bil 1 To:                                                                      Ship To:

 In :Jian Peak Properties. LLC                                                   Indian Peak Properties, LLC
 PO Box 7835                                                                     PO Box 7835
 V,,n Nuys, CA 91406                                                             Van Nuys, CA 91406
 U,A                                                                              USA



   Cµstomer     I             Ship Via              I                  F.0.8                                              Terms
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             Box 7835
    V n Nuys, CA 91409-7835


    T lephone 818/997-7700
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    Bil!,To:                                                                                                          Ship To:
     lndi an Peak Properties LLC                                                                                         Indian Peak Properties, LLC
     PO _ Box 7835                                                                                                       P.O. Box 7835
     V, n Nuys CA 91406                                                                                                 Van Nuys, CA 91406
     U ,A                                                                                                                USA




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L -WR, LLC
P 0. Box 7835
V n Nuys, CA 91409-7835


T ~lephone 8181997-7700

Bil To:                                                                               Ship To:
 India n Peak Properties LLC                                                            Indian Peak Properties, LLC
 PO Box 7835                                                                            PO Box 7835
 V n Nuys CA 91406                                                                      Van Nuys, CA 91406
 U bA                                                                                   USA




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L -WR, LLC
PO Box 7835
V n Nuys CA 91409-7835


T lephone 818/997- 7700

Bill To:                                                                             Ship To:

 Int' ian Peak Properties LLC                                                           Indian Peak Properties, LLC
 PO Box 7835                                                                            PO Box 7835
 V n Nuys CA 91406                                                                     Van Nuys, CA 91406
 U A                                                                                    USA

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 L~-WR, LLC
 PO Box 7835
 V n Nuys, CA 91409- 7835

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 T11ephone 818/997-7700
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 Bill To:                                                               Ship To:

  lrdian Peak Properties LLC                                                Indian Peak Properties, LLC
  P 0. Box 7835                                                             P 0. Box 7835
  Van Nuys, CA 91406                                                        Van Nuys, CA 91406
  U ,A                                                                      USA




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L -WR, LLC
PO Box 7835
V n Nuys CA 91409-7835


T~lephone• 818/997-7700

Bid To:                                                                                Ship To:

 I nlian Peak Properties LLC                                                              Indian Peak Properties, LLC
 PO Box 7835                                                                              P 0. Box 7835
 V nNuys.CA91406                                                                          Van Nuys, CA 91406
 U A                                                                                      USA


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  Customer      I                 Ship Via              I                     F.O.B.                                                Terms
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L~WR, LLC
P        . Box 7835
V n Nuys CA 91409-7835
    1,
T ~lephone 818/997- 7700

Bill To:                                                                                       Ship To:

 In~ ian Peak Properties, LLC                                                                     Indian Peak Properties, LLC
 PO Box 7835                                                                                     PO Box 7835
 V n Nuys C/'191406                                                                              Van Nuys, CA 91406
 USA                                                                                              USA




    Customer       I                   Ship Via                -T                     F.O.B.                                                  Terms
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P         . Box 7835
V n Nuys CA 91409-7835


T~lephone 818/997-7700
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Bill\To:                                                                                     Ship To:

 Inf'ian Peak Properties, LLC                                                                   Indian Peak Properties, LLC
 P.           . Box 7835                                                                        P 0. Box 7835
 V n Nuys CA 91406                                                                              Van Nuys, CA 91406
 U~A                                                                                            USA




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    L -WR, LLC
     PO Box 7835
     V n Nuys CA 91409-7835
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    Tdlephone 818/997-7700
       I



    Bill To:                                                                              Ship To:
     ln~ian Peak Properties L.LC                                                             Indian Peak Properties, LLC
     P;O Box 7835                                                                            PO Box 7835
     V n Nuys CA 91406                                                                       Van Nuys, CA 91406
     U A                                                                                     USA

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      Cu stomer         I                 Ship Via            I                  F.O.B.                                               Terms
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  Lt-WR, LLC
  Pp Box 7835
  v1n Nuys, CA 91409-7835
    I
  T4lephone 818/997- 7700

 Bili To:                                                                                     Ship To:

   ln~ian Peak Properties, LLC                                                                   Indian Peak Properties, LLC
  P;O. Box 7835                                                                                 PO Box 7835
  V n Nuys, CA 91406                                                                            Van Nuys, CA 91406
   U A                                                                                          USA


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                                                                                                         Invoice Date 02/01/22


     Lt-WR, LLC
     Pp Box 7835
     V~n Nuys CA 91409-7835
       I
     T~lephone 818/997- 7700

    Billi To:                                                                            Ship To:

     Int··ian Peak Properties, LLC                                                         Indian Peak Properties, LLC
     P      Box 7835                                                                        P 0. Box 7835
     V n Nuys. CA 91406                                                                    Van Nuys, CA 91406
     UfA                                                                                    USA

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 L}WR, LLC
 P.           . Box 7835
 V n Nuys, CA 91409-7835
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 T~lephone 818/997-7700

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 Int'ian Peak Properties LLC                                                                    Indian Peak Properties, LLC
 P                 . Box 7835                                                                  PO Box 7835
 V nNuys CA91406                                                                               Van Nuys, CA 91406
 U A                                                                                            USA
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 L+-WR, LLC
 P   ~ Box 7835
 V~n Nuys CA 91409~7835
     I
 Telephone 818/997~7700

Billl,To:                                                                                Ship To:
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 ln~ian Peak Properties, LLC                                                                Indian Peak Properties, LLC
 Pp Box 7835                                                                                PO Box 7835
 V~n Nuys, CA 91406                                                                         Van Nuys, CA 91406
 U$A                                                                                        USA




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                                                                                                         Invoice Date 05/01/22


    Lt-WR, LLC
      I

    PjO Box 7835
    V~n Nuys, CA 91409-7835
      i
    T ~lephone 818/997- 7700

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     l~dian Peak Properties, LLC                                                            Indian Peak Properties, LLC
     PO Box 7835                                                                            P.O. Box 7835
     V n Nuys, CA 91406                                                                     Van Nuys, CA 91406
     U~A                                                                                    USA




      Customer              I             Shrp Vra            I                 F.O.B.                                              Terms
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                                     Purchase Order Number                        I        Salesperson          Order Date   I        Our Order Number
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USCA Case #23-1223   Document #2013313     Filed: 08/18/2023   Page 138 of 336



                               EXHIBIT 7
USCA Case #23-1223                               Document #2013313                                   Filed: 08/18/2023                     Page 139 of 336
                                                       RANCHO PALOS VERDES
                                                                Business License Application
                                                                For Home Occupancy Businesses
                                                                                Expires December 31 . 2022


  I            COMPLETE ALL APPLICABLE INFORMATION ON THE FRONT ANO BACK OF THIS FORM.

                                  0Renewal
           (Check One):
                                  ~ New License & Date (Business Began Operating In the                               04/18/2022

   Business Name _c_tt.;...yl:_IN_D_IA_N_P_E_A_K_P_R_O_P_E_R_T_IE_S_,_L_L_C
                                                                          _ _ _ _ _ _ _ _ _ _ __
   Home Address _ _2_6_7_08_IN_D_IA_N_P_E_A_K_R_D
                                                _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                  RANCHO PALOS VERDES, CA 90275
                                                                                               Zip

   Mailing Address
   (If Different From Above)


                                  City                                                         Zip


  Business Phone                  818-997 -7700                                 Email         Maxi.Silver@buddycorp.com

  Business Classification (Check One):                    Osole Proprietor              Ocorporation              OPartnership

                                                                                                                Other (Specify)_ _ _ _ __
                                           XX-XXXXXXX
  Tax ID (FEIN, SSN)
  Business Owner Name                      KAY, JAMES
                                                                Last                                              First


  Description of Business                                RENTAL
      (Indicate if visitors will be
      coming to the residence)




           Regulated                Please check one of the boxes below if your business is or you are an independent
           Businesses               contractor for any of the following types of businesses:

                             Medical Marijuana   Dispensary□           Escort   service□         Peddling     Service□           Massage Service   D
      I CERTIFY UNDER PERJURY THAT ALL INFORMATION PROVIDED ON THIS APPLICATION IS CORRECT AND THAT
                    THE AFOREMENTIONED BUSINESS IS OBEYING ALL FEDERAL, STATE AND LOCAL LAWS.
                        /'

                                                  James Kay, .Jr                        PRESIDENT OF MANAGF.R
             Sign?""iy'                            Print Name                                         Title                                  Date
   Please Note:    Business license applications are due prior to commencing operations and expire each
   December 31st. Section 5.04.490 of the Rancho Palos Verdes Municipal Code imposes fines and criminal
   remedies for violation of the Business Tax Ordinance. Penalties will be assessed @ 5% for each month
   delin uent u to 50% of the total license fee. No extensions or waivers of the enal amount will be ranted.




                                                                          $4.00
       -    - Tax                          Penalty                       State Fee      - -      Total Amount Due -       Initials      Check#
      Planning, Building & Safety, & Code Enforcement Use Only
                          Zone                                                                                        Approved _      _ _ __        _
                          Type
                                 - - - - - - - Moratofium   --- - - ----                                                      Date
                   Comments
                                 - - - -- - -     PI an ner
                                                                         - ------ -
                                 - - - - - - - - - - -- --
                                          30940 Hawthorne Boulevard, Rancho Palos Verdes, CA 90275
                                            Business License Office (310) 544-5301 www.rpvca.gov
USCA Case #23-1223                   Document #2013313                          Filed: 08/18/2023           Page 140 of 336



                               City of Rancho Palos Verdes
                               Home Occupation Standards
                                                    (effective May 15, 1997)


           17 .08.030 Review of applications. Home Occupations shall be permitted only if they comply with the
           following standards, and such other conditions, which are imposed by the director:

  A.       All structures must comply with general appearance, setbacks, and landscaping standards and regulations
           applicable to all zoning districts of the area in which they are located.

  B.        No displays, signs, and/or advertisements associated with the Home Occupation shall be permitted.

  C.       The permitted activity shall not be injurious to the use of neighboring property by reason of noise, vibration,
           odor, fumes, smoke, dust or similar adverse impacts on adjacent properties.

  D.       There shall be no radio or television interference created by said Home Occupation.

  E.       A Home Occupation shall not create vehicular or pedestrian traffic which changes the residential character of
           the neighborhood and dwelling unit where the business is being conducted, or create a greater demand for
           parking than can be accommodated on site or on the street frontage abutting the property where the Home
           Occupation is being conducted.

  F.       There shall be no deliveries to and from the residence of bulk materials which are used in conjunction with
           the Home Occupation and no deliveries of materials, goods or retail merchandise associated with a Home
           Occupation, if such deliveries change the residential character of the neighborhood and dwelling unit where
           the business is being conducted.

   G.      The person conducting the profession or business must reside within the dwelling unit in which the activity is
           located.

  H.       With the exception of one "home occupation employee," as defined in chapter 17.96, there shall be no
           employment of help other than individuals residing at the subject residence . An on site parking area of no
           less than nine (9) feet in width by twenty (20) feet in length shall be provided for the one home occupation
           employee.

  I.       There shall be no use or storage of dangerous chemicals, acids, caustics, explosives, or other such
           hazardous equipment or materials, other than those materials that are used in typical household activities as
           classified in the county household hazardous materials list.

  J_       T_here shall be no storage of materials and/or supplies, associated with the Home Occupation, outside of the
           residence, which may be visible from adjoining properties and/or the public right-of-way. If the garage is
           used to store Home Occupation associated materials, the minimum interior parking dimensions specified in
           Section 17.02.030 (Single Family Residential Districts) shall be maintained.

  K.       There shall be no use of utilities or community facilities, which change the residential character of the
           neighborhood and dwelling unit where the business is being conducted beyond the level, which is normal for
           the use of the property for residential purposes.

  L.       The establishment and conduct of a Home Occupation shall not change the principal residential character of
           the use of the dwelling unit, nor shall there be any exterior evidence of the Home Occupation being
           conducted. The home occupation use shall be clearly incidental to the residential use.

  I HAVE READ AND I UNDERSTAND THE STANDARDS REGULATING HOME OCCUPATIONS IN THE CITY OF
  RANCHO PALOS VERDES.


  INDIAN PEAK PROPERTIES, LLC
  Business Name

  26708 INDIAN PEAK RD.
                                                                        JAMES A. KAY JR
  RANCHO PALOS VERDES CA
  90275 Street Address                                                  Business Owner Name (printed)

   04/18/2022
  Date


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USCA Case #23-1223       st.CRETARY              STATE
                           Document #2013313 OFFiled: 08/18/2023                             Page 141 of 336




                       NEVADA STATE BUSINESS LICENSE
                                    INDIAN PEAK PROPERTIES, LLC




                           Nevada Business Identification # NV20051707408
                                    Expiration Date: 11/30/2022

  In accordance with Title 7 of Nevada Revised Statutes, pursuant to proper application duly filed and
  payment of appropriate prescribed fees, the above named is hereby granted a Nevada State Business
  License for business activities conducted within the State of Nevada.
  Valid until the expiration date listed unless suspended, revoked or cancelled in accordance with the
  provisions in Nevada Revised Statutes. License is not transferable and is not in lieu of any local business
  license, permit or registration.
  License must be cancelled on or before its expiration date if business activity ceases. Failure to do
  so will result in late fees or penalties which, by law, cannot be waived.




                                                          IN WITNESS WHEREOF, I have hereunto set my
                                                          hand and affixed the Great Seal of State, at my
                                                          office on 12/06/2021.




   Certificate Number: B202112062207212
   You may verify this certificate                                BARBARA K. CEGAVSKE
                                                                        Secretary of State
   online at http://www.nvsos.gov
          MUST BE DISPLAYED IN PLACE OF BUSINESS - NON TRANSFERABLE
      USCA Case #23-1223                Document #2013313                      Filed: 08/18/2023            Page 142 of 336

              r,~                  .                                                 City of Rancho Palos Verdes
                                                                                     30940 Hawthorne Blvd.
                                                                                     Rancho Palos Verdes, CA 90275
     CITY OF.            RANcHo PALOS \t'ERoo,                                       31 0-544-5301

                        BUSINESS TAX REGISTRATION CERTIFICATE
INDIAN PEAK PROPERTIES LLC                                                        Number:                   BLBUS-4921
P.O. BOX 7890                                                                     Issue Date:               4/18/2022
VAN NUYS, CA 91409                                                                Expiration Date:         12/31/2022
                                                                                  ISSUING OFFICER:
   Business Name: INDIAN PEAK PROPERTIES LLC
 Business Address: 26708 INDIAN PEAK RD
                   RANCHO PALOS VERDES CA 90275-0000
          This certificate is evidence that the person or firm named has paid a tax to conduct and operate a business
          as indicated hereon pursuant to the provisions of Chapter 5.04 of the Rancho Palos Verdes Municipal Code.




     INDIAN PEAK PROPERTIES LLC
     P.O. BOX 7890
     VAN NUYS, CA 91 409
USCA Case #23-1223                  Document #2013313                           Filed: 08/18/2023          Page 143 of 336



                                City of Rancho Palos Verdes
                                Home Occupation Standards
                                                     (effective May 15, 1997)


            17.08.030 Review of applications. Home Occupations shall be permitted only if they comply with the
            following standards, and such other conditions, which are imposed by the director:

   A.       All structures must comply with general appearance, setbacks, and landscaping standards and regulations
            applicable to all zoning districts of the area in which they are located.

   B.       No displays, signs, and/or advertisements associated with the Home Occupation shall be permitted.

   C.       The permitted activity shall not be injurious to the use of neighboring property by reason of noise, vibration,
            odor, fumes, smoke, dust or similar adverse impacts on adjacent properties.

   D.       There shall be no radio or television interference created by said Home Occupation.

   E.       A Home Occupation shall not create vehicular or pedestrian traffic which changes the residential character of
            the neighborhood and dwelling unit where the business is being conducted, or create a greater demand for
            parking than can be accommodated on site or on the street frontage abutting the property where the Home
            Occupation is being conducted.

   F.       There shall be no deliveries to and from the residence of bulk materials which are used in conjunction with
            the Home Occupation and no deliveries of materials, goods or retail merchandise associated with a Home
            Occupation, if such deliveries change the residential character of the neighborhood and dwelling unit where
            the business is being conducted.

    G.      The person conducting the profession or business must reside within the dwelling unit in which the activity is
            located.

   H.       With the exception of one "home occupation employee," as defined in chapter 17.96, there shall be no
            employment of help other than individuals residing at the subject residence. An on site parking area of no
            less than nine (9) feet in width by twenty (20) feet in length shall be provided for the one home occupation
            employee.

   I.       There shall be no use or storage of dangerous chemicals, acids, caustics, explosives, or other such
            hazardous equipment or materials, other than those materials that are used in typical household activities as
            classified in the county household hazardous materials list.

   J.       There shall be no storage of materials and/or supplies, associated with the Home Occupation, outside of the
            residence, which may be visible from adjoining properties and/or the public right-of-way. If the garage is
            used to store Home Occupation associated materials, the minimum interior parking dimensions specified in
            Section 17.02.030 (Single Family Residential Districts) shall be maintained.

   K.       There shall be no use of utilities or community facilities, which change the residential character of the
            neighborhood and dwelling unit where the business is being conducted beyond the level, which is normal for
            the use of the property for residential purposes.

   L.       The establishment and conduct of a Home Occupation shall not change the principal residential character of
            the use of the dwelling unit, nor shall there be any exterior evidence of the Home Occupation being
            conducted . The home occupation use shall be clearly incidental to the residential use.

   I HAVE READ AND I UNDERSTAND THE STANDARDS REGULATING HOME OCCUPATIONS IN THE CITY OF
   RANCHO PALOS VERDES.
   COMM ENTERPRISES, LLC DBA
   SOUTHLAND COMMUNICAITONS

   Business Name

   26708 INDIAN PEAK RD.                                                JAMES A. KAY JR
                                                                        Business Owner Name (printed)
   RANCHO PALOS VERDES CA 90275
   Street Address
   04/20/2022
   Date


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     USCA Case #23-1223                Document #2013313                     Filed: 08/18/2023            Page 144 of 336

            ~
                                                                                    City of Rancho Palos Verdes
                                                                                    30940 Hawthorne Blvd.
                                                                                    Rancho Palos Verdes, CA 90275
     CITYOF  RANcHoPAI.OS\/ERDEs                                                    310-544-5301

                       BUSINESS TAX REGISTRATION CERTIFICATE
COMM UNICATIONS RELAY, LLC                                                       Number:                   BLBU-0601
P.O. BOX 7890                                                                    Issue Date:               4/20/2022
VAN NUYS, CA 91409                                                               Expiration Date:         12/31/2022
                                                                                 ISSUING OFFICER:
   Business Name: COMMUNICATIONS RELAY, LLC
 Business Address: 26708 Indian Peak Rd
                    Rancho Palos Verdes CA 90275
         This certificate is evidence that the person or firm named has paid a tax to conduct and operate a business
         as indicat ed hereon pursuant to the provisions of Chapter 5.04 of the Rancho Palos Verdes Municipal Code.




     COMMUNICATIONS RELAY, LLC
     P.O. BOX 7890
     VAN NUYS, CA 91409
   USCA MUST  BE DISPLAYED
        Case #23-1223      IN PLACE
                       Document     OF BUSINESS
                                #2013313         - NON
                                             Filed:      TRANSFERABLE
                                                    08/18/2023 Page 145 of 336

              r,~                                                                    City of Rancho Palos Verdes
                                                                                     30940 Hawthorne Blvd.
                                                                                     Rancho Palos Verdes, CA 90275
     CITVOF.             RAtta-loPALIB\IERDEs                                        310-544-5301

                        BUSINESS TAX REGISTRATION CERTIFICATE
LT-WR, LLC                                                                        Number:                   BLBU-0563
P.O. BOX 7890                                                                     Issue Date:               1/19/2022
VAN NUYS, CA 91409                                                                Expiration Date:         12/31/2022
                                                                                  ISSUING OFFICER:
   Business Name: LT-WR, LLC
 Business Address: 26708 Indian Peak Rd
                   Rancho Palos Verdes CA 90275
          This certificate is evidence that the person or firm named has paid a tax to conduct and operate a business
          as indicated hereon pursuant to the provisions of Chapter 5.04 of the Rancho Palos Verdes Municipal Code.




     LT-WR, LLC
     P.O. BOX 7890
     VAN NUYS, CA 91409
USCA Case #23-1223   Document #2013313     Filed: 08/18/2023   Page 146 of 336



                               EXHIBIT 8
USCA Case #23-1223                   Document #2013313                                      Filed: 08/18/2023                   Page 147 of 336




                           DEAN HELLER
                           Secretary of St.ate
                           206 Nol1h Carson Street
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                           carson City, Nevada 19701~2"                                                           ~~btgi,~65-41
                           {775)SIAS708
                           Website: sec,•taf'Yofatlmt.bl7.                                                        Date Filed:
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                        Articles of Organization                                                                      ·t» .1Mt
                       Limited-Liability Company                                                                   Dean Heller
                                      (PURSUA NT TO NRS 86)                                                        Secretary of State



         lmponant: Ree •Nlld ted instructions b fore ~mplotlr,g form.


                                   INDIAN PEAK PROPERTIES. LLC

                                   GKL RESIOENT AGENTS/FILINGS. INC.

                                   ~ EAST WILLIAM ST.. STE 20&

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                                    LUCKY'S 'TWO.WAY RADIOS, INC
                                   ~~ E. FLAMINGO RO, STE 138 "346                            lASVEOAS                              NEVADA                  89119
                                                                                                   City                                 State                 Zip Code


                                   Name
                                                                                                                                        S:Ote                 Zip Code


                                   Name


                                   LUCKY'S T\NO-WAY RADIOS, I C
                                  BY. JA ,ESA. KAY. JR.,               ESIOENT
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    USCA Case #23-1223                         STATE
                                         Document      OF NEVADA
                                                  #2013313    Filed: 08/18/2023                    Page 148 of 336
    BARBARA K. CEGAVSKE                                                          Commercial Recordings & Notary Division
                                                                                            202 N. Carson Street
               Secretary of State                                                          Carson City, NV 89701
                                                                                          Telephone (775) 684-5708
                                                                                             Fax (775) 684-7138
     KIMBERLEY PERONDI                                                                    North Las Vegas City Hall
                                                                                     2250 Las Vegas Blvd North, Suite 400
           Deputy Secretary for                       OFFICE OF THE                      North Las Vegas, NV 89030
          Commercial Recordings
                                                SECRETARY OF STATE                        Telephone (702) 486-2880
                                                                                             Fax (702) 486-2888




     Alina Franco                                                         Work Order #: W2021120602375
     15525 Cabrito Road                                                   December 6, 2021
     Van Nuys, CA 91406, USA                                              Receipt Version: 1

Special Handling Instructions:                                            Submitter ID: 12452

Charges
 Description                        Fee Description Filing Number   Filing            Filing   Qty Price  Amount
                                                                    Date/Time         Status
 Annual List                    Fees                20211938896     12/6/2021         Approved 1 $150.00 $150.00
                                                                    4:05:48 PM
 Annual List                    Business License    20211938896     12/6/2021         Approved       1     $200.00 $200.00
                                Fee                                 4:05:48 PM
 Annual List                    Business License    20211938896     12/6/2021         Approved       1     $100.00 $100.00
                                Late Fee                            4:05:48 PM
 Annual List                    Annual List Late    20211938896     12/6/2021         Approved       1       $75.00         $75.00
                                Fee                                 4:05:48 PM
 Total                                                                                                                 $525.00

Payments
 Type                                Description                        Payment Status                                  Amount
 Credit Card                         6388355341036878903086             Success                                        $525.00
 Total                                                                                                                 $525.00
                                                                                                Credit Balance:              $0.00




     Alina Franco
     15525 Cabrito Road
     Van Nuys, CA 91406, USA
USCA Case #23-1223                 STATE
                             Document      OF NEVADA
                                      #2013313    Filed: 08/18/2023                           Page 149 of 336
BARBARA K. CEGAVSKE                                                              Commercial Recordings Division
                                                                                        202 N. Carson Street
      Secretary of State                                                               Carson City, NV 89701
                                                                                      Telephone (775) 684-5708
                                                                                         Fax (775) 684-7138
KIMBERLEY PERONDI                                                                     North Las Vegas City Hall
                                                                                 2250 Las Vegas Blvd North, Suite 400
    Deputy Secretary for                 OFFICE OF THE                               North Las Vegas, NV 89030
   Commercial Recordings
                                   SECRETARY OF STATE                                 Telephone (702) 486-2880
                                                                                         Fax (702) 486-2888



                           Business Entity - Filing Acknowledgement
                                                                                 12/06/2021
  Work Order Item Number:              W2021120602375 - 1761038
  Filing Number:                       20211938896
  Filing Type:                         Annual List
  Filing Date/Time:                    12/06/2021 16:05:48 PM
  Filing Page(s):                      2


  Indexed Entity Information:
 Entity ID: E0766652005-1                           Entity Name: INDIAN PEAK
                                                    PROPERTIES, LLC
 Entity Status: Active                              Expiration Date: None


  Commercial Registered Agent
  CORPORATION SERVICE COMPANY
  112 NORTH CURRY STREET, Carson City, NV 89703, USA




  The attached document(s) were filed with the Nevada Secretary of State, Commercial
  Recording Division. The filing date and time have been affixed to each document,
  indicating the date and time of filing. A filing number is also affixed and can be used to
  reference this document in the future.

                                                                 Respectfully,




                                                                 BARBARA K. CEGAVSKE
                                                                     Secretary of State
                                             Page 1 of 1

                                     Commercial Recording Division
                                         202 N. Carson Street
        USCA Case #23-1223                       Document #2013313
                      BARBARA K. CEGAVSKE                                   AnnualFiled:
                                                                                    or 08/18/2023
                                                                                         Amended  Page 150 of 336
                                                                                                    List
                      Secretary of State
                      202 North Carson Street                                 and State Business
                      Carson City, Nevada 89701-4201
                      (775) 684-5708                                          License Application
                      Website: www.nvsos.gov
                                 www.nvsilverflume.gov



                                             □          ANNUAL
                                                   AMENDED                                       (check one)

List of Officers, Managers, Members, General Partners, Managing Partners, Trustees or Subscribers:

 INDIAN PEAK PROPERTIES, LLC                                                                                              NV20051707408
 NAME OF ENTITY                                                                                                                Entity or Nevada Business
                                                                                                                              Identification Number (NVID)
TYPE OR PRINT ONLY - USE DARK INK ONLY - DO NOT HIGHLIGHT

IMPORTANT: Read instructions before completing and returning this form.
Please indicate the entity type (check only one):

□ Corporation
                                                                                                     Filed in the Office of      Business Number
                                                                                                                                 E0766652005-1
     □ This corporation is publicly traded, the Central Index Key number is:                        ~K.~d;__,                    Filing Number
                                                                                                                                 20211938896
                                                                                                     Secretary of State          Filed On

□ Nonprofit Corporation (see nonprofit sections below)                                               State Of Nevada
                                                                                                                                 12/06/2021 16:05:48 PM
                                                                                                                                 Number of Pages
                                                                                                                                 2
M Limited-Liability Company
□ Limited Partnership
□ Limited-Liability Partnership
□ Limited-Liability Limited Partnership
□ Business Trust
□ Corporation Sole
Additional Officers, Managers, Members, General Partners, Managing Partners, Trustees or Subscribers, may be listed on a supplemental page.
  CHECK ONLY IF APPLICABLE
 Pursuant to NRS Chapter 76, this entity is exempt from the business license fee.

  □ 006 - NRS 680B.020 Insurance Co, provide license or certificate of authority number
      001 - Governmental Entity

  □
 For nonprofit entities formed under NRS chapter 80: entities without 501(c) nonprofit designation are required to maintain a state business license,
 the fee is $200.00. Those claiming an exemption under 501(c) designation must indicate by checking box below.

  □ Exemption Code 002
       Pursuant to NRS Chapter 76, this entity is a 501(c) nonprofit entity and is exempt from the business license fee.

For nonprofit entities formed under NRS Chapter 81: entities which are Unit-owners' association or Religious, Charitable, fraternal or other
organization that qualifies as a tax-exempt organization pursuant to 26 U.S.C $ 501(c) are excluded from the requirement to obtain a state business
license. Please indicate below if this entity falls under one of these categories by marking the appropriate box. If the entity does not fall under either of
these categories please submit $200.00 for the state business license.
                                                      Religious, charitable, fraternal or other organization that qualifies as a tax-exempt organization
           □   Unit-owners' Association
                                                □     pursuant to 26 U.S.C. $501(c)

For nonprofit entities formed under NRS Chapter 82 and 80:Charitable Solicitation Information - check applicable box
Does the Organization intend to solicit charitable or tax deductible contributions?

  □ No - no additional form is required
  □ Yes - the "Charitable Solicitation Registration Statement" is required.
  □ The Organization claims exemption pursuant to NRS 82A 210 - the "Exemption From Charitable Solicitation Registration Statement" is
    required
                **Failure to include the required statement form will result in rejection of the filing and could result in late fees.**



                                                                                                                                                          page 1 of 2
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                  BARBARA K. CEGAVSKE
                  Secretary of State                           Annual or Amended List
                  202 North Carson Street
                  Carson City, Nevada 89701-4201              and State Business License
                  (775) 684-5708
                  Website: www.nvsos.gov                       Application - Continued
                             www.nvsilverflume.gov



       Officers, Managers, Members, General Partners, Managing Partners, Trustees or Subscribers:
 CORPORATION, INDICATE THE MANAGER:
  LUCKY'S TWO-WAY RADIOS INC                                                                         USA
 Name                                                                                                Country
  1350 E FLAMINGO RD STE 13B BOX 346                                 LAS VEGAS                              NV        89119
 Address                                                             City                                  State Zip/Postal Code
None of the officers and directors identified in the list of officers has been identified with the fraudulent intent of concealing
the identity of any person or persons exercising the power or authority of an officer or director in furtherance of any
unlawful conduct.
I declare, to the best of my knowledge under penalty of perjury, that the information contained herein is correct and
acknowledge that pursuant to NRS 239.330, it is a category C felony to knowingly offer any false or forged instrument for filing
in the Office of the Secretary of State.


 X James A Kay Jr                                                       President of the Manager               12/06/2021
Signature of Officer, Manager, Managing Member,                         Title                                  Date

General Partner, Managing Partner, Trustee,
Subscriber, Member, Owner of Business,
Partner or Authorized Signer FORM WILL BE RETURNED IF
UNSIGNED




                                                                                                                              page 2 of 2
         USCA Case #23-1223     Document #2013313     Filed: 08/18/2023   Page 152 of 336
               Secretary of State              LLC-12                  20-C95464
               Statement of Information
                            (Limited Liability Company)                                                                                                FILED
                                                                                                                                      In the office of the Secretary of State
 IMPORTANT — Read instructions before completing this form.                                                                                  of the State of California

 Filing Fee – $20.00
                                                                                                                                                       JUL 27, 2020
 Copy Fees – First page $1.00; each attachment page $0.50;
             Certification Fee - $5.00 plus copy fees
                                                                                                                                      This Space For Office Use Only
 1. Limited Liability Company Name (Enter the exact name of the LLC. If you registered in California using an alternate name, see instructions.)
  INDIAN PEAK PROPERTIES, LLC
 2. 12-Digit Secretary of State File Number                                           3. State, Foreign Country or Place of Organization (only if formed outside of California)
                             200532310077                                               NEVADA
 4. Business Addresses
 a. Street Address of Principal Office - Do not list a P.O. Box                                         City (no abbreviations)                                          State       Zip Code
 1350 E Flamingo Rd. STE 13B Box 346                                                                Las Vegas                                                            NV          89119
 b. Mailing Address of LLC, if different than item 4a                                                   City (no abbreviations)                                          State       Zip Code
 PO BOX 7890                                                                                        Van Nuys                                                             CA          91409
 c. Street Address of California Office, if Item 4a is not in California - Do not list a P.O. Box       City (no abbreviations)                                          State       Zip Code
                                                                                                                                                                         CA
                                             If no managers have been appointed or elected, provide the name and address of each member. At least one name and address
                                             must be listed. If the manager/member is an individual, complete Items 5a and 5c (leave Item 5b blank). If the manager/member is
 5. Manager(s) or Member(s)                  an entity, complete Items 5b and 5c (leave Item 5a blank). Note: The LLC cannot serve as its own manager or member. If the LLC
                                             has additional managers/members, enter the name(s) and addresses on Form LLC-12A (see instructions).
 a. First Name, if an individual - Do not complete Item 5b                                              Middle Name                        Last Name                                            Suffix


 b. Entity Name - Do not complete Item 5a
                                                                                                    I                                  I                                                  I
  Lucky's Two-Way Radios, INC
 c. Address                                                                                             City (no abbreviations)                                          State       Zip Code
  1350 E. Flamingo RD. STE 13B Box 346                                                              ILas Vegas                                                       I NV I89119
 6. Service of Process (Must provide either Individual OR Corporation.)
      INDIVIDUAL – Complete Items 6a and 6b only. Must include agent’s full name and California street address.
 a. California Agent's First Name (if agent is not a corporation)                                       Middle Name                        Last Name                                            Suffix


 b. Street Address (if agent is not a corporation) - Do not enter a P.O. Box                            City (no abbreviations)                                          State       Zip Code
                                                                                                                                                                         CA
      CORPORATION – Complete Item 6c only. Only include the name of the registered agent Corporation.
 c. California Registered Corporate Agent’s Name (if agent is a corporation) – Do not complete Item 6a or 6b

BUSINESS FILINGS INCORPORATED (C2113485)
 7. Type of Business
 a. Describe the type of business or services of the Limited Liability Company
 Real Estate Holdings
 8. Chief Executive Officer, if elected or appointed
 a. First Name                                                                                          Middle Name                        Last Name                                            Suffix


 b. Address                                                                                             City (no abbreviations)                                          State       Zip Code

                                                                                                                                                                     I           I
 9. The Information contained herein, including any attachments, is true and correct.

   07/27/2020                    James A Kay JR                                                                           President of the Manager
  _____________________            ____________________________________________________________                           _________________________      __________________________________
  Date                               Type or Print Name of Person Completing the Form                                      Title                           Signature
Return Address (Optional) (For communication from the Secretary of State related to this document, or if purchasing a copy of the filed document enter the name of a
person or company and the mailing address. This information will become public when filed. SEE INSTRUCTIONS BEFORE COMPLETING.)

Name:                                                                                                                
Company:

Address:
City/State/Zip:                                                                                                      

 LLC-12 (REV 01/2017)                                                                                                                                  2017 California Secretary of State
                                                                                            Page 1 of 1
                                                                                                                                                          www.sos.ca.gov/business/be
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                          Exhibit E
                      To Indian Peak Properties LLC
                          Application for Review
                             January 12, 2023




    Petition for Declaratory Ruling Antenna 3
                     Of Indian Peak Properties LLC
                              May 1, 2022
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                                                   Before the
                          FEDERAL COMMUNICATIONS COMMISSION
                                           Washington, D.C. 20554


 In the Matter of                                                     )
 Indian Peak Properties and California Internet                       )
 dba GeoLinks,                                                        )        CSR ______-0
 Petition for Declaratory Ruling Under 47 C.F.R. §1.4000              )
 To:        Office of the Secretary                                   )
 Attn: Chief, Media Bureau                                            )


                             PETITION FOR DECLARATORY RULING



            Indian Peak Properties, LLC (“Petitioner”), by its attorney and pursuant to Sections 1.2 and

 1.4000 (e) if the Commission´s Rules,1 respectfully requests a declaratory ruling that: (a) certain

 antennas described more fully herein are within the scope of protection from state and local

 restrictions provided by the OTARD rule;2 (b) restrictions asserted by the City of Rancho Palos

 Verdes, California (the “City”) impair the installation, maintenance or use of such antennas; and

 (c) the City´s actions are unlawful, preempted by federal authority under the OTARD rule, and

 therefore unenforceable.

       I.      BACKGROUND

       1. The subject of this petition is property (the “Property”) located at 26708 Indian Peak Road,

 Rancho Palos Verdes, California 90275, which is owned by Petitioner.3 The Property is a single-


 1
   47 C.F.R. §§ 1.2 and 1.4000 (e).
 2
   47 C.F.R. § 1.4000.
 3
   The property was previously owned by James A. Kay, Jr., an individual who owns and controls Petitioner. The term
 “Petitioner” includes Mr. Kay and Indian Peak Properties, LLC, except where the context requires otherwise.

                                                         1
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 family home, which is used by the owner, James Kay and his company Indian Peak Properties,

 LLC, and from time to time by individuals or business entities that rent the Property from the owner

 for a fixed term. There are a total of five (5) antenna structures, each of them installed on the rooftop

 of the Property and described in Section 2 of this Petition. All factual assertions in this Petition are

 supported by the following Exhibits, which are attached to this Petition:

     Exhibit 1 – Declaration of Daniel W. Redmond, Senior Wireless Network Design Engineer;

     Exhibit 2 – Property Detail Report and Deed to 26708 Indian Peak Road, Rancho Palos Verdes,
                CA 90275;

     Exhibit 3 – Photographs of Antenna 3;

     Exhibit 4 – Specifications for Antenna 3;

     Exhibit 5 –City
                CityResolution
                     Resolution2018-61
                                2018-61;and City attorney letter demanding removal of antennas;

     Exhibit 6 – California Internet dba GeoLinks Internet Service Contract for Internet Access
                Service to Indian Peak Properties, LLC and monthly invoices to Indian Peak
                Properties, LLC;

     Exhibit 7 – Business Licenses for California Internet dba GeoLinks and Indian Peak Properties,
                LLC; and

     Exhibit 8 – Indian Peak Properties, LLC’s Articles and Information.

     2. The antenna structures installed on the rooftop of the Property are the subject of past and

 present ongoing regulatory disputes and civil litigation between Petitioner and the City. On

 December 21, 2004, the Rancho Palos Verdes City Council adopted Resolution No. 2004-109,

 approving Conditional Use Permit No. 230 (“CUP 230”) approving the placement of five UHF

 antennas, each a Sinclair model SD314-HF2PSNM measuring 9.5 feet (3.9 meters) in height with

 four co-linear radiating elements. In subsequent years, some antennas were removed and other

 antennas were installed on the rooftop of the Property on the good faith assumption that the

 additional antennas did not require prior zoning approvals because they did not involve the erection


                                                    2
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     of additional support structure and were mounted on the same Building as the UHF antennas that

     had been approved under CUP 230 and were smaller and lower in profile than the UHF antennas.

     Petitioner also believes that most if not all of the additional antennas were within the scope of the

     OTARD rule and therefore would not have required prior zoning approval even in the absence of

     CUP 230.

            3. On August 21, 2018, the City Council adopted Resolution No. 2018-61, purporting to

     revoke in its entirety CUP 230. Without conceding the validity of that Resolution, the revocation

     affects only installations that legitimately require zoning approval. Nonetheless, the City insists that

     Petitioner remove virtually all antennas from the Building, even those that are protected under the

     OTARD rule. The Petitioner has removed the UHF antennas from the roof and made other related

     modifications.

            4. On April 17, 2020, the Petitioner filed a Petition for Declaratory Ruling under 47 C.F.R. §

     1.4000. By letter dated April 22, 2022, the Commission dismissed the Petition without prejudice

     on the ground that it did not provide sufficient information to show that each of the antennas meet

     all of the criteria for protection under the OTARD rule. In particular, the Commission found that

     Petitioner had failed to provide sufficient information to demonstrate that each antenna meets all of

     the criteria required for preemption under the OTARD rule.

            5. There are currently five antennas placed on the rooftop of the Property, as follows:
Antenn        Owner          Type        Service     Customer            Antenna Users On-Site      Located         on
 a#                                                  Location                                       Property Within
                                                                                                    Exclusive
                                                                                                    Control of User
Antenna 1     Indian Peak    DIRECTV     DIRECTV     26708 Indian Peak   Yes, for tenants when       User James Kay
              Properties,                            Rd., Rancho Palos   Building is rented           owns rooftop
              LLC                                    Verdes, CA                                        antenna site
              (Petitioner)
Antenna 2     LT-WR,         Parabolic   Fixed       26708 Indian Peak   Owner of Building (James    User James Kay
              LLC            Dish        Wireless    Rd., Rancho Palos   Kay – Petitioner), and       owns rooftop
                             Commscope   Broadband   Verdes, CA          various businesses            antenna site

                                                         3
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                              VHLP3-          Internet
                              11WH/A          Access
Antenna 3     GeoLinks        Ubiquiti        Fixed       26708 Indian Peak   Owner of Building (James   User James Kay
                              AirFiber 24,    Wireless    Rd., Rancho Palos   Kay – Petitioner), and      owns rooftop
                              Unlicensed      Broadband   Verdes, CA          various businesses           antenna site
                              2x2 MIMO        Internet
                              24 GHz          Access
Antenna 4     One Internet    Cambium         Fixed       26708 Indian Peak   Owner of Building (James   User James Kay
              America         ePMP 2000       Wireless    Rd., Rancho Palos   Kay – Petitioner), and      owns rooftop
                              Unlicensed      Broadband   Verdes, CA          various businesses           antenna site
                              2x2 MIMO        Internet
                              5.8      GHz    Access
                              Panel
                              Antenna
Antenna 5     Fisher          Two       (2)   Cellular    26708 Indian Peak   Owner of Building (James   User James Kay
              Wireless        Wilson          Telephone   Rd., Rancho Palos   Kay – Petitioner), and      owns rooftop
                              Electronics                 Verdes, CA          various businesses           antenna site
                              Model
                              314411


     This Petition concerns only Antenna 3, the Ubiquiti AirFiber 24 Unlicensed 2x2 MIMO 24 GHz

     “Secondary Geographical Diversity” Fixed Wireless Broadband Internet Antenna owned by

     California Internet dba GeoLinks and used to distribute fixed wireless signals at the Property.

     Antenna 3 meets all of the criteria required for protection under the OTARD rule as described in

     Section III below.

            II.      THE OTARD RULE

            The rules promulgated by the FCC pursuant to Section 207 of the 1996 Telecommunications

     Act, known as the over-the-air-reception device or OTARD rule, are found at 47 C.F.R. § 1.4000.

     The OTARD rule prohibits any state or local law or regulation or any private contract or other

     restriction of any kind that impairs the ability of an antenna user to install, operate and maintain

     certain antenna devices (one meter or less in diameter) on property over which the antenna user has

     exclusive control and a direct or indirect ownership or leasehold interest.

                  The phrases “exclusive control” and “direct or indirect ownership or leasehold interest” are

     explained as follows: “For purposes of our Section 207 rules, a renter, tenant or any other person

                                                              4
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 residing on a property owner´s property with the property owner´s permission (´tenant viewer´),

 who has the property owner´s permission to install, maintain and use a Section 207 reception device

 on the property, shall be treated as a covered viewer with regard to third party restrictions under

 our Section 207 rules. In this connection, the tenant viewer shall have the same rights under Section

 207 as would the owner vis-à-vis restrictions enacted by a … government and/or any other third

 party. Thus, if an owner residing on the property were entitled to install a Section 207 device on the

 property under our rules, then a tenant occupying the property is also entitled to a Section 207

 device on the property provided the property owner consents.”4

          As originally issued, the OTARD rule was intended to facilitate the use of dish antennas

 used to receive direct broadcast satellite television signals. The rule did not apply to antennas

 carrying telecommunications traffic. In year 2000, however, in response to concerns expressed by

 CLECs and Commercial Mobile Wireless Radio (CMRS) operators, the FCC revised the OTARD

 rule to include “all customer-end antennas and supporting structures of the physical type currently

 covered by the rule, regardless of the nature of the services provided through the antenna.”5 Then

 in 2021, the Commission in effect deleted the requirement that OTARD applies only to “customer-

 end” antennas and concluded that the OTARD rule encompasses all hub and relay antennas6 that

 are used for the distribution of fixed wireless signals7 to multiple customer locations, regardless of



 4
   Implementation of Section 207 of the Telecommunications Act of 1996, Order on
 Reconsideration, 13 FCC Rcd 18962, 18995 ¶ 77 (1998).
 5
   Promotion of Competitive Networks in Local Telecommunications Markets, First Report and Order and Further
 Notice of Proposed Rulemaking, 15 F.C.C. Rcd 22983 ¶ 99 (2000).
 6
   The Rule defines a “hub or relay antenna” as “any antenna that is used to receive or transmit fixed wireless signals
 for the distribution of fixed wireless services to multiple customer locations — as long as the antenna serves a
 customer on whose premises it is located. The rule excludes any hub or relay antenna that is used to provide any
 telecommunications services or services that are provided on a commingled basis with telecommunications services.”
 Questions and Answers Concerning the OTARD Rule, https://www.fcc.gov/media/over-air-reception-devices-
 rule#QA.
 7
   The OTARD Rule defines “fixed wireless signal” as “any commercial non-broadcast communications signals
 transmitted via wireless technology to and/or from a fixed customer location.” 47 C.F.R. § 1.4000 (a) (2).

                                                           5
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 whether they are “primarily” used for this purpose, as long as (1) the antenna serves a customer on

 whose premises it is located, and (2) the service provided over the antenna is broadband-only.8 The

 OTARD rule also generally prohibits any governmental or private restrictions on any mast or

 support for an antenna covered by the rule, other than restrictions based on legitimate safety

 considerations, as long as the height of the support does not exceed 12 feet above the roofline.9

     III.    ARGUMENT

     This Petition concerns only Antenna 3, the Ubiquiti AirFiber 24, Unlicensed 2x2 MIMO 24

 GHz antenna owned by California Internet dba GeoLinks. Like the other antennas at the Property,

 Antenna 3 is connected by Ethernet cable to routers and switches inside the house that comprises

 the Property. Antenna 3 is designed to and does provide fixed wireless high-speed Internet access

 anywhere within the house and the surrounding yards. The Property owner, James A. Kay, together

 with his several companies, including Indian Peak Properties, LLC, are the customers and primary

 users of the broadband service provided by Antenna 3. In addition, Antenna 3 provides connectivity

 for a number of vendors and contractors who visit the Property on a regular basis, and for any

 residential tenants who lease rooms in the house from time to time. As affirmed in the Declaration

 of Daniel W. Redmond (Exhibit 1), Antenna 3 meets each of the requirements that entitle the

 antenna to protection from regulation by the City as follows:




 8
   In the Matter of: Updating the Commission´s Rule for Over-the-Air Reception Devices, Report and Order, WT
 Docket 19-71, rel. Jan. 1, 2021, ¶ 9.
 9
   Questions and Answers Concerning the OTARD Rule, https://www.fcc.gov/media/over-air-reception-devices-
 rule#QA.

                                                        6
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    a. Antenna 3 is placed on property within the exclusive use or control of the antenna
       user.

    Antenna 3 is placed on the rooftop of the Property – which is a single-family home owned by

 James A. Kay’s company, Petitioner Indian Peak Properties, LLC. As the owner of the Property,

 Mr. Kay and Indian Peak Properties, LLC have the exclusive right to access and use the entirety of

 the building´s rooftop, except where rooftop space is leased to others. Antenna 3 is placed entirely

 on rooftop space under the exclusive control of Mr. Kay and Indian Peak Properties, LLC. Further,

 Mr. Kay and his company Indian Peak Properties, LLC, are the primary users and customers of the

 service provided by means of Antenna 3. The service is currently not used by any remote customer

 not located at the Property. See Declaration of Daniel W. Redmond (Exhibit 1). Therefore, Antenna

 3 meets the requirements stated in 47 C.F.R. § 1.4000 (a) (1).

    b. Antenna 3 is used to receive or transmit fixed wireless signals.

    As indicated above, Antenna 3 is used to receive or transmit broadband-only fixed wireless

 signals providing high-speed Internet access to compatible devices throughout the Property. The

 service provided by means of Antenna is within the parameters of OTARD protection as required

 under 47 C.F.R. § 1.4000 (a) (1) (i) (A). See Declaration of Daniel W. Redmond (Exhibit 1).

    c. Antenna 3 is less than one meter in diameter or diagonal measurement and is installed
       on a mast less than twelve (12) feet above the roofline of the building.

    Antenna 3 is less than one meter in diameter, i.e., diagonal measurement. Therefore, Antenna 3

 meets the requirements of 47 C.F.R. 1.4000 (a) (1) (i) (B). In addition, the mast on which Antenna

 3 is installed does not exceed twelve (12) feet in height above the building´s roofline. See

 Declaration of Daniel W. Redmond (Exhibit 1). Therefore, Antenna 3 meets the height criteria

 stated in 47 C.F.R. § 1.4000 (a) (1) (iv).




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    d. No safety or historic preservation concerns have been raised with respect to Antenna 3.
    As affirmed in the Declaration of Daniel W. Redmond (Exhibit 1), no safety or historic

 preservation concerns have been raised by the City with respect to Antenna 3 and no General

 Exposure limitations are exceeded.

    e. Antenna 3 is a hub or relay antenna used for the distribution of broadband-only fixed
       wireless services to Indian Peak Properties, LLC.
    The revised OTARD rule, effective March 29, 2021, applies to all hub and relay antennas that

 are used for the distribution of fixed wireless services to multiple customer locations, regardless of

 whether they are “primarily” used for this purpose, as long as: (1) the antenna serves a customer on

 whose premises it is located, and (2) the service provided over the antenna is broadband-only. 47

 CFR § 1.4000 (a)(1) and (a)(5). Antenna 3 meets these criteria: 1) it is designed as a hub and relay

 antenna that serves a customer (Mr. Kay and Indian Peak Properties, LLC) on the premises where

 it is located (the Property); and 2) Antenna 3 is used for the distribution of broadband-only fixed

 wireless services to Mr. Kay and Indian Peak Properties, LLC. Declaration of Daniel W. Redmond

 (Exhibit 1). The use of Antenna #3 is compliant with OTARD because Antenna #3 is the

 geographically diverse, fixed wireless service for broadband internet service. Declaration of Daniel

 W. Redmond (Exhibit 1).

    For the reasons stated in paragraphs (a) through (e) above, Antenna 3 meets each of the criteria

 stated in the OTARD Rule and is entitled to protection from local regulation by the City.

    IV.     RELIEF SOUGHT

    The Petitioner seeks a declaratory ruling from the Commission that Antenna 3 constitutes a

 protected Section 207 device under the OTARD rule such that enforcement of Resolution 2018-61,




                                                   8
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 revoking CUP 230 and every other action taken or contemplated by the City to force Petitioner to

 remove Antenna 3 from the Property, is preempted.

      Furthermore, Petitioner seeks an immediate declaration from the Commission that any action

 taken by the City to enforce Resolution 2018-61 during the pendency of this Petition is suspended.

 Except in circumstances not relevant here, “if a proceeding is initiated” challenging a restriction

 under the OTARD rule, “the entity seeking to enforce the antenna restrictions in question must

 suspend all enforcement efforts pending completion of review,” and “[n]o attorney’s fees shall be

 collected or assessed and no fine or other penalties shall accrue against an antenna user while a

 proceeding is pending to determine the validity of any restriction.”10 Thus, Resolution 2018-61

 “may not be enforced until the Commission … issues a ruling that [Resolution 2018-61] is not

 preempted,” and “a viewer may install, use and maintain an antenna while [this] proceeding is

 pending.”11The only exceptions are for restrictions “pertaining to safety and historic

 preservation.”12

          The Commission has consistently taken an expansive view of the automatic suspension of

 restrictions and penalties during the pendency of an OTARD challenge.13 An immediate suspension

 is especially justified in this case given the severe consequences of enforcement of Resolution 2018-

 61. For one thing, the City is threatening the forcibly remove Antenna 3, along with the other four


 10
    47 C.F.R. § 1.4000 (a) (4). The only exceptions are for restrictions “pertaining to safety and historic preservation.”
 Promotion of Competitive Networks in Local Telecommunications Markets, Order on Reconsideration, 19 FCC Rcd
 5637, 5643-44 ¶¶ 13-18 (2004), ¶ 16.
 11
    47 C.F.R. § 1.4000 (a) (4).
 12
    Id.
 13
    See, for example, Petition for Declaratory Ruling Regarding the Application of the Over-the-Air Reception Devices
 Rule to Certain Provisions of the Philadelphia, Pennsylvania Code, CSR-8541-O (filed Nov. 8, 2011); James Sadler;
 Petition for Declaratory Ruling under 47 C.F.R. § 1.4000, Memorandum Opinion and Order, 13 FCC Rcd 12559,
 12572 ¶ 41 (CSB 1998); Michael and Alexandra Pinter; Petition for Declaratory Ruling under 47 C.F.R. § 1.4000,
 Memorandum Opinion and Order, 19 FCC Rcd 17385, 17386 ¶ 4 (MB 2004); Otto and Ida M. Trabue; Petition for
 Declaratory Ruling under 47 C.F.R. § 1.4000, Memorandum Opinion and Order, 14 FCC Rcd 8602, 8603 ¶ 2 (CSB
 1999).

                                                            9
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   antennas, from the rooftop of the buifdi!\8, his Hkcly '-h:u sucb forcible rcmov;.LwouJd damage the

   equipment and perhaps the.rooftop as ,-..•ell, J>otentially costillg the Pelitioner a, slg:nifica,nt amount

   of money 10 l.'ep:i.il' or cepJ.ice.

            More importantly, hQwcvcr, i~ the fact th3t rbe five .liueuoas - apart from allowing

   Pclitfoncr ·s business oper~tions to fiu>ction - ar~ necessary 10 indi\.•idllaUy and coUoctivel)• prQvide

   b.'lCk•UP rtdlU\dancy for pcrfom1ance of an a1Tay of vital functicms at the J>ropcrty, jncJudi.J>g, bu1

   1101 limited to providing television and telephone servioo, security 3fa1m tuid camera operations,

   temperature co,11.rol~ and 0th.et A\Ollitoting fw1c1ions. Loos of I.he anforu1as, including Antcnn.11 3,

   would put at risk not.only the compciitive viability ofPetitioners various businesses, bot also the.

   safoty of Petitioner and its employees, contractors :1.n.d guests.

                                                           Respcclf u 7iucd,

                                                           By:\Z
                                                             Ton.c5',~
                                                                                '-Vz.---.
                                                                         Manocchio, J.D.• Attorney at Law
                                                                15525 Cabrito Road, Van Nufs, CA 91406
                                                               Tel: SIS-540-8031
                                                               f:mail: Toni@BuddyCorp.eom




                                                      10
USCA Case #23-1223             Document #2013313                     Filed: 08/18/2023           Page 164 of 336




                                       CERTlFICA'fE OF SERVl(,:r,

          l. Tonentu Mnrtocchio, oouo.sel for Pctitio1)ers in this l'l\3tte1·, hereby ce-11ify Lhat on Lhis Ist
   day of May. 2022.1 ti.we c,msed copies of the foregoing pleading to be scrvc<:1, via first
   class OSl>S, certified mail, post..."lge. p1cpaid, M the folJo,-.;•iug:

                   Ms. fone S. Ailin
                   Aleshire.& Wynder, Ll, P
                   2361 ~osccraa<. Ave., Suite 475
                   El Segondo, CA 9024S

                   Teri Takaoka, City Clerk
                   City of Rancho PaJoo Verdes
                   30940 Hawthoroe BouleV(lrd
                   Rancho Palos Verdes, CA 90275




                                                        Tonca¥~cllio, J.D.
                                                        Attomcy at Law
                                                        15525 Calxito Road
                                                        Vao Nnys, CA 9l406
                                                        Tel: 8 18-S40-S03J
                                                        Email: Toni@BuddyC01'p,¢0tn




                                                       11
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                               EXHIBIT 1
     USCA Case #23-1223               Document #2013313                  Filed: 08/18/2023        Page 166 of 336
                                            Expert Witness Statement/Affidavit

                              In support of: Indian Peak Properties, LLC – Single Family Home

                                     26708 Indian Peak Road, Rancho Palos Verdes, CA

Author:

          Daniel W. Redmond, Senior Wireless Network Design Engineer

          Ph: 916.296.0282, Email: dredmo77@att.net

Qualifications:

          A.S. Aviation, CCAF; B.S. Information Systems, UoP

          FCC Licensed, PG-GB-062835

          23 Years of Licensed and Unlicensed Microwave Operations, Management, and Engineering Experience. 30
          Years’ experience in general electronics. 10+ of these years as the lead Microwave Engineer for over 900
          Licensed and 50 Unlicensed Point to Point Commercial Microwave Paths.

Statement of facts for the modified/renewed Petition for Declaratory Ruling to the FCC Commission.

              1. Mr. James A Kay Jr. owns Indian Peak Properties, LLC, which owns the Single-Family home located at
                 26708 Indian Peak Road in Rancho Palos Verdes, CA.
              2. Indian Peak Properties, LLC is both the customer and exclusive rights holder to the property.
              3. Concerning Antenna #3: Ubiquiti AirFiber 24 Unlicensed 2x2 MIMO 24 GHz “Secondary Geographical
                 Diversity” Fixed Wireless Broadband Internet Antenna which we identify as Antenna #3.
                     a. Antenna #3 is as follows:
                                i. Internet Service Provider: Geolinks
                               ii. Less than one meter in diameter.
                              iii. Designed as a hub and relay antenna that is used for the distribution of broadband-only
                                   fixed wireless services to Indian Peak Properties, LLC.
                              iv. Is in service being used by customer: Indian Peak Properties, LLC
                               v. Is located on the property belonging to Indian Peak Properties, LLC.

Considerations:

First, Indian Peak Properties, LLC is owned by Mr. Kay. Indian Peak Properties is the customer of this single-family home.
While Indian Peak Properties, LLC may contract out for assistance during routine maintenance of his radio network as
well as home maintenance, they maintain exclusive use of the home and property.

Second, the use of this antenna deemed Antenna #3 is compliant with OTARD due to the following facts.

          Antenna #3 is the geographically diverse, fixed wireless service for broadband internet service.

Third, Indian Peak Properties, LLC is the customer to which this service is being provided.

OTARD Rules apply to this antenna under the Rules that state:
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         “hub and relay antennas that are used for the distribution of broadband-only fixed wireless services to multiple
customer locations, regardless of whether they are primarily used for this purpose, as long as: (1) the antenna serves a
customer on whose premises it is located, and (2) the service provided over the antenna is broadband-only.”

         “Antennas designed to receive and/or transmit data services, including Internet access, are included in the
rule. Additionally, the most recent amendment clarifies that hub or relay antennas used to access the Internet must provide
broadband-only service to qualify under the rule.”

         “The Commission’s rule covers the antennas necessary to receive or transmit service. Therefore, a local rule may not,
for example, allow only one antenna if more than one antenna is necessary to receive or transmit the desired service.”

Fourth, having read the history of this case with the city and the FCC Commission, I believe some simple clarifications are
necessary to resolve this matter. In Summary and as stated above.

    1. Antenna #3 is used to provide OTARD covered services: Broadband Internet Services over Fixed Wireless.
    2. Indian Peak Properties, LLC is the customer and is located on the Property at 26708 Indian Peak Road, Rancho
       Palos Verdes, CA
    3. Indian Peak Properties, LLC has exclusive usage rights to the installations located on the single-family home.
    4. No safety concerns have been brought into question and no General Exposure limitations have been exceeded.
    5. Antenna #3 does not exceed 12’ above the roofline height to tip.
    6. No historical preservation concerns have been raised.

Sources:

    -    Network Design and Topology Discussion with Mr. Kay, owner of Indian Peak Properties, LLC.
    -    2022 04 22_FCC Dismissal OTARD Petition Document
    -    Indian Peak OTARD Petition (2020-04-17) Document
    -    Indian Peak Urgent Request (OTARD 19-Apr-2022) Document
    -    Indian Peak OTARD Supplement (10-Dec-2021) Document
    -    (17) Pictures and Notes Supplied by Mr. Kay
    -    https://www.fcc.gov/media/over-air-reception-devices-rule

Notes:

I can confirm that, Indian Peak Properties, LLC’s Antenna #3 is in fact in compliance with OTARD Rules.



Daniel W. Redmond, Senior Wireless Network Design Engineer, 916.296.0282

Date: 04/24/2022 ________________________________________________
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                               EXHIBIT 2
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       PROPERTY DETAIL REPORT         created 2022-04-26 Prepared exclusively for TONEATA MARTOCCHIO


      TARGET PROPERTY

 26708 INDIAN PEAK RD RANCHO PALOS VERDES, CA 90275-2333 C031
      Owner Information
 Owner Name:                 INDIAN PEAK PROPERTIES LLC
 Mailing Address:            1350 E FLAMINGO RD #13B34 LAS VEGAS NV 89119-5263 C037
 Phone Number:                                       Vesting Codes:
 Owner Occupied                                      Pending Record
                             N
 Indicator:                                          Indicator:
 Corporate Owner:
 II
      Location Information

 Legal Description:          TR=21350 LOT 80
 County:                     LOS ANGELES               APN:                     7577-013-030
 Census Tract / Block:       6704.18                   Alternate APN:
 Township-Range-Sect:                                  Subdivision:             21350
 Legal Book - Page:          599-90                    Map Reference:           72-E4 /
 Legal Lot:                  80                        Tract #:                 21350
 Legal Block:                                          School District:         PALOS VERDES PENINSU
 Market Area:                176                       Munic / Township:
 Neighbor Code:

      Owner Transfer Information

 Recording / Sale Date:      11/29/2005                Sale Price:
 Document #:                                           Deed Type:               GRANT DEED
 Instrument #:               000002980048              1st Mtg Document #:
 Book - Page:

      Last Market Sale Information

 Recording / Sale Date:      04/28/1994 /              1st Mtg Amount / Type: $292,000.00 / CONV
                                                                                 / ADJUSTABLE INT RATE
 Sale Price:                 $365,000.00               1st Mtg Int. Rate / Type:
                                                                                 LOAN
 Sale Type:                  FULL                      1st Mtg Term:
 Document #:                 821070                    1st Mtg Document #:
 Instrument #:               000000821070              1st Mtg Instrument #:
 Book - Page:                                          1st Mtg Book - Page:
 Deed Type:                  GRANT DEED                2nd Mtg Amount / Type: /
                                                       2nd Mtg Int. Rate /
 Transfer Document #:                                                            /
                                                       Type:
 New Construction:                                     2nd Mtg Term:
 Multi / Split Sale:                                   Price per SqFt:           $141.14
 Cash Down Payment:                                    Stamps Amount:            $401.50
 Title Company:              SOUTH COAST TITLE
 Lender:                     WELLS FARGO BK
 Seller Name:                UGAS ARMINDA

      Prior Sale Information
 II
 Prior Rec / Sale Date:      06/09/1987 / 06/00/1987   Prior Deed Type:         GRANT DEED
 Prior Sale Price:           $350,000.00               Prior Lender:
                                                       Prior 1stMtg             $255,000.00 / PRIVATE
 Prior Sale Type:            FULL
                                                       Amount/Type:             PARTY
                                                       Prior 1stMtg Int.        / ADJUSTABLE INT RATE
 Prior Doc #:                909071
                                                       Rate/Type:               LOAN
 Prior Instrument #:         000000909071              Prior Stamps Amount:     $385.00
 Prior Book - Page:
 II
      Site Information
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                                                                                             SINGLE
  Land Use:            SFR          Acres:               .1727         County Use:           FAMILY
                                                                                             RESID
  Flood Zone:                       Lot Area:           7521           State Use:
  Flood Zone Map:                   Lot Width / Depth: /               Site Influence:
  Flood Panel Date:                 Usable Lot:                        Sewer Type:
  Res / Comm Units:                 Lot Shape:                         Topography:
  # of Buildings:      1            Bldg Width / Depth: /              Water Type:
                                                                                             CENTRAL
  Zoning:              RPRS8000*    Building Class:                    Water District:
                                                                                             AND W BASIN

   Tax Information

  Total Value:         $573,122.00 Assessed Year:      2021                Property Tax:      $7,217.68
  Land Value:          $354,867.00 Improve %:                              Tax Area:          7097
  Improvement
                       $218,255.00 Dist:                                   Tax Year:          2021
  Value:
  Total Taxable                                        CONSOLIDATED
                       $573,122.00 Fire Dist:                       Tax Exemption:
  Value:                                               CO
  Market Value:                    Garbage Dist:                    Equal Rate:
                                   Delinquent Date:                 Equal Year:

   Property Characteristics

  Gross Area:                       Parking Type:                      Construction:
  Living Area:         2586         Garage Area:                       Heat Type:            CENTRAL
  Tot Adj Area:                     Garage 2 Area:                     Heat Fuel:
  Above Grade:                      Garage Capacity:                   Parcel Fuel:
  Ground Floor Area:                Parking Spaces:                    Exterior Wall:
  Base / Main Area:    /            Carport:                           Interior Wall:
  Upper Area:                       Basement Area:                     Foundation:
  2nd Floor Area:                   Finish Bsmnt Area:                 Air Cond:
  3rd Floor Area:                   Basement Type:                     Roof Type:
  Rentable Area:                    Attic Type:                        Roof Shape:
  Additional Area:                  Porch Type:                        Roof Frame:
  Total Rooms:                      Porch 1 Area:                      Roof Material:
  Bedrooms:            4            Porch 2 Area:                      Floor Type:
  Bath (F/H):          3/           Patio Type:                        Floor Cover:
  Total Baths /
                       3/           Patio 1 Area:                      Style:
  Fixtures:
  Year Built / Eff:    1958 / 1966 Pool:                               Quality:
  Fireplace:                       Pool Area:                          Condition:
  Fireplace
                                                                       # of Stories:
  Description:
  Basement
                                                                       Other Rooms:
  Description:
  Other
  Improvements:
  Bldg Comments:
  Parcel Comments:

   Extra Features

                                             Size /                           Year
   Description:                  Unit:                Width:      Depth:               Improvement Value:
                                             Qty:                             Built:




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      ~
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     .. . "•
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                                                                 05 2980048

                                                         RECORDED/FILED IN OFFICIAL RECORDS
                                                                RECORDER'S OFFICE
                                                               LOS ANGELES COUNTY
                                                                    CALIFORNIA


                                                          8:21 AM      DEC 06 2005




    TITLE($) :
                                              DEED



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              FEE                                                          D.T.T,

                                                                          a1
              CODE
               20

              CODE
                19

              CODE
              9
              --
       Assessor's Identification Number (AIN)
       To be completed by Examiner OR Title Company In black ink.        Number of AIN's Shown



                                                                                 001
                                   THIS FORM IS NOT TO BE DUPLICATED
USCA Case #23-1223                 Document #2013313                    Filed: 08/18/2023            Page 172 of 336



 RECORDING REQUESTED BY                                                             05 2980048
 RICHARD K. SEMETA, ESQ.


 AND WHEN RECORDED MAIL TO

 RICHARD K. SEMETA,
 A PROFESSIONAL LAW CORPORATION
 4695 MACARTHUR COURT, SUITE 310
 P.O. BOX 10367
 NEWPORT BEACH, CA 92658-0367


                                                       Space above line for Recorder's Use
 APN: 7577-13-030                                      NO TAX DUE.


                                                   GRANT DEED

 Documentary transfer tax is NONE.**

 _   Unincorporated area X Rancho Palos Verdes

 Mail tax statements to: Lucky's Two-Way Radios, Inc., 1350 E. Flamingo Road, Suite 13B/346, Las Vegas, Nevada
 89119

         FOR NO CONSIDERATION, GRANTOR Idyll Propenies, LLC, a Nevada limited liability company,
 hereby GRANTS TO Indian Peak Propenies, LLC, a Nevada limited liability company that real propeny in the City
 of Rancho Palos Verdes, County of Los Angeles, State ofCalifomia, described in Exhibit "A" attached hereto and
 incorporated herein.

 Dated:    11/2'1/         ,2005
                                                                 Idyll Properties, LLC
                                                                 By: Lucky's Two Way Radios, Inc.,




 •• The grantors and the grantees in this conveyance are comprised of the same parties who continue to hold the
 same proponionate interest in the propeny, R & T 11923( d).

 State of Nevada            )
                            ) ss
 County of Clark            )

 On {I - a? <?-o S:: , 2005, before me,       C. 0orif90 , a notary public in and for the State of California,
 personally appeared James Allan Kay Jr., personally known to me (or proved to me on the basis of satisfactory
 evidence) to be the person whose name is subscribed to the within instrument and acknowledged to me that he
 executed the same in his authorized capacity, and that by his signature on the instrument, the. person,. or the entity
 upon behalf of which the person acted, executed the instrument.                   · ·                         •.


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                                                                                    05 2~80048

                                                    EXHIBIT A


 Lot 80 of Tract No. 21350, in the City of Rancho Palos Verdes, County of Los Angeles, State of California, as per
 map recorded in Book 599, Page(s) 90 to 95 of Maps, in the office of the County Recorder of said County.
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                               EXHIBIT 3
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   Geolinks antenna
   Antenna #3
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                               EXHIBIT 4
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                a,r~F·b
                     I er tJ•:111           ®




                Best-in-Class Performance and Range                          Robust Mechanical Assembly
                Our INVICTUS custom silicon dramatically improves wireless   An independent lab has tested the airFiber mechanical
DATASHEET




                performance. The AF-24HD model supports the dense            assembly to meet MIL-STD-810G, a rigorous United States
                modulation rates, up to 256QAM, that are required for high   MIL-STD (Military Standard) that defines a variety of
                data rates, up to 2 Gbps.                                    challenging environmental conditions.

                The airFiber AF-24/AF-24HD features the most powerful        The mechanical assembly has also undergone vibration
                automatic compensation for path loss degradation due         testing using an extended version of IEC 60068-2-6,
                to rain fade, so it provides the best range among 24 GHz     an environmental standard of the IEC (International
                products and allows for constellation threshold extension.   Electrotechnical Commission).




                                                                l!!I

                                                         5 10
                                                     5 0
                                                10




                                     Side                                                       Back




                        2 Gbps
                     Real Data Throughput
                                                                                  20+km
                                                                                   Extreme Range
                                                                                                               IHDDI
                                                                                                              11TDD FD□ 11


 12
    USCA Case #23-1223            Document #2013313                        Filed: 08/18/2023                 Page 178 of 336
Specifications
                                                airFiber AF-24HD
Operating Frequency                                                                                     24.05 – 24.25 GHz
Dimensions




                                                                                                                                   DATASHEET
 Radio                                                                   593 x 768 x 370 mm (23.35 x 30.24 x 14.57")
 Box                                                                      796 x 696 x 49.5 mm (31.34 x 27.40 x 1.95")
Weight
 Radio (Mount Included)                                                                                  17.3 kg (38.14 lb)
 Box                                                                                                     25.5 kg (56.22 lb)
Max. Power Consumption                                                                                                 50W
Power Supply                                                                    50V, 1.2A PoE GigE Adapter (Included)
Power Method                                                                               Passive Power over Ethernet
Supported Voltage Range                                                                         +42 to +58VDC, -48VDC
Certifications                                                                                                  CE, FCC, IC
Wind Loading                                                                   770 N @ 200 km/hr (170 lbf @ 125 mph)
Wind Survivability                                                                                  200 km/hr (125 mph)
Mounting                                                                                       Pole Mount Kit (Included)
Operating Temperature                                                                         -40 to 55° C (-40 to 131° F)
LEDs                                                                                                 (8) Status LEDs:
                                                                                                    Data Port Speed
                                                                                              Data Port Link/Activity
                                                                                           Configuration Port Speed
                                                                                     Configuration Port Link/Activity
                                                                                                GPS Synchronization
                                                                                                   Modulation Mode
                                                                                                        Master/Slave
                                                                                                            RF Status
                                                                         (1) Two-Digit LED Display Calibrated in dBm
Interface
Data Port                                                                                (1) 10/100/1000 Ethernet Port
Configuration Port                                                                              (1) 10/100 Ethernet Port
Auxiliary Port                                                                           (1) RJ-12, Alignment Tone Port
System
Maximum Throughput                                                                                                  2 Gbps
Maximum Range                                                                                                       20+ km
Packets per Second                                                                                               1+ Million
Packets per Second                                                                                              > 1 Million
Encryption                                                                                                     128-Bit AES
Uplink/Downlink Ratio                                                                                            50% Fixed
Latency
 Full Duplex Mode                                                                            < 200 µs at Full Throughput
 Half Duplex Mode                                                                              < 2 ms at Full Throughput
MTU (Maximum Transmission Unit)                                                                                 Up to 9600

                                    airFiber AF-24HD Receive Sensitivity
         Modulation               Sensitivity                  FDD Capacity*                        TDD Capacity*
            256QAM                 -60 dBm                         2000 Mbps                          1024 Mbps
            64QAM                  -66 dBm                         1500 Mbps                           760 Mbps
            16QAM
         QPSK MIMO
                                   -72 dBm
                                   -78 dBm
                                                    T              1000 Mbps
                                                                   500 Mbps
                                                                                         I             507 Mbps
                                                                                                       253 Mbps
         QPSK SISO
       ¼x QPSK SISO
                                   -80 dBm
                                   -87 dBm
                                                    T              250 Mbps
                                                                   62.5 Mbps
                                                                                         I             127 Mbps
                                                                                                       31.7 Mbps

                                                                      * FDD = (2) 100 MHz channels and TDD = (1) 100 MHz channel
                                                                                                                                     13
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                                                                                        airFiber AF-24HD Radio Frequency
                       GPS                                                                                                                                           GPS Clock Synchronization
                       Transceiver
DATASHEET



                       EIRP                                                                                           ~33 dBm (FCC/IC), ~20 dBm (CE), ~40 dBm (Other Regions)
                       Frequency Accuracy                                                                                                          ±2.5 ppm without GPS Synchronization
                                                                                                                                                      ±0.2 ppm with GPS Synchronization
                       Channel Bandwidth                                          I                                                                                                        100 MHz
                       Operating Channels                                                                                                                                        24.1 GHz, 24.2 GHz
                       Modulation                                                                                                                                                     256QAM MIMO
                                                                                                                                                                                       64QAM MIMO
                                                                                                                                                                                       16QAM MIMO
                                                                                                                                                                                         QPSK MIMO
                                                                                                                                                                                          QPSK SISO
                                                                                                                                                                                       ¼x QPSK SISO
                       Integrated Split Antenna
                       TX Gain                                                                                                                                                               33 dBi
                       RX Gain                                                                                                                                                               40 dBi
                       Beamwidth
                       Front-to-Back Ratio
                                                                                  I                                                                                                           < 3.5°
                                                                                                                                                                                              70 dB
                       Polarity
                       Cross-Polarity Isolation
                                                                                  I                                                                                          Dual-Slant Polarization
                                                                                                                                                                                            > 28 dB

                                                                                         airFiber AF-24HD Capacity (Mbps)
                                                Rate                                                     Modulation                                           100 MHz Channel Width*
                                                 8x                                                   256 QAM MIMO                                                           2000.0

                                                 6x                                                    64 QAM MIMO                                                           1500.0

                                                 4x

                                                 2x
                                                                            T                          16 QAM MIMO

                                                                                                         QPSK MIMO
                                                                                                                                                                             1000.0

                                                                                                                                                                             500.0

                                                 1x

                                                 ¼x
                                                                            T                             QPSK SISO

                                                                                                        ¼ QPSK SISO
                                                                                                                                                                             250.0

                                                                                                                                                                              62.5

                                                                                                                                                              * Aggregated capacity in Full-Duplex mode




                                                                                                                                                                                      u
   AIJL092817




                    Specifications are subject to change. Ubiquiti products are sold with a limited warranty described at: www.ubnt.com/support/warranty
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                    INVICTUS, and xRT are trademarks or registered trademarks of Ubiquiti Networks, Inc. in the United States and in other countries. All other trademarks
                    are the property of their respective owners..                                                                                                                     www.ubnt.com

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                               EXHIBIT 5
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                                   RESOLUTION NO. 2018-61

                  A RESOLUTION OF THE CITY COUNCIL OF THE CITY OF
                  RANCHO PALOS VERDES REVOKING IN ITS ENTIRETY
                  AND EFFECTIVE IMMEDIATELY CONDITIONAL USE
                  PERMIT NO. 230 FOR THE INSTALLATION OF
                  COMMERCIAL ANTENNAS AND RELATED SUPPORT
                  STRUCTURES AT 26708 INDIAN PEAK ROAD.

           WHEREAS, on June 21, 2001, the Applicant/Appellant, Mr. James A. Kay, Jr.,
     submitted applications for Conditional Use Permit No. 230 and Environmental
     Assessment No. 744 for after-the-fact approval to establish the then-existing 5-masted,
     roof-mounted antennae and related support structures and equipment on the site for
     commercial use; and,

           WHEREAS, on September 19, 2001, the applications for Conditional Use Permit
     No. 230 and Environmental Assessment No. 744 were deemed complete by Staff; and,

            WHEREAS, pursuant to the provisions of the California Environmental Quality Act,
     Public Resources Code Sections 21000 et seq. ("CEQA"), the State's CEQA Guidelines,
     California Code of Regulations, Title 14, Section 15000 et. seq., the City's Local CEQA
     Guidelines, and Government Code Section 65962.5(f) (Hazardous Waste and
     Substances Statement), Staff found no evidence that Conditional Use Permit No. 230 and
     Environmental Assessment No. 744 would not have a significant effect on the
     environment and, therefore, the proposed project was determined by Staff to be
     categorically exempt (Class 1, Section 15301 ); and,

             WHEREAS, after the submittal of these applications on June 21, 2001, and while
     the Planning Commission was conducting the public hearings on this application, the
     Applicant installed at least twelve (12) additional vertical antenna masts with attached
     antennae onto the previously existing roof-mounted antenna support structure and array,
     including additional cables and conduits for the additional antennae; and on November 8,
     2001, the Applicant submitted revised plans to the City depicting a total of twenty (20)
     vertical antenna masts with attached antennae on the roof-mounted antenna support
     structure and array; and,

            WHEREAS, after notice issued pursuant to the requirements of the Rancho Palos
     Verdes Development Code, the Planning Commission held a duly noticed public hearing
     on October 23, 2001, November 13, 2001, and November 15, 2001, at which time all
     interested parties were given an opportunity to be heard and present evidence; and,

           WHEREAS, the Planning Commission, on November 15, 2001, adopted
     P.C. Resolution No. 2001-43 conditionally approving the project; and,




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          WHEREAS, Mr. Kay timely appealed conditional approval by letter dated
     November 28, 2001, based on disagreement with "all conditions regulating the location,
     number and placement of antennas on the project site .... "; and,

            WHEREAS, after notice issued pursuant to the requirements of the Rancho Palos
     Verdes Development Code, the City Council held a duly noticed public hearing on
     February 19, 2002, March 19, 2002, March 25, 2002 and April 16, 2002, at which time all
     interested parties were given an opportunity to be heard and present evidence; and,

           WHEREAS, the City Council, on April 16, 2002, adopted Resolution No. 2002-27,
     thereby denying the appeal, modifying certain conditions of approval and conditionally
     approving the project; and,

            WHEREAS, on May 15, 2002, Mr. Kay filed suit against the City in Federal District
     Court in order to overturn the City's decision on the grounds, among other things, that it
     violated the Telecommunications Act of 1996; and,

            WHEREAS, on July 14, 2004, the United States District Court for the Central
    District of California ruled in the case of Kay v. Rancho Palos Verdes and ordered the
    "City Council of the City of Rancho Palos Verdes to issue a new resolution allowing James
    A. Kay, Jr. to use his five (5) mast antenna structure for commercial purposes, subject to
    reasonable conditions"; and,

          WHEREAS, the City revised the conditions of approval for Conditional Use Permit
    No. 230 to allow the commercial use of Mr. Kay's 5-mast, roof-mounted, antenna array,
    which existed at the time and was depicted on plans provided to the City of Rancho Palos
    Verdes with the original submittal of the application for Conditional Use Permit No. 230
    on June 21, 2001; and,

           WHEREAS, this matter was agendized for the City Council's review and
    consideration on October 5, 2004, and November 16, 2004, but on both occasions the
    matter was continued to a subsequent City Council meeting at Mr. Kay's request in order
    to allow his legal counsel to discuss additional proposed revisions to the conditions of
    approval for Conditional Use Permit No. 230 with the City Attorney; and,

           WHEREAS, the City Council, on December 21, 2004, adopted Resolution
     No. 2004-109, thereby revising eight (8) conditions of approval for Conditional Use Permit
     No. 230 pursuant to the July 14, 2004, order of the United States District Court; and,

           WHEREAS, Mr. Kay subsequently petitioned the United States District Court to
     vacate the conditions of approval imposed by Resolution No. 2004-109; and,

           WHEREAS, on April 4, 2005, the United States District Court issued an order in
     response to Mr. Kay's petition, finding that the provisions of Condition No. 19 of
     Conditional Use Permit No. 230 requiring "that Mr. Kay maintain the property as his



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     primary residence [were] not reasonable," but also finding that all other conditions of
     approval imposed by Resolution No. 2004-109 were reasonable; and,

               WHEREAS, after notice issued pursuant to the requirements of the Rancho Palos
     Verdes Development Code, on July 5, 2005, the City Council adopted Resolution
     No. 2005-75 revising the language for Condition No. 19 of Conditional Use Permit No.
     230 thereby requiring that Mr. Kay complete necessary improvements to make the house
     habitable, including but not limited to, a functional kitchen and bathroom, and connections
     to utilities, along with weekly landscape and maintenance services; and,

            WHEREAS, on November 28, 2014, the City issued Mr. Kay a Notice of Violation
     for the installation of unpermitted roof-mounted antennas resulting in a total of thirteen
     (13) roof-mounted antennae and support pole masts, well in excess of the five (5) City
     Council-approved, roof-mounted antennae and support pole masts. The City ordered the
     removal of all but the five (5) City Council-approved roof-mounted antennae and support
     pole masts from the roof, and requiring that the remaining five (5) City Council-approved,
     roof-mounted antennae and support pole masts comply with the City Council-adopted
     Conditions of Approval for Conditional Use Permit No. 230; and,

            WHEREAS, on July 26, 2016, the City set a thirty (30) day period for compliance
     with the November 28, 2014, Notice of Violation. At the request of Mr. Kay, the City, in
     good faith, granted a time extension to this compliance deadline to October 28, 2016;
     and,

            WHEREAS, on October 28, 2016, a Conditional Use Permit revision application
     (Planning Case No. ZON2016-00517) was submitted to the City requesting to legalize the
     unpermitted roof-mounted antennas; and,

            WHEREAS, on November 23, 2016, the application was deemed incomplete for
     processing, and because the application originated from code enforcement action, the
     Applicant was given thirty (30) days, or until December 21, 2016, to submit the requested
     additional information in order continue processing the application; and,

           WHEREAS, on March 21, 2017, the City received a letter from Mr. Kay's legal
     counsel, Mr. Nakasu, asserting that the application to revise Conditional Use Permit
     No. 230 with an after-the-fact amendment should be granted pursuant to RPVMC
     §17.76.020(A)(12)(b); and,

            WHEREAS, on April 14, 2017, the City Attorney responded by outlining the City's
     position that, pursuant to Resolutions 2002-27, 2004-109, and 2005-75, the five (5) City
     Council-approved, roof-mounted antennae and support pole masts "refer only to the
     antennae and antenna array depicted in the plans submitted to the City on June 21, 2001,
     in photographs accompanying the application to revise CUP No. 230, and Environmental
     Assessment No. 744." Further, the City Attorney stated that any suggestion that additional
     antennae, support pole masts, and other structures were mere modifications not requiring
     City Council approval directly contravened the binding resolutions; and,



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             WHEREAS, on June 28, 2017, City Staff, the City Prosecutor, Mr. Nakasu, and
     Mr. Kay met to discuss this matter, at which time, Mr. Nakasu indicated that the antennae
     and support structures were "outdated" and "obsolete" and that they could be replaced
     with an alternative structure that would both address the telecommunications capacity
     needs, as well as the City's safety and aesthetic concerns with the current structures.
     Four months elapsed from the June 28, 2017, meeting, during this time, Mr. Kay did not
     make any further attempts to cure the application deficiencies in order to proceed with
     processing a revision to CUP No. 230, or to rectify the technological obsolescence of the
     existing structures; and,

            WHEREAS, on October 19, 2017, Staff granted, in good faith, Mr. Kay additional
     time to submit the requested information in order for Mr. Kay to acquire a new permit
     expediter company; and,
                                                          •
            WHEREAS, on October 23, 2017, the City Prosecutor sent a letter to Mr. Kay and
     Mr. Nakasu, the purpose of which was to summarize events subsequent to the June 28,
     2017, meeting, to reiterate the deficiencies in the CUP No. 230 revision application, to
     discuss potential replacement of current, "obsolete," structures, and to discuss the
     potential for reinstating the Code Enforcement case, should the City's demands not be
     met; and,

             WHEREAS, on December 13, 2017, City Staff, City Prosecutor, Mr. Nakasu, and
    Mr. Kay met, and at this meeting, Mr. Kay proposed alternative designs to replace the
    existing antennae, such as a faux monopole tree or new roof antennae on the rear yard-
    facing roof pitch, that would address the City's concerns and meet the needs of the
    commercial antennas. As a result, it was agreed that Mr. Kay would submit, by mid-
    January 2018, a concept drawing regarding a proposed alternative design for the City's
    initial review, followed by an application for the CUP on or before February 28, 2018. To
    date, the City has not received any information from Mr. Kay or his legal counsel; and,

           WHEREAS, in accordance to RPVMC §17.60.080, if any of the conditions to the
    use or development are not maintained, then the Conditional Use Permit shall be null and
    void. Furthermore, the continued operation of a use requiring a Conditional Use Permit
    which is found to be noncompliant with any condition of a Conditional Use Permit shall
    constitute a violation of the Municipal Code; and,

           WHEREAS, after notice issued pursuant to the requirements of the Rancho Palos
    Verdes Municipal Code, the City Council held a duly-noticed public hearing on August 21,
    2018 to consider revoking Conditional Use Permit No. 230, at which time all interested
    parties were given an opportunity to be heard and present evidence.

        NOW, THEREFORE, THE CITY COUNCIL OF THE CITY OF RANCHO PALOS
    VERDES DOES HEREBY FIND, DETERMINE, AND RESOLVE AS FOLLOWS:




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           Section 1: Having heard .and considered the oral, written, and documentary
     evidence presented at the duly-noticed public hearing conducted by the City Council on
     August 21, 2018, the City Council makes the following findings:

           A.     The property located at 26708 Indian Peak Road, Rancho Palos Verdes,
                  California, (the "Subject Property") is the subject of Conditional Use Permit
                  No. 230 ("CUP No. 230"), as granted by the City Council in Resolution No.
                  2004-109, and as amended by Resolution No. 2005-75. The Applicant, Mr.
                  James A. Kay, Jr., did not successfully challenge, within the time provided
                  by law, Resolution No. 2005-75, and has from and after the adoption of
                  Resolution No. 2005-75 (the "CUP Date") accepted the benefits of CUP No.
                  230.

           B.     CUP No. 230 required removal of all but five (5) of the existing eight-and-
                  on-half-foot long masts and two of the television antennae from the roof,
                  authorized a maximum of five (5) vertical masts, each with a height of eight
                  and one-half (8 ½) feet, and not more than four (4) radiating per each mast.

           C.     Condition of Approval No. 2.d states in part, "Any additional exterior
                  antennae, masts or other antenna and support structure(s) shall require
                  further approval or modification of this conditional use permit."

           D.    Further, Condition of Approval No. 2 goes on to state that the Director is
                 authorized to make only minor modifications to the approved plans and
                 conditions of approval. "Otherwise, any substantive change, such as the
                 enlargement, expansion or addition to, the exterior masts and antennae that
                 this approval allows outside of the exiting residential structure shall require
                 approval of a revision to Conditional Use Permit No. 230 by the City Council
                 and shall require a new and separate environmental review."

           E.    The Subject Property has at various times from after the CUP Date had
                 installed antennae and/or vertical masts on the roof as testified to by staff
                 and depicted in photographic evidenced submitted into the Administrative
                 Record. Such evidence discloses installation of as many as twelve (12)
                 additional vertical masts (the "Additional Masts") over and above the five (5)
                 permitted by CUP No. 230.

           F.    Mr. Kay has failed to provide any evidence that any permits of any kind
                 (zoning, building, etc.) were obtained by him, directly or by an agent acting
                 on his behalf, authorizing the construction of the Additional Masts. Written
                 correspondence from his attorney admits such construction has occurred,
                 does not contest to permits were obtained in advance, and has confirmed
                 such by submitting an incomplete application for an "after-the-fact" permit
                 for the Additional Masts.




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          G.     City records fail to show any action by the City Council subsequent to
                 Resolution No. 2005-75 modifying, amending, or otherwise affecting CUP
                 No. 230 to allow installation of more than five (5) vertical masts on the
                 Subject Property. Further, although the City Council finds it would not
                 properly be the subject of a minor modification, staff has indicated that no
                 application for a minor modification was approved by the Director to that
                 effect.

          H.     The City staff has made various efforts to resolve these issues short of a
                 revocation beginning in 2014. Despite numerous meetings, exchanges of
                 correspondence, and opportunities to come into compliance with CUP No.
                 230 or, in the alternative, apply for a modification to CUP No. 230 to
                 retroactively permit the Additional Masts, Mr. Kay has not diligently pursued
                 any remedial opportunity and has continued to operate the unpermitted
                 facilities while essentially "stringing along" the City.

          I.     Based upon all the evidence presented, and after hearing the arguments
                 and testimony on behalf of Mr. Kay, the public, and City staff, the City
                 Council finds the evidence of construction of the unpermitted Additional
                 Masts to be essentially uncontested in that Mr. Kay has admitted they exist.
                 The City Council finds that no permits of any kind (zoning or building) were
                 obtained by Mr. Kay and therefore the construction of the Additional Masts
                 was in violation of the Rancho Palos Verdes Municipal Code and the
                 specific provisions of the Conditions of Approval relating to modification or
                 expansion of the use of the antennae structure by the increase in the
                 number of masts above the five (5) permitted by CUP No. 230.

          J.     The City Council further finds that the violation directly impacts surrounding
                 properties due to the increased visual impact of commercial antennae which
                 the limitation on the number of vertical masts was narrowly tailored to
                 address, and that the Subject Property owner has repeatedly and knowingly
                 violated the Conditions of Approval by the installation of the Additional
                 Masts without any permits or other legally-required approvals, and
                 subsequently has availed himself of numerous opportunities to come into
                 compliance with the terms of CUP No. 230 such that revocation is the
                 appropriate action and is necessary to protect the legitimate interests of the
                 community.

           Section 2: Based on the information included in the Staff Report, the testimony
    and evidence presented at the public hearings in the past before the Planning
    Commission and the City Council, the administrative records related to those prior
    proceedings, the Minutes and the other records of this proceeding on file with the City,
    the City Council of the City of Rancho Palos Verdes hereby revokes Conditional Use
    Permit No. 230, as amended, in its entirety.




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           PASSED, APPROVED, AND ADOPTED this 21 st day of August 2018.




                                                                   ~~
                                                                   Mayor • ....




     State of California              )
     County of Los Angeles            ) ss
     City of Rancho Palos Verdes      )

     I, Emily Colborn, City Clerk of the City of Rancho Palos Verdes, hereby certify that the
     above Resolution No. 2018-61 was duly and regularly pass       and adopted by the said
     City Council at a regular meeting thereof held on August 21, 2 8.




                                                                         Resolution No. 2018-61
                                                                                     Page 7 of 7

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                       ALESHIRE&                                                                June S. Allln
                                                                                      Jallln@awattomeys.com
                                                                                                                2361 Rosecrans Ave., Suhe 475
                                                                                                                El Segundo, CA 90245
                       WYNDERut>                                                              (310) 527-6665    P (310) 527-6660
                                                                                                                F (310) 532-7395


                         A• El.ES I      OE I ENTRAl.. VALLEY




                                                         November 19, 2021


       VIA ELECTRONlC MAIL ONLY

       Dawn Cushman
       Angela M. Rossi
       Bradley, Gmelicb & Wellerstein, LLP
       700 N. Brand Boulevard, 10th Floor
       Glendale, CA 91203

                  Re:           26708 Indian Peak Road/Removal of Antennas

       Dear Ms. Cushman and Ms. Rossi:

              By now, I am sure you have had an opportunity to review the court of appeal's opinions
       affirming the judgment in the writ of mandate case and all but affirming the judgment in the
       nuisance abatement case. While there remains some work for a court to do on the nuisance
       abatement case, the ultimate outcome is clear. The City has prevailed on the first and second
       causes of action, making whatever happens to the third cause of action irrelevant.

               In light of this outcome, the City hereby again demands, and expects, that all of the
       antennas at 26708 lndian Peak Road (except for the television satellite dish) and all related support
       structures, equipment and equipment housing will be removed expeditiously. If the 'removal have
       not been completed by December 22, 2021, we will proceed with obtaining a court order allowing
       the City to enter the property, remove t1te antennas and all related support structures, equipment
       and equipment housing, and recover the costs from Indian Peak Properties, LLC.

                                                                  Very truly yours,

                                                                  ALESHIRE & WYNDER, LLP

                                                                    ~a:t~
                                                                  June S. AiUn
                                                                  Partner

       cc:        Honorable Mayor & Councilmembers,
                   City of Rancho Palos Verdes
                  Ara Mihranian, AICP,
                   City Manager
                  William W. Wynder, Esq.




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                               EXHIBIT 6
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Invoice

Remit to:                                                      Invoice No:     BD0006399
California Internet dba                                      Customer PO:
GeoLinks
251 Camarillo Ranch Rd                                         Invoice Date:   08-02-2021
Camarillo, CA 93012                                       Invoice Due Date:    09-01-2021
                                                            Invoice Amount     $50.00
One Time Payment Link:          Clink to Pay Invoice

 Customer                                                      Shipping Address
 Indian Peak Properties, LLC                                   Indian Peak Properties, LLC
 26708 Indian Peak Rd                                          26708 Indian Peak Rd
 Rancho Palos Verdes CA 90275                                  Rancho Palos Verdes CA 90275




 RECURRING CHARGES
 Charge                                                             Qnty                    Unit Price     Total
 ClearFiber DIA 5/5Mbps                                               1                        $50.00    $50.00

                                                                           Total Recurring Charges       $50.00




                                                                                                         Page 1 of 2
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Terms and Conditions
When You subscribe to Services and provide us with a payment method, such as a valid credit card (including proper billing information), and, if applicable, authorize us to collect
from Your payment method. Any authorization will remain valid until thirty (30) days after You terminate our authority to charge Your payment method. Upon
termination, we will charge You any fees and any other outstanding charges and disconnect Your service. You agree to advise and notify us of any changes to Your payment
method, such as credit card account number or expiration date changes. If the credit card or other payment method on Your Account is declined or fails for any reason, California
Internet, L.P. DBA GeoLinks will use reasonable efforts to contact You and advise You of the failed billing attempts. Notwithstanding the foregoing, GeoLinks reserves the right to
disconnect Your Service and terminate Your Account if Your credit card on file is declined or fails for any reason, and GeoLinks reserves the right to continue to attempt charging
Your credit card for any outstanding Service charges and additional fees and pursue any other legal remedies available to DBA GeoLinks. Time is of the essence for payment.
Failure to pay in full by the due date will result in a $10 late fee. Acceptance of late or partial payments (even if marked 'Paid in Full') shall not waive any of GeoLinks' rights to
collect the full amount due. We may assess an additional fee of the lesser of (a) fifty dollars ($50) or (b) the highest amount allowed by law for any
credit card chargeback or check returned for nonpayment. Billing cycle end dates may change from time to time. When a billing cycle covers less than or more than a full month,
we may make reasonable adjustments and prorate the charges to Your Account. You must dispute any charges for the Services in writing to GeoLinks within thirty (30) days of the
date of the charge by GeoLinks. If You fail to provide a written statement explaining in reasonable detail Your reasons for disputing the charge within such time period, You hereby
irrevocably waive any objection and further recourse with regard to such charges. If you believe there is an error on your bill or have a question about your service, please call
GeoLinks customer support at (888) 225-1571. If you are not satisfied with GeoLinks' response, submit a complaint to the California Public Utilities Commission (CPUC) by visiting
http://www.cpuc.ca.gov/complaints/. Billing and service complaints are handled by the CPUC’s Consumer Affairs Branch (CAB), which can be reached by the following means if
you prefer not to submit your complaint online: Telephone 1-800-649-7570 (8:30 AM to 4:30 PM, Monday through Friday)
Mail California Public Utilities Commission, Consumer Affairs Branch, 505 Van Ness Avenue, Room 2003, San Francisco, CA 94102

If you have limitations hearing or speaking, dial 711 to reach the California Relay Service, which is for those needing direct assistance relaying telephone conversations, as well
their friends, family, and business contacts. If you prefer having your calls immediately answered in your mode of communication, dial one of the toll-free language-specific
numbers below to be routed to the California Relay Service provider.

Type of Call Language Toll-free 800 Number TTY/VCO/HCO to Voice
English 1-800-735-2929
Spanish 1-800-855-3000
Voice to TTY/VCO/HCO
English 1-800-735-2922
Spanish 1-800-855-3000
From or to Speech-to-Speech English and 1-800-854-7784 Spanish

To avoid having service turned off while you wait for the outcome of a complaint to the CPUC specifically regarding the accuracy of your bill, please contact CAB for assistance. If
your case meets the eligibility criteria, CAB will provide you with instructions on how to mail a check or money order to be impounded pending resolution of your case. You
must continue to pay your current charges while your complaint is under review to keep your service turned on.

Loss of Electric Power - Unless you have a backup system to power your wired broadband Internet connection andany equipment (PC with softphone, IP phone, ATA with
traditional phone) that you use to access your VoIP Service, you will not have phone service or 911 service during any power outage. An optional battery back-up feature is
available for your GeoLinks VoIP Service. With a fully-charged battery (or batteries), the battery back-up feature willpower the basic calling functions of GeoLinks VoIP service for
up to twenty-four (24) hours, depending on the type of battery backup device installed, in the event of a power outage. The battery back-up feature will not power phones
that are not plugged into the battery back-up unit, TV service, non-GeoLinks services, or alarm system equipment. A power failure or service disruption may require you to reset or
reconfigure equipment prior to using the Service. For price and availability information or to purchase a battery backup system, please contact GeoLinks customer service
at (888) 225-1571 or customerservice@geolinks.com. You should refer to the manufacturer’s specifications for any battery backup system for information regarding proper usage,
storage, testing and monitoring instructions, warranties, and possible limitations. California Consumer Disaster Protections - Pursuant to California Public Utilities Commission
(CPUC) Decisions 18-08-004 and 19-08-025, emergency disaster relief customer protections shall become effective when a disaster has caused a loss/disruption or degradation
to a utility’s service and the Governor of California or the President of the United States declares a State of Emergency. These protections must be made available to any impacted
customer for one year or until the utility has full restoration of its services. The following Emergency Customer Protections will be provided to impacted GeoLinks residential and
small business telephone customers:
1. Waiver of one-time activation fee for establishing remote call forwarding, remote access to call forwarding, call forwarding features and messaging services;
2. Waiver of the monthly rate for one month for remote call forwarding, remote access to call forwarding, call forwarding, call forwarding features, and messaging services;
3. Waiver of the service charge for installation of service at the temporary or new permanent location of the customer and again when the customer moves back to the premises;
4. Waiver of the fee for one jack and associated wiring at the temporary location regardless of whether the customer has an Inside Wire Plan;
5. Waiver of the fee for up to five free jacks and associated wiring for Inside Wiring Plan customers upon their return to their permanent location; and
6. Waiver of the fee for one jack and associated wiring for non-Inside Wiring Plan customers upon their return to their permanent location.
This information is also available at https://geolinks.com/california-consumer-disaster-protections/




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Invoice

Remit to:                                                      Invoice No:     BD0020985
California Internet dba                                      Customer PO:
GeoLinks
251 Camarillo Ranch Rd                                         Invoice Date:   09-01-2021
Camarillo, CA 93012                                       Invoice Due Date:    10-01-2021
                                                            Invoice Amount     $50.00
One Time Payment Link:          Click to Pay Invoice

 Customer                                                      Shipping Address
 Indian Peak Properties, LLC                                   Indian Peak Properties, LLC
 26708 Indian Peak Rd                                          26708 Indian Peak Rd
 Rancho Palos Verdes CA 90275                                  Rancho Palos Verdes CA 90275




 RECURRING CHARGES
 Charge                                                             Qnty                    Unit Price     Total
 ClearFiber DIA 5/5Mbps                                               1                        $50.00    $50.00

                                                                           Total Recurring Charges       $50.00




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Invoice



Terms and Conditions
When You subscribe to Services and provide us with a payment method, such as a valid credit card (including proper billing information), and, if applicable, authorize us to collect
from Your payment method. Any authorization will remain valid until thirty (30) days after You terminate our authority to charge Your payment method. Upon
termination, we will charge You any fees and any other outstanding charges and disconnect Your service. You agree to advise and notify us of any changes to Your payment
method, such as credit card account number or expiration date changes. If the credit card or other payment method on Your Account is declined or fails for any reason, California
Internet, L.P. DBA GeoLinks will use reasonable efforts to contact You and advise You of the failed billing attempts. Notwithstanding the foregoing, GeoLinks reserves the right to
disconnect Your Service and terminate Your Account if Your credit card on file is declined or fails for any reason, and GeoLinks reserves the right to continue to attempt charging
Your credit card for any outstanding Service charges and additional fees and pursue any other legal remedies available to DBA GeoLinks. Time is of the essence for payment.
Failure to pay in full by the due date will result in a $10 late fee. Acceptance of late or partial payments (even if marked 'Paid in Full') shall not waive any of GeoLinks' rights to
collect the full amount due. We may assess an additional fee of the lesser of (a) fifty dollars ($50) or (b) the highest amount allowed by law for any
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date of the charge by GeoLinks. If You fail to provide a written statement explaining in reasonable detail Your reasons for disputing the charge within such time period, You hereby
irrevocably waive any objection and further recourse with regard to such charges. If you believe there is an error on your bill or have a question about your service, please call
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Spanish 1-800-855-3000
Voice to TTY/VCO/HCO
English 1-800-735-2922
Spanish 1-800-855-3000
From or to Speech-to-Speech English and 1-800-854-7784 Spanish

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Loss of Electric Power - Unless you have a backup system to power your wired broadband Internet connection andany equipment (PC with softphone, IP phone, ATA with
traditional phone) that you use to access your VoIP Service, you will not have phone service or 911 service during any power outage. An optional battery back-up feature is
available for your GeoLinks VoIP Service. With a fully-charged battery (or batteries), the battery back-up feature willpower the basic calling functions of GeoLinks VoIP service for
up to twenty-four (24) hours, depending on the type of battery backup device installed, in the event of a power outage. The battery back-up feature will not power phones
that are not plugged into the battery back-up unit, TV service, non-GeoLinks services, or alarm system equipment. A power failure or service disruption may require you to reset or
reconfigure equipment prior to using the Service. For price and availability information or to purchase a battery backup system, please contact GeoLinks customer service
at (888) 225-1571 or customerservice@geolinks.com. You should refer to the manufacturer’s specifications for any battery backup system for information regarding proper usage,
storage, testing and monitoring instructions, warranties, and possible limitations. California Consumer Disaster Protections - Pursuant to California Public Utilities Commission
(CPUC) Decisions 18-08-004 and 19-08-025, emergency disaster relief customer protections shall become effective when a disaster has caused a loss/disruption or degradation
to a utility’s service and the Governor of California or the President of the United States declares a State of Emergency. These protections must be made available to any impacted
customer for one year or until the utility has full restoration of its services. The following Emergency Customer Protections will be provided to impacted GeoLinks residential and
small business telephone customers:
1. Waiver of one-time activation fee for establishing remote call forwarding, remote access to call forwarding, call forwarding features and messaging services;
2. Waiver of the monthly rate for one month for remote call forwarding, remote access to call forwarding, call forwarding, call forwarding features, and messaging services;
3. Waiver of the service charge for installation of service at the temporary or new permanent location of the customer and again when the customer moves back to the premises;
4. Waiver of the fee for one jack and associated wiring at the temporary location regardless of whether the customer has an Inside Wire Plan;
5. Waiver of the fee for up to five free jacks and associated wiring for Inside Wiring Plan customers upon their return to their permanent location; and
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This information is also available at https://geolinks.com/california-consumer-disaster-protections/




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Invoice

Remit to:                                                      Invoice No:     BD0030961
California Internet dba                                      Customer PO:
GeoLinks
251 Camarillo Ranch Rd                                         Invoice Date:   11-01-2021
Camarillo, CA 93012                                       Invoice Due Date:    11-01-2021
                                                            Invoice Amount     $50.00
One Time Payment Link:          Click to Pay Invoice

 Customer                                                      Shipping Address
 Indian Peak Properties, LLC                                   Indian Peak Properties, LLC
 26708 Indian Peak Rd                                          26708 Indian Peak Rd
 Rancho Palos Verdes CA 90275                                  Rancho Palos Verdes CA 90275




 RECURRING CHARGES
 Charge                                                             Qnty                    Unit Price     Total
 ClearFiber DIA 5/5Mbps                                               1                        $50.00    $50.00

                                                                           Total Recurring Charges       $50.00




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from Your payment method. Any authorization will remain valid until thirty (30) days after You terminate our authority to charge Your payment method. Upon
termination, we will charge You any fees and any other outstanding charges and disconnect Your service. You agree to advise and notify us of any changes to Your payment
method, such as credit card account number or expiration date changes. If the credit card or other payment method on Your Account is declined or fails for any reason, California
Internet, L.P. DBA GeoLinks will use reasonable efforts to contact You and advise You of the failed billing attempts. Notwithstanding the foregoing, GeoLinks reserves the right to
disconnect Your Service and terminate Your Account if Your credit card on file is declined or fails for any reason, and GeoLinks reserves the right to continue to attempt charging
Your credit card for any outstanding Service charges and additional fees and pursue any other legal remedies available to DBA GeoLinks. Time is of the essence for payment.
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GeoLinks customer support at (888) 225-1571. If you are not satisfied with GeoLinks' response, submit a complaint to the California Public Utilities Commission (CPUC) by visiting
http://www.cpuc.ca.gov/complaints/. Billing and service complaints are handled by the CPUC’s Consumer Affairs Branch (CAB), which can be reached by the following means if
you prefer not to submit your complaint online: Telephone 1-800-649-7570 (8:30 AM to 4:30 PM, Monday through Friday)
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English 1-800-735-2929
Spanish 1-800-855-3000
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English 1-800-735-2922
Spanish 1-800-855-3000
From or to Speech-to-Speech English and 1-800-854-7784 Spanish

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Invoice

Remit to:                                                      Invoice No:     BD0045972
California Internet, L.P. dba                                Customer PO:
GeoLinks
251 Camarillo Ranch Rd                                         Invoice Date:   12-01-2021
Camarillo, CA 93012                                       Invoice Due Date:    01-01-2022
                                                            Invoice Amount     $50.00
One Time Payment Link:          Click to Pay Invoice

 Customer                                                      Shipping Address
 Indian Peak Properties, LLC                                   Indian Peak Properties, LLC
 26708 Indian Peak Rd                                          26708 Indian Peak Rd
 Rancho Palos Verdes CA 90275                                  Rancho Palos Verdes CA 90275




 RECURRING CHARGES
 Charge                                                             Qnty                    Unit Price     Total
 ClearFiber DIA 5/5Mbps                                               1                        $50.00    $50.00

                                                                           Total Recurring Charges       $50.00




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Spanish 1-800-855-3000
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English 1-800-735-2922
Spanish 1-800-855-3000
From or to Speech-to-Speech English and 1-800-854-7784 Spanish

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Invoice

Remit to:                                                      Invoice No:     BD0050996
California Internet, L.P. dba                                Customer PO:
GeoLinks
251 Camarillo Ranch Rd                                         Invoice Date:   01-01-2022
Camarillo, CA 93012                                       Invoice Due Date:    02-01-2022
                                                            Invoice Amount     $50.00
One Time Payment Link:          Click to Pay Invoice

 Customer                                                      Shipping Address
 Indian Peak Properties, LLC                                   Indian Peak Properties, LLC
 26708 Indian Peak Rd                                          26708 Indian Peak Rd
 Rancho Palos Verdes CA 90275                                  Rancho Palos Verdes CA 90275




 RECURRING CHARGES
 Charge                                                             Qnty                    Unit Price     Total
 ClearFiber DIA 5/5Mbps                                               1                        $50.00    $50.00

                                                                           Total Recurring Charges       $50.00




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Invoice



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English 1-800-735-2929
Spanish 1-800-855-3000
Voice to TTY/VCO/HCO
English 1-800-735-2922
Spanish 1-800-855-3000
From or to Speech-to-Speech English and 1-800-854-7784 Spanish

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Invoice

Remit to:                                                      Invoice No:     BD0006399
California Internet dba                                      Customer PO:
GeoLinks
251 Camarillo Ranch Rd                                         Invoice Date:   08-02-2021
Camarillo, CA 93012                                       Invoice Due Date:    09-01-2021
                                                            Invoice Amount     $50.00
One Time Payment Link:          Clink to Pay Invoice

 Customer                                                      Shipping Address
 Indian Peak Properties, LLC                                   Indian Peak Properties, LLC
 26708 Indian Peak Rd                                          26708 Indian Peak Rd
 Rancho Palos Verdes CA 90275                                  Rancho Palos Verdes CA 90275




 RECURRING CHARGES
 Charge                                                             Qnty                    Unit Price     Total
 ClearFiber DIA 5/5Mbps                                               1                        $50.00    $50.00

                                                                           Total Recurring Charges       $50.00




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Invoice



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1. Waiver of one-time activation fee for establishing remote call forwarding, remote access to call forwarding, call forwarding features and messaging services;
2. Waiver of the monthly rate for one month for remote call forwarding, remote access to call forwarding, call forwarding, call forwarding features, and messaging services;
3. Waiver of the service charge for installation of service at the temporary or new permanent location of the customer and again when the customer moves back to the premises;
4. Waiver of the fee for one jack and associated wiring at the temporary location regardless of whether the customer has an Inside Wire Plan;
5. Waiver of the fee for up to five free jacks and associated wiring for Inside Wiring Plan customers upon their return to their permanent location; and
6. Waiver of the fee for one jack and associated wiring for non-Inside Wiring Plan customers upon their return to their permanent location.
This information is also available at https://geolinks.com/california-consumer-disaster-protections/




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Invoice

Remit to:                                                      Invoice No:     BD0020985
California Internet dba                                      Customer PO:
GeoLinks
251 Camarillo Ranch Rd                                         Invoice Date:   09-01-2021
Camarillo, CA 93012                                       Invoice Due Date:    10-01-2021
                                                            Invoice Amount     $50.00
One Time Payment Link:          Click to Pay Invoice

 Customer                                                      Shipping Address
 Indian Peak Properties, LLC                                   Indian Peak Properties, LLC
 26708 Indian Peak Rd                                          26708 Indian Peak Rd
 Rancho Palos Verdes CA 90275                                  Rancho Palos Verdes CA 90275




 RECURRING CHARGES
 Charge                                                             Qnty                    Unit Price     Total
 ClearFiber DIA 5/5Mbps                                               1                        $50.00    $50.00

                                                                           Total Recurring Charges       $50.00




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Terms and Conditions
When You subscribe to Services and provide us with a payment method, such as a valid credit card (including proper billing information), and, if applicable, authorize us to collect
from Your payment method. Any authorization will remain valid until thirty (30) days after You terminate our authority to charge Your payment method. Upon
termination, we will charge You any fees and any other outstanding charges and disconnect Your service. You agree to advise and notify us of any changes to Your payment
method, such as credit card account number or expiration date changes. If the credit card or other payment method on Your Account is declined or fails for any reason, California
Internet, L.P. DBA GeoLinks will use reasonable efforts to contact You and advise You of the failed billing attempts. Notwithstanding the foregoing, GeoLinks reserves the right to
disconnect Your Service and terminate Your Account if Your credit card on file is declined or fails for any reason, and GeoLinks reserves the right to continue to attempt charging
Your credit card for any outstanding Service charges and additional fees and pursue any other legal remedies available to DBA GeoLinks. Time is of the essence for payment.
Failure to pay in full by the due date will result in a $10 late fee. Acceptance of late or partial payments (even if marked 'Paid in Full') shall not waive any of GeoLinks' rights to
collect the full amount due. We may assess an additional fee of the lesser of (a) fifty dollars ($50) or (b) the highest amount allowed by law for any
credit card chargeback or check returned for nonpayment. Billing cycle end dates may change from time to time. When a billing cycle covers less than or more than a full month,
we may make reasonable adjustments and prorate the charges to Your Account. You must dispute any charges for the Services in writing to GeoLinks within thirty (30) days of the
date of the charge by GeoLinks. If You fail to provide a written statement explaining in reasonable detail Your reasons for disputing the charge within such time period, You hereby
irrevocably waive any objection and further recourse with regard to such charges. If you believe there is an error on your bill or have a question about your service, please call
GeoLinks customer support at (888) 225-1571. If you are not satisfied with GeoLinks' response, submit a complaint to the California Public Utilities Commission (CPUC) by visiting
http://www.cpuc.ca.gov/complaints/. Billing and service complaints are handled by the CPUC’s Consumer Affairs Branch (CAB), which can be reached by the following means if
you prefer not to submit your complaint online: Telephone 1-800-649-7570 (8:30 AM to 4:30 PM, Monday through Friday)
Mail California Public Utilities Commission, Consumer Affairs Branch, 505 Van Ness Avenue, Room 2003, San Francisco, CA 94102

If you have limitations hearing or speaking, dial 711 to reach the California Relay Service, which is for those needing direct assistance relaying telephone conversations, as well
their friends, family, and business contacts. If you prefer having your calls immediately answered in your mode of communication, dial one of the toll-free language-specific
numbers below to be routed to the California Relay Service provider.

Type of Call Language Toll-free 800 Number TTY/VCO/HCO to Voice
English 1-800-735-2929
Spanish 1-800-855-3000
Voice to TTY/VCO/HCO
English 1-800-735-2922
Spanish 1-800-855-3000
From or to Speech-to-Speech English and 1-800-854-7784 Spanish

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your case meets the eligibility criteria, CAB will provide you with instructions on how to mail a check or money order to be impounded pending resolution of your case. You
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Loss of Electric Power - Unless you have a backup system to power your wired broadband Internet connection andany equipment (PC with softphone, IP phone, ATA with
traditional phone) that you use to access your VoIP Service, you will not have phone service or 911 service during any power outage. An optional battery back-up feature is
available for your GeoLinks VoIP Service. With a fully-charged battery (or batteries), the battery back-up feature willpower the basic calling functions of GeoLinks VoIP service for
up to twenty-four (24) hours, depending on the type of battery backup device installed, in the event of a power outage. The battery back-up feature will not power phones
that are not plugged into the battery back-up unit, TV service, non-GeoLinks services, or alarm system equipment. A power failure or service disruption may require you to reset or
reconfigure equipment prior to using the Service. For price and availability information or to purchase a battery backup system, please contact GeoLinks customer service
at (888) 225-1571 or customerservice@geolinks.com. You should refer to the manufacturer’s specifications for any battery backup system for information regarding proper usage,
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4. Waiver of the fee for one jack and associated wiring at the temporary location regardless of whether the customer has an Inside Wire Plan;
5. Waiver of the fee for up to five free jacks and associated wiring for Inside Wiring Plan customers upon their return to their permanent location; and
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Invoice

Remit to:                                                      Invoice No:     BD0030961
California Internet dba                                      Customer PO:
GeoLinks
251 Camarillo Ranch Rd                                         Invoice Date:   11-01-2021
Camarillo, CA 93012                                       Invoice Due Date:    11-01-2021
                                                            Invoice Amount     $50.00
One Time Payment Link:          Click to Pay Invoice

 Customer                                                      Shipping Address
 Indian Peak Properties, LLC                                   Indian Peak Properties, LLC
 26708 Indian Peak Rd                                          26708 Indian Peak Rd
 Rancho Palos Verdes CA 90275                                  Rancho Palos Verdes CA 90275




 RECURRING CHARGES
 Charge                                                             Qnty                    Unit Price     Total
 ClearFiber DIA 5/5Mbps                                               1                        $50.00    $50.00

                                                                           Total Recurring Charges       $50.00




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termination, we will charge You any fees and any other outstanding charges and disconnect Your service. You agree to advise and notify us of any changes to Your payment
method, such as credit card account number or expiration date changes. If the credit card or other payment method on Your Account is declined or fails for any reason, California
Internet, L.P. DBA GeoLinks will use reasonable efforts to contact You and advise You of the failed billing attempts. Notwithstanding the foregoing, GeoLinks reserves the right to
disconnect Your Service and terminate Your Account if Your credit card on file is declined or fails for any reason, and GeoLinks reserves the right to continue to attempt charging
Your credit card for any outstanding Service charges and additional fees and pursue any other legal remedies available to DBA GeoLinks. Time is of the essence for payment.
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Spanish 1-800-855-3000
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English 1-800-735-2922
Spanish 1-800-855-3000
From or to Speech-to-Speech English and 1-800-854-7784 Spanish

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4. Waiver of the fee for one jack and associated wiring at the temporary location regardless of whether the customer has an Inside Wire Plan;
5. Waiver of the fee for up to five free jacks and associated wiring for Inside Wiring Plan customers upon their return to their permanent location; and
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Invoice

Remit to:                                                      Invoice No:     BD0045972
California Internet, L.P. dba                                Customer PO:
GeoLinks
251 Camarillo Ranch Rd                                         Invoice Date:   12-01-2021
Camarillo, CA 93012                                       Invoice Due Date:    01-01-2022
                                                            Invoice Amount     $50.00
One Time Payment Link:          Click to Pay Invoice

 Customer                                                      Shipping Address
 Indian Peak Properties, LLC                                   Indian Peak Properties, LLC
 26708 Indian Peak Rd                                          26708 Indian Peak Rd
 Rancho Palos Verdes CA 90275                                  Rancho Palos Verdes CA 90275




 RECURRING CHARGES
 Charge                                                             Qnty                    Unit Price     Total
 ClearFiber DIA 5/5Mbps                                               1                        $50.00    $50.00

                                                                           Total Recurring Charges       $50.00




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Terms and Conditions
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Your credit card for any outstanding Service charges and additional fees and pursue any other legal remedies available to DBA GeoLinks. Time is of the essence for payment.
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you prefer not to submit your complaint online: Telephone 1-800-649-7570 (8:30 AM to 4:30 PM, Monday through Friday)
Mail California Public Utilities Commission, Consumer Affairs Branch, 505 Van Ness Avenue, Room 2003, San Francisco, CA 94102

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Type of Call Language Toll-free 800 Number TTY/VCO/HCO to Voice
English 1-800-735-2929
Spanish 1-800-855-3000
Voice to TTY/VCO/HCO
English 1-800-735-2922
Spanish 1-800-855-3000
From or to Speech-to-Speech English and 1-800-854-7784 Spanish

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available for your GeoLinks VoIP Service. With a fully-charged battery (or batteries), the battery back-up feature willpower the basic calling functions of GeoLinks VoIP service for
up to twenty-four (24) hours, depending on the type of battery backup device installed, in the event of a power outage. The battery back-up feature will not power phones
that are not plugged into the battery back-up unit, TV service, non-GeoLinks services, or alarm system equipment. A power failure or service disruption may require you to reset or
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4. Waiver of the fee for one jack and associated wiring at the temporary location regardless of whether the customer has an Inside Wire Plan;
5. Waiver of the fee for up to five free jacks and associated wiring for Inside Wiring Plan customers upon their return to their permanent location; and
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Invoice

Remit to:                                                      Invoice No:     BD0050996
California Internet, L.P. dba                                Customer PO:
GeoLinks
251 Camarillo Ranch Rd                                         Invoice Date:   01-01-2022
Camarillo, CA 93012                                       Invoice Due Date:    02-01-2022
                                                            Invoice Amount     $50.00
One Time Payment Link:          Click to Pay Invoice

 Customer                                                      Shipping Address
 Indian Peak Properties, LLC                                   Indian Peak Properties, LLC
 26708 Indian Peak Rd                                          26708 Indian Peak Rd
 Rancho Palos Verdes CA 90275                                  Rancho Palos Verdes CA 90275




 RECURRING CHARGES
 Charge                                                             Qnty                    Unit Price     Total
 ClearFiber DIA 5/5Mbps                                               1                        $50.00    $50.00

                                                                           Total Recurring Charges       $50.00




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Invoice



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Spanish 1-800-855-3000
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English 1-800-735-2922
Spanish 1-800-855-3000
From or to Speech-to-Speech English and 1-800-854-7784 Spanish

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Invoice

Remit to:                                                      Invoice No:     BD0057881
California Internet, L.P. dba                                Customer PO:
GeoLinks
251 Camarillo Ranch Rd                                         Invoice Date:   02-01-2022
Camarillo, CA 93012                                       Invoice Due Date:    03-01-2022
                                                            Invoice Amount     $50.00
One Time Payment Link:          Click to Pay Invoice

 Customer                                                      Shipping Address
 Indian Peak Properties, LLC                                   Indian Peak Properties, LLC
 26708 Indian Peak Rd                                          26708 Indian Peak Rd
 Rancho Palos Verdes CA 90275                                  Rancho Palos Verdes CA 90275




 RECURRING CHARGES
 Charge                                                             Qnty                    Unit Price     Total
 ClearFiber DIA 5/5Mbps                                               1                        $50.00    $50.00

                                                                           Total Recurring Charges       $50.00




                                                                                                         Page 1 of 2
     USCA Case #23-1223                                Document #2013313                                  Filed: 08/18/2023                  GEDLINKS
                                                                                                                                             Page 211 of 336
Invoice



Terms and Conditions
When You subscribe to Services and provide us with a payment method, such as a valid credit card (including proper billing information), and, if applicable, authorize us to collect
from Your payment method. Any authorization will remain valid until thirty (30) days after You terminate our authority to charge Your payment method. Upon
termination, we will charge You any fees and any other outstanding charges and disconnect Your service. You agree to advise and notify us of any changes to Your payment
method, such as credit card account number or expiration date changes. If the credit card or other payment method on Your Account is declined or fails for any reason, California
Internet, L.P. DBA GeoLinks will use reasonable efforts to contact You and advise You of the failed billing attempts. Notwithstanding the foregoing, GeoLinks reserves the right to
disconnect Your Service and terminate Your Account if Your credit card on file is declined or fails for any reason, and GeoLinks reserves the right to continue to attempt charging
Your credit card for any outstanding Service charges and additional fees and pursue any other legal remedies available to DBA GeoLinks. Time is of the essence for payment.
Failure to pay in full by the due date will result in a $10 late fee. Acceptance of late or partial payments (even if marked 'Paid in Full') shall not waive any of GeoLinks' rights to
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Mail California Public Utilities Commission, Consumer Affairs Branch, 505 Van Ness Avenue, Room 2003, San Francisco, CA 94102

If you have limitations hearing or speaking, dial 711 to reach the California Relay Service, which is for those needing direct assistance relaying telephone conversations, as well
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numbers below to be routed to the California Relay Service provider.

Type of Call Language Toll-free 800 Number TTY/VCO/HCO to Voice
English 1-800-735-2929
Spanish 1-800-855-3000
Voice to TTY/VCO/HCO
English 1-800-735-2922
Spanish 1-800-855-3000
From or to Speech-to-Speech English and 1-800-854-7784 Spanish

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                                                                                            Page 212 of 336
Invoice

Remit to:                                                      Invoice No:     BD0062777
California Internet, L.P. dba                                Customer PO:
GeoLinks
251 Camarillo Ranch Rd                                         Invoice Date:   03-01-2022
Camarillo, CA 93012                                       Invoice Due Date:    04-01-2022
                                                            Invoice Amount     $50.00
One Time Payment Link:          Click to Pay Invoice

 Customer                                                      Shipping Address
 Indian Peak Properties, LLC                                   Indian Peak Properties, LLC
 26708 Indian Peak Rd                                          26708 Indian Peak Rd
 Rancho Palos Verdes CA 90275                                  Rancho Palos Verdes CA 90275




 RECURRING CHARGES
 Charge                                                             Qnty                    Unit Price     Total
 ClearFiber DIA 5/5Mbps                                               1                        $50.00    $50.00

                                                                           Total Recurring Charges       $50.00




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     USCA Case #23-1223                                Document #2013313                                  Filed: 08/18/2023                  GEDLINKS
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Invoice



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                                                                                            Page 214 of 336
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     USCA Case #23-1223                                Document #2013313                                  Filed: 08/18/2023                  GEDLINKS
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Page:    1
Date:    02/09/22USCA
                  at 9:01 AM
                           Case #23-1223     Document #2013313                       Filed: 08/18/2023     Page 216 of 336
                                                      Indian Peak Properties, LLC
                                                       Complete Check Register
                                                Current and History Files, After 01/01/20
                                                All Accounts, Sessions 000000 to 001635
                                                              Vendor = CAL2


Vendor       Vendor Name              Check #       Ck Date    Prity   Invoices         Reference                       Amount

Checking Account:    10200-000                       Session: 001284
CAL2         Cal Internet LP DBA Ge   1211          05/26/20 2         2020001          JUNE                                 50.00
                                      1213          05/26/20 2         05/26/20         05/18                                22.54
                                      1235          08/10/20 2         1258633          SEPTEMBER                            50.00
                                      1243          09/15/20 2         2020094          OCTOBER                              50.00
                                      1251          10/09/20 2         2020095          NOVEMBER                             50.00
                                      1260          11/13/20 2         2020096          DECEMBER                             50.00
                                      1273          01/12/21 2         2021001          FEBRUARY                             50.00
                                      1280          02/16/21 2         2021002          MARCH                                50.00
                                      1287          03/15/21 2         2021003          APRIL                                50.00
                                      1297          04/09/21 2         2021004          MAY                                  50.00
                                      1305          05/11/21 2         2021005          JUNE                                 50.00
                                      1312          06/11/21 2         2021006          JULY                                 50.00
                                      1318          07/09/21 2         2021007          AUGUST                               50.00
                                      1325          08/13/21 2         2021008          SEPTEMBER                            50.00
                                      1333          09/10/21 2         2021009          OCTOBER                              50.00
                                      1342          10/08/21 2         2021010          NOVEMBER                             50.00
                                      1356          11/15/21 2         2021011          DECEMBER                             50.00
                                      1363          12/13/21 2         2022001          JANUARY                              50.00
                                      1370          01/17/22 2         2022002          FEBRUARY                             50.00

                                                                                        CAL2 Subtotal :                  922.54


                                                                                  Check Register Total :                 922.54
Page:    1
Date:    04/25/22USCA
                  at 10:11 Case
                           AM   #23-1223     Document #2013313                       Filed: 08/18/2023     Page 217 of 336
                                                      Indian Peak Properties, LLC
                                                  Computer & Manual Check Register
                                                Current and History Files, After 12/01/21
                                                All Accounts, Sessions 000000 to 001666
                                                              Vendor = CAL2


Vendor       Vendor Name              Check #       Ck Date    Prity   Invoices         Reference                       Amount

Checking Account:    10200-000                       Session: 001615
CAL2         Cal Internet LP DBA Ge   1363          12/13/21 2         2022001          JANUARY                              50.00
                                      1370          01/17/22 2         2022002          FEBRUARY                             50.00
                                      1376          02/11/22 2         2022003          MARCH                                50.00
                                      1376          02/11/22 2         AUG2020          02/10                                33.91
                                      1384          03/11/22 2         2022004          APRIL                                50.00
                                      1390          04/11/22 2         2022005          MAY                                  50.00

                                                                                        CAL2 Subtotal :                  283.91


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                     INDIAN PEAK PROPEf1TIES. LLC

          USCA Case #23-1223                           Document #2013313             Filed: 08/18/2023                                               Page 218 of 336
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                     INDIAN PEAK PROPERTIES, LLC

              USCA Case #23-1223                  Document #2013313                   Filed: 08/18/2023                                Page 219 of 336
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          USCA Case #23-1223                            Document #2013313        Filed: 08/18/2023                                          Page 220 of 336
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                                  (818) 997-7700
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                    INDIAN PEAK PROPERTIES, LLC                                                                                                                 1384
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                               INDIA N PEAK PROPERTIES. LLC
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                  USCA Case #23-1223                        Document #2013313                          Filed: 08/18/2023                                     Page 221 of 336
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                    INDIAN PEAK PROPERTIES, LLC                                                ( ) BANC OF CALIFORNIA
                                      P.O. BOX 7835                                                        •~1-r,ot.,1,,1~1 ,.,.,.11....,,1 . • ,,..,,
                                                                                                                                                                             NUMBER
                                   VAN NUYS. CA. 91409
                                      (818) 997-7700
                                                                                                             90-4377/ 1222




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                  Cal   Internet LP DBA Geolinks




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                         INDIAN PEAK PROPERTIES, LLC

                   USCA Case #23-1223                   Document #2013313                          Filed: 08/18/2023                               Page 222 of 336
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                     INDIAN PEAK PROPERTIES, LLC
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                                P.O. BOX 7835                                                        "· •.• ••..,. ,•1;   , ..........
                                                                                                                                                                  NUMBER
                             VAN N UYS, CA. 91 409
                                (8181 997- 7700
                                                                                                      90•4377/1222




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                         INDIAN PEAK PROPERTIE S. LLC                                                                                                                   1 37 Q

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USCA Case #23-1223   Document #2013313     Filed: 08/18/2023   Page 223 of 336



                               EXHIBIT 7
          MUST BE DISPLAYED IN PLACE OF BUSINESS – NON TRANSFERABLE
      USCA Case #23-1223               Document #2013313                    Filed: 08/18/2023      PageVerdes
                                                                                    City of Rancho Palos 224 of 336
               I,~                                                                   30940 Hawthorne Blvd.
                                                                                     Rancho Palos Verdes, CA 90275
      CITVOF.            RANCHOPALDSVERDES                                           310-544-5301

                        BUSINESS TAX REGISTRATION CERTIFICATE
CALIFORNIA INTERNET, L.P. dba GEOLINKS                                            Number:                   BLOC-0365
251 CAMARILLO RANCH RD                                                            Issue Date:               1/1/2020
CAMARILLO, CA 93012                                                               Expiration Date:         12/31/2020
                                                                                  ISSUING OFFICER:
   Business Name: CALIFORNIA INTERNET, L.P. dba GEOLINKS
 Business Address: OUT OF CITY BUSINESS

          This certificate is evidence that the person or firm named has paid a tax to conduct and operate a business
          as indicated hereon pursuant to the provisions of Chapter 5.04 of the Rancho Palos Verdes Municipal Code.




     CALIFORNIA INTERNET, L.P. dba GEOLINKS
     251 CAMARILLO RANCH RD
     CAMARILLO, CA 93012
          MUST BE DISPLAYED IN PLACE OF BUSINESS – NON TRANSFERABLE
      USCA Case #23-1223               Document #2013313                    Filed: 08/18/2023      PageVerdes
                                                                                    City of Rancho Palos 225 of 336
               I,~                                                                   30940 Hawthorne Blvd.
                                                                                     Rancho Palos Verdes, CA 90275
      CITVOF.            RANCHOPALDSVERDES                                           310-544-5301

                        BUSINESS TAX REGISTRATION CERTIFICATE
CALIFORNIA INTERNET, L.P. dba GEOLINKS                                            Number:                   BLOC-0365
251 CAMARILLO RANCH RD                                                            Issue Date:               1/1/2021
CAMARILLO, CA 93012                                                               Expiration Date:         12/31/2021
                                                                                  ISSUING OFFICER:
   Business Name: CALIFORNIA INTERNET, L.P. dba GEOLINKS
 Business Address: OUT OF CITY BUSINESS

          This certificate is evidence that the person or firm named has paid a tax to conduct and operate a business
          as indicated hereon pursuant to the provisions of Chapter 5.04 of the Rancho Palos Verdes Municipal Code.




     CALIFORNIA INTERNET, L.P. dba GEOLINKS
     251 CAMARILLO RANCH RD
     CAMARILLO, CA 93012
          MUST BE DISPLAYED IN PLACE OF BUSINESS – NON TRANSFERABLE
      USCA Case #23-1223               Document #2013313                    Filed: 08/18/2023      PageVerdes
                                                                                    City of Rancho Palos 226 of 336
               I,~                                                                   30940 Hawthorne Blvd.
                                                                                     Rancho Palos Verdes, CA 90275
      CITVOF.            RANCHOPALDSVERDES                                           310-544-5301

                        BUSINESS TAX REGISTRATION CERTIFICATE
CALIFORNIA INTERNET, L.P. dba GEOLINKS                                            Number:                   BLOC-0365
251 CAMARILLO RANCH RD                                                            Issue Date:               4/25/2022
CAMARILLO, CA 93012                                                               Expiration Date:         12/31/2022
                                                                                  ISSUING OFFICER:
   Business Name: CALIFORNIA INTERNET, L.P. dba GEOLINKS
 Business Address: OUT OF CITY BUSINESS

          This certificate is evidence that the person or firm named has paid a tax to conduct and operate a business
          as indicated hereon pursuant to the provisions of Chapter 5.04 of the Rancho Palos Verdes Municipal Code.




     CALIFORNIA INTERNET, L.P. dba GEOLINKS
     251 CAMARILLO RANCH RD
     CAMARILLO, CA 93012
USCA Case #23-1223                               Document #2013313                                   Filed: 08/18/2023                     Page 227 of 336
                                                       RANCHO PALOS VERDES
                                                                Business License Application
                                                                For Home Occupancy Businesses
                                                                                Expires December 31 . 2022


  I            COMPLETE ALL APPLICABLE INFORMATION ON THE FRONT ANO BACK OF THIS FORM.

                                  0Renewal
           (Check One):
                                  ~ New License & Date (Business Began Operating In the                               04/18/2022

   Business Name _c_tt.;...yl:_IN_D_IA_N_P_E_A_K_P_R_O_P_E_R_T_IE_S_,_L_L_C
                                                                          _ _ _ _ _ _ _ _ _ _ __
   Home Address _ _2_6_7_08_IN_D_IA_N_P_E_A_K_R_D
                                                _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                  RANCHO PALOS VERDES, CA 90275
                                                                                               Zip

   Mailing Address
   (If Different From Above)


                                  City                                                         Zip


  Business Phone                  818-997 -7700                                 Email         Maxi.Silver@buddycorp.com

  Business Classification (Check One):                    Osole Proprietor              Ocorporation              OPartnership

                                                                                                                Other (Specify)_ _ _ _ __
                                           XX-XXXXXXX
  Tax ID (FEIN, SSN)
  Business Owner Name                      KAY, JAMES
                                                                Last                                              First


  Description of Business                                RENTAL
      (Indicate if visitors will be
      coming to the residence)




           Regulated                Please check one of the boxes below if your business is or you are an independent
           Businesses               contractor for any of the following types of businesses:

                             Medical Marijuana   Dispensary□           Escort   service□         Peddling     Service□           Massage Service   D
      I CERTIFY UNDER PERJURY THAT ALL INFORMATION PROVIDED ON THIS APPLICATION IS CORRECT AND THAT
                    THE AFOREMENTIONED BUSINESS IS OBEYING ALL FEDERAL, STATE AND LOCAL LAWS.
                        /'

                                                  James Kay, .Jr                        PRESIDENT OF MANAGF.R
             Sign?""iy'                            Print Name                                         Title                                  Date
   Please Note:    Business license applications are due prior to commencing operations and expire each
   December 31st. Section 5.04.490 of the Rancho Palos Verdes Municipal Code imposes fines and criminal
   remedies for violation of the Business Tax Ordinance. Penalties will be assessed @ 5% for each month
   delin uent u to 50% of the total license fee. No extensions or waivers of the enal amount will be ranted.




                                                                          $4.00
       -    - Tax                          Penalty                       State Fee      - -      Total Amount Due -       Initials      Check#
      Planning, Building & Safety, & Code Enforcement Use Only
                          Zone                                                                                        Approved _      _ _ __        _
                          Type
                                 - - - - - - - Moratofium   --- - - ----                                                      Date
                   Comments
                                 - - - -- - -     PI an ner
                                                                         - ------ -
                                 - - - - - - - - - - -- --
                                          30940 Hawthorne Boulevard, Rancho Palos Verdes, CA 90275
                                            Business License Office (310) 544-5301 www.rpvca.gov
USCA Case #23-1223                               ANCHO
                                           Document    R
                                                    #2013313                          PALOS     VERDESPage 228 of 336
                                                                                        Filed: 08/18/2023
                                                               Business License Application                                                        0 0
                                                              For Businesses Located                            e the City
                                                                              Expires December 31, 2022

       COMPLETE ALL APPLICABLE INFORMATION. TAX SCHEDULE IS ON THE BACK OF THIS FORM.


       (Check One):
                                 D Renewal
                                 D New License & Date (Business Began Operating In the City):                          2   2 2


 Business Name
                                  2 1
 Business Address
                                                                                                12
                             City                                                         Zip


 Mailing Address
 (If Different From Above)


                             City                                                         Zip


 Business Phone              (      ) 22 1        1          1 2              Email


 Business Classification (Check One):
                                                             □ Sole Proprietor □ Corporation                   □ Partnership
                                                                    Other (Specify)

 Tax ID (FEIN, SSN)                  1 2


 Business Owner Name
                                                      Last                                                     First

 Home Address 2 1

                                                                                           12
                             City                                                         Zip


 Description of Business
       Regulated                 Please check one of the boxes below if your business is or you are an independent
       Businesses      I         contractor for any of the following types of businesses:

                     Medical Marijuana Dispensary
                                                             □       Escort Service
                                                                                      □     Peddling Service
                                                                                                               □             Massage Service
                                                                                                                                               □
  I CERTIFY UNDER PERJURY THAT ALL INFORMATION PROVIDED ON THIS APPLICATION IS CORRECT AND THAT
            THE AFOREMENTIONED BUSINESS IS OBEYING ALL FEDERAL, STATE AND LOCAL LAWS.


                                         Ryan Adams                                    President                                  04/25/22
         Signature                            Print Name                                        Title                                    Date
 Please Note: Business license applications are due prior to commencing operations and expire each
 December 31st. Section 5.04.490 of the Rancho Palos Verdes Municipal Code imposes fines and criminal
 remedies for violation of the Business Tax Ordinance. Penalties will be assessed @ 5% for each month
 delinquent up to 50% of the total license fee. No extensions or waivers of the penalty amount will be granted.
   Finance Department Use Only


            Tax                         Penalty                           Total Tax                      Initials                   Check #
   Planning, Building & Safety, & Code Enforcement Use Only
                     Zone                                    Moratorium                                           Approved
                     Type                                       Planner                                                    Date
              Comments

                                        30940 Hawthorne Boulevard, Rancho Palos Verdes, CA 90275
                                          Business License Office (310) 544-5301 www.rpvca.gov
USCA Case #23-1223     Document #2013313                                     Filed: 08/18/2023        Page 229 of 336
 Please use this Tax Schedule for                                       K1     Wholesale Sales and Auto Sales
 Businesses located outside the City:                                   K1     Retail Sales, General Services & Other
                                                                        K1     Professions & Specified Services


                                              Report Gross Receipts

      0
     Gross Receipts Generated in the City of Rancho Palos Verdes                              $ 0
     (Gross receipts must be provided for the City to process the business license)


                                                    Tax Calculation


     Minimum Tax (includes first $50,000 of gross receipts)                                   $         152.00
     Add: $2 for each $1,000 of gross receipts over $50,000                                   $

     Add: State fee for Certified Disability Access Specialist Program                        $            4.00
     Add: Late Penalty (5% per month, 50% maximum)                                            $                  00

     Total Annual Tax to Remit                                                                $             00




                          30940 Hawthorne Boulevard, Rancho Palos Verdes, CA 90275
                            Business License Office (310) 544-5301 www.rpvca.gov
USCA Case #23-1223                               ANCHO
                                           Document    R
                                                    #2013313                          PALOS     VERDESPage 230 of 336
                                                                                        Filed: 08/18/2023
                                                               Business License Application                                                    For 2021
                                                              For Businesses Located                            e the City
                                                                              Expires December 31, 2022

       COMPLETE ALL APPLICABLE INFORMATION. TAX SCHEDULE IS ON THE BACK OF THIS FORM.


       (Check One):
                                 D Renewal
                                 D New License & Date (Business Began Operating In the City):                          2   2 2


 Business Name
                                  2 1
 Business Address
                                                                                                12
                             City                                                         Zip


 Mailing Address
 (If Different From Above)


                             City                                                         Zip


 Business Phone              (      ) 22 1        1          1 2              Email


 Business Classification (Check One):
                                                             □ Sole Proprietor □ Corporation                   □ Partnership
                                                                    Other (Specify)

 Tax ID (FEIN, SSN)                  1 2


 Business Owner Name
                                                      Last                                                     First

 Home Address 2 1

                                                                                           12
                             City                                                         Zip


 Description of Business
       Regulated                 Please check one of the boxes below if your business is or you are an independent
       Businesses      I         contractor for any of the following types of businesses:

                     Medical Marijuana Dispensary
                                                             □       Escort Service
                                                                                      □     Peddling Service
                                                                                                               □             Massage Service
                                                                                                                                               □
  I CERTIFY UNDER PERJURY THAT ALL INFORMATION PROVIDED ON THIS APPLICATION IS CORRECT AND THAT
            THE AFOREMENTIONED BUSINESS IS OBEYING ALL FEDERAL, STATE AND LOCAL LAWS.


                                        Ryan Adams                                     President                                  04/25/2022
         Signature                            Print Name                                        Title                                    Date
 Please Note: Business license applications are due prior to commencing operations and expire each
 December 31st. Section 5.04.490 of the Rancho Palos Verdes Municipal Code imposes fines and criminal
 remedies for violation of the Business Tax Ordinance. Penalties will be assessed @ 5% for each month
 delinquent up to 50% of the total license fee. No extensions or waivers of the penalty amount will be granted.
   Finance Department Use Only


            Tax                         Penalty                           Total Tax                      Initials                   Check #
   Planning, Building & Safety, & Code Enforcement Use Only
                     Zone                                    Moratorium                                           Approved
                     Type                                       Planner                                                    Date
              Comments

                                        30940 Hawthorne Boulevard, Rancho Palos Verdes, CA 90275
                                          Business License Office (310) 544-5301 www.rpvca.gov
USCA Case #23-1223     Document #2013313                                     Filed: 08/18/2023        Page 231 of 336
 Please use this Tax Schedule for                                       K1     Wholesale Sales and Auto Sales
 Businesses located outside the City:                                   K1     Retail Sales, General Services & Other
                                                                        K1     Professions & Specified Services


                                              Report Gross Receipts

     2020
     Gross Receipts Generated in the City of Rancho Palos Verdes                              $     0 0
     (Gross receipts must be provided for the City to process the business license)


                                                    Tax Calculation


     Minimum Tax (includes first $50,000 of gross receipts)                                   $           152.00
     Add: $2 for each $1,000 of gross receipts over $50,000                                   $

     Add: State fee for Certified Disability Access Specialist Program                        $             4.00
     Add: Late Penalty (5% per month, 50% maximum)                                            $                  00

     Total Annual Tax to Remit                                                                $         2   00




                          30940 Hawthorne Boulevard, Rancho Palos Verdes, CA 90275
                            Business License Office (310) 544-5301 www.rpvca.gov
USCA Case #23-1223                               ANCHO
                                           Document    R
                                                    #2013313                          PALOS     VERDESPage 232 of 336
                                                                                        Filed: 08/18/2023
                                                               Business License Application
                                                              For Businesses Located                            e the City
                                                                              Expires December 31, 2022

       COMPLETE ALL APPLICABLE INFORMATION. TAX SCHEDULE IS ON THE BACK OF THIS FORM.


       (Check One):
                                 D Renewal
                                 D New License & Date (Business Began Operating In the City):                          2   2 2


 Business Name
                                  2 1
 Business Address
                                                                                                12
                             City                                                         Zip


 Mailing Address
 (If Different From Above)


                             City                                                         Zip


 Business Phone              (      ) 22 1        1          1 2              Email


 Business Classification (Check One):
                                                             □ Sole Proprietor □ Corporation                   □ Partnership
                                                                    Other (Specify)

 Tax ID (FEIN, SSN)                  1 2


 Business Owner Name
                                                      Last                                                     First

 Home Address 2 1

                                                                                           12
                             City                                                         Zip


 Description of Business
       Regulated                 Please check one of the boxes below if your business is or you are an independent
       Businesses      I         contractor for any of the following types of businesses:

                     Medical Marijuana Dispensary
                                                             □       Escort Service
                                                                                      □     Peddling Service
                                                                                                               □             Massage Service
                                                                                                                                               □
  I CERTIFY UNDER PERJURY THAT ALL INFORMATION PROVIDED ON THIS APPLICATION IS CORRECT AND THAT
            THE AFOREMENTIONED BUSINESS IS OBEYING ALL FEDERAL, STATE AND LOCAL LAWS.


                                         Ryan Adams                                    President                                  04/25/2022
         Signature                            Print Name                                        Title                                    Date
 Please Note: Business license applications are due prior to commencing operations and expire each
 December 31st. Section 5.04.490 of the Rancho Palos Verdes Municipal Code imposes fines and criminal
 remedies for violation of the Business Tax Ordinance. Penalties will be assessed @ 5% for each month
 delinquent up to 50% of the total license fee. No extensions or waivers of the penalty amount will be granted.
   Finance Department Use Only


            Tax                         Penalty                           Total Tax                      Initials                   Check #
   Planning, Building & Safety, & Code Enforcement Use Only
                     Zone                                    Moratorium                                           Approved
                     Type                                       Planner                                                    Date
              Comments

                                        30940 Hawthorne Boulevard, Rancho Palos Verdes, CA 90275
                                          Business License Office (310) 544-5301 www.rpvca.gov
USCA Case #23-1223     Document #2013313                                     Filed: 08/18/2023        Page 233 of 336
 Please use this Tax Schedule for                                       K1     Wholesale Sales and Auto Sales
 Businesses located outside the City:                                   K1     Retail Sales, General Services & Other
                                                                        K1     Professions & Specified Services


                                              Report Gross Receipts


     Gross Receipts Generated in the City of Rancho Palos Verdes                              $ $5,988
     (Gross receipts must be provided for the City to process the business license)


                                                    Tax Calculation


     Minimum Tax (includes first $50,000 of gross receipts)                                   $          152.00
     Add: $2 for each $1,000 of gross receipts over $50,000                                   $

     Add: State fee for Certified Disability Access Specialist Program                        $              4.00
     Add: Late Penalty (5% per month, 50% maximum)                                            $

     Total Annual Tax to Remit                                                                $        $ 5




                          30940 Hawthorne Boulevard, Rancho Palos Verdes, CA 90275
                            Business License Office (310) 544-5301 www.rpvca.gov
          MUST BE DISPLAYED IN PLACE OF BUSINESS - NON TRANSFERABLE
      USCA Case #23-1223                Document #2013313                      Filed: 08/18/2023            Page 234 of 336

              r,~                  .                                                 City of Rancho Palos Verdes
                                                                                     30940 Hawthorne Blvd.
                                                                                     Rancho Palos Verdes, CA 90275
     CITY OF.            RANcHo PALOS \t'ERoo,                                       31 0-544-5301

                        BUSINESS TAX REGISTRATION CERTIFICATE
INDIAN PEAK PROPERTIES LLC                                                        Number:                   BLBUS-4921
P.O. BOX 7890                                                                     Issue Date:               4/18/2022
VAN NUYS, CA 91409                                                                Expiration Date:         12/31/2022
                                                                                  ISSUING OFFICER:
   Business Name: INDIAN PEAK PROPERTIES LLC
 Business Address: 26708 INDIAN PEAK RD
                   RANCHO PALOS VERDES CA 90275-0000
          This certificate is evidence that the person or firm named has paid a tax to conduct and operate a business
          as indicated hereon pursuant to the provisions of Chapter 5.04 of the Rancho Palos Verdes Municipal Code.




     INDIAN PEAK PROPERTIES LLC
     P.O. BOX 7890
     VAN NUYS, CA 91 409
USCA Case #23-1223                  Document #2013313                           Filed: 08/18/2023          Page 235 of 336



                                City of Rancho Palos Verdes
                                Home Occupation Standards
                                                     (effective May 15, 1997)


            17.08.030 Review of applications. Home Occupations shall be permitted only if they comply with the
            following standards, and such other conditions, which are imposed by the director:

   A.       All structures must comply with general appearance, setbacks, and landscaping standards and regulations
            applicable to all zoning districts of the area in which they are located.

   B.       No displays, signs, and/or advertisements associated with the Home Occupation shall be permitted.

   C.       The permitted activity shall not be injurious to the use of neighboring property by reason of noise, vibration,
            odor, fumes, smoke, dust or similar adverse impacts on adjacent properties.

   D.       There shall be no radio or television interference created by said Home Occupation.

   E.       A Home Occupation shall not create vehicular or pedestrian traffic which changes the residential character of
            the neighborhood and dwelling unit where the business is being conducted, or create a greater demand for
            parking than can be accommodated on site or on the street frontage abutting the property where the Home
            Occupation is being conducted.

   F.       There shall be no deliveries to and from the residence of bulk materials which are used in conjunction with
            the Home Occupation and no deliveries of materials, goods or retail merchandise associated with a Home
            Occupation, if such deliveries change the residential character of the neighborhood and dwelling unit where
            the business is being conducted.

    G.      The person conducting the profession or business must reside within the dwelling unit in which the activity is
            located.

   H.       With the exception of one "home occupation employee," as defined in chapter 17.96, there shall be no
            employment of help other than individuals residing at the subject residence. An on site parking area of no
            less than nine (9) feet in width by twenty (20) feet in length shall be provided for the one home occupation
            employee.

   I.       There shall be no use or storage of dangerous chemicals, acids, caustics, explosives, or other such
            hazardous equipment or materials, other than those materials that are used in typical household activities as
            classified in the county household hazardous materials list.

   J.       There shall be no storage of materials and/or supplies, associated with the Home Occupation, outside of the
            residence, which may be visible from adjoining properties and/or the public right-of-way. If the garage is
            used to store Home Occupation associated materials, the minimum interior parking dimensions specified in
            Section 17.02.030 (Single Family Residential Districts) shall be maintained.

   K.       There shall be no use of utilities or community facilities, which change the residential character of the
            neighborhood and dwelling unit where the business is being conducted beyond the level, which is normal for
            the use of the property for residential purposes.

   L.       The establishment and conduct of a Home Occupation shall not change the principal residential character of
            the use of the dwelling unit, nor shall there be any exterior evidence of the Home Occupation being
            conducted . The home occupation use shall be clearly incidental to the residential use.

   I HAVE READ AND I UNDERSTAND THE STANDARDS REGULATING HOME OCCUPATIONS IN THE CITY OF
   RANCHO PALOS VERDES.
   COMM ENTERPRISES, LLC DBA
   SOUTHLAND COMMUNICAITONS

   Business Name

   26708 INDIAN PEAK RD.                                                JAMES A. KAY JR
                                                                        Business Owner Name (printed)
   RANCHO PALOS VERDES CA 90275
   Street Address
   04/20/2022
   Date


   W:\FORMS\BUSINESS LICENSE\2008\BL FORMSIHOME QC STANDARDS FORM.DOC
         MUST BE DISPLAYED IN PLACE OF BUSINESS- NON TRANSFERABLE
     USCA Case #23-1223                Document #2013313                     Filed: 08/18/2023            Page 236 of 336

            ~
                                                                                    City of Rancho Palos Verdes
                                                                                    30940 Hawthorne Blvd.
                                                                                    Rancho Palos Verdes, CA 90275
     CITYOF  RANcHoPAI.OS\/ERDEs                                                    310-544-5301

                       BUSINESS TAX REGISTRATION CERTIFICATE
COMM UNICATIONS RELAY, LLC                                                       Number:                   BLBU-0601
P.O. BOX 7890                                                                    Issue Date:               4/20/2022
VAN NUYS, CA 91409                                                               Expiration Date:         12/31/2022
                                                                                 ISSUING OFFICER:
   Business Name: COMMUNICATIONS RELAY, LLC
 Business Address: 26708 Indian Peak Rd
                    Rancho Palos Verdes CA 90275
         This certificate is evidence that the person or firm named has paid a tax to conduct and operate a business
         as indicat ed hereon pursuant to the provisions of Chapter 5.04 of the Rancho Palos Verdes Municipal Code.




     COMMUNICATIONS RELAY, LLC
     P.O. BOX 7890
     VAN NUYS, CA 91409
   USCA MUST  BE DISPLAYED
        Case #23-1223      IN PLACE
                       Document     OF BUSINESS
                                #2013313         - NON
                                             Filed:      TRANSFERABLE
                                                    08/18/2023 Page 237 of 336

              r,~                                                                    City of Rancho Palos Verdes
                                                                                     30940 Hawthorne Blvd.
                                                                                     Rancho Palos Verdes, CA 90275
     CITVOF.             RAtta-loPALIB\IERDEs                                        310-544-5301

                        BUSINESS TAX REGISTRATION CERTIFICATE
LT-WR, LLC                                                                        Number:                   BLBU-0563
P.O. BOX 7890                                                                     Issue Date:               1/19/2022
VAN NUYS, CA 91409                                                                Expiration Date:         12/31/2022
                                                                                  ISSUING OFFICER:
   Business Name: LT-WR, LLC
 Business Address: 26708 Indian Peak Rd
                   Rancho Palos Verdes CA 90275
          This certificate is evidence that the person or firm named has paid a tax to conduct and operate a business
          as indicated hereon pursuant to the provisions of Chapter 5.04 of the Rancho Palos Verdes Municipal Code.




     LT-WR, LLC
     P.O. BOX 7890
     VAN NUYS, CA 91409
USCA Case #23-1223       st.CRETARY              STATE
                           Document #2013313 OFFiled: 08/18/2023                             Page 238 of 336




                       NEVADA STATE BUSINESS LICENSE
                                    INDIAN PEAK PROPERTIES, LLC




                           Nevada Business Identification # NV20051707408
                                    Expiration Date: 11/30/2022

  In accordance with Title 7 of Nevada Revised Statutes, pursuant to proper application duly filed and
  payment of appropriate prescribed fees, the above named is hereby granted a Nevada State Business
  License for business activities conducted within the State of Nevada.
  Valid until the expiration date listed unless suspended, revoked or cancelled in accordance with the
  provisions in Nevada Revised Statutes. License is not transferable and is not in lieu of any local business
  license, permit or registration.
  License must be cancelled on or before its expiration date if business activity ceases. Failure to do
  so will result in late fees or penalties which, by law, cannot be waived.




                                                          IN WITNESS WHEREOF, I have hereunto set my
                                                          hand and affixed the Great Seal of State, at my
                                                          office on 12/06/2021.




   Certificate Number: B202112062207212
   You may verify this certificate                                BARBARA K. CEGAVSKE
                                                                        Secretary of State
   online at http://www.nvsos.gov
USCA Case #23-1223   Document #2013313     Filed: 08/18/2023   Page 239 of 336



                               EXHIBIT 8
    USCA Case #23-1223                         STATE
                                         Document      OF NEVADA
                                                  #2013313    Filed: 08/18/2023                    Page 240 of 336
    BARBARA K. CEGAVSKE                                                          Commercial Recordings & Notary Division
                                                                                            202 N. Carson Street
               Secretary of State                                                          Carson City, NV 89701
                                                                                          Telephone (775) 684-5708
                                                                                             Fax (775) 684-7138
     KIMBERLEY PERONDI                                                                    North Las Vegas City Hall
                                                                                     2250 Las Vegas Blvd North, Suite 400
           Deputy Secretary for                       OFFICE OF THE                      North Las Vegas, NV 89030
          Commercial Recordings
                                                SECRETARY OF STATE                        Telephone (702) 486-2880
                                                                                             Fax (702) 486-2888




     Alina Franco                                                         Work Order #: W2021120602375
     15525 Cabrito Road                                                   December 6, 2021
     Van Nuys, CA 91406, USA                                              Receipt Version: 1

Special Handling Instructions:                                            Submitter ID: 12452

Charges
 Description                        Fee Description Filing Number   Filing            Filing   Qty Price  Amount
                                                                    Date/Time         Status
 Annual List                    Fees                20211938896     12/6/2021         Approved 1 $150.00 $150.00
                                                                    4:05:48 PM
 Annual List                    Business License    20211938896     12/6/2021         Approved       1     $200.00 $200.00
                                Fee                                 4:05:48 PM
 Annual List                    Business License    20211938896     12/6/2021         Approved       1     $100.00 $100.00
                                Late Fee                            4:05:48 PM
 Annual List                    Annual List Late    20211938896     12/6/2021         Approved       1       $75.00         $75.00
                                Fee                                 4:05:48 PM
 Total                                                                                                                 $525.00

Payments
 Type                                Description                        Payment Status                                  Amount
 Credit Card                         6388355341036878903086             Success                                        $525.00
 Total                                                                                                                 $525.00
                                                                                                Credit Balance:              $0.00




     Alina Franco
     15525 Cabrito Road
     Van Nuys, CA 91406, USA
USCA Case #23-1223                 STATE
                             Document      OF NEVADA
                                      #2013313    Filed: 08/18/2023                           Page 241 of 336
BARBARA K. CEGAVSKE                                                              Commercial Recordings Division
                                                                                        202 N. Carson Street
      Secretary of State                                                               Carson City, NV 89701
                                                                                      Telephone (775) 684-5708
                                                                                         Fax (775) 684-7138
KIMBERLEY PERONDI                                                                     North Las Vegas City Hall
                                                                                 2250 Las Vegas Blvd North, Suite 400
    Deputy Secretary for                 OFFICE OF THE                               North Las Vegas, NV 89030
   Commercial Recordings
                                   SECRETARY OF STATE                                 Telephone (702) 486-2880
                                                                                         Fax (702) 486-2888



                           Business Entity - Filing Acknowledgement
                                                                                 12/06/2021
  Work Order Item Number:              W2021120602375 - 1761038
  Filing Number:                       20211938896
  Filing Type:                         Annual List
  Filing Date/Time:                    12/06/2021 16:05:48 PM
  Filing Page(s):                      2


  Indexed Entity Information:
 Entity ID: E0766652005-1                           Entity Name: INDIAN PEAK
                                                    PROPERTIES, LLC
 Entity Status: Active                              Expiration Date: None


  Commercial Registered Agent
  CORPORATION SERVICE COMPANY
  112 NORTH CURRY STREET, Carson City, NV 89703, USA




  The attached document(s) were filed with the Nevada Secretary of State, Commercial
  Recording Division. The filing date and time have been affixed to each document,
  indicating the date and time of filing. A filing number is also affixed and can be used to
  reference this document in the future.

                                                                 Respectfully,




                                                                 BARBARA K. CEGAVSKE
                                                                     Secretary of State
                                             Page 1 of 1

                                     Commercial Recording Division
                                         202 N. Carson Street
        USCA Case #23-1223                       Document #2013313
                      BARBARA K. CEGAVSKE                                   AnnualFiled:
                                                                                    or 08/18/2023
                                                                                         Amended  Page 242 of 336
                                                                                                    List
                      Secretary of State
                      202 North Carson Street                                 and State Business
                      Carson City, Nevada 89701-4201
                      (775) 684-5708                                          License Application
                      Website: www.nvsos.gov
                                 www.nvsilverflume.gov



                                             □          ANNUAL
                                                   AMENDED                                       (check one)

List of Officers, Managers, Members, General Partners, Managing Partners, Trustees or Subscribers:

 INDIAN PEAK PROPERTIES, LLC                                                                                              NV20051707408
 NAME OF ENTITY                                                                                                                Entity or Nevada Business
                                                                                                                              Identification Number (NVID)
TYPE OR PRINT ONLY - USE DARK INK ONLY - DO NOT HIGHLIGHT

IMPORTANT: Read instructions before completing and returning this form.
Please indicate the entity type (check only one):

□ Corporation
                                                                                                     Filed in the Office of      Business Number
                                                                                                                                 E0766652005-1
     □ This corporation is publicly traded, the Central Index Key number is:                        ~K.~d;__,                    Filing Number
                                                                                                                                 20211938896
                                                                                                     Secretary of State          Filed On

□ Nonprofit Corporation (see nonprofit sections below)                                               State Of Nevada
                                                                                                                                 12/06/2021 16:05:48 PM
                                                                                                                                 Number of Pages
                                                                                                                                 2
M Limited-Liability Company
□ Limited Partnership
□ Limited-Liability Partnership
□ Limited-Liability Limited Partnership
□ Business Trust
□ Corporation Sole
Additional Officers, Managers, Members, General Partners, Managing Partners, Trustees or Subscribers, may be listed on a supplemental page.
  CHECK ONLY IF APPLICABLE
 Pursuant to NRS Chapter 76, this entity is exempt from the business license fee.

  □ 006 - NRS 680B.020 Insurance Co, provide license or certificate of authority number
      001 - Governmental Entity

  □
 For nonprofit entities formed under NRS chapter 80: entities without 501(c) nonprofit designation are required to maintain a state business license,
 the fee is $200.00. Those claiming an exemption under 501(c) designation must indicate by checking box below.

  □ Exemption Code 002
       Pursuant to NRS Chapter 76, this entity is a 501(c) nonprofit entity and is exempt from the business license fee.

For nonprofit entities formed under NRS Chapter 81: entities which are Unit-owners' association or Religious, Charitable, fraternal or other
organization that qualifies as a tax-exempt organization pursuant to 26 U.S.C $ 501(c) are excluded from the requirement to obtain a state business
license. Please indicate below if this entity falls under one of these categories by marking the appropriate box. If the entity does not fall under either of
these categories please submit $200.00 for the state business license.
                                                      Religious, charitable, fraternal or other organization that qualifies as a tax-exempt organization
           □   Unit-owners' Association
                                                □     pursuant to 26 U.S.C. $501(c)

For nonprofit entities formed under NRS Chapter 82 and 80:Charitable Solicitation Information - check applicable box
Does the Organization intend to solicit charitable or tax deductible contributions?

  □ No - no additional form is required
  □ Yes - the "Charitable Solicitation Registration Statement" is required.
  □ The Organization claims exemption pursuant to NRS 82A 210 - the "Exemption From Charitable Solicitation Registration Statement" is
    required
                **Failure to include the required statement form will result in rejection of the filing and could result in late fees.**



                                                                                                                                                          page 1 of 2
       USCA Case #23-1223                Document #2013313                      Filed: 08/18/2023         Page 243 of 336
                  BARBARA K. CEGAVSKE
                  Secretary of State                           Annual or Amended List
                  202 North Carson Street
                  Carson City, Nevada 89701-4201              and State Business License
                  (775) 684-5708
                  Website: www.nvsos.gov                       Application - Continued
                             www.nvsilverflume.gov



       Officers, Managers, Members, General Partners, Managing Partners, Trustees or Subscribers:
 CORPORATION, INDICATE THE MANAGER:
  LUCKY'S TWO-WAY RADIOS INC                                                                         USA
 Name                                                                                                Country
  1350 E FLAMINGO RD STE 13B BOX 346                                 LAS VEGAS                              NV        89119
 Address                                                             City                                  State Zip/Postal Code
None of the officers and directors identified in the list of officers has been identified with the fraudulent intent of concealing
the identity of any person or persons exercising the power or authority of an officer or director in furtherance of any
unlawful conduct.
I declare, to the best of my knowledge under penalty of perjury, that the information contained herein is correct and
acknowledge that pursuant to NRS 239.330, it is a category C felony to knowingly offer any false or forged instrument for filing
in the Office of the Secretary of State.


 X James A Kay Jr                                                       President of the Manager               12/06/2021
Signature of Officer, Manager, Managing Member,                         Title                                  Date

General Partner, Managing Partner, Trustee,
Subscriber, Member, Owner of Business,
Partner or Authorized Signer FORM WILL BE RETURNED IF
UNSIGNED




                                                                                                                              page 2 of 2
USCA Case #23-1223                   Document #2013313                                      Filed: 08/18/2023                   Page 244 of 336




                           DEAN HELLER
                           Secretary of St.ate
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                           carson City, Nevada 19701~2"                                                           ~~btgi,~65-41
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                           Website: sec,•taf'Yofatlmt.bl7.                                                        Date Filed:
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                        Articles of Organization                                                                      ·t» .1Mt
                       Limited-Liability Company                                                                   Dean Heller
                                      (PURSUA NT TO NRS 86)                                                        Secretary of State



         lmponant: Ree •Nlld ted instructions b fore ~mplotlr,g form.


                                   INDIAN PEAK PROPERTIES. LLC

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                                    LUCKY'S 'TWO.WAY RADIOS, INC
                                   ~~ E. FLAMINGO RO, STE 138 "346                            lASVEOAS                              NEVADA                  89119
                                                                                                   City                                 State                 Zip Code


                                   Name
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                                   Name


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USCA Case #23-1223   Document #2013313    Filed: 08/18/2023   Page 245 of 336




                          Exhibit F
                      To Indian Peak Properties LLC
                          Application for Review
                             January 12, 2023




    Petition for Declaratory Ruling Antenna 4
                     Of Indian Peak Properties LLC
                              May 1, 2022
USCA Case #23-1223             Document #2013313                    Filed: 08/18/2023          Page 246 of 336



                                                   Before the
                          FEDERAL COMMUNICATIONS COMMISSION
                                           Washington, D.C. 20554


 In the Matter of                                                     )
 Indian Peak Properties and One Internet America                      )        CSR ______-0
 Petition for Declaratory Ruling Under 47 C.F.R. §1.4000              )
 To:        Office of the Secretary                                   )
 Attn: Chief, Media Bureau                                            )


                             PETITION FOR DECLARATORY RULING



            Indian Peak Properties, LLC (“Petitioner”), by its attorney and pursuant to Sections 1.2 and

 1.4000 (e) if the Commission´s Rules,1 respectfully requests a declaratory ruling that: (a) certain

 antennas described more fully herein are within the scope of protection from state and local

 restrictions provided by the OTARD rule;2 (b) restrictions asserted by the City of Rancho Palos

 Verdes, California (the “City”) impair the installation, maintenance or use of such antennas; and

 (c) the City´s actions are unlawful, preempted by federal authority under the OTARD rule, and

 therefore unenforceable.

       I.      BACKGROUND

       1. The subject of this petition is property (the “Property”) located at 26708 Indian Peak Road,

 Rancho Palos Verdes, California 90275, which is owned by Petitioner.3 The Property is a single-

 family home, which is used by the owner, James Kay and his company Indian Peak Properties,


 1
   47 C.F.R. §§ 1.2 and 1.4000 (e).
 2
   47 C.F.R. § 1.4000.
 3
   The property was previously owned by James A. Kay, Jr., an individual who owns and controls Petitioner. The term
 “Petitioner” includes Mr. Kay and Indian Peak Properties, LLC, except where the context requires otherwise.

                                                         1
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 LLC, and from time to time by individuals or business entities that rent the Property from the owner

 for a fixed term. There are a total of five (5) antenna structures, each of them installed on the rooftop

 of the Property and described in Section 2 of this Petition. All factual assertions in this Petition are

 supported by the following Exhibits, which are attached to this Petition:

    Exhibit 1 – Declaration of Daniel W. Redmond, Senior Wireless Network Design Engineer;

    Exhibit 2 – Property Detail Report and Deed to 26708 Indian Peak Road, Rancho Palos Verdes,
                CA 90275;
    Exhibit 3 – Photograph of Antenna 4;

     Exhibit 4 – Specifications for Antenna 4;

     Exhibit 5 –City
                CityResolution
                     Resolution2018-61
                                2018-61;and City attorney letter demanding removal of antennas;

     Exhibit 6 – One Internet America, LLC Internet Service Contract for Internet Access Service
                to Indian Peak Properties, LLC, invoices and check register showing monthly
                service payments to One Internet America, LLC;

     Exhibit 7 – Business Licenses for Indian Peak Properties, LLC; and

     Exhibit 8 – Indian Peak Properties, LLC’s Articles and Information.

    2. The antenna structures installed on the rooftop of the Property are the subject of past and

 present ongoing regulatory disputes and civil litigation between Petitioner and the City. On

 December 21, 2004, the Rancho Palos Verdes City Council adopted Resolution No. 2004-109,

 approving Conditional Use Permit No. 230 (“CUP 230”) approving the placement of five UHF

 antennas, each a Sinclair model SD314-HF2PSNM measuring 9.5 feet (3.9 meters) in height with

 four co-linear radiating elements. In subsequent years, some antennas were removed and other

 antennas were installed on the rooftop of the Property on the good faith assumption that the

 additional antennas did not require prior zoning approvals because they did not involve the erection

 of additional support structure and were mounted on the same Building as the UHF antennas that

 had been approved under CUP 230 and were smaller and lower in profile than the UHF antennas.


                                                    2
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     Petitioner also believes that most if not all of the additional antennas were within the scope of the

     OTARD rule and therefore would not have required prior zoning approval even in the absence of

     CUP 230.

            3. On August 21, 2018, the City Council adopted Resolution No. 2018-61, purporting to

     revoke in its entirety CUP 230. Without conceding the validity of that Resolution, the revocation

     affects only installations that legitimately require zoning approval. Nonetheless, the City insists that

     Petitioner remove virtually all antennas from the Building, even those that are protected under the

     OTARD rule. The Petitioner has removed the UHF antennas from the roof and made other related

     modifications.

            4. On April 17, 2020, the Petitioner filed a Petition for Declaratory Ruling under 47 C.F.R. §

     1.4000. By letter dated April 22, 2022, the Commission dismissed the Petition without prejudice

     on the ground that it did not provide sufficient information to show that each of the antennas meet

     all of the criteria for protection under the OTARD rule. In particular, the Commission found that

     Petitioner had failed to provide sufficient information to demonstrate that each antenna meets all of

     the criteria required for preemption under the OTARD rule.

            5. There are currently five antennas placed on the rooftop of the Property, as follows:
Antenn        Owner          Type           Service     Customer            Antenna Users On-Site      Located         on
 a#                                                     Location                                       Property Within
                                                                                                       Exclusive
                                                                                                       Control of User
Antenna 1     Indian Peak    DIRECTV        DIRECTV     26708 Indian Peak   Yes, for tenants when       User James Kay
              Properties,                               Rd., Rancho Palos   Building is rented           owns rooftop
              LLC                                       Verdes, CA                                        antenna site
              (Petitioner)
Antenna 2     LT-WR,         Parabolic      Fixed       26708 Indian Peak   Owner of Building (James    User James Kay
              LLC            Dish           Wireless    Rd., Rancho Palos   Kay – Petitioner), and       owns rooftop
                             Commscope      Broadband   Verdes, CA          various businesses            antenna site
                             VHLP3-         Internet
                             11WH/A         Access
Antenna 3     GeoLinks       Ubiquiti       Fixed       26708 Indian Peak   Owner of Building (James    User James Kay
                             AirFiber 24,   Wireless    Rd., Rancho Palos   Kay – Petitioner), and       owns rooftop
                             Unlicensed     Broadband   Verdes, CA          various businesses            antenna site

                                                            3
  USCA Case #23-1223                  Document #2013313                Filed: 08/18/2023         Page 249 of 336


                              2x2 MIMO        Internet
                              24 GHz          Access
Antenna 4     One Internet    Cambium         Fixed       26708 Indian Peak   Owner of Building (James   User James Kay
              America         ePMP 2000       Wireless    Rd., Rancho Palos   Kay – Petitioner), and      owns rooftop
                              Unlicensed      Broadband   Verdes, CA          various businesses           antenna site
                              2x2 MIMO        Internet
                              5.8     GHz     Access
                              Panel
                              Antenna
Antenna 5     Fisher          Two       (2)   Cellular    26708 Indian Peak   Owner of Building (James   User James Kay
              Wireless        Wilson          Telephone   Rd., Rancho Palos   Kay – Petitioner), and      owns rooftop
                              Electronics                 Verdes, CA          various businesses           antenna site
                              Model
                              314411


     This Petition concerns only Antenna 4, the Cambium ePMP 2000 Unlicensed 2x2 MIMO 5.8 GHz

     Panel Antenna “Frequency Diversity” Fixed Wireless Broadband Internet Antenna owned by One

     Internet America and used to distribute fixed wireless signals at the Property. Antenna 4 meets all

     of the criteria required for protection under the OTARD rule as described in Section III below.

            II.      THE OTARD RULE

            The rules promulgated by the FCC pursuant to Section 207 of the 1996 Telecommunications

     Act, known as the over-the-air-reception device or OTARD rule, are found at 47 C.F.R. § 1.4000.

     The OTARD rule prohibits any state or local law or regulation or any private contract or other

     restriction of any kind that impairs the ability of an antenna user to install, operate and maintain

     certain antenna devices (one meter or less in diameter) on property over which the antenna user has

     exclusive control and a direct or indirect ownership or leasehold interest.

                  The phrases “exclusive control” and “direct or indirect ownership or leasehold interest” are

     explained as follows: “For purposes of our Section 207 rules, a renter, tenant or any other person

     residing on a property owner´s property with the property owner´s permission (´tenant viewer´),

     who has the property owner´s permission to install, maintain and use a Section 207 reception device

     on the property, shall be treated as a covered viewer with regard to third party restrictions under

                                                              4
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 our Section 207 rules. In this connection, the tenant viewer shall have the same rights under Section

 207 as would the owner vis-à-vis restrictions enacted by a … government and/or any other third

 party. Thus, if an owner residing on the property were entitled to install a Section 207 device on the

 property under our rules, then a tenant occupying the property is also entitled to a Section 207

 device on the property provided the property owner consents.”4

          As originally issued, the OTARD rule was intended to facilitate the use of dish antennas

 used to receive direct broadcast satellite television signals. The rule did not apply to antennas

 carrying telecommunications traffic. In year 2000, however, in response to concerns expressed by

 CLECs and Commercial Mobile Wireless Radio (CMRS) operators, the FCC revised the OTARD

 rule to include “all customer-end antennas and supporting structures of the physical type currently

 covered by the rule, regardless of the nature of the services provided through the antenna.”5 Then

 in 2021, the Commission in effect deleted the requirement that OTARD applies only to “customer-

 end” antennas and concluded that the OTARD rule encompasses all hub and relay antennas6 that

 are used for the distribution of fixed wireless signals7 to multiple customer locations, regardless of

 whether they are “primarily” used for this purpose, as long as (1) the antenna serves a customer on

 whose premises it is located, and (2) the service provided over the antenna is broadband-only.8 The



 4
    Implementation of Section 207 of the Telecommunications Act of 1996, Order on
 Reconsideration, 13 FCC Rcd 18962, 18995 ¶ 77 (1998).
 5
   Promotion of Competitive Networks in Local Telecommunications Markets, First Report and Order and Further
 Notice of Proposed Rulemaking, 15 F.C.C. Rcd 22983 ¶ 99 (2000).
 6
   The Rule defines a “hub or relay antenna” as “any antenna that is used to receive or transmit fixed wireless signals
 for the distribution of fixed wireless services to multiple customer locations — as long as the antenna serves a
 customer on whose premises it is located. The rule excludes any hub or relay antenna that is used to provide any
 telecommunications services or services that are provided on a commingled basis with telecommunications services.”
 Questions and Answers Concerning the OTARD Rule, https://www.fcc.gov/media/over-air-reception-devices-
 rule#QA.
 7
   The OTARD Rule defines “fixed wireless signal” as “any commercial non-broadcast communications signals
 transmitted via wireless technology to and/or from a fixed customer location.” 47 C.F.R. § 1.4000 (a) (2).
 8
   In the Matter of: Updating the Commission´s Rule for Over-the-Air Reception Devices, Report and Order, WT
 Docket 19-71, rel. Jan. 1, 2021, ¶ 9.

                                                           5
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 OTARD rule also generally prohibits any governmental or private restrictions on any mast or

 support for an antenna covered by the rule, other than restrictions based on legitimate safety

 considerations, as long as the height of the support does not exceed 12 feet above the roofline.9

     III.    ARGUMENT

     This Petition concerns only Antenna 4, Cambium ePMP 2000 Unlicensed 2x2 MIMO 5.8 GHz

 Panel Antenna “Frequency Diversity” Fixed Wireless Broadband Internet Antenna owned by One

 Internet America. Like the other antennas at the Property, Antenna 4 is connected by Ethernet cable

 to routers and switches inside the house that comprises the Property. Antenna 4 is designed to and

 does provide fixed wireless high-speed Internet access anywhere within the house and the

 surrounding yards. The Property owner, James A. Kay, together with his several companies,

 including Indian Peak Properties, LLC, are the customers and primary users of the broadband

 service provided by Antenna 4. In addition, Antenna 4 provides connectivity for a number of

 vendors and contractors who visit the Property on a regular basis, and for any residential tenants

 who lease rooms in the house from time to time. As affirmed in the Declaration of Daniel W.

 Redmond (Exhibit 1), Antenna 4 meets each of the requirements that entitle the antenna to

 protection from regulation by the City as follows:

     a. Antenna 4 is placed on property within the exclusive use or control of the antenna
        user.

     Antenna 4 is placed on the rooftop of the Property – which is a single-family home owned by

 James A. Kay’s company, Petitioner Indian Peak Properties, LLC. As the owner of the Property,

 Mr. Kay and Indian Peak Properties, LLC have the exclusive right to access and use the entirety of



 9
  Questions and Answers Concerning the OTARD Rule, https://www.fcc.gov/media/over-air-reception-devices-
 rule#QA.

                                                      6
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 the building´s rooftop, except where rooftop space is leased to others. Antenna 4 is placed entirely

 on rooftop space under the exclusive control of Mr. Kay and Indian Peak Properties, LLC. Further,

 Mr. Kay and his company Indian Peak Properties, LLC, are the primary users and customers of the

 service provided by means
                     means of
                           ofAntenna
                              Antenna4.4.The
                                          Theservice
                                              serviceisisnot
                                                          notused by anyused
                                                              currently  remote customer
                                                                             by any      notcustomer
                                                                                    remote   located

 at the
 not    Property.
     located at theSee Declaration
                    Property.      of Daniel W.
                              See Declaration of Redmond
                                                 Daniel W. (Exhibit
                                                            Redmond1).(Exhibit
                                                                        Therefore,  Antenna 4Antenna
                                                                               1). Therefore, meets

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      requirements  stated instated
           the requirements   47 C.F.R.
                                    in 47§C.F.R.
                                           1.4000§(a) (1). (a) (1).
                                                   1.4000

     b. Antenna 4 is used to receive or transmit fixed wireless signals.

     As indicated above, Antenna 4 is used to receive or transmit broadband-only fixed wireless

 signals providing high-speed Internet access to compatible devices throughout the Property. The

 service provided by means of Antenna is within the parameters of OTARD protection as required

 under 47 C.F.R. § 1.4000 (a) (1) (i) (A). See Declaration of Daniel W. Redmond (Exhibit 1).

     c. Antenna 4 is less than one meter in diameter or diagonal measurement and is installed
        on a mast less than twelve (12) feet above the roofline of the building.

     Antenna 4 is less than one meter in diameter, i.e., diagonal measurement. Therefore, Antenna 4

 meets the requirements of 47 C.F.R. 1.4000 (a) (1) (i) (B). In addition, the mast on which Antenna

 4 is installed does not exceed twelve (12) feet in height above the building´s roofline. See

 Declaration of Daniel W. Redmond (Exhibit 1). Therefore, Antenna 4 meets the height criteria

 stated in 47 C.F.R. § 1.4000 (a) (1) (iv).

     d. No safety or historic preservation concerns have been raised with respect to Antenna 4.
     As affirmed in the Declaration of Daniel W. Redmond (Exhibit 1), no safety or historic

 preservation concerns have been raised by the City with respect to Antenna 4 and no General

 Exposure limitations are exceeded.




                                                     7
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    e. Antenna 4 is a hub or relay antenna used for the distribution of broadband-only fixed
       wireless services to Indian Peak Properties, LLC.
    The revised OTARD rule, effective March 29, 2021, applies to all hub and relay antennas that

 are used for the distribution of fixed wireless services to multiple customer locations, regardless of

 whether they are “primarily” used for this purpose, as long as: (1) the antenna serves a customer on

 whose premises it is located, and (2) the service provided over the antenna is broadband-only. 47

 CFR § 1.4000 (a)(1) and (a)(5). Antenna 4 meets these criteria: 1) it is designed as a hub and relay

 antenna that serves a customer (Mr. Kay and Indian Peak Properties, LLC) on the premises where

 it is located (the Property); and 2) Antenna 4 is used for the distribution of broadband-only fixed

 wireless services to Mr. Kay and Indian Peak Properties, LLC. Declaration of Daniel W. Redmond

 (Exhibit 1). The use of Antenna 4 is compliant with OTARD because Antenna 4 is the Frequency

 Diversity fixed wireless service for broadband internet service. Declaration of Daniel W. Redmond

 (Exhibit 1).

    For the reasons stated in paragraphs (a) through (e) above, Antenna 4 meets each of the criteria

 stated in the OTARD Rule and is entitled to protection from local regulation by the City.

    IV.     RELIEF SOUGHT

    The Petitioner seeks a declaratory ruling from the Commission that Antenna 4 constitutes a

 protected Section 207 device under the OTARD rule such that enforcement of Resolution 2018-61,

 revoking CUP 230 and every other action taken or contemplated by the City to force Petitioner to

 remove Antenna 4 from the Property, is preempted.

    Furthermore, Petitioner seeks an immediate declaration from the Commission that any action

 taken by the City to enforce Resolution 2018-61 during the pendency of this Petition is suspended.

 Except in circumstances not relevant here, “if a proceeding is initiated” challenging a restriction


                                                   8
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 under the OTARD rule, “the entity seeking to enforce the antenna restrictions in question must

 suspend all enforcement efforts pending completion of review,” and “[n]o attorney’s fees shall be

 collected or assessed and no fine or other penalties shall accrue against an antenna user while a

 proceeding is pending to determine the validity of any restriction.”10 Thus, Resolution 2018-61

 “may not be enforced until the Commission … issues a ruling that [Resolution 2018-61] is not

 preempted,” and “a viewer may install, use and maintain an antenna while [this] proceeding is

 pending.”11The only exceptions are for restrictions “pertaining to safety and historic

 preservation.”12

          The Commission has consistently taken an expansive view of the automatic suspension of

 restrictions and penalties during the pendency of an OTARD challenge.13 An immediate suspension

 is especially justified in this case given the severe consequences of enforcement of Resolution 2018-

 61. For one thing, the City is threatening the forcibly remove Antenna 4, along with the other four

 antennas, from the rooftop of the building. It is likely that such forcible removal would damage the

 equipment and perhaps the rooftop as well, potentially costing the Petitioner a significant amount

 of money to repair or replace.

          More importantly, however, is the fact that the five antennas – apart from allowing

 Petitioner´s business operations to function – are necessary to individually and collectively provide


 10
    47 C.F.R. § 1.4000 (a) (4). The only exceptions are for restrictions “pertaining to safety and historic preservation.”
 Promotion of Competitive Networks in Local Telecommunications Markets, Order on Reconsideration, 19 FCC Rcd
 5637, 5643-44 ¶¶ 13-18 (2004), ¶ 16.
 11
    47 C.F.R. § 1.4000 (a) (4).
 12
    Id.
 13
    See, for example, Petition for Declaratory Ruling Regarding the Application of the Over-the-Air Reception Devices
 Rule to Certain Provisions of the Philadelphia, Pennsylvania Code, CSR-8541-O (filed Nov. 8, 2011); James Sadler;
 Petition for Declaratory Ruling under 47 C.F.R. § 1.4000, Memorandum Opinion and Order, 13 FCC Rcd 12559,
 12572 ¶ 41 (CSB 1998); Michael and Alexandra Pinter; Petition for Declaratory Ruling under 47 C.F.R. § 1.4000,
 Memorandum Opinion and Order, 19 FCC Rcd 17385, 17386 ¶ 4 (MB 2004); Otto and Ida M. Trabue; Petition for
 Declaratory Ruling under 47 C.F.R. § 1.4000, Memorandum Opinion and Order, 14 FCC Rcd 8602, 8603 ¶ 2 (CSB
 1999).

                                                            9
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    OOd;-up r-cdundaacy fot perfonnance of an amy of vilal func1ious at the property. including, but

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    temperalure cuntroJ, and other mc:mitori.ng fu.nc:tious.. Loss of 1he a111ennas., it\eludiog Antenna 4,

    would put at ri!;k not only the competiUv~ viabili1y of Petitioner's various busines":;cs, but also the

    safety or.Pe1itio»e:r and its e,nployees. contractors and gues1s.

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                                                               'l'onc:i.ta Manocchio, J.O.~.Attorney at Uw
                                                                ISSts Cabrito Road, Van Nu~, CA 91·106
                                                               Tel: 818-540.803 1
                                                                f.maiJ: Toni@B-uddyCo(t).com




                                                      10
USCA Case #23-1223            Document #2013313                    Filed: 08/18/2023          Page 256 of 336




                                     CERTlflCATE OF SERVICE

          I., Toueata Ma,1occhio, co-unsel for Pc::Litioners in thi$ matter, hereby ccni.fy that ou this 1st
   dsy ofM:.ly, 2022. l have caused copic.s of the foregoing pltooiug to be served. vin first
   class USPS, ecrtified ma.iJ, postage prcpa.id, o.n. the followil)g:

                  Ms. Juoe-S. AiHn
                  Ale.c;hire & WyndCr, l,.L (>
                  2361 Rosecrans Ave., S(tite 475
                  El Segun~o. CA 90245

                  Teti Takaok.i.. Ciry Clerk
                  City of R.ar.icho Palos Verdes
                  30940 Hawlhomc Boulevard
                  R,ncho Palos Verdes. CA 90275




                                                      'l"cmcata Mal1occbfo, J.O,
                                                       Altorney at law
                                                       15525 c.,brito Road
                                                       Van Nuys~CA 9 1406
                                                      Tel: 818-540-8031
                                                      'Ema.ii: Toni@13\JddyCoq>.com




                                                      11
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                               EXHIBIT 1
     USCA Case #23-1223               Document #2013313                 Filed: 08/18/2023         Page 258 of 336
                                            Expert Witness Statement/Affidavit

                              In support of: Indian Peak Properties, LLC – Single Family Home

                                     26708 Indian Peak Road, Rancho Palos Verdes, CA

Author:

          Daniel W. Redmond, Senior Wireless Network Design Engineer

          Ph: 916.296.0282, Email: dredmo77@att.net

Qualifications:

          A.S. Aviation, CCAF; B.S. Information Systems, UoP

          FCC Licensed, PG-GB-062835

          23 Years of Licensed and Unlicensed Microwave Operations, Management, and Engineering Experience. 30
          Years’ experience in general electronics. 10+ of these years as the lead Microwave Engineer for over 900
          Licensed and 50 Unlicensed Point to Point Commercial Microwave Paths.

Statement of facts for the modified/renewed Petition for Declaratory Ruling to the FCC Commission.

              1. Mr. James A Kay Jr. owns Indian Peak Properties, LLC, which owns the Single-Family home located at
                 26708 Indian Peak Road in Rancho Palos Verdes, CA.
              2. Indian Peak Properties, LLC is both the customer and exclusive rights holder to the property.
              3. Concerning Antenna #4: Cambium ePMP 2000 Unlicensed 2x2 MIMO 5.8 GHz Panel Antenna “Frequency
                 Diversity” Fixed Wireless Broadband Internet Antenna which we identify as Antenna #4.
                     a. Antenna # 4 is as follows:
                                i. Internet Service Provider: One Internet America
                               ii. Less than one meter in diameter.
                              iii. Designed as a hub and relay antenna that is used for the distribution of broadband-only
                                   fixed wireless services to Indian Peak Properties, LLC.
                              iv. Is in service being used by customer: Indian Peak Properties, LLC
                               v. Is located on the property belonging to Indian Peak Properties, LLC.

Considerations:

First, Indian Peak Properties, LLC is owned by Mr. Kay. Indian Peak Properties is the customer of this single-family home.
While Indian Peak Properties, LLC may contract out for assistance during routine maintenance of his radio network as
well as home maintenance, they maintain exclusive use of the home and property.

Second, the use of this antenna deemed Antenna #4 is compliant with OTARD due to the following facts.

          Antenna #4 is the Frequency Diversity fixed wireless service for broadband internet service.

Third, Indian Peak Properties, LLC is the customer to which this service is being provided.

OTARD Rules apply to this antenna under the Rules that state:
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         “hub and relay antennas that are used for the distribution of broadband-only fixed wireless services to multiple
customer locations, regardless of whether they are primarily used for this purpose, as long as: (1) the antenna serves a
customer on whose premises it is located, and (2) the service provided over the antenna is broadband-only.”

         “Antennas designed to receive and/or transmit data services, including Internet access, are included in the
rule. Additionally, the most recent amendment clarifies that hub or relay antennas used to access the Internet must provide
broadband-only service to qualify under the rule.”

         “The Commission’s rule covers the antennas necessary to receive or transmit service. Therefore, a local rule may not,
for example, allow only one antenna if more than one antenna is necessary to receive or transmit the desired service.”

Fourth, having read the history of this case with the city and the FCC Commission, I believe some simple clarifications are
necessary to resolve this matter. In Summary and as stated above.

    1. Antenna #4 is used to provide OTARD covered services: Broadband Internet Services over Fixed Wireless.
    2. Indian Peak Properties, LLC is the customer and is located on the Property at 26708 Indian Peak Road, Rancho
       Palos Verdes, CA
    3. Indian Peak Properties, LLC has exclusive usage rights to the installations located on the single-family home.
    4. No safety concerns have been brought into question and no General Exposure limitations have been exceeded.
    5. Antenna #4 does not exceed 12’ above the roofline height to tip.
    6. No historical preservation concerns have been raised.

Sources:

    -    Network Design and Topology Discussion with Mr. Kay, owner of Indian Peak Properties, LLC.
    -    2022 04 22_FCC Dismissal OTARD Petition Document
    -    Indian Peak OTARD Petition (2020-04-17) Document
    -    Indian Peak Urgent Request (OTARD 19-Apr-2022) Document
    -    Indian Peak OTARD Supplement (10-Dec-2021) Document
    -    (17) Pictures and Notes Supplied by Mr. Kay
    -    https://www.fcc.gov/media/over-air-reception-devices-rule

Notes:

I can confirm that, Indian Peak Properties, LLC’s Antenna #4 is in fact in compliance with OTARD Rules.



Daniel W. Redmond, Senior Wireless Network Design Engineer, 916.296.0282

                      ~
Date: 04/24/2022 ________________________________________________
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                               EXHIBIT 2
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       PROPERTY DETAIL REPORT         created 2022-04-26 Prepared exclusively for TONEATA MARTOCCHIO


      TARGET PROPERTY

 26708 INDIAN PEAK RD RANCHO PALOS VERDES, CA 90275-2333 C031
      Owner Information
 Owner Name:                 INDIAN PEAK PROPERTIES LLC
 Mailing Address:            1350 E FLAMINGO RD #13B34 LAS VEGAS NV 89119-5263 C037
 Phone Number:                                       Vesting Codes:
 Owner Occupied                                      Pending Record
                             N
 Indicator:                                          Indicator:
 Corporate Owner:
 II
      Location Information

 Legal Description:          TR=21350 LOT 80
 County:                     LOS ANGELES               APN:                     7577-013-030
 Census Tract / Block:       6704.18                   Alternate APN:
 Township-Range-Sect:                                  Subdivision:             21350
 Legal Book - Page:          599-90                    Map Reference:           72-E4 /
 Legal Lot:                  80                        Tract #:                 21350
 Legal Block:                                          School District:         PALOS VERDES PENINSU
 Market Area:                176                       Munic / Township:
 Neighbor Code:

      Owner Transfer Information

 Recording / Sale Date:      11/29/2005                Sale Price:
 Document #:                                           Deed Type:               GRANT DEED
 Instrument #:               000002980048              1st Mtg Document #:
 Book - Page:

      Last Market Sale Information

 Recording / Sale Date:      04/28/1994 /              1st Mtg Amount / Type: $292,000.00 / CONV
                                                                                 / ADJUSTABLE INT RATE
 Sale Price:                 $365,000.00               1st Mtg Int. Rate / Type:
                                                                                 LOAN
 Sale Type:                  FULL                      1st Mtg Term:
 Document #:                 821070                    1st Mtg Document #:
 Instrument #:               000000821070              1st Mtg Instrument #:
 Book - Page:                                          1st Mtg Book - Page:
 Deed Type:                  GRANT DEED                2nd Mtg Amount / Type: /
                                                       2nd Mtg Int. Rate /
 Transfer Document #:                                                            /
                                                       Type:
 New Construction:                                     2nd Mtg Term:
 Multi / Split Sale:                                   Price per SqFt:           $141.14
 Cash Down Payment:                                    Stamps Amount:            $401.50
 Title Company:              SOUTH COAST TITLE
 Lender:                     WELLS FARGO BK
 Seller Name:                UGAS ARMINDA

      Prior Sale Information
 II
 Prior Rec / Sale Date:      06/09/1987 / 06/00/1987   Prior Deed Type:         GRANT DEED
 Prior Sale Price:           $350,000.00               Prior Lender:
                                                       Prior 1stMtg             $255,000.00 / PRIVATE
 Prior Sale Type:            FULL
                                                       Amount/Type:             PARTY
                                                       Prior 1stMtg Int.        / ADJUSTABLE INT RATE
 Prior Doc #:                909071
                                                       Rate/Type:               LOAN
 Prior Instrument #:         000000909071              Prior Stamps Amount:     $385.00
 Prior Book - Page:
 II
      Site Information
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                                                                                             SINGLE
  Land Use:            SFR          Acres:               .1727         County Use:           FAMILY
                                                                                             RESID
  Flood Zone:                       Lot Area:           7521           State Use:
  Flood Zone Map:                   Lot Width / Depth: /               Site Influence:
  Flood Panel Date:                 Usable Lot:                        Sewer Type:
  Res / Comm Units:                 Lot Shape:                         Topography:
  # of Buildings:      1            Bldg Width / Depth: /              Water Type:
                                                                                             CENTRAL
  Zoning:              RPRS8000*    Building Class:                    Water District:
                                                                                             AND W BASIN

   Tax Information

  Total Value:         $573,122.00 Assessed Year:      2021                Property Tax:      $7,217.68
  Land Value:          $354,867.00 Improve %:                              Tax Area:          7097
  Improvement
                       $218,255.00 Dist:                                   Tax Year:          2021
  Value:
  Total Taxable                                        CONSOLIDATED
                       $573,122.00 Fire Dist:                       Tax Exemption:
  Value:                                               CO
  Market Value:                    Garbage Dist:                    Equal Rate:
                                   Delinquent Date:                 Equal Year:

   Property Characteristics

  Gross Area:                       Parking Type:                      Construction:
  Living Area:         2586         Garage Area:                       Heat Type:            CENTRAL
  Tot Adj Area:                     Garage 2 Area:                     Heat Fuel:
  Above Grade:                      Garage Capacity:                   Parcel Fuel:
  Ground Floor Area:                Parking Spaces:                    Exterior Wall:
  Base / Main Area:    /            Carport:                           Interior Wall:
  Upper Area:                       Basement Area:                     Foundation:
  2nd Floor Area:                   Finish Bsmnt Area:                 Air Cond:
  3rd Floor Area:                   Basement Type:                     Roof Type:
  Rentable Area:                    Attic Type:                        Roof Shape:
  Additional Area:                  Porch Type:                        Roof Frame:
  Total Rooms:                      Porch 1 Area:                      Roof Material:
  Bedrooms:            4            Porch 2 Area:                      Floor Type:
  Bath (F/H):          3/           Patio Type:                        Floor Cover:
  Total Baths /
                       3/           Patio 1 Area:                      Style:
  Fixtures:
  Year Built / Eff:    1958 / 1966 Pool:                               Quality:
  Fireplace:                       Pool Area:                          Condition:
  Fireplace
                                                                       # of Stories:
  Description:
  Basement
                                                                       Other Rooms:
  Description:
  Other
  Improvements:
  Bldg Comments:
  Parcel Comments:

   Extra Features

                                             Size /                           Year
   Description:                  Unit:                Width:      Depth:               Improvement Value:
                                             Qty:                             Built:




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     .. . "•
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                                                                 05 2980048

                                                         RECORDED/FILED IN OFFICIAL RECORDS
                                                                RECORDER'S OFFICE
                                                               LOS ANGELES COUNTY
                                                                    CALIFORNIA


                                                          8:21 AM      DEC 06 2005




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              CODE
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       Assessor's Identification Number (AIN)
       To be completed by Examiner OR Title Company In black ink.        Number of AIN's Shown



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                                   THIS FORM IS NOT TO BE DUPLICATED
USCA Case #23-1223                 Document #2013313                    Filed: 08/18/2023            Page 264 of 336



 RECORDING REQUESTED BY                                                             05 2980048
 RICHARD K. SEMETA, ESQ.


 AND WHEN RECORDED MAIL TO

 RICHARD K. SEMETA,
 A PROFESSIONAL LAW CORPORATION
 4695 MACARTHUR COURT, SUITE 310
 P.O. BOX 10367
 NEWPORT BEACH, CA 92658-0367


                                                       Space above line for Recorder's Use
 APN: 7577-13-030                                      NO TAX DUE.


                                                   GRANT DEED

 Documentary transfer tax is NONE.**

 _   Unincorporated area X Rancho Palos Verdes

 Mail tax statements to: Lucky's Two-Way Radios, Inc., 1350 E. Flamingo Road, Suite 13B/346, Las Vegas, Nevada
 89119

         FOR NO CONSIDERATION, GRANTOR Idyll Propenies, LLC, a Nevada limited liability company,
 hereby GRANTS TO Indian Peak Propenies, LLC, a Nevada limited liability company that real propeny in the City
 of Rancho Palos Verdes, County of Los Angeles, State ofCalifomia, described in Exhibit "A" attached hereto and
 incorporated herein.

 Dated:    11/2'1/         ,2005
                                                                 Idyll Properties, LLC
                                                                 By: Lucky's Two Way Radios, Inc.,




 •• The grantors and the grantees in this conveyance are comprised of the same parties who continue to hold the
 same proponionate interest in the propeny, R & T 11923( d).

 State of Nevada            )
                            ) ss
 County of Clark            )

 On {I - a? <?-o S:: , 2005, before me,       C. 0orif90 , a notary public in and for the State of California,
 personally appeared James Allan Kay Jr., personally known to me (or proved to me on the basis of satisfactory
 evidence) to be the person whose name is subscribed to the within instrument and acknowledged to me that he
 executed the same in his authorized capacity, and that by his signature on the instrument, the. person,. or the entity
 upon behalf of which the person acted, executed the instrument.                   · ·                         •.


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                                                                                    05 2~80048

                                                    EXHIBIT A


 Lot 80 of Tract No. 21350, in the City of Rancho Palos Verdes, County of Los Angeles, State of California, as per
 map recorded in Book 599, Page(s) 90 to 95 of Maps, in the office of the County Recorder of said County.
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                               EXHIBIT 3
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                                                       One Internet
                                                       America
                                                       Antenna # 4
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                               EXHIBIT 4
8
                                                                              ePMP Sector Antenna SPECIFICATION SHEET
        USCA Case #23-1223                  Document #2013313          Filed: 08/18/2023     Page 269 of 336
          Cambium Networks™



ePMP Sector Antenna
Cambium Networks has deployed more than five million radios
around the world achieving unparalleled degrees of scalability.
Based on this vast experience, Cambium Networks has designed an
antenna solution that enables network operators to increase the
spectral efficiency and scale of their ePMP™ point-to-multipoint
(PMP) distribution access networks. Wireless Service Providers
deploying networks in 5 GHz spectrum will find this sector antenna
for 90° and 120° applications especially well-suited for high-density
networks requiring frequency re-use and wide-band spectrum
coverage.



KEY DEPLOYMENT ADVANTAGES:
        Frequency Reuse: Designed for ABAB channel re-use (two
         channels covering four sectors), the sector antenna has 35 dB
         front to back ratio including a wide aperture in the rear-facing
         direction.

        Channel Flexibility: Consistent gain from 4 .9 to 6.0 GHz
         allows the operator to select a channel anywhere in the band
         and achieve the expected performance.

        Consistent Coverage: Excellent null fill capabilities of the
         antenna allow for broad geographical coverage within a
         sector even near the base of the tower and the edges of the
         sector.

        Designed for the Installer: Small compact design, integrated
         ePMP radio mount and GPS antenna integration.

        Predictable Performance: The sector antenna is integrated
         into Cambium Networks LINKPlanner. The 3D model shows
         coverage at all elevations and across the azimuth.


KEY SPECIFICATIONS:
        18 dBi gain

        4 .9 to 5.97 GHz spectrum

        35 dB front to back ratio

         IP 65 ruggedization




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SPEC-ePMP-GLOC-SVSP-ACCS-0406-2016
                                                                                                       ePMP Sector Antenna SPECIFICATION SHEET
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Specifications
 PRODUCT

 Model#                                                   C050900D021A

 Frequency Range                                          4.9 GHz to 5.97 GHz

 Gain                                                     18 dBi

 3 dB Beamwidth - Azimuth                                 90 degrees

 6 dB Beamwidth - Azimuth                                 120 degrees

 3 dB Beamwidth - Elevation                               6 degrees

 Electrical Downtilt                                      -2 degrees

 Polarization                                             Horizontal and Vertical

 Port-to-Port Isolation                                   > - 30 dB

 Front-to-Back Ratio                                      35 dB

 Maximum Input Power                                      SW

 Input Impedance                                          50 ohms

 Mounting Connectors                                      2 x RP SMA

 Mounting Hardware                                        Included for mounting to mast diameters 2" to 4" (5 cm to 10 cm)
                                                          -10 to +5 degree tilt
                                                          Hardware included to connect ePMP access point to back of antenna body

 Physical Dimensions                                      Antenna Body: 23.4" (H) x 6.2" (W) x 4.3" (D) (594 mm x 157 mm x 110 mm)
                                                          w/ ePMP 1000 Access Point: 23.4" (H) x 6.2" (W) x 5.9" (D) (594 mm x 157 mm x 150 mm)

 Weight                                                   Antenna Body: 8.8 lbs. (4.0 kg)
                                                          w/ ePMP 1000 Access Point and Mounting Brackets: 14.6 lbs. (6.6 kg)

 Environmental                                            IP65

 Radome Material                                          UV Protected ABS

 Operating Temp                                           -40°( to 60°( (-40°Fto 140°F)

                                 90 '                                                                                   90"
                          10s·          75•                                                                    105•              75•




   155•                                                   IS'                          165'                                                       15'
                                                                                                 -

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  -165'                                                   -15'                        . 1fi5 •                                                    .15 •




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SPEC-ePMP-GLOC-SVSP-ACCS-0406-2016
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                               EXHIBIT 5
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                                   RESOLUTION NO. 2018-61

                  A RESOLUTION OF THE CITY COUNCIL OF THE CITY OF
                  RANCHO PALOS VERDES REVOKING IN ITS ENTIRETY
                  AND EFFECTIVE IMMEDIATELY CONDITIONAL USE
                  PERMIT NO. 230 FOR THE INSTALLATION OF
                  COMMERCIAL ANTENNAS AND RELATED SUPPORT
                  STRUCTURES AT 26708 INDIAN PEAK ROAD.

           WHEREAS, on June 21, 2001, the Applicant/Appellant, Mr. James A. Kay, Jr.,
     submitted applications for Conditional Use Permit No. 230 and Environmental
     Assessment No. 744 for after-the-fact approval to establish the then-existing 5-masted,
     roof-mounted antennae and related support structures and equipment on the site for
     commercial use; and,

           WHEREAS, on September 19, 2001, the applications for Conditional Use Permit
     No. 230 and Environmental Assessment No. 744 were deemed complete by Staff; and,

            WHEREAS, pursuant to the provisions of the California Environmental Quality Act,
     Public Resources Code Sections 21000 et seq. ("CEQA"), the State's CEQA Guidelines,
     California Code of Regulations, Title 14, Section 15000 et. seq., the City's Local CEQA
     Guidelines, and Government Code Section 65962.5(f) (Hazardous Waste and
     Substances Statement), Staff found no evidence that Conditional Use Permit No. 230 and
     Environmental Assessment No. 744 would not have a significant effect on the
     environment and, therefore, the proposed project was determined by Staff to be
     categorically exempt (Class 1, Section 15301 ); and,

             WHEREAS, after the submittal of these applications on June 21, 2001, and while
     the Planning Commission was conducting the public hearings on this application, the
     Applicant installed at least twelve (12) additional vertical antenna masts with attached
     antennae onto the previously existing roof-mounted antenna support structure and array,
     including additional cables and conduits for the additional antennae; and on November 8,
     2001, the Applicant submitted revised plans to the City depicting a total of twenty (20)
     vertical antenna masts with attached antennae on the roof-mounted antenna support
     structure and array; and,

            WHEREAS, after notice issued pursuant to the requirements of the Rancho Palos
     Verdes Development Code, the Planning Commission held a duly noticed public hearing
     on October 23, 2001, November 13, 2001, and November 15, 2001, at which time all
     interested parties were given an opportunity to be heard and present evidence; and,

           WHEREAS, the Planning Commission, on November 15, 2001, adopted
     P.C. Resolution No. 2001-43 conditionally approving the project; and,




                                                                              AR000001
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          WHEREAS, Mr. Kay timely appealed conditional approval by letter dated
     November 28, 2001, based on disagreement with "all conditions regulating the location,
     number and placement of antennas on the project site .... "; and,

            WHEREAS, after notice issued pursuant to the requirements of the Rancho Palos
     Verdes Development Code, the City Council held a duly noticed public hearing on
     February 19, 2002, March 19, 2002, March 25, 2002 and April 16, 2002, at which time all
     interested parties were given an opportunity to be heard and present evidence; and,

           WHEREAS, the City Council, on April 16, 2002, adopted Resolution No. 2002-27,
     thereby denying the appeal, modifying certain conditions of approval and conditionally
     approving the project; and,

            WHEREAS, on May 15, 2002, Mr. Kay filed suit against the City in Federal District
     Court in order to overturn the City's decision on the grounds, among other things, that it
     violated the Telecommunications Act of 1996; and,

            WHEREAS, on July 14, 2004, the United States District Court for the Central
    District of California ruled in the case of Kay v. Rancho Palos Verdes and ordered the
    "City Council of the City of Rancho Palos Verdes to issue a new resolution allowing James
    A. Kay, Jr. to use his five (5) mast antenna structure for commercial purposes, subject to
    reasonable conditions"; and,

          WHEREAS, the City revised the conditions of approval for Conditional Use Permit
    No. 230 to allow the commercial use of Mr. Kay's 5-mast, roof-mounted, antenna array,
    which existed at the time and was depicted on plans provided to the City of Rancho Palos
    Verdes with the original submittal of the application for Conditional Use Permit No. 230
    on June 21, 2001; and,

           WHEREAS, this matter was agendized for the City Council's review and
    consideration on October 5, 2004, and November 16, 2004, but on both occasions the
    matter was continued to a subsequent City Council meeting at Mr. Kay's request in order
    to allow his legal counsel to discuss additional proposed revisions to the conditions of
    approval for Conditional Use Permit No. 230 with the City Attorney; and,

           WHEREAS, the City Council, on December 21, 2004, adopted Resolution
     No. 2004-109, thereby revising eight (8) conditions of approval for Conditional Use Permit
     No. 230 pursuant to the July 14, 2004, order of the United States District Court; and,

           WHEREAS, Mr. Kay subsequently petitioned the United States District Court to
     vacate the conditions of approval imposed by Resolution No. 2004-109; and,

           WHEREAS, on April 4, 2005, the United States District Court issued an order in
     response to Mr. Kay's petition, finding that the provisions of Condition No. 19 of
     Conditional Use Permit No. 230 requiring "that Mr. Kay maintain the property as his



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     primary residence [were] not reasonable," but also finding that all other conditions of
     approval imposed by Resolution No. 2004-109 were reasonable; and,

               WHEREAS, after notice issued pursuant to the requirements of the Rancho Palos
     Verdes Development Code, on July 5, 2005, the City Council adopted Resolution
     No. 2005-75 revising the language for Condition No. 19 of Conditional Use Permit No.
     230 thereby requiring that Mr. Kay complete necessary improvements to make the house
     habitable, including but not limited to, a functional kitchen and bathroom, and connections
     to utilities, along with weekly landscape and maintenance services; and,

            WHEREAS, on November 28, 2014, the City issued Mr. Kay a Notice of Violation
     for the installation of unpermitted roof-mounted antennas resulting in a total of thirteen
     (13) roof-mounted antennae and support pole masts, well in excess of the five (5) City
     Council-approved, roof-mounted antennae and support pole masts. The City ordered the
     removal of all but the five (5) City Council-approved roof-mounted antennae and support
     pole masts from the roof, and requiring that the remaining five (5) City Council-approved,
     roof-mounted antennae and support pole masts comply with the City Council-adopted
     Conditions of Approval for Conditional Use Permit No. 230; and,

            WHEREAS, on July 26, 2016, the City set a thirty (30) day period for compliance
     with the November 28, 2014, Notice of Violation. At the request of Mr. Kay, the City, in
     good faith, granted a time extension to this compliance deadline to October 28, 2016;
     and,

            WHEREAS, on October 28, 2016, a Conditional Use Permit revision application
     (Planning Case No. ZON2016-00517) was submitted to the City requesting to legalize the
     unpermitted roof-mounted antennas; and,

            WHEREAS, on November 23, 2016, the application was deemed incomplete for
     processing, and because the application originated from code enforcement action, the
     Applicant was given thirty (30) days, or until December 21, 2016, to submit the requested
     additional information in order continue processing the application; and,

           WHEREAS, on March 21, 2017, the City received a letter from Mr. Kay's legal
     counsel, Mr. Nakasu, asserting that the application to revise Conditional Use Permit
     No. 230 with an after-the-fact amendment should be granted pursuant to RPVMC
     §17.76.020(A)(12)(b); and,

            WHEREAS, on April 14, 2017, the City Attorney responded by outlining the City's
     position that, pursuant to Resolutions 2002-27, 2004-109, and 2005-75, the five (5) City
     Council-approved, roof-mounted antennae and support pole masts "refer only to the
     antennae and antenna array depicted in the plans submitted to the City on June 21, 2001,
     in photographs accompanying the application to revise CUP No. 230, and Environmental
     Assessment No. 744." Further, the City Attorney stated that any suggestion that additional
     antennae, support pole masts, and other structures were mere modifications not requiring
     City Council approval directly contravened the binding resolutions; and,



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             WHEREAS, on June 28, 2017, City Staff, the City Prosecutor, Mr. Nakasu, and
     Mr. Kay met to discuss this matter, at which time, Mr. Nakasu indicated that the antennae
     and support structures were "outdated" and "obsolete" and that they could be replaced
     with an alternative structure that would both address the telecommunications capacity
     needs, as well as the City's safety and aesthetic concerns with the current structures.
     Four months elapsed from the June 28, 2017, meeting, during this time, Mr. Kay did not
     make any further attempts to cure the application deficiencies in order to proceed with
     processing a revision to CUP No. 230, or to rectify the technological obsolescence of the
     existing structures; and,

            WHEREAS, on October 19, 2017, Staff granted, in good faith, Mr. Kay additional
     time to submit the requested information in order for Mr. Kay to acquire a new permit
     expediter company; and,
                                                          •
            WHEREAS, on October 23, 2017, the City Prosecutor sent a letter to Mr. Kay and
     Mr. Nakasu, the purpose of which was to summarize events subsequent to the June 28,
     2017, meeting, to reiterate the deficiencies in the CUP No. 230 revision application, to
     discuss potential replacement of current, "obsolete," structures, and to discuss the
     potential for reinstating the Code Enforcement case, should the City's demands not be
     met; and,

             WHEREAS, on December 13, 2017, City Staff, City Prosecutor, Mr. Nakasu, and
    Mr. Kay met, and at this meeting, Mr. Kay proposed alternative designs to replace the
    existing antennae, such as a faux monopole tree or new roof antennae on the rear yard-
    facing roof pitch, that would address the City's concerns and meet the needs of the
    commercial antennas. As a result, it was agreed that Mr. Kay would submit, by mid-
    January 2018, a concept drawing regarding a proposed alternative design for the City's
    initial review, followed by an application for the CUP on or before February 28, 2018. To
    date, the City has not received any information from Mr. Kay or his legal counsel; and,

           WHEREAS, in accordance to RPVMC §17.60.080, if any of the conditions to the
    use or development are not maintained, then the Conditional Use Permit shall be null and
    void. Furthermore, the continued operation of a use requiring a Conditional Use Permit
    which is found to be noncompliant with any condition of a Conditional Use Permit shall
    constitute a violation of the Municipal Code; and,

           WHEREAS, after notice issued pursuant to the requirements of the Rancho Palos
    Verdes Municipal Code, the City Council held a duly-noticed public hearing on August 21,
    2018 to consider revoking Conditional Use Permit No. 230, at which time all interested
    parties were given an opportunity to be heard and present evidence.

        NOW, THEREFORE, THE CITY COUNCIL OF THE CITY OF RANCHO PALOS
    VERDES DOES HEREBY FIND, DETERMINE, AND RESOLVE AS FOLLOWS:




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           Section 1: Having heard .and considered the oral, written, and documentary
     evidence presented at the duly-noticed public hearing conducted by the City Council on
     August 21, 2018, the City Council makes the following findings:

           A.     The property located at 26708 Indian Peak Road, Rancho Palos Verdes,
                  California, (the "Subject Property") is the subject of Conditional Use Permit
                  No. 230 ("CUP No. 230"), as granted by the City Council in Resolution No.
                  2004-109, and as amended by Resolution No. 2005-75. The Applicant, Mr.
                  James A. Kay, Jr., did not successfully challenge, within the time provided
                  by law, Resolution No. 2005-75, and has from and after the adoption of
                  Resolution No. 2005-75 (the "CUP Date") accepted the benefits of CUP No.
                  230.

           B.     CUP No. 230 required removal of all but five (5) of the existing eight-and-
                  on-half-foot long masts and two of the television antennae from the roof,
                  authorized a maximum of five (5) vertical masts, each with a height of eight
                  and one-half (8 ½) feet, and not more than four (4) radiating per each mast.

           C.     Condition of Approval No. 2.d states in part, "Any additional exterior
                  antennae, masts or other antenna and support structure(s) shall require
                  further approval or modification of this conditional use permit."

           D.    Further, Condition of Approval No. 2 goes on to state that the Director is
                 authorized to make only minor modifications to the approved plans and
                 conditions of approval. "Otherwise, any substantive change, such as the
                 enlargement, expansion or addition to, the exterior masts and antennae that
                 this approval allows outside of the exiting residential structure shall require
                 approval of a revision to Conditional Use Permit No. 230 by the City Council
                 and shall require a new and separate environmental review."

           E.    The Subject Property has at various times from after the CUP Date had
                 installed antennae and/or vertical masts on the roof as testified to by staff
                 and depicted in photographic evidenced submitted into the Administrative
                 Record. Such evidence discloses installation of as many as twelve (12)
                 additional vertical masts (the "Additional Masts") over and above the five (5)
                 permitted by CUP No. 230.

           F.    Mr. Kay has failed to provide any evidence that any permits of any kind
                 (zoning, building, etc.) were obtained by him, directly or by an agent acting
                 on his behalf, authorizing the construction of the Additional Masts. Written
                 correspondence from his attorney admits such construction has occurred,
                 does not contest to permits were obtained in advance, and has confirmed
                 such by submitting an incomplete application for an "after-the-fact" permit
                 for the Additional Masts.




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          G.     City records fail to show any action by the City Council subsequent to
                 Resolution No. 2005-75 modifying, amending, or otherwise affecting CUP
                 No. 230 to allow installation of more than five (5) vertical masts on the
                 Subject Property. Further, although the City Council finds it would not
                 properly be the subject of a minor modification, staff has indicated that no
                 application for a minor modification was approved by the Director to that
                 effect.

          H.     The City staff has made various efforts to resolve these issues short of a
                 revocation beginning in 2014. Despite numerous meetings, exchanges of
                 correspondence, and opportunities to come into compliance with CUP No.
                 230 or, in the alternative, apply for a modification to CUP No. 230 to
                 retroactively permit the Additional Masts, Mr. Kay has not diligently pursued
                 any remedial opportunity and has continued to operate the unpermitted
                 facilities while essentially "stringing along" the City.

          I.     Based upon all the evidence presented, and after hearing the arguments
                 and testimony on behalf of Mr. Kay, the public, and City staff, the City
                 Council finds the evidence of construction of the unpermitted Additional
                 Masts to be essentially uncontested in that Mr. Kay has admitted they exist.
                 The City Council finds that no permits of any kind (zoning or building) were
                 obtained by Mr. Kay and therefore the construction of the Additional Masts
                 was in violation of the Rancho Palos Verdes Municipal Code and the
                 specific provisions of the Conditions of Approval relating to modification or
                 expansion of the use of the antennae structure by the increase in the
                 number of masts above the five (5) permitted by CUP No. 230.

          J.     The City Council further finds that the violation directly impacts surrounding
                 properties due to the increased visual impact of commercial antennae which
                 the limitation on the number of vertical masts was narrowly tailored to
                 address, and that the Subject Property owner has repeatedly and knowingly
                 violated the Conditions of Approval by the installation of the Additional
                 Masts without any permits or other legally-required approvals, and
                 subsequently has availed himself of numerous opportunities to come into
                 compliance with the terms of CUP No. 230 such that revocation is the
                 appropriate action and is necessary to protect the legitimate interests of the
                 community.

           Section 2: Based on the information included in the Staff Report, the testimony
    and evidence presented at the public hearings in the past before the Planning
    Commission and the City Council, the administrative records related to those prior
    proceedings, the Minutes and the other records of this proceeding on file with the City,
    the City Council of the City of Rancho Palos Verdes hereby revokes Conditional Use
    Permit No. 230, as amended, in its entirety.




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           PASSED, APPROVED, AND ADOPTED this 21 st day of August 2018.




                                                                   ~~
                                                                   Mayor • ....




     State of California              )
     County of Los Angeles            ) ss
     City of Rancho Palos Verdes      )

     I, Emily Colborn, City Clerk of the City of Rancho Palos Verdes, hereby certify that the
     above Resolution No. 2018-61 was duly and regularly pass       and adopted by the said
     City Council at a regular meeting thereof held on August 21, 2 8.




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                       ALESHIRE&                                                                June S. Allln
                                                                                      Jallln@awattomeys.com
                                                                                                                2361 Rosecrans Ave., Suhe 475
                                                                                                                El Segundo, CA 90245
                       WYNDERut>                                                              (310) 527-6665    P (310) 527-6660
                                                                                                                F (310) 532-7395


                         A• El.ES I      OE I ENTRAl.. VALLEY




                                                         November 19, 2021


       VIA ELECTRONlC MAIL ONLY

       Dawn Cushman
       Angela M. Rossi
       Bradley, Gmelicb & Wellerstein, LLP
       700 N. Brand Boulevard, 10th Floor
       Glendale, CA 91203

                  Re:           26708 Indian Peak Road/Removal of Antennas

       Dear Ms. Cushman and Ms. Rossi:

              By now, I am sure you have had an opportunity to review the court of appeal's opinions
       affirming the judgment in the writ of mandate case and all but affirming the judgment in the
       nuisance abatement case. While there remains some work for a court to do on the nuisance
       abatement case, the ultimate outcome is clear. The City has prevailed on the first and second
       causes of action, making whatever happens to the third cause of action irrelevant.

               In light of this outcome, the City hereby again demands, and expects, that all of the
       antennas at 26708 lndian Peak Road (except for the television satellite dish) and all related support
       structures, equipment and equipment housing will be removed expeditiously. If the 'removal have
       not been completed by December 22, 2021, we will proceed with obtaining a court order allowing
       the City to enter the property, remove t1te antennas and all related support structures, equipment
       and equipment housing, and recover the costs from Indian Peak Properties, LLC.

                                                                  Very truly yours,

                                                                  ALESHIRE & WYNDER, LLP

                                                                    ~a:t~
                                                                  June S. AiUn
                                                                  Partner

       cc:        Honorable Mayor & Councilmembers,
                   City of Rancho Palos Verdes
                  Ara Mihranian, AICP,
                   City Manager
                  William W. Wynder, Esq.




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                               EXHIBIT 6
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            Internet Service Contract


   Customer Name: Indian Peak Properties, LLC

   Date: May 18, 2020

   Project: Indian Peak Properties, LLC

   Service Address: 26708 Indian Peak Rd
   Rancho Palos Verdes, CA 90275


   Terms: 1 Year

   Monthly Fee: 50.00

   Install Fee: Waived
   Service: 50 Mb download / 50 Mb Upload

   Notes: Customer will provide roof access for equipment
   Terms of Use Agreement & Privacy Policy
   As a user of One Internet America . (herein after referred to as One Internet America) you
   agree that you are at least 18 years of age (or have permission from a parent or guardian to
   use this service) and will abide by the policies of One Internet America. It is understood that
   information on the Internet may be unedited, uncensored, and offensive to you. You access
   such information at your own risk. One Internet America does not censor the Internet and
   has no control over what data is transmitted to you . One Internet America reserves the right
   to refuse service to anyone . As a user of One Internet America, you agree not to use the
   service in a manner that violates any local, state or federal law. You also agree not to use
   the Internet for abusive, profane, libelous, slanderous, threatening or otherwise harassing
   posts.

   INVOICES & PAYMENT: One Internet America will invoice you once a month for Services
   (on the 1st of each month), one (1) month in advance. You understand that all PAYMENTS
   ARE DUE ON THE 5th of the calendar month and over extended "Grace Period" until the
   15Th of the month.


                                          ONE INTERNET AMERICA, LLC
                                      3833 Ebony Street, Ontario, CA, 91761
                                      Tel: 909-457-0906 Fax : 909-457-0908
                                      E-Mail : info@oneinternetamerica.com
                                       Web: www.oneinternetamerica.com
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   After the 15Th day of the month, our billing system will issue a "Soft Disconnect" and will
   prevent the customer from accessing to the internet, soft disconnect will allow the customer
   to access to the billing portal system for immediate payment and automatic
   account restoration.

   Payments received after the grace period will be assessed a Late Fee of $25.00. If payment
   is not received by the close of business day on the 15Thof the month, One Internet America
   may, without notice, terminate a past due account and at it's sole discretion charge a re-
   connection fee of $50 or terminate the account completely.

   If your account is terminated due to nonpayment, you or your company will be liable for any
   applicable cancellation fee which is normally the remaining balance of your contract and all
   expenses incurred by One Internet America to collect the unpaid debt and/or
   termination fee, including, but not limited to, attorney fees/expenses, court filing fees,
   process server fees, collection agency fees/expenses, travel expenses for One Internet
   America or its agency. All invoices that include a past due balance are due and payable
   immediately. One Internet America reserves the right to terminate or cancel the contract
   and services at any time at its sole discretion.

   NET30 terms can be requested by Corporate Customers via support ticked from inside your
   account. Customer with NET 30 agreements will have extended 30 days for payment.

   If you have agreed to a Contract term of 12 months or greater and choose to terminate your
   contract not related to the "Right of Termination" before the end of your agreed upon term,
   the cancellation fee is equal to the remaining number of monthly service charges in your
   contract plus any unpaid service charges. All cancellation requests must be made in writing
   with a 30 Day Notice delivered by Mail to One Internet America 3833 Ebony Street, Ontario,
   CA, 91761 or by creating a new ticket from the customer portal.

   For a new customer setup One Internet America's invoice will reflect all applicable
   Installation and CPE charges and prorated monthly Services charges for such month and the
   advance monthly Service charges, however all Installation and Equipment charges must be
   paid at the time of installation for installation to commence. One Internet America will
   commence billing for Services upon completion of its installation.

   SERVICES: One Internet America shall provide Subscriber with internet connection services
   of 50 Mb download/ 50 Mb Upload capabilities.

   SERVICE DATE AND TERM: This agreement will commence on May 18, 2020, and will
   continue for a one (1) year period ending at midnight May 17, 2021. This agreement will
   automatically be extended and renewed on the same terms and conditions, unless Customer
   provides at least sixty (60) days written notice to One Internet America prior to the end of
   the applicable term, of its intent to terminate, whereupon the terms shall terminate.

   RIGHT OF TERMINATION: Customer can request services termination without any penalty
   or other charges only if the services are not delivered as requested or if One Internet
   America is not able to maintain a substantial service level agreement (SLA) for the service
   (s) at the customer location.

   Customer can request a copy of the SLA for current services by opening a new support ticket
   from the customer portal at any time.


                                         ONE INTERNET AMERICA, LLC
                                     3833 Ebony Street, Ontario, CA, 91761
                                     Tel: 909-457-0906 Fax: 909-457-0908
                                     E-Mail: info@oneinternetamerica.com
                                      Web: www.oneinternetamerica.com
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   One Internet America will retrieve the equipment installed at the customer premises after
   the services termination; Installation fees will not be reimbursed. If the services are
   terminated before the end of the contact date due One Internet America failure to maintain
   standard SLA, customer will not be charged for the remaining time of the contract.

   In case of customer relocation if One Internet America and its agents are unable to provide
   service to Customer's new location, the Agreement shall terminate and no early termination
   fees shall apply.

   SERVICE RELOCATION: If the Customer moves during the term of this Agreement and
   would like to relocate the Service, Customer must place a relocation request with One
   Internet America. as soon as possible. This request must contain the requested date of
   service termination, plus the address and phone number of the new location if possible and
   the prospective move-in date. Upon receiving a written or email relocation request from
   Customer, One Internet America. will place a "relocation order" for the new location.

   The Service may be maintained at the old address until the Service has been delivered to
   the new address. All applicable installation fees will be charged at the new address. After the
   Service has been delivered to Customer's new address, Customer may choose to keep the
   Service up at the old address for up to 30 days for a smooth transition. Customer will be
   billed for both services during any period when both are in service simultaneously. If the old
   Service has not been cancelled within 30 days after delivery of the new Service, they will be
   considered separate orders.

   BANDWIDTH: One Internet America's service commitment is to provide an average of
   eighty-percent (80%) of the rated bandwidth as tested by the One Internet America network
   bandwidth-monitoring device and burstable to a maximum of the rated bandwidth.

   The One Internet America commitment extends from the subscriber premises to our network
   node at the One Internet America Network Interconnect Facility (NIF). For example, for One
   Internet America's 10 Mbps access service, the eighty-percent (80%) commitment level
   would result in an average bandwidth of 8 Mbps burstable to 10 Mbps.

   NETWORK AVAILABILITY: Due to One Internet America's high standards, we are
   committed to network availability for any link of 99.9%

   NETWORK OUTAGE CREDITS: One Internet America will provide credits for One Internet
   America documented network outages resulting in subscriber loss of use of the network for
   requesting subscribers in the following instances: For subscriber outages of More Than 30
   Minutes or greater within a 24 hour period in which a subscriber requests a credit One
   Internet America will provide a credit to you for one (1) day of One Internet America's access
   service fee: Pre-announced network maintenance windows; Subscriber induced outages
   including: loss of power at the CPE; LAN issues resulting in Loss of connectivity to One
   Internet America; movement of CPE; moves and changes in cabling at the Subscriber
   Premise; changes in IP addresses or Internet issues beyond One Internet America's
   immediate control, including but not limited to Force Majure clause included in this contract.
   Your service is deemed active and in service if an One Internet America technician can ping
   the CPE or your router.

   ILLEGAL USE: Any services on an One Internet America Internet Connection must
   conform to local, state and federal ordinances. One Internet America does not allow the
   access of Pornographic or P2P File Sharing, or any other type of File Sharing on our systems.

                                         ONE INTERNET AMERICA, LLC
                                     3833 Ebony Street, Ontario, CA, 91761
                                     Tel: 909-457-0906 Fax: 909-457-0908
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                                      Web: www.oneinternetamerica.com
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   Subscriber assumes all risks associated with copyright restrictions, trademark
   restrictions, confidentiality limitations, trade secrets, patent restrictions or any other
   intellectual property, tangible or intangible rights associated with all electronic content
   which is downloaded or uploaded using One Internet America's Services. One Internet
   America reserves the right to exclude video over ip and voice over ip services for its own
   use and may or may not grant exclusive licenses for an additional fee to any user wishing to
   use or provide live or recorded video or voice over ip telephone services over its network.
   Any activity that violates the above items, degrades, or impacts One Internet America's
   network is grounds for immediate suspension or termination of One Internet America
   services at One Internet America's sole discretion. This will also be deemed breach of
   contract and subscriber will be charged remaining months of the service agreement.

   TECHNICAL SUPPORT: One Internet America assumes that the user has a basic
   understanding of their computer. One Internet America will not train users in basic computer
   skills such as, but not limited to deleting files or creating directories. Technical support is
   intended to facilitate the setup of your properly functioning computer system for access to
   our services. Our technical support staff is not trained to and will not assist you in
   installing and/or troubleshooting software, printers, drivers, modems or telephone lines .

   RESALE: Subscriber is expressly prohibited from reselling any Services provided hereunder.
   Subscriber is prohibited from hosting any website dedicated to the sale or dissemination of
   any unlawful goods or services. The use of these Services in connection with any matter
   or thing, which violates any municipal, state, county, or federal law or ordinance is
   prohibited, and subscriber shall indemnify and hold harmless One Internet America, its
   officers, directors, shareholders, agents and employees from any and all claims, liabilities,
   damages or expenses, including attorney's fees, arising out of or resulting from the use by
   Subscriber of the Services provided herein.

   SPAMMING: The distribution of un-solicited e-mails is against federal and state laws and
   may result in the termination of your account without notice.

   PRIVACY POLICY: One Internet America respects your privacy and will not knowingly
   distribute, or cause to be distributed your personal information to any entity for any reason,
   except in the case of a legal subpoena from a branch of the United States legal system or its
   affiliates.

   EQUIPMENT: Subscriber acknowledges that all equipment including any equipment that is
   or may be deemed to be a fixture within the meaning of the applicable Uniform Commercial
   Code, will at all times remain the property of One Internet America . Subscriber may not sell,
   transfer, lease, encumber, or assign any or all of the Equipment to any third party.
   Subscriber shall pay for the full retail cost of the equipment, or the repair or replacement
   cost of any lost, stolen, un-returned, damaged by customer, sold, transferred, leased,
   encumbered or assigned Equipment. Subscriber is responsible for any changes to the One
   Internet America equipment, software and configuration after One Internet America
   completes its service set up. However, if One Internet America determines that no such
   abuse or misuse of One Internet America's CPE Equipment has occurred, One Internet
   America will repair or replace such Equipment as required to resume Services. Should
   Subscriber cancel service with One Internet America, the Subscriber is responsible to return
   the equipment to One Internet America in good working condition within 10 days. Should
   Subscriber not return equipment as stated above, Subscriber will be liable for cost of
   equipment and will be billed at retail value.

                                          ONE INTERNET AMERICA, LLC
                                      3833 Ebony Street, Ontario, CA, 91761
                                      Tel: 909-457-0906 Fax: 909-457-0908
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                                       Web: www.oneinternetamerica.com
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   Should Subscriber wish to have One Internet America remove equipment. Subscriber may
   request removal by One Internet America at which time an additional fee will apply for One
   Internet America to remove equipment.

   MAINTENANCE: Maintenance, repair or replacement of parts damaged or lost through
   catastrophe, accident, lightning, neglect, misuse, transportation, theft, fault or negligence of
   Subscriber or causes external to the wireless system, such as, but not limited to failure of, or
   faulty, electrical power, operator error, or malfunction of Subscriber's computer and/or
   peripheral equipment not installed by One Internet America ., or from any cause related to or
   other than the intended and ordinary use, will be billed to the Subscriber at standard hourly
   rates .

   Antenna re-aiming or relocation of antennas due to obstructions su ch as trees, vegetation or
   buildings, or storm related damage, or reconstruction of tower/mast assemblies, will be
   billed to the Subscriber at standard hourly rates.

   FORCE MAJURE: IN NO EVENT SHALL One Internet America or it's Officers, or 3rd PARTY
   COI\JTRACTED PROVIDERS (COLLECTIVELY, "PROVIDER") BE LIABLE TO CUSTOMER FOR ANY
   DELAYS IN THE PERFORMANCE OF SERVICES HEREUNDER OR FOR ANY FAILURE TO
   PERFORM HEREUNDER IF SUCH DELAYS OR FAILURES ARE DUE TO STRIKES , INCLEMENT
   WEATHER, ACTS OF GOD, OR OTHER CAUSES BEYOND PROVIDERS REASONABLE CONTROL.

   PROVIDER WILL NOT BE RESPONSIBLE FOR PERFORMANCE OF ITS OBLIGATIONS
   HEREUNDER WHERE DELAYED OR HINDERED DUE TO WAR, RIOTS, EMBARGOS, STRIKES, OR
   OTHER ACTS OF ITS VENDORS AND SUPPLIERS, CONCEALED ACTS OF WORKMEN (WHETHER
   OF PROVIDER OR OTHERS). OR ACCIDENTS . SHOULD SUCH OCCURRENCE CONTINUE FOR
   MORE THAN 30 DAYS, PROVIDER OR CUSTOMER MAY CANCEL SERVICE FOR THE AFFECTED
   SERVICES AND/OR PRODUCTS WITH NO FURTHER LIABILITY. IN NO EVENT SHALL PROVIDER
   BE LIABLE FOR ANY SPECIFIC, INDIRECT, INCIDENTAL, OR CONSEQUENTIAL DAMAGES BASED
   UPON BREACH OF WARRANTY, BREACH OF COI\JTRACT, NEGLIGENCE , STRICT TORT OR ANY
   OTHER LEGAL THEORY. SUCH DAMAGES INCLUDE, BUT ARE NOT LIMITED TO, LOSS OF
   PROFITS, INDEMNITY, LOSS OF SAVINGS OR REVENUE, COST OF ANY SUBSTITUTE
   EQUIPMENT, FACILITIES OR SERVICES, DOWNTIME, THE CLAIMS OF THIRD PARTIES , AND
   INJURY TO PROPERTY.

   ANY CLAIM OR LEGAL ACTION ARISING OUT OF FAILURE, MALFUNCTION OR DEFECT
   IN PROVIDER'S SERVICES OR GOODS, OR ARISING FROM THIS CONTRACT IN ANY RESPECT,
   SHALL BE BROUGHT WITHIN A PERIOD OF ONE YEAR FOLLOWING THE OCCURRENCE OF
   SAID CLAIM OR SAID CLAIM SHALL BE DEEMED WAIVED . PROVIDER'S LIABILITY TO
   SUBSCRIBER HEREUNDER, IF ANY, SHALL IN NO EVENT. EXCEED THE TOTAL AMOUNT
   CUSTOMER HAS PAID TO PROVIDER HERUNDER. PROVIDER DOES NOT MAKE, AND HEREBY
   DISCLAIMS, ANY AND ALL EXPRESS AND IMPLIED WARRANTIES, INCLUDING, BUT NOT
   LIMITED TO, WARRANTIES OF MERCHANTIBILITY, FITNESS FOR A PARTICULAR PURPOSE,
   NONINFRINGEMENT AND TITLE, AND ANY WARRANTIES ARISING FROM A COURSE OF
   DEALING, USAGE OR TRADE PRACTICE .

   PROVIDER DOES NOT WARRANT THAT ITS SERVICE WILL PERFORM AT A PARTICULAR SPEED,
   WILL BE UNINTERRUPTED, ERROR FREE, OR COMPLETELY SECURE .

   CHOICE OF LAW: You and One Internet America agree that the law of the State of
   California , U.S.A. will apply to all matters relating to this Agreement and to One Internet
   America. In addition, You and One Internet America agree and consent that the Courts of
   San Bernardino , California, U.S.A. will have exclusive jurisdiction and be the exclusive venue
                                          ONE INTERNET AMERICA, LLC
                                      3833 Ebony Street, Ontario, CA, 91761
                                      Tel: 909-45 7-0906 Fax: 909-457-0908
                                      E-Mail: info@oneintern et america.com
                                       Web: www.oneint ernetamerica .com
USCA Case #23-1223          Document #2013313                         Filed: 08/18/2023   Page 286 of 336




   for any legal actions relating to this Agreement or to the services provided hereunder. User
   agrees to defend, indemnify and hold harmless One Internet America, its officers, directors,
   employees, agents and licensees, from any claims and expenses, including reasonable
   attorney's fees, arising out of or relating to member's use of One Internet America's service.

   In the event that the User is in breach of contract, the User agrees to pay all collection costs,
   court costs and any other applicable attorney fees incurred in order to collect any unpaid
   outstanding balance on User's account and/or breach of contract by User. The User
   understands that this agreement is assignable by One Internet America. If any part of this
   agreement is unacceptable to you, you must immediately terminate your membership with
   One Internet America. This agreement shall automatically renew on the stated periodic basis
   unless terminated by either party giving the other thirty days written notice.

   NO WAIVER: The failure of One Internet America to enforce the rules and guidelines set out
   in this Agreement, for whatever reason, shall not be construed as a waiver of any right to do
   so at any later time.

   CONSISTENT WITH APPLICABLE LAW: If any term or provision of this Agreement is held
   to be invalid or unenforceable, that term or provision shall be interpreted and enforced in
   any way that is consistent with applicable law as nearly as possible, and the remaining
   terms and provisions shall remain in full force and effect.

   RIGHT TO MONITOR: One Internet America shall operate the service properly, to protect
   itself and its customers. For that purpose, each customer must acknowledges and agree that
   One Internet America has the right (but not the obligation) to monitor the service content
   and the use of the service by each customer. One Internet America has the further right to
   disclose any information as necessary to satisfy any law, regulation, or other governmental
   requirement. One Internet America may refuse to post, and may remove, any information or
   materials, in whole or in part, that in its sole discretion considers to be inappropriate,
   unnecessary or in violation of this agreement.

   LANDLORD RIGHTS OF ACCESS: It is the Subscriber's responsibility to arrange all
   necessary rights of access for One Internet America within Subscriber's premises, including
   space for cables, conduits, equipment, and roof rights as necessary for One Internet
   America's authorized personnel to install. repair, inspect, maintain, replace or remove any
   and all facilities and equipment provided by One Internet America and to obtain landlord
   approval for the placement of the antenna on the Subscriber's building . Landlord/Owner
   consents to the installation, maintenance, and removal of the equipment described herein
   and required by Subscriber to receiver One Internet America services.

   It is understood that if a CPE and Dish is to be mounted on the exterior of the building that
   subscriber ordering such services is the authorized landlord or owner of said property and
   approves, permits and consents to the installation, maintenance, and removal of the
   One Internet America's CPE and Dish, and other equipment required to receive Services .


   IF THE ABOVE STATEMENT IS NOT TRUE THEN PLEASE FOLLOW THE DIRECTIONS THAT
   FOLLOW:
   If the CPE and Dish is to be mounted on the exterior of the building your order will not be
   serviced until landlord permission is obtained and a Rooftop Release Form has been
   signed . It is the subscriber's responsibility to obtain any required approvals or permits to
   gain landlords approval as disclosed for the placement of the CPE and Dish on the
   Subscribers building or residence .
                                          ONE INTERNET AMERICA, LLC
                                      3833 Ebony Street, Ontario, CA, 91761
                                      Tel: 909-457-0906 Fax: 909-457-0908
                                      E-Mail: info@oneinternetamerica.com
                                       Web: www.oneinternetamerica.com
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   BY SIGNING UP FOR THE SERVICES CREATES A CONTRACT BETWEEN CUSTOMER
   AND ONE INTERNET AMERICA, CONSISTING OF THE ORDER, THE APPLICABLE
   SERVICE DESCRIPTION AND THIS USER AGREEMENT AND YOU ARE AGREEING TO
   BE BOUND BY THE TERMS OF THIS AGREEMENT AND ALL TERMS AND CONDITIONS
   INCORPORATED BY REFERENCE IN THIS AGREEMENT, INCLUDING COMPANY'S
   USAGE POLICY. YOUR USE OF THE SERVICES CONSTITUTES ACCEPTANCE OF THIS
   AGREEMENT.

   I authorize that I am an authorized officer or representative of the company and I have read
   and fully understand the Terms & Conditions and agree to abide by its terms.



   Customer/Subscriber Name:           INDIAN PEAK PROPERTIES, LLC, 26708 Indian Peak Road,
                                 Rancho Palos Verdes, CA 90275-2333

   Internet Company Name:        ONE INTERNET AMERICA, LLC, 3833 Ebony Street, Ontario, CA,
                                 91761, Tel: 909-457-0906 Fax: 909-457-0908



   Indian Peak Properties, LLC



                                                   Dated: May J_q_2020




   One Internet America, LLC:
                                                                    18
                                                   Dated: May _ _ 2020
           Leisser Barerra




                                          ONE INTERNET AMERICA, LLC
                                      3833 Ebony Street, Ontario, CA, 91761
                                      Tel: 909-457-0906 Fax: 909-457-0908
                                      E-Mail: info@oneinternetamerica.com
                                       Web: www.oneinternetamerica.com
                         INDIAN PEAK PROPERTIES. LLC
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      USCA Case #23-1223                             Document #2013313                                        Filed: 08/18/2023               Page 290 of 336            .L .~   •·


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                                        (818) 997-7700
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                            (818) 997-7700
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                 ONE INTERNET AMERICA
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                 3833 EBONY ST
                 ONTARIO, CA 91761
                                                                                                                                              Invoice #
                                                                                                                                              747958

                                                                                                                                       Service Period
                 INDIAN PEAK PROPERTIES, LLC                                                                            Jul 1 2020 to Jul 31 2020
                 P.O. BOX 7835
                 VAN NUYS, CA 91409                                                                                                       Invoice Date
                                                                                                                                           Jul 1 2020

                                                                                                                                             Due Date
                                                                                                                                          Jul 22 2020
                                                                                                                                    Account Number
            Charges                                                             $109.01                                                         112577

            Taxes / Fees                                                            $0.00
            Credits                                                               ($0.00)
            Payments Applied                                                  ($109.01)
            Total due by Jul 22 2020                                               $0.00




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                                                                                               Please make checks payable to ONE INTERNET AMERICA


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                                                                                                              INDIAN PEAK PROPERTIES, LLC
                 ONE INTERNET AMERICA                                                                         P.O. BOX 7835
                 3833 EBONY ST                                                                                VAN NUYS, CA 91409
                 ONTARIO, CA 91761


                                                                                                                                          (909) 457-0906
                                                                                                                      http://www.oneinternetamerica.com
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Indian Peak Properties, LLC (112577) 26708 Indian Peak Road, Rancho Palos Verdes, CA 90275

Charges
AIRFIBER DEDICATED PTP 50 x 1                                                                    $50.00
AIRFIBER DEDICATED PTP 50 x 1                                                                    $59.01


Payments Applied
Check payment applied on Oct 6 2020                                                            ($36.47)
Check payment applied on Jun 9 2020                                                            ($50.00)
Check payment applied on Jun 9 2020                                                            ($22.54)
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                 ONE INTERNET AMERICA
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                 3833 EBONY ST
                 ONTARIO, CA 91761
                                                                                                                                              Invoice #
                                                                                                                                               749230

                                                                                                                                       Service Period
                 INDIAN PEAK PROPERTIES, LLC                                                                         Feb 1 2021 to Feb 28 2021
                 P.O. BOX 7835
                 VAN NUYS, CA 91409                                                                                                        Invoice Date
                                                                                                                                           Feb 1 2021

                                                                                                                                             Due Date
                                                                                                                                          Feb 22 2021
                                                                                                                                    Account Number
            Charges                                                               $50.00                                                        112577

            Taxes / Fees                                                            $0.00
            Credits                                                               ($0.00)
            Payments Applied                                                    ($50.00)
            Total due by Feb 22 2021                                               $0.00




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                                                                                                              INDIAN PEAK PROPERTIES, LLC
                 ONE INTERNET AMERICA                                                                         P.O. BOX 7835
                 3833 EBONY ST                                                                                VAN NUYS, CA 91409
                 ONTARIO, CA 91761


                                                                                                                                          (909) 457-0906
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Indian Peak Properties, LLC (112577) 26708 Indian Peak Road, Rancho Palos Verdes, CA 90275

Charges
AIRFIBER DEDICATED PTP 50 x 1                                                                    $50.00


Payments Applied
Check payment applied on Apr 21 2021                                                           ($36.47)
Check payment applied on Mar 29 2021                                                           ($13.53)
                USCA Case #23-1223                  Document #2013313                       Filed: 08/18/2023             Page 297 of 336


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                 ONE INTERNET AMERICA
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                 3833 EBONY ST
                 ONTARIO, CA 91761
                                                                                                                                              Invoice #
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                                                                                                                                       Service Period
                 INDIAN PEAK PROPERTIES, LLC                                                                       May 1 2021 to May 31 2021
                 P.O. BOX 7835
                 VAN NUYS, CA 91409                                                                                                       Invoice Date
                                                                                                                                          May 1 2021

                                                                                                                                       Past Due As Of
                                                                                                                                       May 22 2021
                                                                                                                                    Account Number
            Charges                                                               $50.00                                                        112577

            Taxes / Fees                                                            $0.00
            Credits                                                               ($0.00)
            Payments Applied                                                      ($0.00)
            Total due by May 22 2021                                              $50.00

         PLEASE UPDATE MAILING ADDRESS TO:
         ONE INTERNET AMERICA
         3833 EBONY STREET
         ONTARIO, CALIFORNIA, 91761




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                 ONE INTERNET AMERICA                                                                         P.O. BOX 7835
                 3833 EBONY ST                                                                                VAN NUYS, CA 91409
                 ONTARIO, CA 91761


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Indian Peak Properties, LLC (112577) 26708 Indian Peak Road, Rancho Palos Verdes, CA 90275

Charges
AIRFIBER DEDICATED PTP 50 x 1                                                                    $50.00
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                 ONE INTERNET AMERICA
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                 3833 EBONY ST
                 ONTARIO, CA 91761
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                                                                                                                                               749986

                                                                                                                                       Service Period
                 INDIAN PEAK PROPERTIES, LLC                                                                          Jun 1 2021 to Jun 30 2021
                 P.O. BOX 7835
                 VAN NUYS, CA 91409                                                                                                       Invoice Date
                                                                                                                                           Jun 1 2021

                                                                                                                                             Due Date
                                                                                                                                          Jun 22 2021
                                                                                                                                    Account Number
            Charges                                                               $50.00                                                        112577

            Taxes / Fees                                                            $0.00
            Credits                                                               ($0.00)
            Payments Applied                                                      ($0.00)
            Total due by Jun 22 2021                                              $50.00

         PLEASE UPDATE MAILING ADDRESS TO:
         ONE INTERNET AMERICA
         3833 EBONY STREET
         ONTARIO, CALIFORNIA, 91761




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                 ONE INTERNET AMERICA                                                                         P.O. BOX 7835
                 3833 EBONY ST                                                                                VAN NUYS, CA 91409
                 ONTARIO, CA 91761


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Indian Peak Properties, LLC (112577) 26708 Indian Peak Road, Rancho Palos Verdes, CA 90275

Charges
AIRFIBER DEDICATED PTP 50 x 1                                                                    $50.00
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                 3833 EBONY ST
                 ONTARIO, CA 91761
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                                                                                                                                       Service Period
                 INDIAN PEAK PROPERTIES, LLC                                                                            Jul 1 2021 to Jul 31 2021
                 P.O. BOX 7835
                 VAN NUYS, CA 91409                                                                                                       Invoice Date
                                                                                                                                           Jul 1 2021

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                                                                                                                                          Jul 22 2021
                                                                                                                                    Account Number
            Charges                                                               $50.00                                                        112577

            Taxes / Fees                                                            $0.00
            Credits                                                               ($0.00)
            Payments Applied                                                      ($0.00)
            Total due by Jul 22 2021                                              $50.00

         PLEASE UPDATE MAILING ADDRESS TO:
         ONE INTERNET AMERICA
         3833 EBONY STREET
         ONTARIO, CALIFORNIA, 91761




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                 ONE INTERNET AMERICA                                                                         P.O. BOX 7835
                 3833 EBONY ST                                                                                VAN NUYS, CA 91409
                 ONTARIO, CA 91761


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Indian Peak Properties, LLC (112577) 26708 Indian Peak Road, Rancho Palos Verdes, CA 90275

Charges
AIRFIBER DEDICATED PTP 50 x 1                                                                    $50.00
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                 3833 EBONY ST
                 ONTARIO, CA 91761
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                                                                                                                                       Service Period
                 INDIAN PEAK PROPERTIES, LLC                                                                         Aug 1 2021 to Aug 31 2021
                 P.O. BOX 7835
                 VAN NUYS, CA 91409                                                                                                       Invoice Date
                                                                                                                                          Aug 1 2021

                                                                                                                                             Due Date
                                                                                                                                        Aug 22 2021
                                                                                                                                    Account Number
            Charges                                                               $50.00                                                        112577

            Taxes / Fees                                                            $0.00
            Credits                                                               ($0.00)
            Payments Applied                                                      ($0.00)
            Total due by Aug 22 2021                                              $50.00

         PLEASE UPDATE MAILING ADDRESS TO:
         ONE INTERNET AMERICA
         3833 EBONY STREET
         ONTARIO, CALIFORNIA, 91761




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                 ONE INTERNET AMERICA                                                                         P.O. BOX 7835
                 3833 EBONY ST                                                                                VAN NUYS, CA 91409
                 ONTARIO, CA 91761


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                                                                                                                      http://www.oneinternetamerica.com
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Indian Peak Properties, LLC (112577) 26708 Indian Peak Road, Rancho Palos Verdes, CA 90275

Charges
AIRFIBER DEDICATED PTP 50 x 1                                                                    $50.00


Unapplied Payments
                USCA Case #23-1223                  Document #2013313                       Filed: 08/18/2023             Page 305 of 336


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                 3833 EBONY ST
                 ONTARIO, CA 91761
                                                                                                                                              Invoice #
                                                                                                                                               750526

                                                                                                                                       Service Period
                 INDIAN PEAK PROPERTIES, LLC                                                                         Sep 1 2021 to Sep 30 2021
                 P.O. BOX 7835
                 VAN NUYS, CA 91409                                                                                                        Invoice Date
                                                                                                                                           Sep 1 2021

                                                                                                                                             Due Date
                                                                                                                                          Sep 22 2021
                                                                                                                                    Account Number
            Charges                                                               $50.00                                                        112577

            Taxes / Fees                                                            $0.00
            Credits                                                               ($0.00)
            Payments Applied                                                      ($0.00)
            Total due by Sep 22 2021                                              $50.00

         PLEASE UPDATE MAILING ADDRESS TO:
         ONE INTERNET AMERICA
         3833 EBONY STREET
         ONTARIO, CALIFORNIA, 91761




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                                                                                                              112577
                                                                                                              INDIAN PEAK PROPERTIES, LLC
                 ONE INTERNET AMERICA                                                                         P.O. BOX 7835
                 3833 EBONY ST                                                                                VAN NUYS, CA 91409
                 ONTARIO, CA 91761


                                                                                                                                          (909) 457-0906
                                                                                                                      http://www.oneinternetamerica.com
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Indian Peak Properties, LLC (112577) 26708 Indian Peak Road, Rancho Palos Verdes, CA 90275

Charges
AIRFIBER DEDICATED PTP 50 x 1                                                                    $50.00


Unapplied Payments
                USCA Case #23-1223                  Document #2013313                       Filed: 08/18/2023             Page 307 of 336


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                 3833 EBONY ST
                 ONTARIO, CA 91761
                                                                                                                                              Invoice #
                                                                                                                                               750754

                                                                                                                                       Service Period
                 INDIAN PEAK PROPERTIES, LLC                                                                          Oct 1 2021 to Oct 31 2021
                 P.O. BOX 7835
                 VAN NUYS, CA 91409                                                                                                        Invoice Date
                                                                                                                                           Oct 1 2021

                                                                                                                                             Due Date
                                                                                                                                          Oct 22 2021
                                                                                                                                    Account Number
            Charges                                                               $50.00                                                        112577

            Taxes / Fees                                                            $0.00
            Credits                                                               ($0.00)
            Payments Applied                                                      ($0.00)
            Total due by Oct 22 2021                                              $50.00

         PLEASE UPDATE MAILING ADDRESS TO:
         ONE INTERNET AMERICA
         3833 EBONY STREET
         ONTARIO, CALIFORNIA, 91761




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                                                                                                              INDIAN PEAK PROPERTIES, LLC
                 ONE INTERNET AMERICA                                                                         P.O. BOX 7835
                 3833 EBONY ST                                                                                VAN NUYS, CA 91409
                 ONTARIO, CA 91761


                                                                                                                                          (909) 457-0906
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Indian Peak Properties, LLC (112577) 26708 Indian Peak Road, Rancho Palos Verdes, CA 90275

Charges
AIRFIBER DEDICATED PTP 50 x 1                                                                    $50.00


Unapplied Payments
                USCA Case #23-1223                  Document #2013313                       Filed: 08/18/2023             Page 309 of 336


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                 3833 EBONY ST
                 ONTARIO, CA 91761
                                                                                                                                              Invoice #
                                                                                                                                              751055

                                                                                                                                       Service Period
                 INDIAN PEAK PROPERTIES, LLC                                                                        Nov 1 2021 to Nov 30 2021
                 P.O. BOX 7835
                 VAN NUYS, CA 91409                                                                                                       Invoice Date
                                                                                                                                          Nov 1 2021

                                                                                                                                             Due Date
                                                                                                                                       Nov 22 2021
                                                                                                                                    Account Number
            Charges                                                               $19.00                                                        112577

            Taxes / Fees                                                            $0.00
            Credits                                                               ($0.00)
            Payments Applied                                                    ($19.00)
            Total due by Nov 22 2021                                               $0.00

         PLEASE UPDATE MAILING ADDRESS TO:
         ONE INTERNET AMERICA
         3833 EBONY STREET
         ONTARIO, CALIFORNIA, 91761




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                                                                                                              INDIAN PEAK PROPERTIES, LLC
                 ONE INTERNET AMERICA                                                                         P.O. BOX 7835
                 3833 EBONY ST                                                                                VAN NUYS, CA 91409
                 ONTARIO, CA 91761


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Indian Peak Properties, LLC (112577) 26708 Indian Peak Road, Rancho Palos Verdes, CA 90275

Charges
AIRFIBER DEDICATED PTP 50 x 1                                                                    $19.00


Payments Applied
Check payment applied on Oct 26 2021                                                           ($19.00)


Unapplied Payments
Check payment applied on Oct 26 2021                                                             $31.00
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      USCA Case #23-1223                   Document #2013313                          Filed: 08/18/2023           Page 311 of 336


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     USCA Case #23-1223             Document #2013313            Filed: 08/18/2023    Page 312 of 336

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Date:    04/25/22USCA
                  at 10:14 Case
                           AM   #23-1223     Document #2013313                       Filed: 08/18/2023    Page 321 of 336
                                                      Indian Peak Properties, LLC
                                                  Computer & Manual Check Register
                                                Current and History Files, After 12/01/21
                                                All Accounts, Sessions 000000 to 001666
                                                            Vendor = ONE1


Vendor       Vendor Name              Check #       Ck Date   Prity   Invoices          Reference                      Amount

Checking Account:    10200-000                       Session: 001615
ONE1         One Internet America     1365          12/13/21 2        2022001           JANUARY                             38.00
                                      1372          01/17/22 2        2022002           FEBRUARY                            38.00
                                      1378          02/11/22 2        2022003           MARCH                               38.00
                                      1386          03/11/22 2        2022004           APRIL                               38.00
                                      1392          04/11/22 2        2022005           MAY                                 38.00

                                                                                        ONE1 Subtotal :                 190.00


                                                                                 Check Register Total :                 190.00
USCA Case #23-1223   Document #2013313     Filed: 08/18/2023   Page 322 of 336



                               EXHIBIT 7
USCA Case #23-1223                               Document #2013313                                   Filed: 08/18/2023                     Page 323 of 336
                                                       RANCHO PALOS VERDES
                                                                Business License Application
                                                                For Home Occupancy Businesses
                                                                                Expires December 31 . 2022


  I            COMPLETE ALL APPLICABLE INFORMATION ON THE FRONT ANO BACK OF THIS FORM.

                                  0Renewal
           (Check One):
                                  ~ New License & Date (Business Began Operating In the                               04/18/2022

   Business Name _c_tt.;...yl:_IN_D_IA_N_P_E_A_K_P_R_O_P_E_R_T_IE_S_,_L_L_C
                                                                          _ _ _ _ _ _ _ _ _ _ __
   Home Address _ _2_6_7_08_IN_D_IA_N_P_E_A_K_R_D
                                                _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                  RANCHO PALOS VERDES, CA 90275
                                                                                               Zip

   Mailing Address
   (If Different From Above)


                                  City                                                         Zip


  Business Phone                  818-997 -7700                                 Email         Maxi.Silver@buddycorp.com

  Business Classification (Check One):                    Osole Proprietor              Ocorporation              OPartnership

                                                                                                                Other (Specify)_ _ _ _ __
                                           XX-XXXXXXX
  Tax ID (FEIN, SSN)
  Business Owner Name                      KAY, JAMES
                                                                Last                                              First


  Description of Business                                RENTAL
      (Indicate if visitors will be
      coming to the residence)




           Regulated                Please check one of the boxes below if your business is or you are an independent
           Businesses               contractor for any of the following types of businesses:

                             Medical Marijuana   Dispensary□           Escort   service□         Peddling     Service□           Massage Service   D
      I CERTIFY UNDER PERJURY THAT ALL INFORMATION PROVIDED ON THIS APPLICATION IS CORRECT AND THAT
                    THE AFOREMENTIONED BUSINESS IS OBEYING ALL FEDERAL, STATE AND LOCAL LAWS.
                        /'

                                                  James Kay, .Jr                        PRESIDENT OF MANAGF.R
             Sign?""iy'                            Print Name                                         Title                                  Date
   Please Note:    Business license applications are due prior to commencing operations and expire each
   December 31st. Section 5.04.490 of the Rancho Palos Verdes Municipal Code imposes fines and criminal
   remedies for violation of the Business Tax Ordinance. Penalties will be assessed @ 5% for each month
   delin uent u to 50% of the total license fee. No extensions or waivers of the enal amount will be ranted.




                                                                          $4.00
       -    - Tax                          Penalty                       State Fee      - -      Total Amount Due -       Initials      Check#
      Planning, Building & Safety, & Code Enforcement Use Only
                          Zone                                                                                        Approved _      _ _ __        _
                          Type
                                 - - - - - - - Moratofium   --- - - ----                                                      Date
                   Comments
                                 - - - -- - -     PI an ner
                                                                         - ------ -
                                 - - - - - - - - - - -- --
                                          30940 Hawthorne Boulevard, Rancho Palos Verdes, CA 90275
                                            Business License Office (310) 544-5301 www.rpvca.gov
USCA Case #23-1223                   Document #2013313                          Filed: 08/18/2023           Page 324 of 336



                               City of Rancho Palos Verdes
                               Home Occupation Standards
                                                    (effective May 15, 1997)


           17 .08.030 Review of applications. Home Occupations shall be permitted only if they comply with the
           following standards, and such other conditions, which are imposed by the director:

  A.       All structures must comply with general appearance, setbacks, and landscaping standards and regulations
           applicable to all zoning districts of the area in which they are located.

  B.        No displays, signs, and/or advertisements associated with the Home Occupation shall be permitted.

  C.       The permitted activity shall not be injurious to the use of neighboring property by reason of noise, vibration,
           odor, fumes, smoke, dust or similar adverse impacts on adjacent properties.

  D.       There shall be no radio or television interference created by said Home Occupation.

  E.       A Home Occupation shall not create vehicular or pedestrian traffic which changes the residential character of
           the neighborhood and dwelling unit where the business is being conducted, or create a greater demand for
           parking than can be accommodated on site or on the street frontage abutting the property where the Home
           Occupation is being conducted.

  F.       There shall be no deliveries to and from the residence of bulk materials which are used in conjunction with
           the Home Occupation and no deliveries of materials, goods or retail merchandise associated with a Home
           Occupation, if such deliveries change the residential character of the neighborhood and dwelling unit where
           the business is being conducted.

   G.      The person conducting the profession or business must reside within the dwelling unit in which the activity is
           located.

  H.       With the exception of one "home occupation employee," as defined in chapter 17.96, there shall be no
           employment of help other than individuals residing at the subject residence . An on site parking area of no
           less than nine (9) feet in width by twenty (20) feet in length shall be provided for the one home occupation
           employee.

  I.       There shall be no use or storage of dangerous chemicals, acids, caustics, explosives, or other such
           hazardous equipment or materials, other than those materials that are used in typical household activities as
           classified in the county household hazardous materials list.

  J_       T_here shall be no storage of materials and/or supplies, associated with the Home Occupation, outside of the
           residence, which may be visible from adjoining properties and/or the public right-of-way. If the garage is
           used to store Home Occupation associated materials, the minimum interior parking dimensions specified in
           Section 17.02.030 (Single Family Residential Districts) shall be maintained.

  K.       There shall be no use of utilities or community facilities, which change the residential character of the
           neighborhood and dwelling unit where the business is being conducted beyond the level, which is normal for
           the use of the property for residential purposes.

  L.       The establishment and conduct of a Home Occupation shall not change the principal residential character of
           the use of the dwelling unit, nor shall there be any exterior evidence of the Home Occupation being
           conducted. The home occupation use shall be clearly incidental to the residential use.

  I HAVE READ AND I UNDERSTAND THE STANDARDS REGULATING HOME OCCUPATIONS IN THE CITY OF
  RANCHO PALOS VERDES.


  INDIAN PEAK PROPERTIES, LLC
  Business Name

  26708 INDIAN PEAK RD.
                                                                        JAMES A. KAY JR
  RANCHO PALOS VERDES CA
  90275 Street Address                                                  Business Owner Name (printed)

   04/18/2022
  Date


  W:\FORMS\BUSINESS LICENSE\2 008\BL FORMS\HOME OC STANDARDS FORM.DOC
          MUST BE DISPLAYED IN PLACE OF BUSINESS - NON TRANSFERABLE
      USCA Case #23-1223                Document #2013313                      Filed: 08/18/2023            Page 325 of 336

              r,~                  .                                                 City of Rancho Palos Verdes
                                                                                     30940 Hawthorne Blvd.
                                                                                     Rancho Palos Verdes, CA 90275
     CITY OF.            RANcHo PALOS \t'ERoo,                                       31 0-544-5301

                        BUSINESS TAX REGISTRATION CERTIFICATE
INDIAN PEAK PROPERTIES LLC                                                        Number:                   BLBUS-4921
P.O. BOX 7890                                                                     Issue Date:               4/18/2022
VAN NUYS, CA 91409                                                                Expiration Date:         12/31/2022
                                                                                  ISSUING OFFICER:
   Business Name: INDIAN PEAK PROPERTIES LLC
 Business Address: 26708 INDIAN PEAK RD
                   RANCHO PALOS VERDES CA 90275-0000
          This certificate is evidence that the person or firm named has paid a tax to conduct and operate a business
          as indicated hereon pursuant to the provisions of Chapter 5.04 of the Rancho Palos Verdes Municipal Code.




     INDIAN PEAK PROPERTIES LLC
     P.O. BOX 7890
     VAN NUYS, CA 91 409
USCA Case #23-1223                  Document #2013313                           Filed: 08/18/2023          Page 326 of 336



                                City of Rancho Palos Verdes
                                Home Occupation Standards
                                                     (effective May 15, 1997)


            17.08.030 Review of applications. Home Occupations shall be permitted only if they comply with the
            following standards, and such other conditions, which are imposed by the director:

   A.       All structures must comply with general appearance, setbacks, and landscaping standards and regulations
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   B.       No displays, signs, and/or advertisements associated with the Home Occupation shall be permitted.

   C.       The permitted activity shall not be injurious to the use of neighboring property by reason of noise, vibration,
            odor, fumes, smoke, dust or similar adverse impacts on adjacent properties.

   D.       There shall be no radio or television interference created by said Home Occupation.

   E.       A Home Occupation shall not create vehicular or pedestrian traffic which changes the residential character of
            the neighborhood and dwelling unit where the business is being conducted, or create a greater demand for
            parking than can be accommodated on site or on the street frontage abutting the property where the Home
            Occupation is being conducted.

   F.       There shall be no deliveries to and from the residence of bulk materials which are used in conjunction with
            the Home Occupation and no deliveries of materials, goods or retail merchandise associated with a Home
            Occupation, if such deliveries change the residential character of the neighborhood and dwelling unit where
            the business is being conducted.

    G.      The person conducting the profession or business must reside within the dwelling unit in which the activity is
            located.

   H.       With the exception of one "home occupation employee," as defined in chapter 17.96, there shall be no
            employment of help other than individuals residing at the subject residence. An on site parking area of no
            less than nine (9) feet in width by twenty (20) feet in length shall be provided for the one home occupation
            employee.

   I.       There shall be no use or storage of dangerous chemicals, acids, caustics, explosives, or other such
            hazardous equipment or materials, other than those materials that are used in typical household activities as
            classified in the county household hazardous materials list.

   J.       There shall be no storage of materials and/or supplies, associated with the Home Occupation, outside of the
            residence, which may be visible from adjoining properties and/or the public right-of-way. If the garage is
            used to store Home Occupation associated materials, the minimum interior parking dimensions specified in
            Section 17.02.030 (Single Family Residential Districts) shall be maintained.

   K.       There shall be no use of utilities or community facilities, which change the residential character of the
            neighborhood and dwelling unit where the business is being conducted beyond the level, which is normal for
            the use of the property for residential purposes.

   L.       The establishment and conduct of a Home Occupation shall not change the principal residential character of
            the use of the dwelling unit, nor shall there be any exterior evidence of the Home Occupation being
            conducted . The home occupation use shall be clearly incidental to the residential use.

   I HAVE READ AND I UNDERSTAND THE STANDARDS REGULATING HOME OCCUPATIONS IN THE CITY OF
   RANCHO PALOS VERDES.
   COMM ENTERPRISES, LLC DBA
   SOUTHLAND COMMUNICAITONS

   Business Name

   26708 INDIAN PEAK RD.                                                JAMES A. KAY JR
                                                                        Business Owner Name (printed)
   RANCHO PALOS VERDES CA 90275
   Street Address
   04/20/2022
   Date


   W:\FORMS\BUSINESS LICENSE\2008\BL FORMSIHOME QC STANDARDS FORM.DOC
         MUST BE DISPLAYED IN PLACE OF BUSINESS- NON TRANSFERABLE
     USCA Case #23-1223                Document #2013313                     Filed: 08/18/2023            Page 327 of 336

            ~
                                                                                    City of Rancho Palos Verdes
                                                                                    30940 Hawthorne Blvd.
                                                                                    Rancho Palos Verdes, CA 90275
     CITYOF  RANcHoPAI.OS\/ERDEs                                                    310-544-5301

                       BUSINESS TAX REGISTRATION CERTIFICATE
COMM UNICATIONS RELAY, LLC                                                       Number:                   BLBU-0601
P.O. BOX 7890                                                                    Issue Date:               4/20/2022
VAN NUYS, CA 91409                                                               Expiration Date:         12/31/2022
                                                                                 ISSUING OFFICER:
   Business Name: COMMUNICATIONS RELAY, LLC
 Business Address: 26708 Indian Peak Rd
                    Rancho Palos Verdes CA 90275
         This certificate is evidence that the person or firm named has paid a tax to conduct and operate a business
         as indicat ed hereon pursuant to the provisions of Chapter 5.04 of the Rancho Palos Verdes Municipal Code.




     COMMUNICATIONS RELAY, LLC
     P.O. BOX 7890
     VAN NUYS, CA 91409
   USCA MUST  BE DISPLAYED
        Case #23-1223      IN PLACE
                       Document     OF BUSINESS
                                #2013313         - NON
                                             Filed:      TRANSFERABLE
                                                    08/18/2023 Page 328 of 336

              r,~                                                                    City of Rancho Palos Verdes
                                                                                     30940 Hawthorne Blvd.
                                                                                     Rancho Palos Verdes, CA 90275
     CITVOF.             RAtta-loPALIB\IERDEs                                        310-544-5301

                        BUSINESS TAX REGISTRATION CERTIFICATE
LT-WR, LLC                                                                        Number:                   BLBU-0563
P.O. BOX 7890                                                                     Issue Date:               1/19/2022
VAN NUYS, CA 91409                                                                Expiration Date:         12/31/2022
                                                                                  ISSUING OFFICER:
   Business Name: LT-WR, LLC
 Business Address: 26708 Indian Peak Rd
                   Rancho Palos Verdes CA 90275
          This certificate is evidence that the person or firm named has paid a tax to conduct and operate a business
          as indicated hereon pursuant to the provisions of Chapter 5.04 of the Rancho Palos Verdes Municipal Code.




     LT-WR, LLC
     P.O. BOX 7890
     VAN NUYS, CA 91409
USCA Case #23-1223       st.CRETARY              STATE
                           Document #2013313 OFFiled: 08/18/2023                             Page 329 of 336




                       NEVADA STATE BUSINESS LICENSE
                                    INDIAN PEAK PROPERTIES, LLC




                           Nevada Business Identification # NV20051707408
                                    Expiration Date: 11/30/2022

  In accordance with Title 7 of Nevada Revised Statutes, pursuant to proper application duly filed and
  payment of appropriate prescribed fees, the above named is hereby granted a Nevada State Business
  License for business activities conducted within the State of Nevada.
  Valid until the expiration date listed unless suspended, revoked or cancelled in accordance with the
  provisions in Nevada Revised Statutes. License is not transferable and is not in lieu of any local business
  license, permit or registration.
  License must be cancelled on or before its expiration date if business activity ceases. Failure to do
  so will result in late fees or penalties which, by law, cannot be waived.




                                                          IN WITNESS WHEREOF, I have hereunto set my
                                                          hand and affixed the Great Seal of State, at my
                                                          office on 12/06/2021.




   Certificate Number: B202112062207212
   You may verify this certificate                                BARBARA K. CEGAVSKE
                                                                        Secretary of State
   online at http://www.nvsos.gov
USCA Case #23-1223   Document #2013313     Filed: 08/18/2023   Page 330 of 336



                               EXHIBIT 8
    USCA Case #23-1223                         STATE
                                         Document      OF NEVADA
                                                  #2013313    Filed: 08/18/2023                    Page 331 of 336
    BARBARA K. CEGAVSKE                                                          Commercial Recordings & Notary Division
                                                                                            202 N. Carson Street
               Secretary of State                                                          Carson City, NV 89701
                                                                                          Telephone (775) 684-5708
                                                                                             Fax (775) 684-7138
     KIMBERLEY PERONDI                                                                    North Las Vegas City Hall
                                                                                     2250 Las Vegas Blvd North, Suite 400
           Deputy Secretary for                       OFFICE OF THE                      North Las Vegas, NV 89030
          Commercial Recordings
                                                SECRETARY OF STATE                        Telephone (702) 486-2880
                                                                                             Fax (702) 486-2888




     Alina Franco                                                         Work Order #: W2021120602375
     15525 Cabrito Road                                                   December 6, 2021
     Van Nuys, CA 91406, USA                                              Receipt Version: 1

Special Handling Instructions:                                            Submitter ID: 12452

Charges
 Description                        Fee Description Filing Number   Filing            Filing   Qty Price  Amount
                                                                    Date/Time         Status
 Annual List                    Fees                20211938896     12/6/2021         Approved 1 $150.00 $150.00
                                                                    4:05:48 PM
 Annual List                    Business License    20211938896     12/6/2021         Approved       1     $200.00 $200.00
                                Fee                                 4:05:48 PM
 Annual List                    Business License    20211938896     12/6/2021         Approved       1     $100.00 $100.00
                                Late Fee                            4:05:48 PM
 Annual List                    Annual List Late    20211938896     12/6/2021         Approved       1       $75.00         $75.00
                                Fee                                 4:05:48 PM
 Total                                                                                                                 $525.00

Payments
 Type                                Description                        Payment Status                                  Amount
 Credit Card                         6388355341036878903086             Success                                        $525.00
 Total                                                                                                                 $525.00
                                                                                                Credit Balance:              $0.00




     Alina Franco
     15525 Cabrito Road
     Van Nuys, CA 91406, USA
USCA Case #23-1223                 STATE
                             Document      OF NEVADA
                                      #2013313    Filed: 08/18/2023                           Page 332 of 336
BARBARA K. CEGAVSKE                                                              Commercial Recordings Division
                                                                                        202 N. Carson Street
      Secretary of State                                                               Carson City, NV 89701
                                                                                      Telephone (775) 684-5708
                                                                                         Fax (775) 684-7138
KIMBERLEY PERONDI                                                                     North Las Vegas City Hall
                                                                                 2250 Las Vegas Blvd North, Suite 400
    Deputy Secretary for                 OFFICE OF THE                               North Las Vegas, NV 89030
   Commercial Recordings
                                   SECRETARY OF STATE                                 Telephone (702) 486-2880
                                                                                         Fax (702) 486-2888



                           Business Entity - Filing Acknowledgement
                                                                                 12/06/2021
  Work Order Item Number:              W2021120602375 - 1761038
  Filing Number:                       20211938896
  Filing Type:                         Annual List
  Filing Date/Time:                    12/06/2021 16:05:48 PM
  Filing Page(s):                      2


  Indexed Entity Information:
 Entity ID: E0766652005-1                           Entity Name: INDIAN PEAK
                                                    PROPERTIES, LLC
 Entity Status: Active                              Expiration Date: None


  Commercial Registered Agent
  CORPORATION SERVICE COMPANY
  112 NORTH CURRY STREET, Carson City, NV 89703, USA




  The attached document(s) were filed with the Nevada Secretary of State, Commercial
  Recording Division. The filing date and time have been affixed to each document,
  indicating the date and time of filing. A filing number is also affixed and can be used to
  reference this document in the future.

                                                                 Respectfully,




                                                                 BARBARA K. CEGAVSKE
                                                                     Secretary of State
                                             Page 1 of 1

                                     Commercial Recording Division
                                         202 N. Carson Street
        USCA Case #23-1223                       Document #2013313
                      BARBARA K. CEGAVSKE                                   AnnualFiled:
                                                                                    or 08/18/2023
                                                                                         Amended  Page 333 of 336
                                                                                                    List
                      Secretary of State
                      202 North Carson Street                                 and State Business
                      Carson City, Nevada 89701-4201
                      (775) 684-5708                                          License Application
                      Website: www.nvsos.gov
                                 www.nvsilverflume.gov



                                             □          ANNUAL
                                                   AMENDED                                       (check one)

List of Officers, Managers, Members, General Partners, Managing Partners, Trustees or Subscribers:

 INDIAN PEAK PROPERTIES, LLC                                                                                              NV20051707408
 NAME OF ENTITY                                                                                                                Entity or Nevada Business
                                                                                                                              Identification Number (NVID)
TYPE OR PRINT ONLY - USE DARK INK ONLY - DO NOT HIGHLIGHT

IMPORTANT: Read instructions before completing and returning this form.
Please indicate the entity type (check only one):

□ Corporation
                                                                                                     Filed in the Office of      Business Number
                                                                                                                                 E0766652005-1
     □ This corporation is publicly traded, the Central Index Key number is:                        ~K.~d;__,                    Filing Number
                                                                                                                                 20211938896
                                                                                                     Secretary of State          Filed On

□ Nonprofit Corporation (see nonprofit sections below)                                               State Of Nevada
                                                                                                                                 12/06/2021 16:05:48 PM
                                                                                                                                 Number of Pages
                                                                                                                                 2
M Limited-Liability Company
□ Limited Partnership
□ Limited-Liability Partnership
□ Limited-Liability Limited Partnership
□ Business Trust
□ Corporation Sole
Additional Officers, Managers, Members, General Partners, Managing Partners, Trustees or Subscribers, may be listed on a supplemental page.
  CHECK ONLY IF APPLICABLE
 Pursuant to NRS Chapter 76, this entity is exempt from the business license fee.

  □ 006 - NRS 680B.020 Insurance Co, provide license or certificate of authority number
      001 - Governmental Entity

  □
 For nonprofit entities formed under NRS chapter 80: entities without 501(c) nonprofit designation are required to maintain a state business license,
 the fee is $200.00. Those claiming an exemption under 501(c) designation must indicate by checking box below.

  □ Exemption Code 002
       Pursuant to NRS Chapter 76, this entity is a 501(c) nonprofit entity and is exempt from the business license fee.

For nonprofit entities formed under NRS Chapter 81: entities which are Unit-owners' association or Religious, Charitable, fraternal or other
organization that qualifies as a tax-exempt organization pursuant to 26 U.S.C $ 501(c) are excluded from the requirement to obtain a state business
license. Please indicate below if this entity falls under one of these categories by marking the appropriate box. If the entity does not fall under either of
these categories please submit $200.00 for the state business license.
                                                      Religious, charitable, fraternal or other organization that qualifies as a tax-exempt organization
           □   Unit-owners' Association
                                                □     pursuant to 26 U.S.C. $501(c)

For nonprofit entities formed under NRS Chapter 82 and 80:Charitable Solicitation Information - check applicable box
Does the Organization intend to solicit charitable or tax deductible contributions?

  □ No - no additional form is required
  □ Yes - the "Charitable Solicitation Registration Statement" is required.
  □ The Organization claims exemption pursuant to NRS 82A 210 - the "Exemption From Charitable Solicitation Registration Statement" is
    required
                **Failure to include the required statement form will result in rejection of the filing and could result in late fees.**



                                                                                                                                                          page 1 of 2
       USCA Case #23-1223                Document #2013313                      Filed: 08/18/2023         Page 334 of 336
                  BARBARA K. CEGAVSKE
                  Secretary of State                           Annual or Amended List
                  202 North Carson Street
                  Carson City, Nevada 89701-4201              and State Business License
                  (775) 684-5708
                  Website: www.nvsos.gov                       Application - Continued
                             www.nvsilverflume.gov



       Officers, Managers, Members, General Partners, Managing Partners, Trustees or Subscribers:
 CORPORATION, INDICATE THE MANAGER:
  LUCKY'S TWO-WAY RADIOS INC                                                                         USA
 Name                                                                                                Country
  1350 E FLAMINGO RD STE 13B BOX 346                                 LAS VEGAS                              NV        89119
 Address                                                             City                                  State Zip/Postal Code
None of the officers and directors identified in the list of officers has been identified with the fraudulent intent of concealing
the identity of any person or persons exercising the power or authority of an officer or director in furtherance of any
unlawful conduct.
I declare, to the best of my knowledge under penalty of perjury, that the information contained herein is correct and
acknowledge that pursuant to NRS 239.330, it is a category C felony to knowingly offer any false or forged instrument for filing
in the Office of the Secretary of State.


 X James A Kay Jr                                                       President of the Manager               12/06/2021
Signature of Officer, Manager, Managing Member,                         Title                                  Date

General Partner, Managing Partner, Trustee,
Subscriber, Member, Owner of Business,
Partner or Authorized Signer FORM WILL BE RETURNED IF
UNSIGNED




                                                                                                                              page 2 of 2
USCA Case #23-1223                   Document #2013313                                      Filed: 08/18/2023                   Page 335 of 336




                           DEAN HELLER
                           Secretary of St.ate
                           206 Nol1h Carson Street
                                                                                                                  ral,i
                                                                                                                     6 652 oo5-1
                           carson City, Nevada 19701~2"                                                           ~~btgi,~65-41
                           {775)SIAS708
                           Website: sec,•taf'Yofatlmt.bl7.                                                        Date Filed:
                                                                                                                  11/14/2005 2:17:36 PM
                                                                                                                  In the office of

                        Articles of Organization                                                                      ·t» .1Mt
                       Limited-Liability Company                                                                   Dean Heller
                                      (PURSUA NT TO NRS 86)                                                        Secretary of State



         lmponant: Ree •Nlld ted instructions b fore ~mplotlr,g form.


                                   INDIAN PEAK PROPERTIES. LLC

                                   GKL RESIOENT AGENTS/FILINGS. INC.

                                   ~ EAST WILLIAM ST.. STE 20&

                                                      Addl'eSll                                                City                 Sta                    Zl ~e

                                   Latlltlle!.at upon whl         c:ampa"y • lo dlsn>lv1t (ii Dll51-f)Cll la not porpelun.1): - - --        -     -    -


     4. lbn,semwi ~
        ISl!fHOflf/                Compeny shaft be managed t,y _ _X
                                                                   _ _ Manllgerf") OR _ _ _ _ Membe,..

                                    LUCKY'S 'TWO.WAY RADIOS, INC
                                   ~~ E. FLAMINGO RO, STE 138 "346                            lASVEOAS                              NEVADA                  89119
                                                                                                   City                                 State                 Zip Code


                                   Name
                                                                                                                                        S:Ote                 Zip Code


                                   Name


                                   LUCKY'S T\NO-WAY RADIOS, I C
                                  BY. JA ,ESA. KAY. JR.,               ESIOENT
                                   Ni,ml!
                                   1360 E. FLAMINGO RD, STE 138 ~6
                                   /\ddr
      7. CertlffCJJto uf
                                                                                 tgan to,    • ilbOYO Mrn9d romllled•llat>lllty compe"Y·
         ",cte,mmL}!!
         !pDomtmqnr of                                                                                           NOVEMBER 10, 2005
        Resident Agent:
                                                                                                              Oete




                                                                                                                         -"'J,..t ,U JN,,L,rt • J In   le~ t l CA"'• ,-.J
                                                                                                                                                       lt•>'Wtqll!I ~•h : tff,JJIJ
         USCA Case #23-1223     Document #2013313     Filed: 08/18/2023   Page 336 of 336
               Secretary of State              LLC-12                  20-C95464
               Statement of Information
                            (Limited Liability Company)                                                                                                FILED
                                                                                                                                      In the office of the Secretary of State
 IMPORTANT — Read instructions before completing this form.                                                                                  of the State of California

 Filing Fee – $20.00
                                                                                                                                                       JUL 27, 2020
 Copy Fees – First page $1.00; each attachment page $0.50;
             Certification Fee - $5.00 plus copy fees
                                                                                                                                      This Space For Office Use Only
 1. Limited Liability Company Name (Enter the exact name of the LLC. If you registered in California using an alternate name, see instructions.)
  INDIAN PEAK PROPERTIES, LLC
 2. 12-Digit Secretary of State File Number                                           3. State, Foreign Country or Place of Organization (only if formed outside of California)
                             200532310077                                               NEVADA
 4. Business Addresses
 a. Street Address of Principal Office - Do not list a P.O. Box                                         City (no abbreviations)                                          State       Zip Code
 1350 E Flamingo Rd. STE 13B Box 346                                                                Las Vegas                                                            NV          89119
 b. Mailing Address of LLC, if different than item 4a                                                   City (no abbreviations)                                          State       Zip Code
 PO BOX 7890                                                                                        Van Nuys                                                             CA          91409
 c. Street Address of California Office, if Item 4a is not in California - Do not list a P.O. Box       City (no abbreviations)                                          State       Zip Code
                                                                                                                                                                         CA
                                             If no managers have been appointed or elected, provide the name and address of each member. At least one name and address
                                             must be listed. If the manager/member is an individual, complete Items 5a and 5c (leave Item 5b blank). If the manager/member is
 5. Manager(s) or Member(s)                  an entity, complete Items 5b and 5c (leave Item 5a blank). Note: The LLC cannot serve as its own manager or member. If the LLC
                                             has additional managers/members, enter the name(s) and addresses on Form LLC-12A (see instructions).
 a. First Name, if an individual - Do not complete Item 5b                                              Middle Name                        Last Name                                            Suffix


 b. Entity Name - Do not complete Item 5a
                                                                                                    I                                  I                                                  I
  Lucky's Two-Way Radios, INC
 c. Address                                                                                             City (no abbreviations)                                          State       Zip Code
  1350 E. Flamingo RD. STE 13B Box 346                                                              ILas Vegas                                                       I NV I89119
 6. Service of Process (Must provide either Individual OR Corporation.)
      INDIVIDUAL – Complete Items 6a and 6b only. Must include agent’s full name and California street address.
 a. California Agent's First Name (if agent is not a corporation)                                       Middle Name                        Last Name                                            Suffix


 b. Street Address (if agent is not a corporation) - Do not enter a P.O. Box                            City (no abbreviations)                                          State       Zip Code
                                                                                                                                                                         CA
      CORPORATION – Complete Item 6c only. Only include the name of the registered agent Corporation.
 c. California Registered Corporate Agent’s Name (if agent is a corporation) – Do not complete Item 6a or 6b

BUSINESS FILINGS INCORPORATED (C2113485)
 7. Type of Business
 a. Describe the type of business or services of the Limited Liability Company
 Real Estate Holdings
 8. Chief Executive Officer, if elected or appointed
 a. First Name                                                                                          Middle Name                        Last Name                                            Suffix


 b. Address                                                                                             City (no abbreviations)                                          State       Zip Code

                                                                                                                                                                     I           I
 9. The Information contained herein, including any attachments, is true and correct.

   07/27/2020                    James A Kay JR                                                                           President of the Manager
  _____________________            ____________________________________________________________                           _________________________      __________________________________
  Date                               Type or Print Name of Person Completing the Form                                      Title                           Signature
Return Address (Optional) (For communication from the Secretary of State related to this document, or if purchasing a copy of the filed document enter the name of a
person or company and the mailing address. This information will become public when filed. SEE INSTRUCTIONS BEFORE COMPLETING.)

Name:                                                                                                                
Company:

Address:
City/State/Zip:                                                                                                      

 LLC-12 (REV 01/2017)                                                                                                                                  2017 California Secretary of State
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                                                                                                                                                          www.sos.ca.gov/business/be
